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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 16-cv-21301-GAYLES


   SECURITIES AND EXCHANGE COMMISSION,

               Plaintiff,

   v.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

               Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

               Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.,
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC1,
   AnC BIO VT, LLC,2

          Additional Receivership Defendants.
   _____________________________________________/

   1
       See Order Granting Receiver’s Motion to Expand Receivership dated April 22, 2016 [ECF No. 60].
   2
    See Order Granting Receiver’s Motion for Entry of an Order Clarifying that AnC Bio VT, LLC is included in the Receivership or
   in the Alternative to Expand the Receivership to include AnC Bio VT, LLC, Nunc Pro Tunc dated September 7, 2018 [ECF No.
   493].



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                RECEIVER’S TENTH INTERIM OMNIBUS APPLICATION FOR
                 ALLOWANCE AND PAYMENT OF PROFESSIONALS’ FEES
                      AND REIMBURSEMENT OF EXPENSES FOR
                          SEPTEMBER 1, 2020 – JULY 31, 2021

            Michael I. Goldberg (the “Receiver”), in his capacity as the court-appointed Receiver,

   pursuant to the Order Granting Plaintiff Securities and Exchange Commission’s Motion for

   Appointment of Receiver (the “Receivership Order”) [ECF No. 13] dated April 13, 2016, hereby

   files this Tenth Interim Omnibus Application for Allowance and Payment of Professionals’ Fees

   and Reimbursement of Expenses (the “Application”) for September 1, 2020 – July 31, 2021 (the

   “Application Period”), and in support, states as follows:

                                        Preliminary Statement

            The actions of the Receiver and his professionals during this Application Period have

   preserved the going concern value of the two largest assets of receivership estate—namely, the Jay

   Peak Resort and the Burke Mountain Resort. Both the Jay Peak Resort and the Burke Mountain

   Resort were shut down in mid-March of 2020 due to the COVID-19 pandemic. Both resorts have

   since reopened and resumed operations that comply with all governmental mandates and COVID-

   19 guidelines. In an exercise of the Receiver’s business judgment, as informed by management,

   the reopening of both resorts has been done on a restricted basis, with management operating only

   those outlets that produce positive margins, implementing a reduction in hours across many assets,

   opening fully across only the highest compressed periods and eliminating all under-performing

   assets and activities.

            Notwithstanding the COVID-19 pandemic, the Receiver and his professionals also

   continued to work with the receivership estate’s financial advisor to market and sell the Jay Peak

   Resort during this Application Period. The Receiver and his professionals have been actively

   engaged in sale discussions with several interested parties whereby draft forms of asset purchase


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   agreements have been exchanged. The intent is to conclude a transaction, subject to Court

   approval, and after an auction process, as soon as a buyer is identified and an asset purchase

   agreement finalized.

             During this Application Period, the Receiver and his professionals negotiated and

   consummated a lease and the sale of several stand-alone properties grossing more than $750,000

   for the benefit of the receivership estate. The Receiver and his professionals also continued to

   aggressively pursue claims against third parties liable to the receivership estate for their pre-

   receivership conduct, recovering $50,525,000 in settlement proceeds.                        Finally, during this

   Application Period, the Receiver and his professionals continued to work with investors and their

   attorneys in responding to USCIS’s requests for evidence in support of their citizenship

   applications.

             As a result of these foregoing, the Receiver and his professionals incurred fees and

   expenses and seek Court approval to pay the sum of $692,891.50 in professional fees. This amount

   represents a discount of $642,332 from the professionals’ standard billing rates. The Receiver also

   seeks the authority to reimburse the professionals the sum of $37,783.57 in expenses, for a total

   payment of $730,675.07 to the Receiver and his professionals.

   I.        Background

             On April 12, 2016, the Securities and Exchange Commission (“SEC”) filed a complaint

   [ECF No. 1] in the United States District Court for the Southern District of Florida (the

   “Receivership Court”) against the Receivership Defendants,3 the Relief Defendants,4 William


   3
    The “Receivership Defendants” are Jay Peak, Inc., Q Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites
   Phase II L.P., Jay Peak Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay Peak Golf
   and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse L.P., Jay Peak GP
   Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services Stateside, Inc., Jay Peak Biomedical
   Research Park L.P., and AnC Bio Vermont GP Services, LLC.
   4
       The “Relief Defendants” are Jay Construction Management, Inc., GSI of Dade County, Inc., North East Contract

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   Stenger and Ariel Quiros, alleging that the Defendants violated the Securities Act of 1933 and the

   Securities Exchange Act of 1934 by among other things, making false or materially misleading

   representations to foreign investors who invested $500,000 in the limited partnerships set up by

   the Receivership Entities pursuant to the federal EB-5 immigration program.

            On April 13, 2016, upon the SEC’s Motion for Appointment of Receiver [ECF No. 7], the

   Court entered the Receivership Order and selected Michael Goldberg as the Receiver of the

   Receivership Defendants and the Relief Defendants. Relevant to this Application, the Receivership

   Order authorizes the Receiver to appoint professionals to assist him in “exercising the power

   granted by this Order …” See Receivership Order at ¶ 4. Moreover, the Receiver and his

   professionals are entitled to reasonable compensation from the assets of the Receivership

   Defendants, subject to approval of the Court. See Receivership Order at ¶14.

   II.      Information about Applicant and the Application

            This Application has been prepared in accordance with the Billing Instructions for

   Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

   “Billing Instructions”). Pursuant to the Billing Instructions, the Receiver states as follows:

            (a)    Time period covered by the Application: September 1, 2020 – July 31, 2021

            (b)    Date of Receiver’s appointment:                    April 13, 2016

            (c)    Date services commenced:                           April 4, 2016

            (d)    Names and rates of all professionals:              See Exhibit 4(a) – (e)

            (e)    Interim or Final Application:                      Interim




   Services, Inc., and Q Burke Mountain Resort, LLC. Later, Q Burke Mountain Resort, Hotel and Conference Center,
   L.P., Q Burke Mountain Resort GP Services, LLC and AnC Bio VT, LLC were added as “Additional Receivership
   Defendants”. The Receivership Defendants, Relief Defendants, and Additional Receivership Defendants are
   collectively referred to as the “Receivership Entities.”


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            (f)    Records supporting fee application:          See below

            The following exhibits are provided in accordance with the Billing Instructions:

            Exhibit 1:     Receiver’s Certification

            Exhibit 2:     Total compensation and expenses

                           Exhibit 2(a): Total compensation and expenses requested for this
                                         Application

                           Exhibit 2(b): Summary of total compensation and expenses previously
                                         awarded

                           Exhibit 2(c): Amounts previously requested and total compensation and
                                         expenses previously awarded

            Exhibit 3:     Fee Schedule: Names and Hourly Rates of Professionals and
                           Paraprofessionals & Total Amount Billed for each Professional and
                           Paraprofessional:

                           Exhibit 3(a): Akerman LLP

                           Exhibit 3(b): Levine Kellogg Lehman Schneider + Grossman LLP

                           Exhibit 3(c): KapilaMukamal

                           Exhibit 3(d): Klasko Immigration Law Partners, LLP

            Exhibit 4:     Time records by professional for the time period covered by this
                           Application, sorted in chronological order, including a summary and
                           breakdown of the requested reimbursement of expenses:

                           Exhibit 4(a): Akerman LLP

                           Exhibit 4(b): Levine Kellogg Lehman Schneider + Grossman LLP

                           Exhibit 4(c): KapilaMukamal

                           Exhibit 4(d): Klasko Immigration Law Partners, LLP

            Exhibit 5:     Standardized Fund Accounting Report [Period: 9/1/20 – 7/31/21]




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   III.     Case Status

            (a)     Cash on hand/Cash Position Since the Last Fee Application

            The amount of cash in the Receivership general bank accounts as of the date of filing this

   Application is approximately $23,548,479.19.5 These amounts do not include the funds used to

   maintain and operate the Jay Peak Resort, the Burke Mountain Hotel and related properties.

            (b)     Summary of creditor claims proceedings

            The principal investment of the investors in Jay Peak Hotel Suites L.P. (“Phase I”) have

   been fully satisfied. The Receiver is actively marketing the Jay Peak Resort for sale and intends

   to distribute the proceeds of the sale on a pro-rata basis to the Phase II – Phase VI investors.6 The

   Receiver has provided refunds of the principal investment of the investors in the Jay Peak

   Biomedical Research Park L.P. (“Phase VII”) who cannot qualify for citizenship and those Phase

   VII investors who have chosen not to redeploy their investment. The Receiver has also assisted

   other Phase VII investors in redeploying their principal investment into another qualifying project.

   The Receiver continues to operate the Burke Mountain Hotel in order to generate more jobs as

   required under the EB-5 program for the benefit of the investors in Additional Receivership

   Defendant, Burke Mountain Resort, Hotel and Conference Center, L.P. (“Phase VIII”) and is not

   currently listing the Burke Mountain Hotel for sale. The Receiver has satisfied the past-due trade

   debt owed by the Jay Peak Resort and the Burke Mountain Hotel and paid the allowed claims of

   the contractors and suppliers involved in the construction of the Burke Mountain Hotel.




   5
     A portion of these funds are held in restricted accounts.
   6
     The partnerships are Receivership Defendants Jay Peak Hotel Suites Phase II L.P., Jay Peak Penthouse Suites L.P.,
   Jay Peak Golf and Mountain Suites L.P., Jay Peak Lodge and Townhouses L.P. and Jay Peak Hotel Suites Stateside
   L.P.

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            (c)       Description of assets/liquidated and unliquidated claims held by the Receiver

            In addition to the information provided herein, detailed descriptions of the assets and

   claims are provided in the periodic Status Reports filed in this case. The Receiver continues to

   sell receivership properties. The Receiver continues to review potential causes of action against

   pre-receivership professionals and various third parties who may have wrongly profited from the

   Receivership Entities. These claims may include common law claims and claims under fraudulent

   transfer statutes. While the Receiver cannot yet predict the likelihood, amount or cost-effectiveness

   of particular claims or the claims as a whole, the Receiver continues to diligently evaluate claims

   against third parties.

   IV.      The Professionals

                (a)   Akerman LLP

            The Receiver is a partner at the law firm of Akerman LLP (“Akerman”) and a founding

   member of Akerman’s Fraud & Recovery Practice Group. The Receiver has practiced law for

   thirty years and specializes in receivership and bankruptcy cases. The Receiver has been appointed

   receiver in more than 20 state and federal court receivership cases and has represented receivers

   and trustees in many other cases. The Receiver is working with a team of attorneys and paralegals

   at Akerman to administer this case. Since Akerman employs more than 700 lawyers and

   government affairs professionals through a network of 24 offices, the Receiver has ready access

   to professionals who specialize in litigation, real estate, corporate affairs, and other pertinent

   matters and has used their expertise to administer the receivership estate.

            The Receiver has agreed to reduce his billing rate and the rates of his professionals for this

   case. Instead of their standard billing rates, which range from $550.00 to $800.00, all partners are

   billed at $395.00, associate rates are capped at $260.00, paralegals and paraprofessionals are

   capped at $175.00, resulting in a blended rate of $265.81 and a reduction of fees in the sum of

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   $243,141.00 (if billed at the standard rates). The Receiver further reduced time billed to preparing

   Status Reports and fee applications, and time billed for matters more clerical rather than

   administrative in nature. These discounts equate to a reduction in Akerman’s fees of approximately

   $24,143.50. During the Application Period, the Receiver and Akerman billed 1,104.10 hours and

   seek payment of fees in the sum of $293,489.50 and reimbursement of expenses in the sum of

   $3,331.32, for a total of $296,820.82.

            (b)     Levine Kellogg Lehman Schneider + Grossman LLP

            Jeffrey Schneider, a partner at the law firm Levine Kellogg Lehman Schneider + Grossman

   LLP (“LKLSG” or “Special Counsel”) and a team of LKLSG attorneys and paralegals provide

   special litigation and conflicts litigation services for the Receiver. Mr. Schneider is a trial lawyer

   whose practice focuses on complex commercial litigation and receiverships. Mr. Schneider has

   served as a receiver himself in several cases. Mr. Schneider has agreed to reduce the rates of his

   professionals for this case. Instead of the standard billing rates of $555.00 to $695.00 per hour, all

   partners are billed at $250.00 to $260.00 per hour, all associates rates are reduced from the standard

   rates of $345.00 to $425.00 per hour, to $200.00 per hour, and all paraprofessionals are billed at

   $125.00 per hour, resulting in a blended rate of $242.06. This represents a significant reduction

   from Special Counsel’s standard billing rates and a savings of approximately $362,798.50 for the

   receivership estate. During the Application Period, Special Counsel billed 956.10 hours and seeks

   payment of fees in the sum of $231,438.50 and reimbursement of expenses in the sum of

   $29,021.01, for a total of $260,459.51.7




   7
    In the attached Exhibits 3(b) and 4(b), Special Counsel breaks down its time and expenses among separate litigation
   matters.

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            (c)    KapilaMukamal

            Soneet Kapila, CPA, and the accounting firm KapilaMukamal (“KM” or the

   “Accountants”) provide accounting and forensic work for the Receiver. Mr. Kapila’s practice is

   focused on restructuring, creditors’ rights, bankruptcy, fiduciary matters and financial transactions

   litigation. He has conducted numerous forensic and fraud investigations, and has worked in

   conjunction with the SEC, the Federal Bureau of Investigation and the United States Attorney’s

   Office. Mr. Kapila is also a panel trustee for the United States Bankruptcy Court for the Southern

   District of Florida.

            Mr. Kapila has agreed to reduce the rates of his professionals in this case to amounts not

   to exceed $395.00 per hour, resulting in a blended rate of $323.40. This represents a savings for

   the Receivership Estate in the sum of $9,648.00. During the Application Period, KM billed 361.60

   hours and seeks payment of fees in the sum of $116,943.00 and reimbursement of expenses in the

   sum of $3,390.42, for a total of $120,333.42.

            (d)    Klasko Immigration Law Partners, LLP

            The attorneys of Klasko Immigration Law Partners, LLP (“Klasko”) have national

   reputations for cutting-edge immigration law practice, including working with immigrant investors

   applying for permanent residence status through the EB-5 program. Their experience working on

   EB-5 immigrant investor cases includes both representation of pooled investment companies and

   representation of individual investors investing in pooled investment companies, approved

   regional centers and their own companies. They used this experience to assist the Receiver and the

   investors in providing information to the United States Citizenship and Immigration Services

   (“USCIS”) in support of the investors’ I-829 petitions.

            The Klasko professionals bill at rates from $240.00 to $995.00, but have reduced partners’

   rates to $495.00, resulting in a blended rate of $375.15 per hour for this case. These discounts

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    equate to a reduction of approximately $26,744.50 from Klasko’s standard rates. During the period

    covered by this Application, Klasko seeks payment in the sum of $51,020.50 for 136.00 hours and

    reimbursement of expenses in the sum of $2.040.82, for a total of $53.061.32.

    V.       Summary of Services Rendered During the Application Period

             Summaries of the services rendered during the Application Period are provided below.

    More detailed information is included in the time records attached hereto as Exhibits 4(a) – (d).

             (a)       The Receiver and Akerman LLP

             The Receiver and the Akerman professionals have separated their time into the activity

    categories provided in the Billing Instructions. Narrative summaries of these activity categories

    are provided below.

             Asset Disposition

             Asset Disposition relates to sales, leases, abandonment and related transactional work.

                   •   The Court previously entered an Order [ECF No. 522] authorizing the Receiver to
                       retain a financial advisor to assist with the sale of the Jay Peak resort. The Receiver
                       and his counsel prepared for and corresponds regularly with potential purchasers
                       and with the investment banker regarding the potential sale of the Jay Peak Resort.
                       The Receiver's counsel has commenced worked on the corresponding asset
                       purchase agreement.

                   •   On July 8, 2020, the Receiver's counsel filed a Motion to Approve Building and
                       Rooftop Lease Agreement with Bell Atlantic Mobile Systems LLC and Supporting
                       Memorandum of Law [ECF No. 606] wherein the Receiver sought authorization to
                       enter into a Building and Rooftop Lease Agreement with Bell Atlantic which
                       authorizes Bell Atlantic to install and operate communications equipment on a
                       portion of the Burke Mountain Hotel for a period of five years, with three automatic
                       extensions. The Lease Agreement provides the receivership estate with rental
                       payments at an annual rate of $26,400, which will increase annually. As additional
                       consideration, Bell Atlantic agreed to pay a one-time, non-refundable, lump-sum
                       signing bonus of $7,000. On July 18, 2020, the Court entered the Order Granting
                       Receiver’s Motion to Approve Building and Rooftop Lease Agreement [ECF No.
                       608].

                   •   On October 30, 2020, the Receiver's counsel filed a Second Motion for
                       Authorization to Sell 22 Acres A/K/A 00 Victory Road (From the 71 Acre Tract of
                       Land Owned by Burke 2000 LLC) and Supporting Memorandum of Law [ECF No.

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                     616] wherein the Receiver sought the Court’s approval of the sale on one of the
                     four lots known as 00 Victory Road “As Is” for $56,500. On November 3, 2020,
                     the Court entered an Amended Order Granting Receiver’s Second Motion for
                     Authorization to Sell 22 Acres A/K/A 00 Victory Road (From the 71 Acre Tract of
                     Land Owned by Burke 2000 LLC) [ECF No. 618].

                 •   On December 29, 2020, the Receiver's counsel filed a Motion for Authorization to
                     Sell Aircraft Hangar Located at the Northeast Kingdom International Airport in
                     Coventry, Vermont and Supporting Memorandum of Law [ECF No. 624] wherein
                     the Receiver sought the Court’s authorization to enter into a contract to sell the
                     receivership estate’s rights, title, and interest in and to that certain aircraft storage
                     hanger located at the Northeast Kingdom International Airport, 2628 Airport Road
                     in Coventry, Vermont by private sale for consideration totaling $90,000. On
                     January 4, 2021, the Court entered the Order Granting Receiver’s Motion for
                     Authorization to Sell Aircraft Storage Hangar Located at the Northeast Kingdom
                     International Airport in Coventry, Vermont [ECF No. 628].

                 •   On March 2, 2021, the Receiver's counsel filed a Motion for Authorization to Sell
                     1.51 Acre Parcel of Land (Located Off Town Highway #41) Owned by Burke 2000
                     LLC and Supporting Memorandum of Law [ECF No. 642] wherein the Receiver
                     sought the Court’s authorization to sell a 1.51 acre parcel of land by private sale
                     “As Is” for $45,300. On March 4, 2021, the Court entered an Order Granting
                     Receiver’s Motion for Authorization to Sell 1.51 Acre Parcel of Land (Located Off
                     Town Highway #41) Owned by Burke 2000 LLC and Supporting Memorandum of
                     Law [ECF No. 643].

                 •   On Mach 23, 2021, the Receiver 's counsel filed a Motion for Authorization to Sell
                     Unit 320 in North Village and Supporting Memorandum of Law [ECF No. 649]
                     wherein the Receiver sought the Court’s authorization to sell Unit 320 in the North
                     Village by private sale “As Is” for $560,000. On March 26, 2021, the Court entered
                     the Order Granting Receiver’s Motion for Authorization to Sell Unit 320 in North
                     Village and Supporting Memorandum of Law [ECF No. 651].

                 •   On April 14, 2021, the Receiver's counsel filed a Motion for Authorization to Enter
                     into Boundary Line Agreement and Supporting Memorandum of Law [ECF No.
                     659] wherein the Receiver sought the Court’s authorization to enter into an
                     agreement transferring the estate’s right, title, and interest in and to a small strip of
                     land abutting (i) the southerly and southeasterly boundaries of a residential home
                     and (ii) the real property owned by Burke 2000, LLC, necessary for the operation
                     of the Burke Mountain hotel and ski area by private sale to “As Is” for $18,000 in
                     total consideration. On April 23, 2021, the Court entered the Order Granting
                     Receiver’s Motion for Authorization to Enter Boundary Line Agreement and
                     Supporting Memorandum of Law [ECF No. 661].




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             Business Operations

             Business Operations cover the issues related to operation of an ongoing business.

                 •   The Receiver continues to work with the court-approved management company,
                     Leisure Hotels, LLC (“Leisure”) who operates the Jay Peak Resort and the Burke
                     Mountain Hotel, along with Jay Peak’s General Manager, Steven Wright and Burke
                     Mountain Resort’s General Manager, Kevin Mack. The Receiver confers with the
                     Leisure management team, Steven Wright and Kevin Mack on a regular basis to
                     monitor the resorts’ operations.

                 •   The Receiver also works with Leisure and the management team on budgets,
                     financial projections and capital improvements to enhance the operations of the
                     Receivership Entities. The Receiver engaged in extensive conferences with
                     management regarding the respective closure and reopening of the resorts due to
                     the COVID-19 pandemic; analyzed the prospective budget for operations during
                     the shutdown and reopening; and has prepared for and attended numerous meetings
                     to discuss emergency budget and cash flow analysis.

                 •   The Receiver conferred with management regarding the availability of emergency
                     relief funds. The Receiver and counsel reviewed and analyzed the CARES Act
                     Paycheck Protection Program (“PPP”) to determine PPP eligibility. Accordingly,
                     on July 30, 2020, the Receiver's counsel filed a Motion for Authorization to Execute
                     Paycheck Protection Program Loan Under Coronavirus Aid, Relief, and Economic
                     Security Act and Supporting Memorandum of Law [ECF 609] wherein the Receiver
                     sought the Court’s approval to close on a loan under the CARES Act Paycheck
                     Protection Program, as codified under the Small Business Act, 15 U.S.C. § 636(a)
                     so that the proceeds are available to supplement the Resort’s cash flow, specifically
                     as it relates to payroll expense, so that they can hopefully weather the COVID-19
                     storm substantially impacting all travel related businesses. On August 2, 2020, the
                     Court entered an Order [ECF No. 610] approving the motion.

             Case Administration

             Case Administration includes coordination and compliance activities, preparation of

    reports and responding to investor inquiries.

                 •   The Receiver and his staff continue to communicate with investors, creditors,
                     government officials and other interested parties. The Receiver continues to
                     maintain a toll-free investor hotline, an email address for general inquiries, and a
                     website to provide information for investors and interested parties.

                 •   The Receiver and his staff continue to respond to inquiries from investors regarding
                     a wide range of matters, including immigration inquiries and the sale of the Jay
                     Peak Resort.


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                 •   The Receiver continued to work with immigration counsel verifying job creation in
                     support of the investors’ citizenship petitions. The Receiver and immigration
                     counsel continue to work with investors with a pending I-526 petitions or a pending
                     I-829 petitions.

                 •   The Receiver and Akerman researched and prepared Status Reports and complied
                     with other reporting requirements.

             Claims Administration and Objections

             Claims Administration and Objections relates to formulating, gaining approval of and

    administering claims procedure.

                 •   The Receiver and Akerman staff continued to review and respond to inquiries about
                     pre-receivership claims.

             Tax Matters

                 •   The Receiver and Akerman analyzed correspondence from the IRS and worked
                     with the accountants to respond to inquiries from taxing authorities.

                 •   The Receiver reviewed and executed federal and state tax returns.

                 •   The Receiver and Akerman worked to prove investors with copies of current and
                     historical K-1s.

             Litigation/Contested Matters

                 •   The Receiver has actively and extensively worked with his Special Counsel on all
                     litigation matters, with the support of Akerman, when necessary. Specifically,
                     Akerman has provided administrative support to Special Counsel with meeting the
                     comprehensive noticing concerns attendant to settlement motions and has handled
                     issues arising from any and all proposed distributions derived from settlement of
                     litigation matters.

                 •   The Receiver, through Akerman, filed a Complaint against William Kelly, the
                     former owner of Relief Defendant North East Contract Services, Inc. (“NECS”),
                     Goldberg v. Kelly, Case No. 17-cv-62157 (S.D. Fla.). Upon motion by Kelly’s
                     attorney, the Court has stayed the case pending the outcome of the criminal
                     proceedings against him. Now that Kelly has plead guilty to Counts 1 and 10 of
                     the Indictment, the Court has issued an Order to Show Cause why the Stay Should
                     Not be Lifted. [ECF Nos. 62 and 64]. The Receiver and Akerman intend to pursue
                     the case once the Court terminates the stay.




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             Document Review and Discovery

                   •   The Receiver and Akerman continued to research and analyze records responsive
                       to discovery requests, reviewed and identified responsive documents and reviewed
                       documents for privilege.

             (b)       Levine Kellogg Lehman Schneider + Grossman LLP

             Special Counsel represents the Receiver in certain litigation matters and are lead counsel

    to litigation filed against third parties.

                   Active Litigations

                   •   The Receiver, through his Special Counsel, sued Quiros’ former attorneys, Mitchell
                       Silberberg & Knupp, LLP (“MSK”) in the United States District Court for the
                       Southern District of Florida, Goldberg v. Mitchell Silberberg & Knupp, LLP et al.,
                       Case No. 1:19-cv-21862-MGC (C.D. of Fla.). The United States Attorney’s Office
                       for Vermont moved to intervene in this action in December 2019 and requested that
                       it be stayed as a result of the pending criminal action against Quiros and others.
                       The Court granted that motion and stayed the case. However, the parties engaged
                       in meaningful settlement negotiations that resulted in a $32,500,000.00 settlement
                       agreement that was submitted to this Court for approval [ECF No. 667] and later
                       approved on July 29, 2021 [ECF No. 690]. Quiros objected to the settlement, and
                       subsequently appealed the Court order approving it. [ECF No. 692]. In conjunction
                       with the appeal, the Receiver requested that the Court require Quiros to post a
                       $250,000 appellate bond. [ECF No. 695]. On September 6, 2021, the Court entered
                       a paperless order granting the Receiver's request and ordering Quiros to post a bond
                       totaling $250,000 [ECF No. 696]. Shortly thereafter, Quiros voluntarily dismissed
                       the appeal. [ECF No. 697].

                   •   At the request of investors who had initiated this suit in Vermont, the Receiver,
                       through Special Counsel, intervened and became the remaining plaintiff in a case
                       brought against former owners of the Jay Peak resort—Saint-Sauveur Valley
                       Resorts, Inc. This case was pending in the United States District Court, District
                       Court of Vermont, Case No. 2:17-cv-00061. The parties engaged in multiple
                       mediations and agreed to settle the matter for $800,000, and this Court approved
                       that settlement on February 25, 2021 [ECF No. 641].

                   •   This Court previously approved the final settlement with Raymond James &
                       Associates, Inc. (“Raymond James”) [ECF No. 353] However, the parties engaged
                       in negotiations resulted in two amendments to the previously approved settlement
                       agreement. The first amendment amended the provisions from the original
                       settlement agreement that addressed the amounts that will be distributed to
                       Raymond James as a result of litigation or settlements accomplished by the
                       Receiver and certain targets, and narrowed the scope of those actions that would be
                       subject to distributions to Raymond James. This Court approved that first

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                       amendment on April 28, 2021 [ECF No. 663]. The second amendment addressed
                       the management of the Phase VIII escrow requirement established by the original
                       settlement agreement. This Court approved that second amendment on June 1,
                       2021 [ECF No. 666].

                   •   Prior to initiating a lawsuit, but after having served a presuit demand related to
                       claims resulting from legal work performed by prior counsel to the Receivership
                       Entities, the Receiver and Special Counsel participated in settlement negotiations
                       with those former attorneys: Edward J. Carroll, Mark H. Scribner, and their former
                       and current law firms, along with certain putative class plaintiffs. The parties
                       entered into a settlement agreement for $8,000,000 that was approved by this Court
                       [ECF No. 657]. This settlement also included a bar order against future claims
                       made against Messrs. Carroll and Scribner and their law firms

                   •   Prior to initiating a lawsuit, but after having served a presuit demand related to
                       claims resulting from the banking activities that took place for the Receivership
                       Entities at People’s United Bank, N.A., the Receiver and Special Counsel
                       participated in settlement negotiations with the bank, along with putative class
                       plaintiffs. The parties entered into a settlement agreement for $1,750,000, for
                       which the Receiver has sought approval by this Court [ECF No. 662]. The
                       settlement was approved by the Court on July 1, 2021 [ECF No. 675].


             (c)       KapilaMukamal

             KM separated their time into the activity categories provided in the Billing Instructions.

    Narrative summaries of these activity categories are provided below.

                   •   During the period September 1, 2020 through July 31, 2021, KM spent considerable
                       time assisting the Receiver with the (i) preparation of tax returns, (ii) responded to
                       tax agency notices, (iii) reviewed, analyzed and prepared reports, memos, and
                       transfer schedules to assist the Receiver with recoveries for the benefit of the estate,
                       and (iv) assisted immigration counsel with schedules to support costs and job
                       creation for the various limited partnerships, further detailed below.

                   •   KM coordinated with the Jay Peak accounting and management company teams to
                       compile the required financial data for the limited partnerships to prepare the FYE
                       tax returns, partnership K-1’s and extensions. In addition, KM reviewed and
                       responded to tax agency notices.

                   •   KM reviewed, analyzed and prepared reports, memos and transfer schedules and
                       supporting records to assist the Receiver with adversary proceedings and recoveries
                       for the benefit of the estate. In addition, KM assisted immigration counsel by
                       preparing reports and accompanying exhibits to support the costs and job creation
                       for the benefit of the investors.

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             (d)       Klasko Immigration Law Partners, LLP

             The Klasko professionals continued to work with the Receiver, the accountants and

    economists to gather and analyze information needed by the investors for preparation of their I-

    829 Petitions and respond to inquiries from the USCIS.

                   •   Immigration counsel drafted and the Receiver filed two mandamus complaints in
                       federal court on behalf of investors with the goal of compelling USCIS to adjudicate
                       the long-pending I-526 and I-829 petitions in various phases of the Jay Peak resort
                       development. The mandamus complaints were filed after concluding that there was
                       little likelihood of USCIS adjudicating Jay Peak related petitions in the foreseeable
                       future. The filing of the mandamus complaints led to discussions with the U.S.
                       attorney representing the government and, ultimately the adjudication of the
                       petitions of the investors who chose to participate in the mandamus actions.

                   •   As anticipated and discussed with the investors, the adjudication of the investors’
                       petitions resulted in the issuance of Requests for Evidence (RFEs), and Notices of
                       Intent to Deny (NOID). The Receiver and immigration counsel created and updated
                       template responses for use by the investors and their attorneys. The Receiver and
                       immigration counsel continued to communicate with investors via phone, email and
                       notice of the Receiver’s website regarding immigration developments and next
                       steps for investors. The normal course of events following the issuance of an I-829
                       petition denial is the issuance of a Notice to Appear (“NTA”), which results in the
                       scheduling of a removal proceeding before an immigration judge. At this time, the
                       Receiver is not aware of any NTA being issued. In the meantime, denied investors
                       remain conditional permanent residents and should continue to seek I-551 stamps
                       as needed.

                   •   In addition to the response templates, the Receiver and immigration counsel
                       prepared template Motions to Reopen (MTR) for the investors in the Q Burke
                       project who received I-526 petition denials and template responses to the Notices
                       of Intent to Revoke received by those investors in Q Burke that had previously
                       approved I-526 petitions.

                   •   In an effort to help investors in Q Burke and Stateside who have not yet commenced
                       the period of conditional residence, the Receiver and immigration counsel
                       negotiated with another regional center, New England Regional Center, to
                       potentially sponsor the projects.

    VI.      Memorandum of Law

             The Receiver and his professionals are entitled to reasonable compensation and expenses,

    pursuant to the Receivership Order. Receivership courts have traditionally determined
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    reasonableness by utilizing the familiar lodestar approach, calculating a reasonable hourly rate in

    the relevant market and the reasonable number of hours expended. See, e.g., S.E.C. v. Aquacell

    Batteries, Inc., No. 6:07-cv-608-Orl-22DAB, 2008 WL 276026, *3 (M.D. Fla. Jan 31, 2008); see

    also Norman v. Hous. Auth., 836 F.2d 1292, 1299-1302 (11th Cir. 1988).8 The hourly rates billed

    by the Receiver and his professionals are reasonable for professionals practicing in the Southern

    District of Florida. The Receiver reduced his standard rate by $405.00 per hour and lowered the

    rates of the Akerman professionals anywhere from by $15.00 an hour to $570.00 an hour

    (depending on the individual’s standard rate). The LKLSG professionals also reduced their rates

    by $100.00 to $350.00 from their standard rates. These are the same hourly rates already approved

    by the Court in prior fee applications. Moreover, these reductions have resulted in a substantial

    savings to the receivership estate, in the amount of $643,718.00 during the Application Period.

             “In general, a reasonable fee is based on all circumstances surrounding the receivership.”

    SEC v. W. L. Moody & Co., Bankers, 374 F. Supp. 465, 480 (S.D. Tex. 1974), aff’d, 519 F.2d 1087

    (5th Cir. 1975); (“[T]he court may consider all of the factors involved in a particular receivership

    in determining an appropriate fee.” Gaskill v. Gordon, 27 F.3d 248, 253 (7th Cir. 1994). “In

    determining the amount of their compensation, due consideration should be given to the amount

    realized, as well as the labor and skill needed or expended, and other circumstances having a

    bearing on the question of the value of the services.” Sec. & Exch. Comm’n v. Striker Petroleum,

    LLC (N.D. Tex., 2012) citing City of New Orleans v. Malone, 12 F.2d 17, 19 (5th Cir. 1926). Part

    of “determining the nature and extent of the services rendered,” however, includes an analysis as




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      The law in this circuit for assessing the reasonableness of fees is set out in Norman v. Hous. Auth. of Montgomery,
    836 F.2d 1292. (11th Cir. 1988). According to Norman, the starting point in determining an objective estimate of the
    value of professional services is to calculate the “lodestar” amount, by multiplying a reasonable hourly rate by the
    number of hours reasonably expended. Id. at 1299 (citing Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933,
    76 L.Ed.2d 40 (1983)).

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    to the reasonableness of the services rendered, bearing in mind the nature of a receivership. As the

    Supreme Court has noted:

             The receiver is an officer of the court, and subject to its directions and orders . . . .
             [H]e is . . . permitted to obtain counsel for himself, and counsel fees are considered
             as within the just allowances that may be made by the court. . . . So far as the
             allowances to counsel are concerned, it is a mere question as to their
             reasonableness. The compensation is usually determined according to the
             circumstances of the particular case, and corresponds with the degree of
             responsibility and business ability required in the management of the affairs
             intrusted to him, and the perplexity and difficulty involved in that management.

    Stuart v. Boulware, 133 U.S. 78, 81-82 (1890).

             The Receiver, with the assistance of his professionals, continues to oversee the operations

    of the Jay Peak Resort and the Burke Mountain Hotel and related amenities. Both the Jay Peak

    Resort and the Burke Mountain Hotel were shut down in mid-March of 2020 due to the COVID-

    19 pandemic. The State of Vermont, in addition to other New England states have continued

    aggressive COVID-19 policies that limit gatherings including that of Jay Peak and Burke Mountain

    Resorts. Additionally, the Federal and Canadian governments have continued to keep the

    international border closed which adversely impacts over 50% of the resorts’ business. Both

    resorts have since reopened and resumed operations that comply with all governmental mandates

    and COVID-19 guidelines. Additionally, both resorts have applied for and received several

    different state and local grants to assist with additional costs associated with COVID-19

    compliance. Notwithstanding the resumption of operations and grants received, the COVID-19

    pandemic has had and will likely continue to have substantial impact on the resorts’ finances. In

    light of the foregoing, and in an exercise of the Receiver's business judgment, as informed by

    management, the resorts have implemented restrictive operating plans, operating only those outlets

    that produce positive margins, reducing hours across many assets, opening fully across only the

    highest compressed periods, and eliminating under-performing assets and activities.


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             The Receiver and his professionals have also continued to work with the receivership

    estate’s financial advisor to prepare to market Jay Peak Resort for sale during this Application

    Period. Following the COVID-19 pandemic and the shutdown of the Resorts in the spring of 2020,

    the Receiver concluded that 2020 was not an ideal time to pursue a sale given the vast uncertainty

    in the market, particularly in the hotel/resort/ski industry. In early 2021, Houlihan Lokey updated

    the marketing materials for Jay Peak Resort and recommenced its marketing efforts. Since then

    the Receiver and his professionals have been actively engaged in sale discussions with several

    interested parties whereby draft forms of asset purchase agreements have been exchanged. The

    intent is to conclude a transaction, subject to Court approval, and after an auction process, as soon

    as a buyer is identified and an asset purchase agreement finalized.

             Notwithstanding the COVID-19 pandemic, during this Application Period, the Receiver

    and his professionals also negotiated and consummated a lease and the sale of several stand-alone

    properties grossing more than $750,000 for the benefit of the receivership estate. The Receiver and

    his professionals have also continued to aggressively pursue claims against third parties liable to

    the receivership estate for their pre-receivership conduct, recovering $50,525,000 in settlement

    proceeds.    Finally, during this Application Period, the Receiver and his professionals have

    continued to work with investors and their attorneys in responding to USCIS’s requests for

    evidence in support of their citizenship applications. The Receiver does the foregoing, as always,

    with the goal of maximizing both job creation as well as amounts repaid to investors and creditors.

             In addition to fees, the receiver is “also entitled to be reimbursed for the actual and

    necessary expenses” that the receiver “incurred in the performance of [its] duties.” Fed. Trade

    Comm’n v. Direct Benefits Grp., LLC, No. 6:11-cv-1186-Orl-28TBS, 2013 WL 6408379, at *3

    (M.D. Fla. Dec. 6, 2013). The Receiver and his professionals support their claims for

    reimbursement of expenses with “sufficient information for the Court to determine that the

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    expenses are actual and necessary costs of preserving the estate.” Sec. & Exch. Comm’n v.

    Kirkland, No. 6:06-cv-183-Orl-28KRS, 2007 WL 470417, at *2 (M.D. Fla. Feb. 13, 2007) (citing

    In re Se. Banking Corp., 314 B.R. 250, 271 (Bankr. S.D. Fla. 2004)).

             A receiver appointed by a court who reasonably and diligently discharges his duties is

    entitled to be fairly compensated for services rendered and expenses incurred. See SEC v. Byers,

    590 F.Supp.2d 637, 644 (S.D.N.Y. 2008); see also SEC v. Elliott, 953 F.2d 1560 (11th Cir. 1992)

    (“[I]f a receiver reasonably and diligently discharges his duties, he is entitled to compensation.”).

    As more fully described herein and supported by the time records, the Receiver and his

    professionals have reasonably and diligently discharged their duties, and provided a benefit to the

    receivership estate, the investors and creditors.

             WHEREFORE, the Receiver seeks entry of an Order granting this motion and awarding

    the Receiver and his professionals their interim fees, reimbursement of costs, which shall be paid

    from available cash to the extent such funds are in the receivership estate, and for such other relief

    that is just and proper.




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                                   LOCAL RULE CERTIFICATION

             Pursuant to Local Rule 7.3, the Receiver hereby certifies that he has conferred with counsel

    for the SEC, the plaintiff in this case, who has no objection to the Application. A hearing is

    requested only in the event that someone files an objection thereto.

                                                   Respectfully submitted,

                                                   AKERMAN LLP
                                                   201 E. Las Olas Boulevard
                                                   Suite 1800
                                                   Fort Lauderdale, FL 33301
                                                   Telephone: (954) 46-2700
                                                   Facsimile: (954) 463-2224

                                                   By: /s/ Michael I. Goldberg
                                                       Michael I. Goldberg, Esq.
                                                       Florida Bar No.: 886602
                                                       Email: michael.goldberg@akerman.com
                                                      Court-Appointed Receiver




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                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this 8th

    day of October, 2021, via the Court’s notice of electronic filing on all CM/ECF registered users

    entitled to notice in this case as indicated on the attached Service List.


                                                   By: /s/ Michael I. Goldberg
                                                      Michael I. Goldberg, Esq.




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                                             SERVICE LIST


    1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

     Robert K. Levenson, Esq.                      Christopher E. Martin, Esq.
     Senior Trial Counsel                          Senior Trial Counsel
     Email: levensonr@sec.gov                      Email: martinc@sec.gov
     almontei@sec.gov, gonzalezlm@sec.gov,         almontei@sec.gov, benitez-perelladaj@sec.gov
     jacqmeinv@sec.gov                             SECURITIES AND EXCHANGE
     SECURITIES AND EXCHANGE                       COMMISSION
     COMMISSION                                    801 Brickell Avenue, Suite 1800
     801 Brickell Avenue, Suite 1800               Miami, Florida 33131
     Miami, Florida 33131                          Telephone: (305) 982-6300
     Telephone: (305) 982-6300                     Facsimile: (305) 536-4154
     Facsimile: (305) 536-4154                     Attorneys for Plaintiff
     Attorneys for Plaintiff

     Roberto Martinez, Esq.                        Jeffrey C. Schneider, Esq.
     Email: bob@colson.com                         Email: jcs@lklsg.com
     Stephanie A. Casey, Esq.                      LEVINE KELLOGG LEHMAN
     Email: scasey@colson.com                      SCHNEIDER + GROSSMAN
     COLSON HICKS EIDSON, P.A.                     Miami Center, 22nd Floor
     255 Alhambra Circle, Penthouse                201 South Biscayne Blvd.
     Coral Gables, Florida 33134                   Miami, Florida 33131
     Telephone: (305) 476-7400                     Telephone: (305) 403-8788
     Facsimile: (305) 476-7444                     Co-Counsel for Receiver
     Attorneys for William Stenger

     Jonathan S. Robbins, Esq.                     Naim Surgeon, Esq.
     jonathan.robbins@akerman.com                  naim.surgeon@akerman.com
     AKERMAN LLP                                   AKERMAN LLP
     350 E. Las Olas Blvd., Suite 1600             Three Brickell City Centre
     Ft. Lauderdale, Florida 33301                 98 Southeast Seventh Street, Suite 1100
     Telephone: (954) 463-2700                     Miami, Florida 33131
     Facsimile: (954) 463-2224                     Telephone: (305) 374-5600
     Attorney for Receiver                         Facsimile: (305) 349-4654
                                                   Attorney for Receiver

     David B. Gordon, Esq.                         Jean Pierre Nogues, Esq.
     Email: dbg@msk.com                            Email: jpn@msk.com
     MITCHELL SILBERBERG & KNOPP, LLP              Mark T. Hiraide, Esq.
     12 East 49th Street – 30th Floor              Email: mth@msk.com
     New York, New York 10017                      MITCHELL SILBERBERG & KNOPP, LLP
     Telephone: (212) 509-3900                     11377 West Olympic Blvd.
     Co-Counsel for Ariel Quiros                   Los Angeles, CA 90064-1683
                                                   Telephone (310) 312-2000
                                                   Co-Counsel for Ariel Quiros




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     Mark P. Schnapp, Esq.                                J. Ben Vitale, Esq.
     Email: schnapp@gtlaw.com                             Email: bvitale@gurleyvitale.com
     Mark D. Bloom, Esq.                                  David E. Gurley, Esq.
     Email: bloomm@gtlaw.com                              Email: dgurley@gurleyvitale.com
     Danielle N. Garno, Esq.                              GURLEY VITALE
     E-Mail: garnod@gtlaw.com                             601 S. Osprey Avenue
     GREENBERG TRAURIG, P.A.                              Sarasota, Florida 32436
     333 SE 2nd Avenue, Suite 4400                        Telephone: (941) 365-4501
     Miami, Florida 33131                                 Attorneys for Blanc & Bailey Construction, Inc.
     Telephone: (305) 579-0500
     Attorneys for Citibank

     Stanley Howard Wakshlag, Esq.                        Melissa Damian Visconti, Esquire
     Email: swakshlag@knpa.com                            Email: mdamian@dvllp.com
     KENNY NACHWALTER, P.A.                               DAMIAN & VALORI LLP
     Four Seasons Tower                                   1000 Brickell Avenue, Suite 1020
     1441 Brickell Avenue                                 Miami, Florida 33131
     Suite 1100                                           Telephone: 305-371-3960
     Miami, FL 33131-4327                                 Facsimile: 305-371-3965
     Telephone: (305) 373-1000                            Attorneys for Ariel Quiros
     Attorneys for Raymond James & Associates
     Inc.

     Stephen James Binhak, Esquire                        Laurence May, Esquire
     THE LAW OFFICE OF STEPHEN JAMES                      EISEMAN, LEVIN, LEHRHAUPT &
     BINAK, P.L.L.C.                                      KAKOYIANNIS, P.C.
     1221 Brickell Avenue, Suite 2010                     805 Third Avenue
     Miami, Florida 33131                                 New York, New York 10002
     Telephone: (305) 361-5500                            Telephone: (212) 752-1000
     Facsimile: (305) 428-9532                            Co-Counsel for Attorney for Saint-Sauveur
     Counsel for Attorney for Saint-Sauveur Valley        Valley Resorts
     Resorts




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                                              Exhibit 1
                                           CERTIFICATION


             The undersigned, MICHAEL I. GOLDBERG (the “Applicant”), hereby certifies as

    follows, and says:

             1.    The Applicant is a partner in the law firm of Akerman LLP (“Akerman”) and the

    Receiver in this action. This Certification is based on the Applicant’s first-hand knowledge of and

    review of the books, records and documents prepared and maintained by Akerman in the ordinary

    course of its business. The Applicant knows that the facts contained in this motion regarding work

    performed by the Receiver and his staff and the facts contained in this Certification are true, and

    the Applicant is authorized by Akerman to make this Certification. Having reviewed the time

    records and data which support the motion, the Applicant further certifies that said motion is well

    grounded in fact and justified.

             2.    The billing records of Akerman which are attached to this Application are true and

    correct copies of the records maintained by Akerman. These records were made at or near the

    time the acts, events, conditions or opinions described in such records occurred or were made. The

    Applicant knows that the records were made by persons with knowledge of the transactions or

    occurrences described in such records or that the information contained in the records was

    transmitted by a person with knowledge of the transactions or occurrences described in the records.

    The records were kept in the ordinary course of the regularly conducted business activity of

    Akerman and it is the regular business practice of Akerman to prepare these records.

             3.    To the best of the Applicant’s knowledge, information and belief formed after

    reasonable inquiry, this motion and all fees and expenses herein are true and accurate and comply

    with the Billing Instructions for Receivers in Civil Actions Commenced by the SEC.




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             4.    All fees contained in this Application are based on the rates listed in the fee

    schedule attached hereto and such fees are reasonable, necessary and commensurate with the skill

    and experience required for the activity performed.

             5.    The Applicant has not included in the amount for which reimbursement is sought

    the amortization of the cost of any investment, equipment, or capital outlay (except to the extent

    that any such amortization is included within the permitted allowable amounts set forth herein for

    photocopies and facsimile transmission).

             6.    In seeking reimbursement for a service which Akerman justifiably purchased or

    contracted for from a third party, the Applicant requests reimbursement only for a service which

    the Applicant justifiably purchased or contracted for from a third party, the Applicant requests

    reimbursement only for the amount billed to the Applicant by the third-party vendor and paid by

    the Applicant to such vendor. If such services are performed by the Applicant, the Applicant will

    certify that he is not making a profit on such reimbursable service.



                                                  By: /s/ Michael I. Goldberg
                                                      Michael I. Goldberg, Esq.
                                                      Court Appointed Receiver




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                                          Exhibit 2(a)
                              Total Compensation and Expenses Requested

                                         10th Interim Fee Application
                                      September 1, 2020 - July 31, 2021

                 Name               Specialty    Hours         Fees        Expenses          Total
     Receiver and Akerman LLP      Attorneys    1,104.10 $293,489.50      $3,331.32     $296,820.82

     Levine Kellogg Lehman
                                   Attorneys    956.10     $231,438.50    $29,021.01    $260,459.51
     Schneider + Grossman LLP

     KapilaMukamal                 Accountants 361.60      $116,943.00    $3,390.42     $120,333.42

     Klasko Immigration Law
                                   Attorneys    136.00     $51,020.50     $2,040.82     $53,061.32
     Partners, LLP
     Total                                       2,557.8    $692,891.50    $37,783.57        $730,675.07




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                                              Exhibit 2(b)
                                   Total Amounts Previously Requested, and
                             Total Compensation and Expenses Previously Awarded

                                      Summary of Prior Fee Applications




    Fee
Application      Period         Approved       Hours               Fees               Expenses        Total
 1st [ECF      4/13/2016 -      12/13/2016
 No. 241]                     [ECF No. 248]    7,203.20              $1,883,900.95    $69,566.64   $1,953,467.59
               10/31/2016
 2nd [ECF      11/1/2016 -      7/14/2017
 No. 357]                     [ECF No. 373]    4,782.60              $1,269,677.80    $82,973.40   $1,352,651.20
                4/30/2017
 3rd [ECF       5/1/2017 -      10/26/2017
 No. 423]                     [ECF No. 424]    3,005.50                $791,246.90    $43,143.94    $834,390.84
                8/31/2017
 4th [ECF       9/1/2017 -      4/16/2018
 No. 470]                     [ECF No. 471]    3,069.90                $839,251.00    $67,703.55    $906,954.55
                1/31/2018
 5th [ECF       2/1/2018 -      10/16/2018                                            $40,935.93
                                               3,757.30              $1,052,025.50                 $1,132,945.94
 No. 499]       8/31/2018     [ECF No. 500]
 6th [ECF       9/1/2018 -      6/20/2019
 No. 565]                     [ECF No. 568]    2,288.40                $640,717.50    $54,888.27    $695,605.77
                2/28/2019
 7th [ECF       3/1/2019 -      10/25/2019
 No. 576]                     [ECF No. 577]    2737.00                 $737,307.00    $58,912.86    $796,219.86
                8/31/2019
 8th [ECF       9/1/2019 -      6/15/2020
 No. 592]                     [ECF No. 601]    2,420.10                $622,107.90    $85,766.51    $707,874.41
                 2/29/2020
 9th [ECF      3/1/2020 –       10/27/2020      659.90                 $630,895.20    $97,902.91   $728,798.11
 No. 614]     8/31/2020       [ECF No. 615]
Total                                         29,923.90 $8,467,129.75$8,467,129.75   $601,794.01   $9,108,908.27




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                                              Exhibit 2(c)
                               Amounts Previously Requested, and
                       Total Compensation and Expenses Previously Awarded


                                       1st Interim Fee Application
                                     April 13, 2016 - October 31, 2016

               Name                Specialty      Hours        Fees         Expenses         Total
     Receiver and Akerman LLP     Attorneys      2,470.20    $822,453.25    $16,070.13     $838,523.38
     Levine Kellogg Lehman
     Schneider + Grossman LLP     Attorneys      1,907.00    $380,680.00    $25,447.53     $406,127.53

     KapilaMukamal                Accountants    2,495.20    $584,759.20    $19,487.55     $604,246.75
     Gowling WLK                  Attorneys         61.30     $22,629.50     $1,957.11      $24,586.61
     Klasko Immigration Law
     Partners, LLP                Attorneys        139.50      $47,379.00    $2,304.92      $49,683.92

     The McManus Group            Security         130.00      $26,000.00    $4,299.40    $30,299.40
     Total                                       7,203.20   $1,883,900.95   $69,566.64 $1,953,467.59


                                      2nd Interim Fee Application
                                    November 1, 2016 - April 30, 2017

               Name                Specialty      Hours        Fees         Expenses         Total
     Receiver and Akerman LLP     Attorneys      1,714.20    $539,212.50    $46,194.55     $585,407.05
     Levine Kellogg Lehman
     Schneider + Grossman LLP     Attorneys      1,730.10    $361,908.50    $24,068.18     $385,976.68

     KapilaMukamal *              Accountants    1,093.90    $284,361.10     $9,499.29     $293,860.39
     Gowling WLK                  Attorneys          5.20      $2,741.20         $1.20       $2,742.40
     Klasko Immigration Law
     Partners, LLP                Attorneys        233.20      $80,254.50    $3,210.18      $83,464.68

     Strouse & Bond PLLC          Attorneys          6.00       $1,200.00        $0.00     $1,200.00
     Total                                       4,782.60   $1,269,677.80   $82,973.40 $1,352,651.20

     * The amount of expenses includes the sum of $1,023.06 which was incurred in September and October
     2016 but was inadvertently left out of the First Interim Fee Application.




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                                         3rd Interim Fee Application
                                        May 1, 2017 - August 31, 2017

                  Name                   Specialty       Hours           Fees      Expenses            Total
      Receiver and Akerman LLP          Attorneys       1,654.30      $461,301.50 $21,573.38        $482,874.88
      Levine Kellogg Lehman
                                        Attorneys           477.40    $106,674.50 $17,757.46        $124,421.80
      Schneider + Grossman LLP*
      KapilaMukamal                     Accountants         832.10    $207,897.40     $3,207.76     $211,105.16
      Klasko Immigration Law
      Partners, LLP                     Attorneys            40.50     $15,133.50       $605.34      $15,738.84

      Strouse & Bond PLLC               Attorneys           1.20         $240.00       $0.00           $240.00
      Total                                             3,005.50      $791,246.90 $43,143.94        $834,380.68

      * Includes a reduction of $10.16 for prepaid funds.


                                           4th Interim Fee Application
                                      September 1, 2017 - January 31, 2018

                 Name                 Specialty         Hours              Fees        Expenses          Total
      Receiver and Akerman LLP       Attorneys          1,378.00        $420,126.50    $29,716.94     $449,843.44
      Levine Kellogg Lehman
      Schneider + Grossman LLP       Attorneys           1,177.30       $252,603.50    $35,210.61     $287,814.11

      KapilaMukamal                  Accountants             452.10     $143,755.50     $1,879.80     $145,635.30
      Klasko Immigration Law
      Partners, LLP                  Attorneys                60.70      $22,405.50       $896.20      $23,301.70

      Strouse & Bond PLLC            Attorneys               1.80          $360.00          $0.00        $360.00
      Total                                              3,069.90       $839,251.00    $67,703.55     $906,954.55



                                         5th Interim Fee Application
                                      February 1, 2018 - August 31, 2018

                 Name                  Specialty       Hours            Fees       Expenses            Total
     Receiver and Akerman LLP         Attorneys       1,977.40        $591,125.00 $39,584.51         $630,709.51
     Levine Kellogg Lehman
                                      Attorneys        966.30         $206,625.00 $35,390.27         $242,015.27
     Schneider + Grossman LLP
     KapilaMukamal                    Accountants      706.60         $217,441.50     $4,056.30      $221,497.80
     Klasko Immigration Law
     Partners, LLP                    Attorneys        107.00          $37,234.00     $1,489.36       $38,723.36

     Total                                            3,757.30 $1,052,425.50 $80,520.44 $1,132,945.94
     * Includes an additional $400 omitted from payment in the 4th Interim Fee Application due to a
     typographical error.




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                                       6th Interim Fee Application
                                  September 1, 2018 - February 28, 2019

                 Name                 Specialty     Hours        Fees       Expenses        Total
     Receiver and Akerman LLP        Attorneys     1099.00    $352,643.00   $40,763.95    $393,406.95
     Levine Kellogg Lehman           Attorneys
     Schneider + Grossman LLP                       747.30    $143,391.00   $11,474.57    $154,865.57

     KapilaMukamal                   Accountants    392.30    $124,853.50    $1,856.55    $126,710.05
     Klasko Immigration Law          Attorneys
     Partners, LLP                                   49.80     $19,830.00     $793.20      $20,623.20

     Total                                         2288.40    $640,717.50   $54,888.27    $695,605.77



                                     7th Interim Fee Application
                                    March 1, 2019 - August 31, 2019

                  Name                 Specialty    Hours        Fees      Expenses         Total
      Receiver and Akerman LLP         Attorneys   1099.50    $345,522.50 $42,081.05     $387,603.55
      Levine Kellogg Lehman
                                       Attorneys   1008.40    $209,418.00 $12,272.67     $221,690.67
      Schneider + Grossman LLP
      KapilaMukamal                  Accountants     461.7    $149,414.00   $3,456.43    $152,870.43
      Klasko Immigration Law
      Partners, LLP                    Attorneys     83.70     $26,664.50   $1,066.58     $27,731.08
      Downs Rachlin Martin PLLC
                                       Attorneys     83.70      $6,288.00     $36.13       $6,324.13

      Total                                        2737.00    $737,307.00 $58,912.86     $796,219.86


                                       8th Interim Fee Application
                                  September 1, 2019 - February 29, 2020

                 Name                 Specialty     Hours        Fees       Expenses         Total
     Receiver and Akerman LLP         Attorneys     749.50    $198,122.00   $21,784.05    $219,906.05
     Levine Kellogg Lehman
                                      Attorneys    1,246.80   $260,760.00   $60,629.51    $321,389.51
     Schneider + Grossman LLP
     KapilaMukamal                   Accountants     310.8    $106,367.90    $1,295.39    $107,663.29
     Klasko Immigration Law
     Partners, LLP                    Attorneys      96.70     $51,439.00    $2,057.56     $53,496.56
     Downs Rachlin Martin, PLLC
                                      Attorneys      16.30      $5,419.00        $0.00      $5,419.00

                 Total                             2,420.10   $622,107.90   $85,766.51    $707,874.41




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                                    9th Interim Fee Application
                                   March 1, 2020 – August 31, 2020

                 Name                Specialty   Hours        Fees       Expenses       Total
      Receiver and Akerman LLP       Attorneys    659.90   $181,644.50    $9,005.24   $190,649.74
      Levine Kellogg Lehman
                                     Attorneys    887.40   $196,759.00   $81,937.99   $278,696.99
      Schneider + Grossman LLP
      KapilaMukamal                Accountants    299.80   $101,687.20    $2,157.95   $103,845.15
      Klasko Immigration Law
      Partners, LLP                  Attorneys    284.70   $107,238.50    $4,289.54   $111,528.04
      Downs Rachlin Martin, PLLC
                                     Attorneys    113.70    $43,566.00     $512.19     $44,078.19

                 Total                            2245.5   $630,895.20   $97,902.91   $728,798.11




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                                       Exhibit 3
                 Fee Schedule: Names and Hourly Rates of Professionals And
                     Paraprofessionals & Total Amount Billed For Each
                             Professional and Paraprofessional




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                                                Exhibit 3(a)
                                       Receiver and Akerman LLP

      Name         Practice Area      Title        Year   Standard   Reduced    Total      Billable
                                                 Licensed   Rate      Rate      Hours      Amount

  Cotler, Cheryl   Real Estate      Paralegal       n/a    $325.00    $175.00     42.20     $7,385.00
  Goldberg,        Fraud &          Partner        1990    $800.00    $395.00    374.80   $148,046.00
  Michael I.       Recovery
  Kramer,          Real Estate      Partner        2007    $580.00    $395.00       .80      $316.00
  Jennifer M.
  Kretzschmar,     Bankruptcy       Special        2010    $450.00    $395.00     47.20    $18,644.00
  Catherine D.     and              Counsel
                   Reorganization
  Levit, Joan      Fraud &          Of             1993    $630.00    $395.00      1.50      $592.50
                   Recovery         Counsel
  Mclaughlin,      Fraud &          Document       n/a      $90.00     $75.00    109.60     $8,220.00
  Amanda           Recovery         Support
  Nowels,          Government       Partner        2003    $675.00    $395.00      2.00      $790.00
  Felicia L.       Affairs and
                   Public Policy
  Rebak, Joseph    Litigation       Partner        1980    $790.00    $395.00      5.30     $2,093.50
  Robins,          Real Estate      Partner        1984    $835.00    $395.50     20.50     $8,097.50
  Andrew S.
  Samsa, Mary      Tax              Partner        1996    $815.00    $395.00       .20       $79.00
  K.
  Sigmon, S.       Tax              Partner        2013    $530.00    $395.00      5.30     $2,093.50
  Montaye
  Smiley,          Fraud &          Paralegal      n/a     $300.00    $175.00    446.70    $78,172.50
  Kimberly A.      Recovery
  Surgeon,      Litigation          Associate      2009    $625.00    $395.00     33.10    $13,074.50
  Naim
  Wamsley,      Real Estate         Partner        2004    $665.00    $395.00     13.80     $5,451.00
  Andrew
  Wood, John B. Real Estate         Partner        1979    $965.00    $395.00      1.10      $434.50

  Blended Rate                                                        $265.81   1104.10
  Total                                                                                   $293,489.50




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                                         Exhibit 3(b)
                        Levine Kellogg Lehman Schneider + Grossman LLP

                                                  Year   Standard Reduced              Amount
      Name          Practice Area      Title                                  Hours
                                                licensed    Rate    Rate                Billed
 Tal Aburos        Commercial       Associate     2018     $345.00 $200.00     17.20   $3,440.00
                   Litigation
 Ana Maria         Receivership     Paralegal     n/a     $255.00   $125.00    94.70   $11,837.50
 Salazar           Support

 Jeffrey C.        Receiver &       Partner      1992     $695.00   $260.00   624.60 $162,396.00
 Schneider         Commercial
                   Litigation
 Jezabel Lima      Commercial       Partner      2001     $555.00   $250.00    21.90    $5,475.00
                   Litigation
 Stephanie Reed    Commercial       Partner      1998     $620.00   $250.00   172.50   $43,125.00
 Traband           Litigation
 Alexander G.      Commercial       Associate    2014     $425.00   $200.00    14.50    $2,900.00
 Strassman         Litigation
 Jason Kellogg     Commercial       Partner      2002     $555.00   $250.00     2.50     $625.00
                   Litigation
 Gabriel Lievano   Commercial       Associate    2017   $415.00     $200        8.20    $1,640.00
                   Litigation

 Blended Rate                                                       $242.06
 Total                                                                         956.1 $231,438.50




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                                             Exhibit 3(c)
                                              KapilaMukamal

             Name              Title        Year      Hours    Standard    Discount    Total Billed
                                          Licensed/             Billing      Rate
                                         Experience              Rate
        Lesley Johnson,    Partner/Tax       1984      58.20     $490.00     $395.00    $22,989.00
        CPA, CIRA
        Melissa Davis,     Partner           2002      31.50     $530.00     $395.00    $12,442.50
        CPA, CIRA,
        CFE
        Kevin McCoy,       Partner           2012        .30     $450.00     $395.00       $118.50
        CPA, CFF,
        CIRA
        Mark Parisi,       Consultant        2012        .20     $370.00     $370.00        $74.00
        CPA, CFE,
        CIRA
        Rachel Weiss,      Consultant        2015        .80     $350.00     $350.00       $280.00
        CPA, CFE
        Kathy Foster       Tax             33 years   146.50     $330.00     $330.00    $48,345.00
                           Consultant
        Frank Diaz-        Consultant       7 years    50.70     $310.00    $296.00-    $15,696.00
        Drago                                                               $310.009
        Jennifer Heider,   Tax               2001      45.20     $270.00     $270.00    $12,204.00
        CPA                Consultant
        Ky Johnson         Forensic         8 years    28.20     $170.00     $170.00     $4,794.00
                           Analyst


        Blended Rate                                                         $323.40
        Total                                          361.6                           $116,943.00




    9
        Rate adjustment, effective January 1, 2021.

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                                         Exhibit 3(d)
                              Klasko Immigration Law Partners, LLP


         Name      Practice        Year       Title     Standard Blended     Time      Billed
                    Area         Licensed                 Rate    Rate       Billed   Amount

     H. Ronald
     Klasko       Immigration     1974       Partner    $ 995.00   $495.00    16.40    $8,118.00
     Daniel B.
                  Immigration     2006       Partner    $ 655.00   $495.00     7.70    $3,811.50
     Lundy
     Jessica A.
     DeNisi       Immigration     2008      Associate   $ 505.00   $350.00   111.50   $39,025.00
     Iona Pal     Immigration      n/a      Paralegal   $ 240.00   $165.00      .40       $66.00
     Total                                                                   136.00   $51,020.50




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                                      Exhibit 4
                   Applicants’ Complete Time by Activity Code Category
                    For The Time Period Covered By This Application,
                              Sorted In Chronological Order




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                                  Exhibit 4(a)
                              Receiver and Akerman LLP




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                                                                                                         Akerman LLP
                                                                                                 Post Office Box 4906
                                                                                                      Orlando, FL 32802
                                                                                                       Tel: 407.254.2305
                                                                                                      Fax: 407.254.3408

                                                                           Invoice Date       September 29, 2021
                                                                           Invoice No.                  9714676


    MICHAEL I. GOLDBERG - RECEIVER
    C/O ASE, FORT LAUDERDALE
    LAS OLAS CENTRE II, SUITE 1600
    350 EAST LAS OLAS BOULEVARD
    FORT LAUDERDALE, FL 33301

    Client Name:   GOLDBERG, MICHAEL I., AS RECEIVER
    Matter Name:   JAY PEAK, INC.
    Matter Number: 0312632



    For professional services rendered through July 31, 2021 as summarized below:

             Services                                              $293,489.50

             Disbursements                                              $3,331.32
                        TOTAL THIS INVOICE                         $296,820.82



                        PREVIOUS BALANCE                                                     25,626.42
                        (Includes payments received through 09/29/21)
                        TOTAL AMOUNT DUE                                                  $322,447.24




                  To ensure proper credit to the above account, please indicate invoice no. 9714676
                                Return remittance sheet with payment in US funds.
                                                Wired funds accepted:
                                          Akerman LLP Operating Account
                                           c/o SunTrust Bank, Atlanta, GA
                                              ABA Number:
                                        Account Number:
                               Swift code               (For International Wires Only)
                                                 IRS EIN XX-XXXXXXX
   akerman.com
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Akerman LLP                                                                                          Page 3

021049       GOLDBERG, MICHAEL I., AS RECEIVER                         As of                   July 31, 2021
0312632      JAY PEAK, INC.                                            Invoice Number               9714676



Task Code:      501 ASSET ANALYSIS AND RECOVERY
13-Oct-20       Follow up with M. Goldberg on signing of               CRC              0.10          17.50
                documents.
16-Oct-20       Arrange for docusign for contract and rider for M.     CRC              0.50          87.50
                Goldberg; request comps from broker.
19-Oct-20       Follow up with M. Wiener on status of airplane         CRC              0.10          17.50
                hangar contract.
23-Oct-20       Forward documentation to Joan Levi and request         CRC              0.30          52.50
                motion and order for sale of property to Nicholson.
28-Oct-20       Attend conference call with C. Kretzschmar and         CRC              0.80        140.00
                broker with regard to sale to Nicholson; confer with
                K. Smiley on status of property sales; email with
                attorney M. Wiener on aircraft hangar contract.
18-Dec-20       Multiple communications and follow up with Wells       KAS              0.50          87.50
                Fargo regarding Tango Grill accounts.
5-Feb-21        Review and respond to investor email inquiry;          KAS              0.30          52.50
                Correspond with website administrator regarding
                issue with website.
                       Subtotal for Code 501 ASSET ANALYSIS AND                         2.60        455.00
                                        RECOVERY

Task Code:      502 ASSET DISPOSITION
1-Sep-20        Corresponded re sale of Burke property.                MIG              0.10          39.50
2-Sep-20        Corresponded with Wamsley re Burke property.           MIG              0.30        118.50
2-Sep-20        Confer with K. Mack and arrange for conference call    CRC              0.10          17.50
                on sale of Burke properties.
3-Sep-20        Respond to email from attorney M. Wiener regarding     CRC              0.20          35.00
                hangar transaction.
4-Sep-20        Attend conference call with M. Goldberg, A.            CRC              0.40          70.00
                Wamsley and K. Mack regarding sale of Burke
                properties; respond to email from M. Wiener on
                airplane hangar.
4-Sep-20        Review property files and prepare for call;            AJW              0.50        197.50
                teleconference with M. Goldberg, K. Mack, and C.
                Cotler regarding various proposals (Hamilton offer).
4-Sep-20        Conference with Andy Wamsley, Kevin Mack and a         MIG              0.30        118.50
                Cheryl Kottler re Burke neighbor's property sale.
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Akerman LLP                                                                                         Page 4

021049      GOLDBERG, MICHAEL I., AS RECEIVER                         As of                   July 31, 2021
0312632     JAY PEAK, INC.                                            Invoice Number               9714676


8-Sep-20       Receive tax bills from K. Smiley and research to       CRC              0.60        105.00
               confirm properties are owned by receivership; reply
               to K. Mack email regarding contract for Miller;
               respond to M. Wiener regarding contract for hangar.
9-Sep-20       Call and email M. Wiener with questions regarding      CRC              0.30          52.50
               hangar contract questions.
9-Sep-20       Review offer received from potential purchaser;        AJW              0.70        276.50
               teleconference with C. Cotler regarding offer;
               summarize offer and options in email to receiver
               (Miller offer).
10-Sep-20      Review comments to purchase agreement from             AJW              0.50        197.50
               purchaser's counsel (hangar contract).
11-Sep-20      Make additional revisions to airplane hangar           CRC              0.50          87.50
               purchase agreement; confer with A. Wamsely on
               matter; forward clean and blackline contract to M.
               Wiener.
11-Sep-20      Multiple correspondence regarding airport hangar       JML              0.00           0.00
               lease.
11-Sep-20      Attended weekly real estate meeting.                   MIG              0.30        118.50
16-Sep-20      Corrspond regarding final listing agreement on 266     KAS              0.20          35.00
               Village Road.
16-Sep-20      Confer with A. Wamsley on Miller contract; email       CRC              0.40          70.00
               Kevin Mack for status; forward listing agreement for
               266 N. Village Road, #320 to M. Goldberg for
               execution.
17-Sep-20      Follow up with M. Wiener on status of hangar           CRC              0.20          35.00
               purchase agreement.
18-Sep-20      Follow up with M. Goldberg on execution of Verizon     CRC              0.10          17.50
               - Burke Lease and of execution of listing agreement
               for Jay townhouse.
18-Sep-20      Emails with S. Adler regarding sale of property        AJW              0.30        118.50
               (Hamilton offer).
21-Sep-20      Follow up with M. Wiener on status of hangar           CRC              0.10          17.50
               contract.
24-Sep-20      Conference with potential Burke purchaser.             MIG              0.60        237.00
28-Sep-20      Prepared for and attended weekly real estate call.     MIG              0.30        118.50
29-Sep-20      Responded re sale of property.                         MIG              0.30        118.50
30-Sep-20      Conference with Schneider re MSK mediation and         MIG              1.10        434.50
               alas.
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Akerman LLP                                                                                           Page 5

021049      GOLDBERG, MICHAEL I., AS RECEIVER                           As of                   July 31, 2021
0312632     JAY PEAK, INC.                                              Invoice Number               9714676


30-Sep-20      Corresponded with potential purchaser.                   MIG              0.20          79.00
30-Sep-20      Confer with real estate paralegal regarding status of    JML              0.30        118.50
               sale of remaining properties.
1-Oct-20       Forward revised offer from Andrea Kupetz to              CRC              0.20          35.00
               Michael Goldberg; request updated listing agreement
               from B. Wright.
1-Oct-20       Email broker Brooke Wright and request updated           CRC              0.10          17.50
               listing agreement for Jay Peak townhouse.
2-Oct-20       Communications with receiver and with purchaser's        AJW              0.60        237.00
               counsel regarding transfer of property and adjustment
               of boundary line (Hamilton property).
5-Oct-20       Revise contract for airplane hangar and forward clean    CRC              1.30        227.50
               and blackline to M. Wiener; review contract for
               Victory Road property, draft rider; forward email to
               broker with questions; forward Verizon documents to
               M. Goldberg.
6-Oct-20       Finalize Burke - Verizon lease and memo of lease         CRC              0.30          52.50
               and forward to A. Wamsley and M. Goldberg.
6-Oct-20       Obtain receiver's signature on lease and                 AJW              0.80        316.00
               memorandum of lease; coordinate delivery of
               documents with tenant's counsel (Burke / antennae
               lease).
7-Oct-20       Confer with A. Wamsley on Nicholson transaction,         CRC              0.40          70.00
               revise rider; prepare listing agreement and forward to
               A. Kupetz; follow up with B. Wright for updated
               listing agreement.
7-Oct-20       Correspond with C. Cotler regarding State of             KAS              0.10          17.50
               Vermont Department of Taxes Sales Verification
               Form for 986 Lake Road.
8-Oct-20       Finalize listing agreement for Jay townhouse and         CRC              0.30          52.50
               forward to B. Wright.
8-Oct-20       Review final comments and revise contract                AJW              1.30        513.50
               documents; coordinate signature of M. Goldberg
               (Victory Road / Nicholson).
12-Oct-20      Respond to email from K. Foster.                         CRC              0.10          17.50
13-Oct-20      Follow up with payment for Newport property taxes.       KAS              0.10          17.50
16-Oct-20      Review and finalize contract for purchase and sale on    KAS              0.40          70.00
               behalf of Receiver pertaining to Victory Road;
               Follow up telephone conference with C. Cotler
               regarding same.
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Akerman LLP                                                                                           Page 6

021049      GOLDBERG, MICHAEL I., AS RECEIVER                           As of                   July 31, 2021
0312632     JAY PEAK, INC.                                              Invoice Number               9714676


22-Oct-20      Emails with M. Goldberg and purchaser's attorney         AJW              0.60        237.00
               regarding revised offer for boundary line adjustment;
               teleconference with purchaser's attorney (Hamilton
               offer).
27-Oct-20      Review motion for sale of Victory parcel.                CRC              0.30          52.50
27-Oct-20      Follow up with counsel on status of airplane hangar      CRC              0.10          17.50
               transaction.
28-Oct-20      Prepare for and participate in conference call with      CDK              0.30        118.50
               real estate agent regarding 00 Victory lot.
28-Oct-20      Revise sale motion for 00 Victory lot (.7); prepare      CDK              0.80        316.00
               email to SEC re same (.1).
29-Oct-20      Draft 00 Victory Lot proposed Order; revise and          CDK              0.80        316.00
               finalize 00 Victory Lot Sale Motion for filing.
2-Nov-20       Emails with opposing counsel regarding boundary          AJW              0.70        276.50
               line agreements; review draft documentation received
               from opposing counsel (Burke boundary line).
3-Nov-20       Review Nicholson court order and request certified       CRC              0.40          70.00
               copy; follow up with broker on status of legal
               description; request Vermont transfer tax forms be
               prepared; follow up with K. Smiley on tax bills for
               Newport block.
3-Nov-20       Draft Amended Order granting sale; email to              CDK              0.40        158.00
               chambers regarding same.
4-Nov-20       Review and respond to emails from N. Downey              CRC              0.20          35.00
               regarding tax forms for Nicholson transfer.
4-Nov-20       Confer with C. Cotler regarding Renaissance Block        KAS              0.20          35.00
               property taxes.
5-Nov-20       Follow up with A. Wamsley on boundary line               CRC              0.10          17.50
               agreement;
6-Nov-20       Review and fill out Vermont form for Newport block       CRC              1.10        192.50
               properties; receive executed airplane hangar contract
               and forward to M. Wiener.advise C. Kretzchmar of
               need for court order for airplane hangar sale; prepare
               and forward email to Nicholson buyer's attorney
               regarding closing.
9-Nov-20       Follow up with attorney for Nicholson regarding          CRC              0.30          52.50
               setting closing date; confer with A. Wamsley on
               hangar transaction.
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10-Nov-20      Email A. Wamsley regarding boundary line                CRC              0.70        122.50
               agreement; review appraisal and update Renaissance
               Block request for proposal.
11-Nov-20      Confer with K. Smiley regarding hangar transaction;     CRC              0.60        105.00
               forward requested documentation for preparation of
               court order; contact Newport tax collector, leave
               message; respond to email from M. Goldberg on
               hangar.
11-Nov-20      Research receivership and public records for details    KAS              3.50        612.50
               pertaining to airport hangar background and value;
               several calls with Jay Peak Professionals and Airport
               Manager; Call with C. Cotler; Email to M. Goldberg
               regarding same.
11-Nov-20      Confer with J. Smiley regarding need for comps for      CDK              0.30        118.50
               airplane hanger sales motion; research same.
12-Nov-20      Correspond regarding tax bill.                          KAS              0.20          35.00
12-Nov-20      Calls with Gavin and Stenger regarding airport          KAS              0.80        140.00
               hangar; review records regarding asset value and
               comparables.
12-Nov-20      Follow up with T. Young, attorney for Nicholson         CRC              0.70        122.50
               regarding transaction; contact Newport Tax Collector
               regarding Renaissance Blake; update RFP and
               forward completed RFP to M. Goldberg and T.
               Blake; respond to numerous emails from K. Smiley
               on airport hangar.
12-Nov-20      Review letter and email to M. Weiner (sale of           AJW              0.40        158.00
               hangar).
13-Nov-20      Forward draft of Nicholson deed to purchaser's          CRC              0.20          35.00
               attorney and to receiver.
13-Nov-20      Confer with K. Smiley regarding recorded memo of        CRC              0.20          35.00
               lease for hangar; forward email from G. Tapper
               regarding recordation of memo of lease.
13-Nov-20      Confer with C. Cotler regarding airplane hangar asset   KAS              0.50          87.50
               turnover; Review information provided regarding
               recording of memo of lease for same.
13-Nov-20      Research sale of personalty under 28 U.S.C. Ã‚Â§        KAS              0.60        105.00
               2004.
16-Nov-20      Follow up with M. Goldberg regarding execution of       CRC              0.10          17.50
               Nicholson deed.
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19-Nov-20      Follow up with M. Goldberg regarding signed deed          CRC              0.30          52.50
               for Nicholson closing.
19-Nov-20      Forward email to M. Goldberg regarding price for          CRC              0.10          17.50
               townhouse and advise broker.
20-Nov-20      Review motion for sale of hangar; confer with K.          CRC              0.30          52.50
               Smiley on matter.
20-Nov-20      Correspond with C. Kretschzmar regarding airport          KAS              0.30          52.50
               hangar approval motion.
20-Nov-20      Review revised motion to sell airport hangar.             KAS              0.30          52.50
20-Nov-20      Review and revise draft Motion to Approve Sale of         CDK              3.20       1,264.00
               Airport Hanger (2.9); review and analyze documents
               provided by KM pertaining to Hanger (.3).
21-Nov-20      Review and respond to SEC's inquiry regarding             KAS              0.80        140.00
               airport hangar; research relevant information and
               correspond with attorney regarding same; prepare
               email to Airport Manager regarding comparable
               sales.
23-Nov-20      Correspond with D. Gauvin and C. Kretzschmar              KAS              0.50          87.50
               regarding details needed to clarify issues pertaining
               to airport hangar approval motion.
23-Nov-20      Email correspondence regarding possible revisions         CDK              0.20          79.00
               needed to Airport Hanger Sales Contract.
23-Nov-20      Draft closing instruction letter for sale to Nicholson;   CRC              0.90        157.50
               review closing statement and request revisions; revise
               deed; deliver closing package to FedEx; confer with
               A. Wamsley on size of airplane hangar.
24-Nov-20      Confer with A. Wamsley on airplane hangar matter;         CRC              0.40          70.00
               receive and review closing statement for sale of 22
               acres; forward closing statement to M. Goldberg for
               execution.
24-Nov-20      Emails with C. Kretzchmar and C. Cotler regarding         AJW              0.50        197.50
               exhibit to lease agreement and possible paths forward
               (Hangar sale).
24-Nov-20      Confer with MIG and then AW regarding necessary           CDK              0.30        118.50
               addendum to sale documents for hanger; emails to
               KM re same.
24-Nov-20      Follow up with status of amendment to purchase and        KAS              0.30          52.50
               sale agreement for airport hangar.
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25-Nov-20      Confer with G. Tapper at State of Vermont regarding        CRC              0.40          70.00
               size of the hangar; confer with A. Wamsley on
               matter; prepare and forward an email to outside
               counsel requesting preparation of a contract
               addendum to clear up square footage discrepancy,
30-Nov-20      Forward townhouse listing agreement to M. Goldberg         CRC              0.60        105.00
               for execution; finalize closing of 22 acre parcel;
               confer with A. Wamsley on two matters for contracts
               to sell real property.
30-Nov-20      Research matter for Cheryl Cotler regarding closing        AMM              0.70          52.50
               on receivership property; Conference call with Trust
               regarding same; Conference call with cheryl Cotler
               regarding confirmation of funds received for closing.
30-Nov-20      Prepare escrow deposit form pertaining to net              KAS              0.90        157.50
               proceeds received from the sale of Victory Road
               property; Update property chart to reflect sale details;
               Correspond with C. Cotler regarding HUD statement.
3-Dec-20       Reviewed and executed listing agreement.                   MIG              0.20          79.00
3-Dec-20       Follow up with M. Goldberg regarding listing               CRC              0.30          52.50
               agreement for townhouse; forward signed visiting
               agreement to Brooke Wright; follow up with attorney
               Marc Wiener regarding issue with size of hangar.
8-Dec-20       Call with Wells Fargo Legal Order Processing               KAS              1.10        192.50
               regarding previously liquidate Tango Grill funds per
               court order; Prepare memo with attachments to M.
               Goldberg regarding Tango Grill frozen funds
9-Dec-20       Confer with AW and CC regarding sale purchase              CDK              0.10          39.50
               addendum.
14-Dec-20      Review proposed amendment to contract for hangar           CRC              0.30          52.50
14-Dec-20      Review documents related to boundary line transfer         AJW              1.00        395.00
               received from purchaser's attorney (Hamilton
               offer/Burke Mountain).
16-Dec-20      Follow up with AW and CC regarding negotiation of          CDK              0.20          79.00
               supplement to sale contract
17-Dec-20      Email M. Wiener regarding amendment to airplane            CRC              1.40        245.00
               hangar contract; review boundary line agreement,
               review legal description; draft email to A. Wamsley
               on matter; email M. Goldberg regarding offer from
               Miller on Burke parcel; review purchase agreement
               and draft rider; forward documents to A. Wamsley.
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17-Dec-20      Follow up call with Wells Fargo Legal Order              KAS              0.80        140.00
               Processing; Draft letter and fax to Wells Fargo
               regarding status of Tango Grill accounts.
28-Dec-20      Review executed Addendum (.2); review SEC                CDK              2.40        948.00
               comments to Motion and research same (.8); revise
               Motion accordingly (.6); draft proposed Order (.5);
               prepare email correspondence to SEC (.3).
29-Dec-20      Revise, finalize, and file Sale Motion; prepare email    CDK              0.70        276.50
               and order for submission to chambers.
4-Jan-21       Respond to email from K. Foster regarding property       CRC              0.70        122.50
               sales in last quarter; forward necessary documents to
               K. Foster; follow up with counsel on the status of the
               airplane hangar contract; review order to sell hangar
               and request certified copy.
4-Jan-21       Review Court's Order Granting Receiver's Motion for      KAS              0.50          87.50
               Authorization to Sell Aircraft Storage Hangar and
               confer with attorney regarding in compliance with
               order.
4-Jan-21       Correspond with D. Gavin regarding commission            KAS              0.40          70.00
               payment earned in connection with sale of airport
               hangar; Research and download tax form for
               completion by Gavin
5-Jan-21       Follow up with A. Wamsley on status of boundary          CRC              0.30          52.50
               line agreement transaction and Miller transaction.
6-Jan-21       Follow up with M. Wiener on hangar closing.              CRC              0.20          35.00
8-Jan-21       Email Guy Tapper regarding termnaiton of lease;          CRC              0.30          52.50
               follow up with M. Wiener.
11-Jan-21      Follow up on status of hangar transaction; follow up     CRC              0.30          52.50
               on status of Miller transaction.
14-Jan-21      Review revised rider for Miller contract.                CRC              0.20          35.00
14-Jan-21      Review contract and rider to contract; make revisions    AJW              0.70        276.50
               and transmit (Miller transaction).
19-Jan-21      Review Miller contract and rider and forward to          CRC              0.40          70.00
               Michael Goldberg for execution.
20-Jan-21      Follow up with M. Wiener on tax filing for sale of       CRC              0.60        105.00
               hangar; follow up with M. Goldberg on execution of
               Miller contract; forward signed contract to Kevin
               Mack; forward Miller contract to C. Kretzchmar and
               request application for court approval; respond to K.
               Smiley with regard to Bogner property.
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21-Jan-21      Prepare synopsis of Miller transaction for motion;       CRC              1.30        227.50
               confer with C. Kretzchmar on motion and order for
               Miller; respond to email from Miller's attorney;
               follow up on status of airplane hangar transaction;
               review executed quitclaim bill of sale.
21-Jan-21      Confer with C. Cotler regarding sale of vacant parcel;   CDK              1.80        711.00
               review and analyze purchase agreement; commence
               preparation of motion.
25-Jan-21      Review email from K. Mack, confer with A.                CRC              0.10          17.50
               Wamsley regarding certificates of insurance on trails
25-Jan-21      Emails with K. Mack and M. Goldberg regarding            AJW              0.70        276.50
               trails and liability questions (Burke Mountain).
27-Jan-21      Follow up on status of scheduling hangar closing;        CRC              0.30          52.50
               exchange emails with N. Maclure on Bogner listing.
28-Jan-21      Email M. Goldberg regarding extension of Bogner          CRC              0.10          17.50
               listing.
29-Jan-21      Revise Bogner listing agreement and forward to M.        CRC              0.50          87.50
               Goldberg for signature; follow up with C.
               Kretzschmar on status of Miller motion.
1-Feb-21       Follow up with M. Goldberg on Bogner listing             CRC              0.10          17.50
               agreement.
4-Feb-21       Hangar - prepare email to Guy Tapper regarding           CRC              0.40          70.00
               transaction; prepare email to M. Wiener regarding
               transaction, request closing statement and closing
               date.
5-Feb-21       Review draft closing statement for sale of airplane      CRC              0.30          52.50
               hangar.
8-Feb-21       Follow up with outside counsel regarding scheduling      CRC              0.30          52.50
               of closing for hangar.
9-Feb-21       Review correspondence from City of Newport               KAS              0.20          35.00
               regarding water utility update and payment regarding
               Bogner property.
10-Feb-21      Follow up with outside counsel on status of              CRC              0.10          17.50
               transaction.
12-Feb-21      Prepared for and attended real estate call.              MIG              0.40        158.00
15-Feb-21      Hangar - revise bill of sale and arrange for execution   CRC              0.40          70.00
               by M. Goldberg.
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16-Feb-21      Confer with attorney M. Wiener on airplane hangar        CRC              0.30          52.50
               transaction; follow up with C. Kretzchmar on status
               of Miller motion and order.
16-Feb-21      Corresponded with Wright re sale.                        MIG              0.20          79.00
16-Feb-21      Conference with Don Graham re real estate.               MIG              0.30        118.50
17-Feb-21      Draft letter to M. Wiener to send hangar closing         CRC              0.30          52.50
               documents.
18-Feb-21      Reviewed and executed hangar deed.                       MIG              0.40        158.00
18-Feb-21      Prepared for and attended conference call with           MIG              1.10        434.50
               potential buyer and Houlihan re sale.
23-Feb-21      Follow up with C. Kretzchmar as to Miller motion,        CRC              0.40          70.00
               review two revised offers for townhouse unit; follow
               up on status of closing date for hangar transaction.
24-Feb-21      Review and analysis of Kerslake contract; draft rider    CRC              0.80        140.00
               to contract; confer with A. Wamsley on matter;
               forward contract and rider to broker; follow up on
               status of airplane hangar closing.
24-Feb-21      Review draft purchase agreement; emails with M.          AJW              0.60        237.00
               Goldberg (Kerslake, #320).
24-Feb-21      Conference with Brooke Wright re condo contract.         MIG              0.30        118.50
24-Feb-21      Reviewed contract.                                       MIG              0.20          79.00
25-Feb-21      Review and respond to inquiry from D. Gauvin             KAS              0.10          17.50
               regarding airport hangar closing.
25-Feb-21      Review contract offer and amendment to listing           KAS              0.30          52.50
               agreement regarding 266 N. Village Road and
               follow-up with C. Cotler regarding same.
25-Feb-21      Confer with C. Cotler regarding updates on sale of       KAS              0.40          70.00
               properties.
25-Feb-21      Review email from Kerslake attorney and revise           CRC              0.80        140.00
               rider; forward rider to broker; forward final contract
               documents to M. Goldberg for execution and return
               signed documents to broker; email C. Kretzchamr
               regarding new deal.
26-Feb-21      Forward Village Road contract and rider to C.            CRC              0.60        105.00
               Kretzchmar and request preparation of motion and
               order; respond to attorney for purchaser Miller on
               setting closing; forward email to C. Kretzchmar;
               review boundary line agreement and respond to A.
               Wamsley.
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26-Feb-21      Commence drafting Motion to Sell 1.51 Acre Parcel       CDK              2.00        790.00
26-Feb-21      Corresponded with Kopp re sales status .                MIG              0.20          79.00
1-Mar-21       Continue to draft Motion to Sell 1.51 Acre (2.5);       CDK              3.20       1,264.00
               draft Order granting Motion(.4); prepare email to
               SEC enclosing same (.3).
1-Mar-21       Review closing statement for hangar and forward to      CRC              0.20          35.00
               M. Goldberg for sign off.
2-Mar-21       Emails with S. Adler and M. Goldberg regarding          AJW              0.50        197.50
               boundary line agreement transaction; review updated
               agreement (Hamilton / Boundary Line Agreement).
2-Mar-21       Corresponded with potential purchaser.                  MIG              0.20          79.00
2-Mar-21       Review and follow up on Q Burke sale motion and         KAS              0.20          35.00
               status.
3-Mar-21       Review and analyze closing statement for Airport        KAS              0.40          70.00
               Hangar; Correspond with C. Cotler regarding same.
3-Mar-21       Confer with potential purchaser re proposed             MIG              0.40        158.00
               structure.
3-Mar-21       Corresponded with Kopp re call with purchaser.          MIG              0.20          79.00
3-Mar-21       Review emails on status of airplane hangar              CRC              0.40          70.00
               transaction; confer with local counsel on Vermont tax
               forms for Miller transaction.
3-Mar-21       Review purchase contract provided by C. Cotler (.3);    CDK              1.40        553.00
               research background of same(.2) ; commence
               preparation of Sale Motion (.9).
4-Mar-21       Forward court order to Miller attorney and request      CRC              0.40          70.00
               closing date; follow up on status of hangar closing;
               follow up on signed boundary line agreement.
4-Mar-21       Corresponded with investor re sale status.              MIG              0.30        118.50
5-Mar-21       Reviewed and executed Hamilton Boundary deed.           MIG              0.20          79.00
5-Mar-21       Forward executed boundary line agreement with           CRC              0.30          52.50
               explanation to C. Kretzchmar for preparation of
               motion and order; follow up on status of hangar
               closing.
5-Mar-21       Emails to finalize documentation and coordinate         AJW              0.60        237.00
               delivery of signatures (Hamilton / Boundary Line
               Agreement).
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8-Mar-21       Close hangar transaction; email Guy Tapper               CRC              0.40          70.00
               regarding termination of lease; email Miller attorney
               to set closing. ;
8-Mar-21       Correspond regarding Airport Hangar sale matters.        KAS              0.40          70.00
8-Mar-21       Correspond with C. Cotler regarding Buyer's post         KAS              0.20          35.00
               closing inquiry for Airport Hangar.
8-Mar-21       Receipt of wire advice regarding net proceeds from       KAS              0.50          87.50
               the sale of the Airport Hangar and arrange for deposit
               of funds; Correspond with Receiver regarding same.
9-Mar-21       Research regarding property sales subject to SEC         KAS              0.50          87.50
               judgment.
9-Mar-21       Reply to email from D. Gauvin on hangar closing.         CRC              0.10          17.50
10-Mar-21      Contact D. Gauvin on address regarding fee for sale      CRC              0.10          17.50
               of hangar.
11-Mar-21      Conference with potential Burke purchaser.               MIG              0.40        158.00
12-Mar-21      Review correspondence from Vermont Electric              KAS              0.20          35.00
               regarding 172 Bogner; Correspond with C. Cotler
               regarding same.
12-Mar-21      Confer regarding status of sale transaction.             NSS              0.50        197.50
15-Mar-21      Follow up with C. Kretzschmar on status of motion        CRC              0.10          17.50
               and order for sale of townhouse.
16-Mar-21      Prepare and forward email to Brooke Wright               CRC              0.60        105.00
               regarding source deed for sale of Jay Peak
               townhome.review condominium documents for
               correct information on identifier for townhome; email
               C. Kretzchmar regarding status of townhome motion
               and order.
17-Mar-21      Draft deed for townhome closing; respond to broker's     CRC              0.60        105.00
               email regarding closing date.
18-Mar-21      Review email from C. Kretzschmar and forward legal       CRC              0.20          35.00
               description for townhouse unit.
18-Mar-21      Review sale agreements and ryder thereto (.4);           CDK              3.10       1,224.50
               commence preparation of Sale Motion for Unit 320
               (2.7).
19-Mar-21      Continue to draft Unit 320 Sale Motion and Proposed      CDK              1.20        474.00
               Order.
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19-Mar-21      Follow up with M. Wiener's office on gains tax            CRC              0.30          52.50
               questions regarding sale to Miller; respond to C.
               Kretzschmar on motion and order for sale of
               townhome.
22-Mar-21      Respond to broker B. Wright on Kerslake closing.          CRC              0.10          17.50
22-Mar-21      Corresponded with Mack re buyer.                          MIG              0.20          79.00
23-Mar-21      Conference with Mack re land sale.                        MIG              0.30        118.50
23-Mar-21      Forward information to M. Wiener requesting gains         CRC              0.70        122.50
               tax forms for Kerslake closing; review Kerslake
               motion and respond to email from C. Kretzschmar;
               email K. Sultan regarding Act 250 and Miller
               closing; advise Miller attorney regarding
               Development REview Board Approval as to
               subdivision; finalize draft of Kerslake deed and
               forward to attorney for approval.
23-Mar-21      Revise, finalize and file Motion to Sell Unit 320 (.5);   CDK              0.70        276.50
               submit proposed Order (.2).
24-Mar-21      Draft deed for Miller transaction; follow up on status    CRC              0.60        105.00
               of Vermont transfer tax forms. arrange for deed
               execution by M. Goldberg; respond to email from B.
               Wright.
25-Mar-21      Numerous calls re sales status.                           MIG              0.30        118.50
25-Mar-21      Review property sale motion and arrange for website       KAS              0.30          52.50
               posting; Follow up with C. Cotler regarding closing.
25-Mar-21      Prepare updates to Quiros real property chart             KAS              0.40          70.00
               regarding sale of Burke property.
26-Mar-21      Follow up with C. Kretzchmar on status of Kerslake        CRC              0.50          87.50
               motion; receive motion and forward to buyer's
               attorney to schedule closing; obtain M. Goldberg
               approval on costs to obtain tax forms; obtain W9
               form for Burke/Verizon.
26-Mar-21      Call with investment bank.                                NSS              0.60        237.00
29-Mar-21      Confer with A. Wamsley regarding Miller transaction       CRC              0.40          70.00
               and Act 250; respond to K. Sultan on mater; request
               certified copy of order for Kerslake closing; forward
               copy of order to broker B. Wright.
29-Mar-21      Follow up with N. Surgeon regarding Houlihan              KAS              0.20          35.00
               Lokey and sale of Jay Peak resort.
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30-Mar-21      Prepare for Kerslake closing; request condo                CRC              0.50          87.50
               estoppels; receive and review estoppels; request
               updated closing statement; receive and review closing
               statement and forward to M. Goldberg for review and
               execution.
31-Mar-21      Confer with attorney on Kerslake closing and               CRC              0.30          52.50
               forward seller executed closing statement; follow up
               with C. Kretzchmar on status of Hamilton motion and
               order.
31-Mar-21      Commence researching and drafting boundary line            CDK              3.20       1,264.00
               sale motion.
31-Mar-21      Reviewed and executed closing statement for Jay            MIG              0.30        118.50
               Peak condo.
1-Apr-21       Communications regarding sale of 266 N. Village            KAS              0.20          35.00
               Road.
2-Apr-21       Follow up on status of closing of 266 N. Village           CRC              0.50          87.50
               Road; confer with broker B. Wright; forward draft
               deed to Miller attorney in preparation for closing;
               respond to emails from C. Kretzchmar regarding
               motion on boundary line transaction.
5-Apr-21       Finalize closing of 266 N. Village Road, Unit 320.         CRC              0.30          52.50
5-Apr-21       Correspond regarding banking matters pertaining to         KAS              1.40        245.00
               sale of real property; Review various court filings to
               ascertain if funds are restricted; Correspond with M.
               Goldberg regarding same.
7-Apr-21       Follow up with attorney Simon on status of Miller          CRC              0.20          35.00
               closing.
8-Apr-21       Follow up with C. Kretzschmar on outstanding               CRC              0.40          70.00
               approval of motion for boundary line agreement;
               draft closing instruction letter for Miller closing.
8-Apr-21       Conference call with K. Smiley re pending sale             CDK              3.50       1,382.50
               motions (.6); research regarding boundary line
               agreement (.5); review and analyze prior sale motions
               and reporting on same for administrative update
               purposes (.9); draft update to file on asset disposition
               to date (1.5).
9-Apr-21       Follow up with SEC regarding boundary line                 CDK              0.80        316.00
               agreement: review response; confer with A.Wamsley
               and review file regarding additional information
               sought.
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9-Apr-21       Follow up on Miller closing, and request closing          CRC              0.20          35.00
               statement.
9-Apr-21       Emails with C. Kretzchmar and C. Coter regarding          AJW              0.50        197.50
               details of closing (Adler / boundary line agreement).
9-Apr-21       Corresponded with investors re sale status.               MIG              0.30        118.50
12-Apr-21      Receive and review Miller closing statement; confer       CRC              0.50          87.50
               with Miller attorney and request changes to
               statement; forward revised statement to M. Goldberg
               for approval and execution.
12-Apr-21      Revise boundary line motion                               CDK              0.00           0.00
13-Apr-21      Review and analyze sale files and documents for           CDK              2.70       1,066.50
               additional information pertaining to boundary line
               agreement (1.3); revise Motion to address issues
               raised by SEC (.9); prepare email to SEC (.2);
               finalize Motion and Exhibits for filing (.3).
13-Apr-21      Administrative                                            CRC              0.00           0.00
13-Apr-21      Finalize Miller closing.; obtain fully executed closing   CRC              0.30          52.50
               statement.
13-Apr-21      Reviewed funds transfer for closing to Miller;            KAS              0.30          52.50
               Prepare escrow deposit form.
13-Apr-21      Reviewed Order Granting Receiver's Motion to Sell         KAS              0.20          35.00
               1.51 Acre Parcel of Land (Located Off Town
               Highway #41) Owned by Burke 2000, LLC.
14-Apr-21      Review settlement statement from C. Cotler re: Burke      KAS              0.40          70.00
               2000 property closing and update chart.
16-Apr-21      Research and provide historical information to            KAS              0.50          87.50
               paralegal regarding Cross Road / VT Route 105
               property.
16-Apr-21      Review correspondence from Town of Coventry               KAS              0.10          17.50
               regarding property sale.
16-Apr-21      Prepare and forward email to M. Goldberg regarding        CRC              0.30          52.50
               offer made o 10.4 acre property.
19-Apr-21      Email M Goldberg regarding offer made for Jay Peak        CRC              0.10          17.50
               10..4 acres.
23-Apr-21      Order certified copy of Hamilton order; confer with       CRC              0.40          70.00
               A. Wamsley on matter.
23-Apr-21      Review issued court order and transmit to seller's        AJW              0.50        197.50
               attorney; emails with seller's attorney regarding
               closing (Boundary line agreement).
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26-Apr-21      Forward copy of certified court order for Hamilton to   CRC              0.10          17.50
               Hamilton's attorney.
26-Apr-21      Confer with attorney Adler on sale to Hamilton.         CRC              0.30          52.50
27-Apr-21      Review executed boundary line agreement.                CRC              0.20          35.00
28-Apr-21      Prepare closing instruction letter for Hamilton         CRC              0.40          70.00
               closing; review final package of closing documents.
29-Apr-21      Finalize closing escrow letter for Hamilton.            CRC              0.30          52.50
30-Apr-21      Correspond regarding insurance renewal for 172          KAS              0.40          70.00
               Bogner; Review and finalize application for renewal
               on Receiver's behalf.
3-May-21       Review update from C. Cotler regarding settlement       KAS              0.20          35.00
               statement and a boundary line adjustment form.
3-May-21       Review closing statement and boundary line              CRC              0.30          52.50
               document; forward to M. Goldberg for execution.
4-May-21       Finalize Hamilton closing.                              CRC              0.40          70.00
4-May-21       Reviewed and executed Burke closing document.           MIG              0.30        118.50
5-May-21       Review insurance invoice for Bogner and prepare and     CRC              0.00           0.00
               forward email to K. Smiley and A. McLaughlin
               regarding payment of insurance bill.
6-May-21       Reviewed Houlihan sales documents and                   MIG              0.40        158.00
               corresponded with Kopp.
7-May-21       Call to discuss status of transaction with HL.          NSS              0.50        197.50
14-May-21      Research property sales for last quarter and respond    CRC              0.50          87.50
               to email from K. Foster.
18-May-21      Review Notice of City of Newport regarding utility      KAS              0.00           0.00
               payment and arrange for payment of same.
20-May-21      Conference with Burke investor and counsel re sale.     MIG              0.50        197.50
21-May-21      Call with HL regarding status. Review and provide       NSS              1.30        513.50
               comments on proposed changes to NDA.
7-Jun-21       Review letter from State of Vermont regarding           CRC              0.30          52.50
               subdivision; confer with A. Wamsley on matter.
8-Jun-21       Review redlined NDA and provide comments to             NSS              0.60        237.00
               investment bank.
9-Jun-21       Review purchase agreement and Rider to purchase         AJW              1.30        513.50
               agreement; transmit to M. Goldberg and N. Maclure
               (Bogner / Newport).
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9-Jun-21       Review Bogner contract; draft rider to contract; email   CRC              1.00        175.00
               questions to M. Goldberg; confer with A. Wamsley
               on matter.
11-Jun-21      Confer with investment bank. Provide comments to         NSS              1.20        474.00
               updated information.
14-Jun-21      Respond to email from Kevin Mack regarding               CRC              0.30          52.50
               Hamilton subdivision; review subdivision map.
17-Jun-21      Prepare and forward rental invoice to Guy Tapper         CRC              0.10          17.50
               regarding sale of airplane hangar.
17-Jun-21      Review correspondence from VT Trans regarding            KAS              0.30          52.50
               airport hangar; Correspond with C. Cotler regarding
               same.
18-Jun-21      Confer regarding status update. Review and authorize     NSS              2.10        829.50
               additional NDA's provided by investment bank
24-Jun-21      Review and provide comments to markups on 10             NSS              3.20       1,264.00
               NDA's.
29-Jun-21      Review and revise NDA's. Confer with HL regarding        NSS              1.30        513.50
               drafting of NDAs.
9-Jul-21       Corresponded with broker re contract.                    MIG              0.20          79.00
12-Jul-21      Conference re sale of property.                          MIG              0.30        118.50
13-Jul-21      Correspond re Bogner sale with McClure.                  MIG              0.20          79.00
13-Jul-21      Conference re sale of ski lift.                          MIG              0.20          79.00
20-Jul-21      Prepared for and attended call to discuss offers.        MIG              0.80        316.00
20-Jul-21      Call with Andy Wamsley and email concerning              ASR              0.50        197.50
               contract
21-Jul-21      Corresponded with realtor re sale.                       MIG              0.20          79.00
21-Jul-21      Corresponded with Wright re sale.                        MIG              0.20          79.00
22-Jul-21      Develop business issue list and revisions to PSA         ASR              1.50        592.50
23-Jul-21      Conference call with MG and AW; review data room         ASR              3.00       1,185.00
               materials and draft agreement
23-Jul-21      Review emails; conference call with M. Goldberg          AJW              0.50        197.50
               and A. Robins (Jay Peak).
23-Jul-21      Conference with Wamsley and Robbins re sale.             MIG              0.30        118.50
23-Jul-21      Corresponded with Kopp re contract.                      MIG              0.20          79.00
25-Jul-21      Review property info and org charts                      ASR              3.00       1,185.00
26-Jul-21      Review contents of the data room                         ASR              2.00        790.00
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26-Jul-21       Work on PSA and list of issues needed from business      ASR                1.50        592.50
                people
27-Jul-21       Develop issue list for transaction                       ASR                1.00        395.00
28-Jul-21       Work on PSA; develop lists for data room                 ASR                2.50        987.50
28-Jul-21       Discuss ground lease questions with John Wood            ASR                0.50        197.50
28-Jul-21       Review of Ground Lease and Amendments, survey            JBW                1.10        434.50
                and disposition materials for asset transfer/sale
28-Jul-21       Corresponded re sale of resort.                          MIG                0.30        118.50
30-Jul-21       Telephone with Andy Wamsley; prepare issue list          ASR                2.00        790.00
                and list of documentation for data room; transmittal
                to Ethan Kopp,
31-Jul-21       Draft PSA                                                ASR                3.00       1,185.00
                        Subtotal for Code 502 ASSET DISPOSITION                           155.70     47,923.50

Task Code:      503 BUSINESS OPERATIONS
1-Sep-20        Correspond with Jay Peak personnel regarding             KAS                0.40          70.00
                wedding deposit.
1-Sep-20        Conference with Tatge re Burke.                          MIG                0.20          79.00
3-Sep-20        Conference with Tatge re Burke accident.                 MIG                0.20          79.00
8-Sep-20        Corresponded with new regional center re                 MIG                0.50        197.50
                sponsorship.
10-Sep-20       Conference with Tatge re Burke.                          MIG                0.20          79.00
14-Sep-20       Reviewed winch cat lease and conference with             MIG                0.60        237.00
                Leisure and Mack re same.
14-Sep-20       Corresponded with Kopp re potential purchase.            MIG                0.20          79.00
17-Sep-20       Corresponded with Tatge, Mack and Endicott re solar      MIG                0.20          79.00
                issue.
18-Sep-20       Conference re solar panel issue.                         MIG                0.20          79.00
18-Sep-20       Conference with Tatge re new groomer.                    MIG                0.20          79.00
22-Sep-20       Research information on status of certificates of        KAS                0.80        140.00
                deposit for Burke and Jay letters of credit; Follow up
                with bank regarding same.
30-Sep-20       Corresponded with Wright re budget.                      MIG                0.20          79.00
20-Nov-20       Conference with Gallagher re status.                     MIG                0.30        118.50
20-Nov-20       Reviewed and executed wedding escrow.                    MIG                0.10          39.50
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20-Nov-20      Review Wedding Escrow Agreement and deposit;            KAS              0.60        105.00
               Arrange for deposit of funds and correspond with Jay
               Peak team re: same.
23-Nov-20      Corresponded with Tatge re snowmaking.                  MIG              0.20          79.00
25-Nov-20      Corresponded with Endicott re financials                MIG              0.30        118.50
2-Dec-20       Correspond regarding wedding deposit.                   KAS              0.40          70.00
1-Feb-21       Conference call regarding PPP2                          FLN              2.00        790.00
1-Feb-21       Telephone conference with client regarding employee     SMS              2.70       1,066.50
               retention tax credit and PPP questions. Research
               questions raised during call and send client email
               with responses. Various email communications
               regarding controlled group questions.
3-Feb-21       Review and evaluate information from Kapila             SMS              0.80        316.00
               accounting firm regarding controlled group question
               (in connection with evaluating potential availability
               of employee retention tax credit).
13-Feb-21      Corresponded with Endicott re loan.                     MIG              0.30        118.50
15-Feb-21      Conference with Endicott re bank loan and reviewed      MIG              0.40        158.00
               documents re same.
19-Feb-21      Conference with Tatge re Wright contract.               MIG              0.30        118.50
19-Feb-21      Conference with Endicott and bank re financing.         MIG              0.40        158.00
22-Feb-21      Reviewed comparable received from Brook Weight          MIG              0.80        316.00
               and contracts and conference re proposals.
1-Mar-21       Corresponded with McNeil re data processor letter of    MIG              0.20          79.00
               credit.
1-Mar-21       Corresponded with Endicott re mortgage.                 MIG              0.30        118.50
1-Mar-21       Review email exchange from D. McNeil regarding          KAS              0.10          17.50
               letters of credit.
2-Mar-21       Reviewed finances re borrowing.                         MIG              0.40        158.00
4-Mar-21       Corresponded with Tatge re Wright contract and          MIG              0.30        118.50
               status.
5-Mar-21       Corresponded with Mack re Kingdom Trails                MIG              0.30        118.50
               agreement and reviewed agreement.
5-Mar-21       Corresponded with Mack re Graham.                       MIG              0.20          79.00
5-Mar-21       Corresponded with Endicott and bankers re               MIG              0.30        118.50
               financing.
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9-Mar-21       Research status of business operations (.8); confer   CDK              1.20        474.00
               with K. Shinder re same (.4)
10-Mar-21      Conference with banker re loan.                       MIG              0.20          79.00
12-Mar-21      Corresponded re cash flow.                            MIG              0.30        118.50
15-Mar-21      Corresponded with bankers re loan.                    MIG              0.40        158.00
16-Mar-21      Conference with banker re loan.                       MIG              0.30        118.50
17-Mar-21      Conference re line of credit.                         MIG              0.40        158.00
18-Mar-21      Corresponded re loan.                                 MIG              0.30        118.50
23-Mar-21      Drafted memo to banker re assets and need for         MIG              0.70        276.50
               borrowing.
23-Mar-21      Review documentation and correspond regarding         KAS              0.40          70.00
               Vermont Grant Disbursement in connection with Jay
               Peak Hotel Suites II. .
24-Mar-21      Attend to banking matters; Call with M. Jaspe         KAS              0.40          70.00
               regarding same.
24-Mar-21      Follow up with E. Frady regarding State of Vermont    KAS              0.20          35.00
               grant payment.
24-Mar-21      Corresponded re banking issues.                       MIG              0.30        118.50
26-Mar-21      Prepared for and attended real estate call.           MIG              0.40        158.00
26-Mar-21      Conference with Wright re cash.                       MIG              0.20          79.00
26-Mar-21      Conference with banker re line of credit.             MIG              0.30        118.50
26-Mar-21      Correspond regarding Verizon Lease payment due to     KAS              0.40          70.00
               Q Burke Mountain, LLC; Complete and send Form
               W-9 to C. Cotler .
29-Mar-21      Corresponded with Wright and Mack re occupancy.       MIG              0.20          79.00
29-Mar-21      Reviewed banking documents.                           MIG              0.30        118.50
30-Mar-21      Conference with Herman Russomano re Burke status.     MIG              0.70        276.50
30-Mar-21      Corresponded with Wright re financials.               MIG              0.20          79.00
31-Mar-21      Corresponded with Wright re status.                   MIG              0.20          79.00
1-Apr-21       Corresponded with Wright re report (.2).              MIG              0.20          79.00
2-Apr-21       Conference with Wright re finances.                   MIG              0.30        118.50
9-Apr-21       Conference with manager re financial position.        MIG              0.40        158.00
21-Apr-21      Conference with staff re line of credit.              MIG              0.30        118.50
26-Apr-21      Corresponded with Endicott re budgets.                MIG              0.30        118.50
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27-Apr-21      Conference re bank loans and reviewed Endicott       MIG              0.50        197.50
               correspondence re same.
29-Apr-21      Prepared for and attended annual budget conference   MIG              2.30        908.50
               with Leisure and managers.
29-Apr-21      Corresponded with bank re line of credit.            MIG              0.30        118.50
3-May-21       Reviewed financial documents.                        MIG              0.60        237.00
4-May-21       Conference with Smiley re accounts.                  MIG              0.30        118.50
5-May-21       Reviewed loan commitment.                            MIG              0.40        158.00
6-May-21       Reviewed bank commitment re Jay Peak loan.           MIG              0.40        158.00
7-May-21       Reviewed bank commitment.                            MIG              0.30        118.50
11-May-21      Conference re bank loan.                             MIG              0.30        118.50
13-May-21      Reviewed banking line of credit term sheet.          MIG              0.30        118.50
14-May-21      Reviewed loan terms and corresponded with Endicott   MIG              0.40        158.00
               re same.
17-May-21      Reviewed documents re loan commitment.               MIG              0.40        158.00
17-May-21      Corresponded re finances.                            MIG              0.30        118.50
19-May-21      Corresponded with Endicott re loan.                  MIG              0.40        158.00
20-May-21      Prepared for and attended call with bankers.         MIG              0.60        237.00
20-May-21      Conference with Endicott re bank loan.               MIG              0.40        158.00
21-May-21      Reviewed banking documents and conference with       MIG              0.30        118.50
               Endicott.
24-May-21      Corresponded with Endicott re loan.                  MIG              0.30        118.50
26-May-21      Reviewed financials.                                 MIG              0.30        118.50
1-Jun-21       Conference with Gary re finances.                    MIG              0.30        118.50
3-Jun-21       Corresponded re lift.                                MIG              0.40        158.00
7-Jun-21       Reviewed correspondence re loan.                     MIG              0.30        118.50
7-Jun-21       Conference with Mack re Burke.                       MIG              0.20          79.00
9-Jun-21       Reviewed bank commitment re loan.                    MIG              0.40        158.00
10-Jun-21      Corresponded with Endicott re loan.                  MIG              0.20          79.00
16-Jun-21      Conference with Endicott and Tatge re solar power    MIG              0.30        118.50
               proposal.
17-Jun-21      Conference re bank loans with Endicott.              MIG              0.40        158.00
18-Jun-21      Conference re line of credit.                        MIG              0.40        158.00
22-Jun-21      Conference re bank loan.                             MIG              0.20          79.00
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23-Jun-21       Conference with Endicott re funds.                       MIG               0.20          79.00
23-Jun-21       Conference with Mack re solar.                           MIG               0.20          79.00
25-Jun-21       Prepared for and attended bank call re line of credit.   MIG               0.50        197.50
8-Jul-21        COO responded with Tatge re chairlift.                   MIG               0.20          79.00
9-Jul-21        Conference with Tatge re lift.                           MIG               0.30        118.50
12-Jul-21       Conference with Endicott re loan                         MIG               0.20          79.00
30-Jul-21       Review hotel management agreement re: termination        JMK               0.80        316.00
                issues.
                      Subtotal for Code 503 BUSINESS OPERATIONS                           39.70     14,867.50

Task Code:      504 CASE ADMINISTRATION
1-Sep-20        Follow up with Receiver regarding status.                KAS               0.10          17.50
1-Sep-20        Corresponded re USCIS.                                   MIG               0.30        118.50
2-Sep-20        Dealt with banking issues.                               MIG               0.40        158.00
2-Sep-20        Review correspondence from City of Newport               KAS               0.30          52.50
                regarding result of grievance day appeal and notify
                Receiver of same.
2-Sep-20        Review State of Vermont Decision of the Board of         KAS               0.30          52.50
                Civil Authority regarding denial of lowering fair
                market value of Jay Peak Inc. and correspond with
                Receiver regarding same.
2-Sep-20        Correspond with Phase 3 investor regarding case          KAS               0.40          70.00
                status.
2-Sep-20        Correspond with K. Foster regarding 172 Bogner           KAS               0.20          35.00
                update.
2-Sep-20        Prepare payment request for invoice from vendor;         AMM               0.00           0.00
                Prepare email to office manager regarding mailing
                instructions for payment; Profile payment
                information.
3-Sep-20        Monitor receivership emails; Prepare updates             KAS               0.70        122.50
                regarding address change requests.
3-Sep-20        Review and revise proforma.                              JML               0.00           0.00
4-Sep-20        Work on billing matters associated with fee              KAS               0.00           0.00
                application.
4-Sep-20        Work on responding to investor inquiries and address     KAS               1.70        297.50
                change requests; Update charts; Correspond with Jay
                Peak team regarding same.
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4-Sep-20       Work exhibits for fee application.                      JML              0.00           0.00
8-Sep-20       Work on exhibits for fee application.                   JML              0.00           0.00
8-Sep-20       Attend to investors inquiries.                          KAS              0.80        140.00
9-Sep-20       Follow up with Receiver regarding investor              KAS              0.30          52.50
               redeployment inquiry.
9-Sep-20       Review and follow up on Raymond James settlement        KAS              0.60        105.00
               reminder pertaining to Phase 8.
9-Sep-20       Multiple updates for status report.                     JML              0.00           0.00
9-Sep-20       Corresponded with creditor re USCIS.                    MIG              0.20          79.00
10-Sep-20      Conference with investors re USCIS.                     MIG              0.30        118.50
10-Sep-20      Follow up with Receiver regarding investor's inquiry    KAS              0.20          35.00
               regarding USCIS' new redeployment policy.
14-Sep-20      Review and revise fee application and exhibits.         JML              0.00           0.00
14-Sep-20      Prepare payment requests for property tax, annual tax   AMM              0.00           0.00
               and Vermont corporate tax due; Prepare mailing and
               certified receipt forms for same.
14-Sep-20      Scan and profile tax filings and certified mailing      AMM              0.00           0.00
               receipts.
14-Sep-20      Corresponded with investors re USCIS.                   MIG              0.30        118.50
15-Sep-20      Profile tax filings and certified mailing receipts.     AMM              0.00           0.00
15-Sep-20      Prepare edits to joint status report.                   NSS              0.50        197.50
15-Sep-20      Edit fee application and exhibits.                      JML              0.00           0.00
15-Sep-20      Review and monitor receivership emails.                 KAS              0.60        105.00
16-Sep-20      Profile tax filings and certified mailing receipts.     AMM              0.00           0.00
16-Sep-20      Scan and profile People's United Bank account           AMM              0.00           0.00
               statements; Prepare email to Jay Peak management
               with regarding same.
16-Sep-20      Scan and profile tax payment information.               AMM              0.00           0.00
17-Sep-20      Organize tax records; Prepare storage boxes and         AMM              0.00           0.00
               labels for tax records.
17-Sep-20      Conference with creditor re USCIS.                      MIG              0.20          79.00
18-Sep-20      Review and revise draft report.                         KAS              0.60        105.00
18-Sep-20      Work on financial reporting matters for report.         KAS              1.10        192.50
18-Sep-20      Communications with F. Centeno regarding updating       KAS              0.30          52.50
               SFAR.
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21-Sep-20      Research and respond to inquiry from F. Centeno          KAS              0.30          52.50
               regarding trust activity matters.
21-Sep-20      Compile exhibits for review by SEC and prepare           KAS              0.00           0.00
               download link for attorney.
21-Sep-20      Multiple correspondence with Receiver and paralegal      JML              1.20        474.00
               regarding status of receivership matters.
22-Sep-20      Correspond with investor's immigration attorney          KAS              0.20          35.00
               regarding denial and response template.
22-Sep-20      Multiple communications with F. Centeno regarding        KAS              0.80        140.00
               information pertaining to Standardized Fund
               Accounting Form; Review draft and correspond with
               Receiver regarding same.
22-Sep-20      Continued analysis of trust accounting and determine     KAS              2.00        350.00
               restricted funds versus available funds; Prepare chart
               and discuss with Receiver.
22-Sep-20      Review letter from IRS regarding status of GSI tax.      KAS              0.10          17.50
22-Sep-20      Review final SFAR prepared by F. Centeno and             KAS              0.40          70.00
               correspond with Receiver regarding same.
22-Sep-20      Corresponded with investors re USCIS.                    MIG              0.30        118.50
22-Sep-20      Corresponded with investors re USCIS.                    MIG              0.30        118.50
23-Sep-20      Reviewed PowerPoint, numerous conferences with           MIG              5.80       2,291.00
               Schneider and preparation for MSK mediation.
23-Sep-20      Corresponded with investors re status.                   MIG              0.20          79.00
23-Sep-20      Multiple correspondence with Receiver and paralegal      JML              0.00           0.00
               regarding fee application.
23-Sep-20      Multiple communications with City National Bank          KAS              2.20        385.00
               and M. Goldberg regarding collateral securing Burke
               Letter of Credit; Review and analyze bank documents
               pertaining to same and correspond with bank to
               ensure certain funds remain unencumbered.
23-Sep-20      Review invoice from OTR Group regarding                  KAS              0.30          52.50
               preparation of financial report and arrange for
               payment of same.
23-Sep-20      Analysis of financial accounts for reporting purposes    KAS              1.40        245.00
               and multiple discussions with J. Levit and M.
               Goldberg regarding same.
23-Sep-20      Compile and finalize exhibits for fee application and    KAS              0.00           0.00
               review and redact same for privilege.
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24-Sep-20      Continue to review professional fee invoices for          KAS              1.50        262.50
               privilege information and finalize exhibits for filing.
24-Sep-20      Analysis of accounting regarding available funds.         KAS              0.90        157.50
24-Sep-20      Research Raymond James settlement language                KAS              0.70        122.50
               regarding Phase 8 escrowed funds.
24-Sep-20      Correspond with S. Traban regarding privilege.            KAS              0.40          70.00
24-Sep-20      Prepare email to trust regarding vendor payment           AMM              0.40          30.00
               request; Prepare mailing for payment; Profile
               payment information.
24-Sep-20      Review mediation presentation. Confer with court          NSS              1.50        592.50
               regarding status of receivership.
24-Sep-20      Conference with Pieciak re status.                        MIG              0.40        158.00
25-Sep-20      Reviewed and executed letter to USCIS.                    MIG              0.20          79.00
25-Sep-20      Continue to review and redact professional fee            KAS              0.00           0.00
               invoices.
25-Sep-20      Finalize exhibit to I-829 template and correspond         KAS              0.40          70.00
               with J. DeNisi.
25-Sep-20      Multiple conferences regarding redacted invoices for      JML              0.00           0.00
               fee application.
28-Sep-20      Research and prepare email to investor regarding          AMM              1.70        127.50
               information needed to update address.
28-Sep-20      Research and prepare email to paralegal regarding         AMM              0.30          22.50
               change of address request received from investor.
28-Sep-20      Corresponded with creditors re USCIS.                     MIG              0.40        158.00
29-Sep-20      Conference with Tatge re meeting.                         MIG              0.20          79.00
30-Sep-20      Corresponded with creditor re USCIS.                      MIG              0.30        118.50
30-Sep-20      Research and update investor's information per            AMM              0.70          52.50
               address change request received from investor;
               Prepare email to Jay Peak management and investor
               confirming change of address; Profile emails and
               documents received from investor.
30-Sep-20      Prepare email to paralegal regarding payment              AMM              0.00           0.00
               received from Jay Peak Resort for a Wedding
               deposit; Prepare escrow deposit form and mailing for
               payment to be deposited.
30-Sep-20      Prepare calendar reminder for paralegal to follow up      AMM              0.00           0.00
               regarding wedding deposit and contract.
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1-Oct-20      Prepare payment request for vendor invoice; Prepare     AMM              0.60          45.00
              mailing for same; Profile payment information.
1-Oct-20      Corresponded re offer on Burke property                 MIG              0.20          79.00
1-Oct-20      Corresponded re Sutton mediation.                       MIG              0.20          79.00
1-Oct-20      Corresponded re appraisals.                             MIG              0.20          79.00
2-Oct-20      Conference with Tatge, Wright and Endicott re           MIG              0.40        158.00
              budgets and cash flow.
2-Oct-20      Corresponded with Levenson re fee application (.2).     MIG              0.20          79.00
2-Oct-20      Corresponded with immigration counsel re status.        MIG              0.20          79.00
2-Oct-20      Corresponded with investors re status.                  MIG              0.30        118.50
5-Oct-20      Conference with Tatge re condos.                        MIG              0.30        118.50
5-Oct-20      Prepared email to Levenson re immigration issues        MIG              0.60        237.00
              and corresponded with immigration counsel and
              reviewed LP agreements.
5-Oct-20      Research and prepare email to paralegal regarding       AMM              0.20          15.00
              funds received for wedding at Jay Peak resort.
5-Oct-20      Correspond regarding numerous investor inquiries;       KAS              0.80        140.00
              Work on address updates.
5-Oct-20      Prepare investor/attorney email lists for noticing of   KAS              2.50        437.50
              project update to Jay Peak Hotel Suites Stateside
              investors; Finalize and send notice and dealt with
              follow-up inquiries regarding same.
5-Oct-20      Work on investor K-1 requests; Correspond regarding     KAS              0.90        157.50
              I-829 denials.
5-Oct-20      Prepare files and send to J. Schneider in conjunction   KAS              0.70        122.50
              with Carroll & Scribner settlement.
5-Oct-20      Review and finalize wedding escrow agreement and        KAS              0.40          70.00
              deposit of funds.
5-Oct-20      Prepare escrow refund request for Holliquist wedding    KAS              0.60        105.00
              deposit and correspond with J. Eveland regarding
              same.
5-Oct-20      Review correspondence regarding Golf & Mountain         KAS              0.10          17.50
              Investor's denial.
6-Oct-20      Work on release of wedding escrow funds to Jay          KAS              0.50          87.50
              Peak Inc.
6-Oct-20      Correspond with investors regarding I-829 denials,      KAS              0.60        105.00
              K-1's and work on address change updates.
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6-Oct-20      Correspond with Receiver regarding broker inquiry.      KAS              0.10          17.50
6-Oct-20      Reviewed and executed Verizon lease with Burke.         MIG              0.30        118.50
6-Oct-20      Corresponded with investors re USCIS.                   MIG              0.20          79.00
7-Oct-20      Conference with Levenson re immigration counsel.        MIG              0.30        118.50
7-Oct-20      Reviewed and executed RE listing agreement.             MIG              0.20          79.00
7-Oct-20      Corresponded with investor re resort budget and sale.   MIG              0.20          79.00
7-Oct-20      Corresponded re USCIS and immigration issues.           MIG              0.30        118.50
7-Oct-20      Corresponded re MSK.                                    MIG              0.30        118.50
7-Oct-20      Draft letter from Receiver to SunTrust regarding        KAS              0.30          52.50
              transfer of funds.
7-Oct-20      Follow up with City National regarding Burke Letter     KAS              0.10          17.50
              of Credit issue.
7-Oct-20      Monitor receivership inquiries regarding denials and    KAS              0.60        105.00
              K-1 requests and follow up regarding same; Review
              incoming receivership mail and attend to same;
              Confer with A. McLaughlin regarding pending
              matters.
7-Oct-20      Review eDiscovery invoices for accuracy and             KAS              0.40          70.00
              correspond with Receiver for payment approval;
              Prepare and process check request for payment.
7-Oct-20      Prepare payment request and mailing for vendor          AMM              0.70          52.50
              invoice; Profile payment records.
8-Oct-20      Telephone conference with V. Cuomo and M. Torres        KAS              0.80        140.00
              regarding $500k funds transfer pertaining to Burke
              Letter of Credit; Follow-up with accounting team
              regarding same; Update Receiver on matter.
8-Oct-20      Review State of Vermont Tax Notices addressed to        KAS              0.50          87.50
              Jay Peak Inc. and correspond with Receiver and
              accountant regarding same.
8-Oct-20      Follow up matters regarding Burke Letter of Credit      KAS              0.30          52.50
              collateral.
8-Oct-20      Conference with Schneider re MSK demand.                MIG              0.40        158.00
8-Oct-20      Reviewed case law on demand.                            MIG              1.40        553.00
8-Oct-20      Corresponded with investors re USCIS.                   MIG              0.30        118.50
9-Oct-20      Prepared for and attended weekly real estate call.      MIG              0.30        118.50
9-Oct-20      Conference with love son and Klasko firm re scope       MIG              0.30        118.50
              of work.
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9-Oct-20       Corresponded with investors re USCIS.                   MIG              0.30        118.50
9-Oct-20       Corresponded re property tax appeal.                    MIG              0.20          79.00
9-Oct-20       Correspond regarding immigration inquiries and K-1      KAS              1.50        262.50
               requests; Review incoming Receivership mail and
               follow up regarding same.
9-Oct-20       Review and revise draft Receiver Interim Report and     KAS              0.90        157.50
               finalize exhibits.
9-Oct-20       Work on property tax payments pertaining to 151         KAS              1.00        175.00
               Main Street properties in Newport, VT; Update
               property tracking chart regarding same and future
               payments due.
12-Oct-20      Correspond with several investors regarding K-1         KAS              1.50        262.50
               requests and verify contact information; Research and
               prepare digital pass code encrypted copy of same and
               email to investor.
12-Oct-20      Final preparation of report and exhibits for filing.    KAS              0.70        122.50
12-Oct-20      Correspond with D. McNeil and L. Johnson                KAS              0.60        105.00
               regarding address changes and update charts.
12-Oct-20      Review and organize professional fee invoices for       KAS              0.30          52.50
               future fee application.
12-Oct-20      Follow up with deadlines regarding reporting matters.   KAS              0.40          70.00
12-Oct-20      Review and follow up with request from forensic         KAS              0.20          35.00
               accountants regarding bank activity.
12-Oct-20      Correspond with investor regarding case status.         KAS              0.30          52.50
12-Oct-20      Prepare update for Jay Peak receivership website        KAS              0.30          52.50
               regarding court filing.
13-Oct-20      Final review and sign off of Verizon lease.             MIG              0.40        158.00
13-Oct-20      Reviewed and revised Groomer lease.                     MIG              0.60        237.00
13-Oct-20      Corresponded with investors re status.                  MIG              0.30        118.50
14-Oct-20      Conference with SchneiderBrooks McArthur and            MIG              1.80        711.00
               David Williams re background.
14-Oct-20      Prepared for and attended call with Mary Parent re      MIG              0.60        237.00
               Winch Cat lease.
14-Oct-20      Corresponded with investors re status.                  MIG              0.30        118.50
14-Oct-20      Corresponded with creditors re sale status and          MIG              0.40        158.00
               USCIS.
14-Oct-20      Conference with Endicott re heartland.                  MIG              0.20          79.00
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14-Oct-20      Attend to Jay Peak Investor's requests for K-1;        KAS              0.40          70.00
               Research and verify information and provide
               encrypted copy of same.
15-Oct-20      Call with investor regarding in-person meeting with    KAS              0.10          17.50
               Receiver.
15-Oct-20      Review investor correspondence regarding I-829         KAS              0.20          35.00
               denial and update Receiver's files; Correspond with
               D. McNeil re: same.
15-Oct-20      Corresponded with investors re USCIS.                  MIG              0.20          79.00
15-Oct-20      Reviewed damage calculation.                           MIG              0.30        118.50
16-Oct-20      Conference with Fernando Chaves re status.             MIG              0.60        237.00
16-Oct-20      Corresponded with investors re USCIS.                  MIG              0.30        118.50
16-Oct-20      Correspond with A. McLaughlin regarding payment        KAS              0.10          17.50
               of monthly vendor invoice for hosting services.
16-Oct-20      Work on investor K-1 inquiries and address updates;    KAS              0.50          87.50
               Review incoming receivership mail and determine if
               further action is required.
20-Oct-20      Review and respond to inquiry from accountant          KAS              1.20        210.00
               regarding details for various trust transactions to
               determine proper allocation for tax purposes.
20-Oct-20      Conference with Mary Parent re Winch Cat lease.        MIG              0.30        118.50
20-Oct-20      Conference with Tatge and Mack re lease.               MIG              0.30        118.50
20-Oct-20      Corresponded with creditors re status.                 MIG              0.20          79.00
21-Oct-20      Conference with Endicott re budget and other issues.   MIG              0.40        158.00
21-Oct-20      Corresponded with investors re USCIS.                  MIG              0.30        118.50
21-Oct-20      Corresponded with Russ Barr re mediation.              MIG              0.30        118.50
21-Oct-20      Reviewed Schneider letter re MSK and corresponded      MIG              0.30        118.50
               with Schneider re same.
21-Oct-20      Conference with Pieciak re mediation.                  MIG              0.30        118.50
21-Oct-20      Revised Winch Cat lease and corresponded with          MIG              0.40        158.00
               Parent.
21-Oct-20      Call with A. McLaughlin regarding payment of           KAS              0.30          52.50
               invoices.
21-Oct-20      Research and prepare payment request for vendor        AMM              0.80          60.00
               invoice; Prepare email regarding same to trust;
               Prepare email to office manager with mailing
               directions for payment; Profile payment records.
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21-Oct-20      Research and prepare password encrypted digital        AMM              1.40        105.00
               copies of K-1s for investors; Prepare emails with
               same to respective investor.
22-Oct-20      Research and prepare password protected digital copy   AMM              0.70          52.50
               of K-1 for investor; Prepare email regarding same to
               investor.
22-Oct-20      Review correspondence from IRS regarding reject        KAS              0.20          35.00
               power of attorney form and contact accountant
               regarding resubmission.
22-Oct-20      Assemble documents for review by M. Goldberg in        KAS              0.30          52.50
               preparation for mediation.
22-Oct-20      Process investor address change requests and respond   KAS              0.70        122.50
               to inquiries for K-1's; Review incoming receivership
               mail.
22-Oct-20      Review IRS letter regarding employee withholding       KAS              0.20          35.00
               issue and contact Leisure Group regarding same.
22-Oct-20      Prepared for and attended State of Vermont             MIG              7.50       2,962.50
               mediation.
22-Oct-20      Corresponded with investors re K-1s.                   MIG              0.30        118.50
23-Oct-20      Attended weekly call.                                  MIG              0.40        158.00
23-Oct-20      Corresponded with investor re sale status.             MIG              0.20          79.00
23-Oct-20      Respond to request for immigration attorney for        KAS              0.40          70.00
               documentation to respond to I-829 filing.
23-Oct-20      Correspond with K. Foster regarding adjusted journal   KAS              0.10          17.50
               entries.
23-Oct-20      Call with J. Levit regrading case status matters.      KAS              0.30          52.50
23-Oct-20      Call with investment bank regarding status of sale     NSS              0.60        237.00
               transaction.
26-Oct-20      Review correspondence from IRS regarding rejected      KAS              0.30          52.50
               Forms 2848 and follow up with accountant.
26-Oct-20      Prepared for and attended SSVR mediation.              MIG              7.50       2,962.50
27-Oct-20      Conference with Endicott re certification for state    MIG              0.20          79.00
               grants.
27-Oct-20      Corresponded with investors re sale status.            MIG              0.30        118.50
27-Oct-20      Conference with Barr re mediation.                     MIG              0.30        118.50
27-Oct-20      Conference with Kklasko and DeNisi re accountants      MIG              0.30        118.50
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27-Oct-20      Conference with Parent and reviewed and signed off      MIG              0.30        118.50
               on lease.
27-Oct-20      Corresponded re Degreenia mediation.                    MIG              0.20          79.00
27-Oct-20      Correspond regarding Intralinks payment.                KAS              0.10          17.50
27-Oct-20      Prepare reconciliation of trust activity to ascertain   KAS              2.00        350.00
               total expense relating to Quiros' real property.
27-Oct-20      Receipt and review of Court's Order Approving Ninth     KAS              0.30          52.50
               Fee Application and correspond with Receiver and J.
               Levit regarding same.
27-Oct-20      Research and prepare payment request for vendor         AMM              0.70          52.50
               invoice; Prepare email regarding same to trust;
               Prepare email to office manager with mailing
               directions for payment; Profile payment records.
28-Oct-20      Review file and draft reply to AUSA regarding status    NSS              0.90        355.50
               of adjudication of petitions.
28-Oct-20      Call with C. Cotler regarding status of Quiros real     KAS              0.50          87.50
               property sales.
28-Oct-20      Conference with M. Goldberg regarding Quiros' real      KAS              0.30          52.50
               property expenses.
28-Oct-20      Review court's order granting professional fee          KAS              0.40          70.00
               payments; Prepare email to M. Goldberg and J. Levit
               regarding same.
28-Oct-20      Prepare updates to Master Quiros Property Chart;        KAS              3.30        577.50
               Begin preparation of list of expenses associated with
               preservation of properties.
28-Oct-20      Drafted subordination agreement for heartland and       MIG              0.90        355.50
               corresponded re same.
28-Oct-20      Conference with Klasko re Kapila and corresponded       MIG              0.50        197.50
               with Pratt re same.
28-Oct-20      Conference with Levenson re cash in estate.             MIG              0.30        118.50
28-Oct-20      Conference with Harley Tal and Jeff re people's         MIG              0.50        197.50
               mediation.
28-Oct-20      Corresponded with creditors re status.                  MIG              0.20          79.00
28-Oct-20      Corresponded with Blake re Newport building.            MIG              0.40        158.00
29-Oct-20      Conference with Prescott re Burke tax appraiser         MIG              0.40        158.00
               settlement.
29-Oct-20      Conference with Klasko and Pratt re Kapila .            MIG              0.20          79.00
29-Oct-20      Corresponded with credited re sales status.             MIG              0.40        158.00
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29-Oct-20      Conference with Schneider re status .                      MIG              0.30        118.50
29-Oct-20      Research and prepare electronic copy of investor's K-      KAS              0.40          70.00
               1; Correspond with investor regarding completion of
               W-9 form.
29-Oct-20      Review and analysis of receivership records and            KAS              3.00        525.00
               catalog expenses relating to preservation of Quiros'
               real property since inception of case.
30-Oct-20      Research and catalog expenses paid by Receiver             KAS              5.40        945.00
               since incepetion of case toward Quiros real property.
30-Oct-20      Confer with immigration counsel and AUSA                   NSS              1.70        671.50
               regarding status of petitions. Prepare joint stipulation
               re: I-829 and voluntary dismissal of I-526 action.
30-Oct-20      Corresponded re sales status.                              MIG              0.30        118.50
30-Oct-20      Conference re MSK mediation.                               MIG              0.40        158.00
30-Oct-20      Attended weekly sales call.                                MIG              0.20          79.00
30-Oct-20      Finalized winch cat lease.                                 MIG              0.30        118.50
30-Oct-20      Corresponded re Klasko USCIS issue.                        MIG              0.20          79.00
2-Nov-20       Conference re MSK.                                         MIG              0.30        118.50
2-Nov-20       Conference re PUB with Schneider.                          MIG              0.10          39.50
2-Nov-20       Corresponded with Pieciak re status.                       MIG              0.20          79.00
2-Nov-20       Continue preparation of expense chart pertaining real      KAS              7.00       1,225.00
               property subject to SEC's judgment against Quiros.
3-Nov-20       Correspond with accounting firm regarding K-1              KAS              0.10          17.50
               request.
3-Nov-20       Continue preparation of expense chart pertaining real      KAS              6.50       1,137.50
               property subject to SEC's judgment against Quiros.
3-Nov-20       Scan and prepare email to paralegal regarding              AMM              0.30          22.50
               utilities invoice
3-Nov-20       Conference with investors re sales status.                 MIG              0.30        118.50
3-Nov-20       Conference re heartland.                                   MIG              0.20          79.00
4-Nov-20       Conference with investors re USCIS.                        MIG              0.30        118.50
4-Nov-20       Conference with Schneider re MSK.                          MIG              0.40        158.00
4-Nov-20       Confer with immigration counsel and amend status           NSS              1.20        474.00
               report.
4-Nov-20       Multiple conferences with accounting team regarding        KAS              0.50          87.50
               wire verification matters.
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4-Nov-20       Work on investor K-1 requests and address updates.      KAS              0.40          70.00
5-Nov-20       Correspond with counsel for investor regarding I-829    KAS              0.40          70.00
               petition records; Update chart to reflect G28
               representation for investor.
5-Nov-20       Review Amended Order Granting Receiver's Second         KAS              0.80        140.00
               Amended Order Granting Receiver's Second Motion
               for Authorization to Sell 22 Acres aka Victory Road;
               Update receivership website and Property Chart
               regarding same.
5-Nov-20       Review and analyze receivership mail; Work on           KAS              0.90        157.50
               investor address change and K-1 requests.
5-Nov-20       Work on records storage and organization matters.       KAS              0.80        140.00
5-Nov-20       Corresponded with creditors re USCS and other           MIG              0.40        158.00
               issues
5-Nov-20       Conference with Schneider re MSK and reviewed           MIG              0.40        158.00
               response to ALAS,
6-Nov-20       Prepared for and attended weekly call.                  MIG              0.40        158.00
6-Nov-20       Corresponded with investors re USCIS (.3).              MIG              0.30        118.50
6-Nov-20       Conference with Barr re claims.                         MIG              0.30        118.50
6-Nov-20       Corresponded with Schneider re MSK.                     MIG              0.40        158.00
6-Nov-20       Responds to investor inquiries regarding K-1 requests   KAS              1.80        315.00
               and immigration matters; Work on banking and
               billing matters; Update investor contact charts;
               Confer with A. McLaughlin regarding records.
8-Nov-20       Review correspondence from G. Endicott regarding        KAS              0.10          17.50
               legal fees.
9-Nov-20       Research and Prepare password encrypted K-1s for        AMM              0.90          67.50
               investors.
9-Nov-20       Prepared for and attended PUB premeditation call        MIG              1.20        474.00
               and reviewed documents relevant thereto.
9-Nov-20       Conference with Levenson and Schneider re fee           MIG              0.30        118.50
               agreements
9-Nov-20       Conference with Schneider re PUB and other cases.       MIG              0.70        276.50
9-Nov-20       Conference with Tropin Lipshitz and Schneider re        MIG              0.40        158.00
               PUB case .
9-Nov-20       Corresponded with creditors re status.                  MIG              0.20          79.00
10-Nov-20      Finalized Heartland subordination agreement.            MIG              0.40        158.00
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10-Nov-20      Responded with investors re sales status.               MIG              0.20          79.00
10-Nov-20      Reviewed RFP for Newport property with Cotler.          MIG              0.30        118.50
10-Nov-20      Conference with Endicott re fair funds accounting       MIG              0.20          79.00
               issue.
10-Nov-20      Conference with Levenson re litigation.                 MIG              0.30        118.50
10-Nov-20      Corresponded re watches.                                MIG              0.30        118.50
10-Nov-20      Preparation of check request for payment of Downs       KAS              0.30          52.50
               Rachlin City of Newport challenge.
10-Nov-20      Correspond with counsel for investors regarding         KAS              0.40          70.00
               contact information and immigration updates.
10-Nov-20      Update Quiros Real Property expenditure chart.          KAS              0.40          70.00
11-Nov-20      Confer with attorney regarding approval motion for      KAS              0.30          52.50
               airport hangar.
11-Nov-20      Multiple conferences with C. Cotler regarding airport   KAS              0.60        105.00
               hangar offer and background in preparation of motion
               to approve sale.
11-Nov-20      Begin draft of motion to approval sale of airport       KAS              1.50        262.50
               hangar.
11-Nov-20      Corresponded with Schneider re MSK.                     MIG              0.30        118.50
11-Nov-20      Corresponded with investors re status.                  MIG              0.30        118.50
11-Nov-20      Conference with Cotler re RFP.                          MIG              0.30        118.50
11-Nov-20      Corresponded with Heartland re reserve                  MIG              0.20          79.00
11-Nov-20      Corresponded with Prescott re tax appeal.               MIG              0.10          39.50
11-Nov-20      Corresponded re hangar slaw.                            MIG              0.20          79.00
12-Nov-20      Corresponded re Newport RFP.                            MIG              0.40        158.00
12-Nov-20      Corresponded re USCIS..                                 MIG              0.20          79.00
12-Nov-20      Call with Amanda regarding administrative matters.      KAS              0.40          70.00
               payments.
12-Nov-20      Composed email to Kretzschmar, Catherine: RE: Sale      KAS              0.10          17.50
               of Q Resorts Airport Hangar
12-Nov-20      Correspond with Receiver, accountant and other          KAS              0.40          70.00
               professionals regarding Vermont Department of
               Taxes Second Notice of Assessment.
12-Nov-20      Continue research and preparation of motion to          KAS              3.80        665.00
               approve sale of airport hangar.
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12-Nov-20      Correspond with Jay Peak team regarding wedding         KAS              0.20          35.00
               deposit.
13-Nov-20      Edited Motion to Approve of Airport Hangar.             KAS              1.70        297.50
13-Nov-20      Call with M. Jaspe regarding receivership banking       KAS              0.40          70.00
               matters.
13-Nov-20      Conference with investors re status.                    MIG              0.20          79.00
16-Nov-20      Corresponded re USCIS issues.                           MIG              0.20          79.00
16-Nov-20      Update receivership records with address change         KAS              0.00           0.00
               requests; Review incoming mail and determine
               whether further action is necessary.
17-Nov-20      Correspond regarding immigration inquiry.               KAS              0.30          52.50
17-Nov-20      Review website updates from vendor for accuracy of      KAS              0.00           0.00
               information.
17-Nov-20      Corresponded with Klasko re immigration issues.         MIG              0.20          79.00
18-Nov-20      Review receivership mail; Work on address change        KAS              0.00           0.00
               requests and administrative matters.
19-Nov-20      Work on third party payments; address updates and       KAS              0.00           0.00
               monitor email inquiries to receivership; Call with A.
               McLaughlin regarding administrative matters.
20-Nov-20      Work on updating spreadsheets for noticing of C&S       KAS              0.00           0.00
               settlement.
23-Nov-20      Corresponded with investors attorney re USCIS.          MIG              0.20          79.00
23-Nov-20      Review and revise draft letter to USCIS.                KAS              0.30          52.50
24-Nov-20      Reviewed and executed letter to USCIS re job            MIG              0.20          79.00
               creation.
24-Nov-20      Reviewed and executed closing statement.                MIG              0.20          79.00
24-Nov-20      Prepare updates to mailing lists regarding attorney     KAS              0.50          87.50
               contact information update; Correspond with Klasko
               re: same.
25-Nov-20      Corresponded with investors re USCIS denials.           MIG              0.50        197.50
25-Nov-20      Reviewed banking documents.                             MIG              0.50        197.50
30-Nov-20      Corresponded with investor re denial.                   MIG              0.30        118.50
30-Nov-20      Reviewed proposed legislation and corresponded re       MIG              0.40        158.00
               same.
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30-Nov-20      Correspond with J. Schneider regarding investor          KAS              0.80        140.00
               address changes; Update master investor contact lists
               and settlement noticing lists regarding same;
               Correspond with Receiver's professionals regarding
               udpates.
30-Nov-20      Research and update investor contact information per     AMM              0.00           0.00
               change of address forms.
30-Nov-20      Research and update investor information per change      AMM              0.00           0.00
               of address form.
30-Nov-20      Prepare request for payment for vendor invoice;          AMM              0.00           0.00
               Prepare email to trust regarding same and mailing
               instructions; Profile payment records.
1-Dec-20       Research and update investor records per change of       AMM              0.00           0.00
               address forms received from investors; Prepare
               emails regarding same to investors and Jay Peak
               management.
1-Dec-20       Research and prepare email to investor regarding the     AMM              0.00           0.00
               requirements to update contact information.
1-Dec-20       Research and update investor's records per change of     AMM              0.00           0.00
               address form received from investor; Prepare email to
               investor and Jay Peak management regarding same.
1-Dec-20       Research and update investor information per change      AMM              0.00           0.00
               of address from received from investor; Prepare
               email regarding same to investor.
1-Dec-20       Review correspondence regarding Q Burke I-829            KAS              0.20          35.00
               denial; Correspond with Receiver's professionals
               regarding same.
2-Dec-20       Review and respond to investor inquiries.                KAS              0.40          70.00
2-Dec-20       Corresponded with investors re USCIS.                    MIG              0.20          79.00
3-Dec-20       Work on updates to investor and creditor mailing lists   KAS              4.20        735.00
               for C&S settlement and related noticing matters.
3-Dec-20       Review and follow up with investor inquiry.              KAS              0.30          52.50
3-Dec-20       Review and organize physical case files.                 AMM              1.40        105.00
4-Dec-20       Status conference with Receiver regarding                KAS              0.30          52.50
               settlements.
4-Dec-20       Communications with investor regarding meeting           KAS              0.30          52.50
               with Receiver and case status.
4-Dec-20       Numerous conferences re MSK settlement.                  MIG              1.30        513.50
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4-Dec-20      Conference with Schneider Lipshitz and Tropin re         MIG              0.40        158.00
              MSK.
4-Dec-20      Corresponded with creditors re status.                   MIG              0.30        118.50
6-Dec-20      Reviewed and revised MSK term sheet and                  MIG              1.10        434.50
              corresponded with Schneider re same.
7-Dec-20      Numerous calls re MSK with Schneider and revised         MIG              1.20        474.00
              term sheet.
7-Dec-20      Conferences with investors re USCIS and denials.         MIG              0.90        355.50
7-Dec-20      Work on payment of e-discovery vendor fees.              KAS              0.40          70.00
7-Dec-20      Work on banking matters with financial team              KAS              0.40          70.00
              regarding funds in unallocated.
7-Dec-20      Correspond regarding Wedding Escrow Deposit.             KAS              0.30          52.50
7-Dec-20      Review correspondence from SEC regarding Wells           KAS              1.60        280.00
              Fargo/Tango Grill account; Research status of prior
              liquidation of account; Place call to Wells Fargo for
              clarification of funds on deposit from asset freeze.
7-Dec-20      Research and prepare email to C. Cotler regarding        AMM              1.40        105.00
              funds received in connection to the closing of case
              related property; Conference call with Trust
              regarding same; Conference call with C.Cotler
              regarding time line for the confirmation of receipt of
              funds.
8-Dec-20      Call with investor regarding case status; Review         KAS              0.40          70.00
              receivership mail.
8-Dec-20      Follow up with S. Traband regarding status of C&S        KAS              0.50          87.50
              settlement motion and noticing requirements.
8-Dec-20      Numerous conferences re MSK settlement and               MIG              1.60        632.00
              revised settlement.
8-Dec-20      Corresponded with creditors re status.                   MIG              0.30        118.50
8-Dec-20      Reviewed MSK document.                                   MIG              0.40        158.00
8-Dec-20      Conference with Schneider re MSK.                        MIG              0.50        197.50
9-Dec-20      Conference with Barr re Vermont settlement.              MIG              0.60        237.00
9-Dec-20      Reviewed and executed tax settlement for Burke.          MIG              0.40        158.00
9-Dec-20      Corresponded with investors re USCIS.                    MIG              0.40        158.00
9-Dec-20      Reviewed USCIS decision.                                 MIG              0.40        158.00
9-Dec-20      Confer with immigration counsel regarding                NSS              1.00        395.00
              adjudication of petitions.
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10-Dec-20      Conference with Schneider re C&S settlement.           MIG              0.40        158.00
10-Dec-20      Conference with Schneider re settlement.               MIG              0.30        118.50
10-Dec-20      Conference with Mack re tax settlement.                MIG              0.30        118.50
10-Dec-20      Conference with Barr re Vermont matter.                MIG              0.30        118.50
11-Dec-20      Conference with Tatge re Wright contract.              MIG              0.30        118.50
11-Dec-20      Conference with Schneider re MSK settlement.           MIG              0.40        158.00
11-Dec-20      Reviewed documents re MSK claim and reviewed us        MIG              1.30        513.50
               attorney filing.
11-Dec-20      Corresponded with investor re status.                  MIG              0.20          79.00
14-Dec-20      Conference with Schneider re MSK and status.           MIG              0.90        355.50
14-Dec-20      Conference with Smiley re investor request for         MIG              0.20          79.00
               discounted rooms.
14-Dec-20      Second conference with Schneider re MSK.               MIG              0.60        237.00
14-Dec-20      Review correspondence from State of Florida,           KAS              0.20          35.00
               Department of Taxes regarding appeal; Correspond
               with Jay Peak professional regarding same.
14-Dec-20      Review and respond to investor inquiries regarding     KAS              0.40          70.00
               complimentary hotel stays and case status;
               Correspond with Receiver regarding policy change.
14-Dec-20      Review email from S. Mathews of People's Untied        KAS              0.50          87.50
               Bank regarding escrow accounts; Follow up with
               Receiver regarding same.
14-Dec-20      Review receivership mail and determine next steps;     KAS              0.50          87.50
               Follow up with cataloging in FileSite.
15-Dec-20      Numerous calls re MSK settlement.                      MIG              0.40        158.00
15-Dec-20      Reviewed and revised settlement term sheet.            MIG              0.60        237.00
15-Dec-20      Corresponded with investors re status of sale.         MIG              0.30        118.50
15-Dec-20      Profile payment records for vendor invoice.            AMM              0.30          22.50
16-Dec-20      Telephone conference with investor regarding case      KAS              1.20        210.00
               status; Correspond with investor regarding tax form;
               Review an analyze incoming receivership mail and
               determine next steps.
17-Dec-20      Review investor updated tax form and corrspond with    KAS              0.20          35.00
               Jay Peak team and accountants regarding same.
17-Dec-20      Monitor receivership calls and emails and follow up    KAS              0.60        105.00
               regarding same; Work on address updates.
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17-Dec-20      Corresponded re sale of 1.51 acre parcel to neighbor.   MIG               0.30        118.50
17-Dec-20      Catalog case documents to be kept or sent to storage.   AMM               1.20          90.00
18-Dec-20      Confer with investment bank regarding status of         NSS               0.50        197.50
               transaction.
18-Dec-20      Reviewed and revised MSK term sheet and                 MIG               0.60        237.00
               conference with Schneider re same .
18-Dec-20      Corresponded with Chris Roy re tax mediation.           MIG               0.30        118.50
18-Dec-20      Attended weekly Jay real estate call.                   MIG               0.30        118.50
18-Dec-20      Prepare and send update to SEC regarding status of      KAS               0.40          70.00
               liquidation of Tango Grill accounts.
18-Dec-20      Correspond with Receiver regarding eDiscovery           KAS               0.10          17.50
               invoice.
18-Dec-20      Review and prepare check request for eDiscovery         KAS               0.20          35.00
               Invoice and process for payment.
21-Dec-20      Monitor receivership calls and emails; Correspond       KAS               0.60        105.00
               with the Receiver regarding People's United escrow
               accounts.
21-Dec-20      Correspond with Receiver regarding People's United      KAS               0.80        140.00
               Bank escrow account issues; Correspond with
               People's Bank regarding same; Follow up with D.
               McNeil for additional information on source of funds.
21-Dec-20      Reviewed correspondence re People's Bank.               MIG               0.30        118.50
21-Dec-20      Conference with Schneider re MSK.                       MIG               0.40        158.00
21-Dec-20      Corresponded with Prescott re mediation.                MIG               0.20          79.00
21-Dec-20      Corresponded with investors re status.                  MIG               0.40        158.00
22-Dec-20      Prepared and attended mediation with Town of Jay        MIG              10.00       3,950.00
               on taxes.
22-Dec-20      Conference with Stephanie re Carol Scribner motion.     MIG               0.20          79.00
22-Dec-20      Review final settlement motion between Receiver         KAS               0.80        140.00
               and Carroll & Scribner, et al; Correspond with S.
               Traband regarding Receiver's obligations; Arrange
               for web posting of motion to receivership website.
23-Dec-20      Reviewed MSK settlement term sheet and conference       MIG               0.80        316.00
               with Schneider re same.
23-Dec-20      Corresponded with investors re status of hotel and      MIG               0.40        158.00
               USCIS.
23-Dec-20      Conference with attorneys re tax appeal.                MIG               0.30        118.50
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23-Dec-20      Corresponded with Kopp re sales process.                MIG              0.30        118.50
24-Dec-20      Corresponded re MSK settlement.                         MIG              0.20          79.00
24-Dec-20      Reviewed and executed Hangar sale addendum.             MIG              0.20          79.00
24-Dec-20      Corresponded re USCIS.                                  MIG              0.30        118.50
28-Dec-20      Reviewed proposed Wright renewal contract.              MIG              0.40        158.00
28-Dec-20      Corresponded re USCIS .                                 MIG              0.30        118.50
28-Dec-20      Corresponded re MSK settlement.                         MIG              0.60        237.00
28-Dec-20      Reviewed banking documents.                             MIG              0.30        118.50
28-Dec-20      Corresponded re USCIS and 829 rejections.               MIG              0.50        197.50
28-Dec-20      Conference re accounting.                               MIG              0.20          79.00
28-Dec-20      Receipt and review of State of Vermont Appeal           KAS              0.30          52.50
               Response Notification regarding healthcare
               contribution and withholding tax; Correspond with
               Jay Peak team and Receiver regarding payment due.
28-Dec-20      Catalog case documents to be kept or sent to storage.   AMM              1.10          82.50
29-Dec-20      Review and analysis of final settlement agreement       KAS              0.20          35.00
               regarding tax appeal with State of Vermont and
               correspond with Receiver regarding same.
29-Dec-20      Multiple communications with counsel for Phase 7        KAS              0.40          70.00
               investor regarding refund of principal.
29-Dec-20      Corresponded re USCIS and template.                     MIG              0.40        158.00
29-Dec-20      Conference with Schneider re MSK and status.            MIG              0.70        276.50
29-Dec-20      Reviewed and executed tax document for Prescott.        MIG              0.30        118.50
30-Dec-20      Corresponded re USCIS.                                  MIG              0.20          79.00
4-Jan-21       Prepared for and attended real estate call.             MIG              0.40        158.00
4-Jan-21       Corresponded with Wright and Endicott re personal       MIG              0.20          79.00
               injury claim.
4-Jan-21       Corresponded with investors re USCIS.                   MIG              0.30        118.50
4-Jan-21       Corresponded re hangar closing.                         MIG              0.20          79.00
4-Jan-21       Reviewed and executed tax settlement and                MIG              0.30        118.50
               corresponded with attorney.
4-Jan-21       Conference with Tatge re fatality and budget.           MIG              0.30        118.50
4-Jan-21       Review general email inquiries and correspond with      KAS              0.40          70.00
               Receiver regarding same.
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4-Jan-21      Review and analyze documentation regarding Phase       KAS              0.80        140.00
              7 investor's request for refund of principal payment
              per RJ settlement; Prepare and send refund
              documentation for review and execution by Receiver.
4-Jan-21      Correspond with Recevier regarding Peoples United      KAS              0.60        105.00
              Bank escrow accounts.
4-Jan-21      Analyze receivership website to determine updates      KAS              0.60        105.00
              needed and prepare same.
4-Jan-21      Review and respond to K. Foster's request for          KAS              0.40          70.00
              banking information to support adjusted journal
              entries.
4-Jan-21      Review and update Quiros Property Chart.               KAS              0.20          35.00
4-Jan-21      Review and forward immigration status update to D.     KAS              0.10          17.50
              McNeil to update records.
4-Jan-21      Organize investor electronic records regarding         KAS              0.30          52.50
              immigration status and request for refund.
4-Jan-21      Status call with investment bank.                      NSS              0.50        197.50
5-Jan-21      Composed email to B. Margolies, A. McLaughlin          KAS              0.10          17.50
              with instructions on processing refund check.
5-Jan-21      Correspond with accountant regarding preparation of    KAS              0.30          52.50
              Standardized Fund Accounting Report.
5-Jan-21      Review Certificate of Deposit Renewal Notice from      KAS              0.50          87.50
              City National Bank regarding $1M bond; Research
              status of whether bond should be renewed and
              correspond with Receiver.
5-Jan-21      Numerous conferences with Schneider re C&S             MIG              0.60        237.00
              settlement.
5-Jan-21      Conference with Schneider re MSK settlement.           MIG              0.40        158.00
5-Jan-21      Corresponded with investors re sale status.            MIG              0.30        118.50
5-Jan-21      Corresponded with Tatge re status.                     MIG              0.20          79.00
5-Jan-21      Conference with Smiley re banking issue.               MIG              0.10          39.50
5-Jan-21      Corresponded re tax issue.                             MIG              0.20          79.00
6-Jan-21      Conference with Schneider re MSK.                      MIG              0.40        158.00
6-Jan-21      Corresponded with investors re status of USCIS.        MIG              0.30        118.50
6-Jan-21      Corresponded re RRA estate taxes.                      MIG              0.20          79.00
6-Jan-21      Corresponded with broker re Newport property.          MIG              0.30        118.50
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6-Jan-21      Prepare and send email correspondence with Judge         KAS              0.40          70.00
              Gayle's chambers seeking clarification of Final
              Approval Hearing time.
6-Jan-21      Prepare excel spreadsheet of mailing addresses for       AMM              1.60        120.00
              attorneys of record.
6-Jan-21      Prepare excel spreadsheet of mailing addresses for       AMM              2.10        157.50
              attorneys of record.
6-Jan-21      Prepare excel spreadsheet of mailing addresses for       AMM              0.40          30.00
              attorneys of record.
7-Jan-21      Prepare excel spreadsheet of mailing addresses for       AMM              2.70        202.50
              attorneys of record.
7-Jan-21      Conference call with financial services regarding        AMM              0.60          45.00
              payment issue; Profile payment records; Prepare
              email to paralegal regarding status of payment;
              Prepare mailing for payment.
7-Jan-21      Work on finalize mailing lists, publications with the    KAS              4.90        857.50
              Vermont Digger and Burlington Free Press in
              connection with C&S settlement; Multiple
              communications with vendors; Prepare chart and
              calculate settlement deadlines and disbursement
              schedule.
7-Jan-21      Prepare memo to Receiver's attorney's regarding          KAS              0.40          70.00
              status of completing Receiver's obligations under
              Preliminary Approval Order.
8-Jan-21      Follow up with trust team regarding Phase VII refund     KAS              0.10          17.50
              check; Confer with A. McLaughlin regarding same.
8-Jan-21      Correspond with investor regarding K-1 request to        KAS              0.10          17.50
              support Request for Evidence.
8-Jan-21      Prepare instructional memo to staff regarding refund     KAS              0.20          35.00
              payment to Phase 7 investor.
8-Jan-21      Review email and verify processed data from Ritters      KAS              0.80        140.00
              regarding duplicates and possible removals. Multiple
              communications with vendor regarding same.
8-Jan-21      Draft letter to Phase VII investor enclosing principal   KAS              0.40          70.00
              refund check in connection with Raymond James
              settlement.
8-Jan-21      Corresponded with Cheryl re hangar.                      MIG              0.20          79.00
8-Jan-21      Corresponded with broker re Main Street property.        MIG              0.20          79.00
8-Jan-21      Correspondence with investors re status of sale.         MIG              0.30        118.50
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8-Jan-21       Corresponded with Tatge re wright contract.              MIG              0.20          79.00
8-Jan-21       Corresponded with DeNisi re USCIS.                       MIG              0.20          79.00
8-Jan-21       Prepare emails to paralegal regarding the status of      AMM              0.30          22.50
               payment and to inquire regarding the cover letter to
               accompany the payment to the investor.
8-Jan-21       Prepare excel spreadsheet of mailing addresses for       AMM              0.60          45.00
               attorneys of record.
8-Jan-21       Catalog case documents to be kept or sent to storage.    AMM              0.40          30.00
11-Jan-21      Prepare mailing for investor payment; Profile mailing    AMM              0.40          30.00
               records; Prepare email to paralegal regarding tracking
               number for mailing.
11-Jan-21      Research, coordinate and prepare emails to paralegal     AMM              0.60          45.00
               regarding the coordination of payment delivery to
               vendor; Scan and profile payment records.
11-Jan-21      Prepare excel spreadsheet of mailing addresses for       AMM              0.70          52.50
               attorneys of record.
11-Jan-21      Review and analyze receivership mail and attend to       KAS              0.40          70.00
               inquiries from investors.
12-Jan-21      Correspond regarding wire received from Alps             KAS              0.40          70.00
               Property & Casualty regarding initial payment due
               under C&S Settlement; Confer with team regarding
               funds deposit matters.
12-Jan-21      Prepare instructional email to staff regarding payment   KAS              0.20          35.00
               of mediation invoice for Markspowers.
12-Jan-21      Follow up with Vermont Digger and test website           KAS              0.50          87.50
               posting banner ad to ensure posting is accurate
               pertaining to Receiver's noticing obligations under
               C&S Settlement Agreement.
12-Jan-21      Follow up regarding payment to Colliers for appraisal    KAS              0.20          35.00
               services.
12-Jan-21      Correspond with Receiver regarding initial payment       KAS              0.40          70.00
               from C&S settlement and setup of escrow accounts.
12-Jan-21      Corresponded with Schneider re MSK settlement.           MIG              0.40        158.00
12-Jan-21      Conference with brokers re Main Street property.         MIG              0.50        197.50
12-Jan-21      Corresponded with Tatge re cash position.                MIG              0.30        118.50
12-Jan-21      Conference with investors re USCIS.                      MIG              0.20          79.00
12-Jan-21      Corresponded re service of C&S settlement                MIG              0.30        118.50
               documents.
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12-Jan-21      Prepare check request for vendor invoice; Prepare          AMM              0.30          22.50
               email to trust regarding same.
12-Jan-21      Prepare check request for vendor invoice; Prepare          AMM              0.20          15.00
               email to trust regarding same.
12-Jan-21      Research and prepare email to investor regarding the       AMM              0.30          22.50
               requirements to update their personal information.
12-Jan-21      Research and prepare email to investor to follow up        AMM              0.40          30.00
               on missing information required to update their
               records.
12-Jan-21      Research and update investor information per change        AMM              0.70          52.50
               of address request form; Prepare email to investor
               and Jay Peak management regarding same.
12-Jan-21      Prepare email to paralegal regarding confirmation of       AMM              0.10           7.50
               delivery of payment to investor.
12-Jan-21      Review correspondence from Mike Goldberg (.3).             JLR              1.00        395.00
12-Jan-21      Review emails regarding Kelly (.4).                        JLR              0.40        158.00
12-Jan-21      Memo to Mike Goldberg (.3).                                JLR              0.30        118.50
12-Jan-21      Review Complaint in Kelly matter. Respond to               NSS              1.30        513.50
               inquiry about claims against NECS
13-Jan-21      Finalize list of on-site files for paralegal; Conference   AMM              0.50          37.50
               with paralegal regarding same.
13-Jan-21      Prepare multiple envelopes and postage for                 AMM              0.60          45.00
               settlement related mailing; Scan stamped envelopes
               and prepare email to paralegal regarding same.
13-Jan-21      Conference with Tatge re cash flow.                        MIG              0.30        118.50
13-Jan-21      Corresponded with creditor re status.                      MIG              0.30        118.50
13-Jan-21      Work on establishing escrow accounts with bank in          KAS              1.50        262.50
               connection with escrow accounts established under
               C&S settlement; Multiple communications with J.
               Schneider re: same; Multiple communications with
               bank representatives re: same; Review bank docs and
               obtain signatures.
13-Jan-21      Review incoming receivership mail and attend to            KAS              0.40          70.00
               same; Communication with investor regarding K-1
               request.
14-Jan-21      Monitor Jay Peak calls, emails and mail; Work on           KAS              0.90        157.50
               administrative matters.
14-Jan-21      Corresponded with Schneider re status of litigation.       MIG              0.50        197.50
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14-Jan-21      Conference with investors re status of sale.           MIG              0.30        118.50
14-Jan-21      Conference with Endicott re cash.                      MIG              0.30        118.50
14-Jan-21      Prepare mailing and scan finalized post marked         AMM              0.50          37.50
               envelopes for settlement related mail out; Prepare
               email regarding same to paralegal.
15-Jan-21      Research and prepare email to paralegal regarding      AMM              0.60          45.00
               investor's request for K-1 from 2019; Call and
               prepare email to One Wall Street regarding request.
15-Jan-21      Research and prepare email to investor regarding       AMM              0.40          30.00
               information required to update personal information.
15-Jan-21      Status call with investment bank regarding sale.       NSS              0.60        237.00
15-Jan-21      Peak attended weekly real estate call.                 MIG              0.40        158.00
15-Jan-21      Corresponded re MSK settlement.                        MIG              0.30        118.50
15-Jan-21      Review incoming receivership and attend to calls;      KAS              0.60        105.00
               Confer with A. McLaughlin regarding follow up with
               investor K-1 request.
16-Jan-21      Work with bank and trust team regarding setting up     KAS              0.60        105.00
               of two new bank accounts to deposit funds from C&S
               settlement.
16-Jan-21      Revise check reqeust to VT Digger.                     KAS              0.20          35.00
18-Jan-21      Process check request for payment of Vermont           KAS              0.10          17.50
               Digger Invoice.
18-Jan-21      Conference with management to review cash              MIG              0.70        276.50
               projections.
18-Jan-21      Corresponded re USCIS.                                 MIG              0.30        118.50
18-Jan-21      Conference with Pieciak re settlement and USCIS.       MIG              0.60        237.00
18-Jan-21      Conference re MSK with Schneider.                      MIG              0.20          79.00
19-Jan-21      Numerous conferences re MSK settlement.                MIG              0.50        197.50
19-Jan-21      Reviewed cash proforma and accounts.                   MIG              0.60        237.00
19-Jan-21      Attention to incoming mail and investor inquiries.     KAS              0.50          87.50
19-Jan-21      Respond to additional questions regarding Kelly        NSS              1.20        474.00
               matter.
19-Jan-21      Research and prepare password encrypted K-1's for      AMM              1.10          82.50
               investor; PRepare email regarding same to investor.
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20-Jan-21      Conference call with vendor regarding invoice;           AMM              0.60          45.00
               Prepare email to paralegal regarding same; Prepare
               payment request for vendor invoice; Profile payment
               records.
20-Jan-21      Scan and prepare email to paralegal regarding            AMM              0.60          45.00
               returned mail from Notice of Proceedings mail out.
20-Jan-21      Research and prepare email to paralegal regarding        AMM              0.40          30.00
               vendor invoice.
20-Jan-21      Work on new account opening matters.                     KAS              0.60        105.00
20-Jan-21      Prepared for and attended call with Endicott and         MIG              0.60        237.00
               Tatge re cash flow.
20-Jan-21      Reviewed and executed Burke land sale contract.          MIG              0.30        118.50
20-Jan-21      Corresponded with creditors re USCIS.                    MIG              0.50        197.50
21-Jan-21      Conference with Levenson re cash.                        MIG              0.40        158.00
21-Jan-21      Conference with bankers re loan.                         MIG              0.40        158.00
21-Jan-21      Reviewed people's bank settlement term sheet .           MIG              0.40        158.00
21-Jan-21      Conference with Schneider re settlement.                 MIG              0.30        118.50
21-Jan-21      Conference with Barr re status of Vermont claim.         MIG              0.40        158.00
21-Jan-21      Corresponded with investors re status of property.       MIG              0.30        118.50
21-Jan-21      Attention to C&S settlement noticing and banking         KAS              1.60        280.00
               matters.
21-Jan-21      Review receivership mail; Respond to investor            KAS              0.50          87.50
               inquiries.
21-Jan-21      Research, scan and profile bank statements from          AMM              0.70          52.50
               2020 for Jay Peak management.
22-Jan-21      Research, profile, and prepare emails to Jay Peak        AMM              0.60          45.00
               management with all of the 2020 monthly bank
               statements for the People's United Bank accounts.
22-Jan-21      Prepare follow up email to investor regarding how to     AMM              0.30          22.50
               submit a request to update their personal information.
22-Jan-21      Follow up on People's United Bank escrow account         KAS              0.20          35.00
               matters.
22-Jan-21      Numerous calls re cash flow and need for financing       MIG              0.50        197.50
               with leisure.
22-Jan-21      Conference with bank re potential financing.             MIG              0.40        158.00
22-Jan-21      Conference with creditor re USCIS.                       MIG              0.30        118.50
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25-Jan-21      Reviewed and executed tax returns.                        MIG              0.40        158.00
25-Jan-21      Reviewed state tax letter and corresponded with           MIG              0.30        118.50
               Endicott and Brady re same.
25-Jan-21      Corresponded with Schneider re People's settlement.       MIG              0.30        118.50
25-Jan-21      Review incoming receivership mail and correspond          KAS              1.40        245.00
               with handling parties to determine if further action is
               necessary; Calls with investors regarding case status;
               Arrange for payment of IntraLinks invoice for data
               sharing/hosting; Correspond with Receiver regarding
               State of Vermont Tax notice.
26-Jan-21      Multiple communications with investor and his             KAS              1.70        297.50
               accountant regarding historical K-1 requests;
               Correspond with D. McNeil regarding same; Provide
               Change of Address Form with instructions; Calls
               with investors and counsel regarding C&S settlement;
               Review incoming receivership mail.
26-Jan-21      Work on banking matters pertaining to new accounts        KAS              0.40          70.00
               established in connection with settlement proceeds.
26-Jan-21      Numerous calls with Schneider re pub settlement.          MIG              0.60        237.00
26-Jan-21      Corresponded with creditor re USCIS and return of         MIG              0.40        158.00
               investment.
26-Jan-21      Corresponded with Tatge and Endicott re cash needs        MIG              0.40        158.00
               and Wright contract.
26-Jan-21      Conference with Babaeva re status.                        MIG              0.40        158.00
26-Jan-21      Prepare check request for vendor invoice; Prepare         AMM              0.60          45.00
               email to Trust regarding same.
26-Jan-21      Review settlement information.                            NSS              1.30        513.50
27-Jan-21      Prepare email to Paralegal regarding the recording of     AMM              0.10           7.50
               returned mail from mail our for Notice of
               Proceedings for settlement.
27-Jan-21      Research matter regarding investor's change of            AMM              0.10           7.50
               address request and prepare email to paralegal
               regarding same.
27-Jan-21      Stamp and scan returned Notice of Proceedings for         AMM              1.20          90.00
               settlement; Prepare email to paralegal regarding
               same.
27-Jan-21      Conference call with paralegal regarding returned         AMM              0.30          22.50
               mail from Notice of Proceedings mailing for
               settlement.
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27-Jan-21      Research and prepare email to paralegal regarding       AMM              1.00          75.00
               information received from investor; Research and
               prepare email to investor regarding information
               needed to process their request to update personal
               information.
27-Jan-21      Research and prepare email to Trust regarding which     AMM              0.10           7.50
               account should be used to issue invoice payment
               funds from.
27-Jan-21      Corresponded with Tropin and Schneider re people's      MIG              0.40        158.00
               settlement.
27-Jan-21      Correspondence red with Tatge re Wright contract.       MIG              0.20          79.00
27-Jan-21      Corresponded with creditor re USCIS.                    MIG              0.20          79.00
27-Jan-21      Telephone conference with A. McLaughlin to discuss      KAS              0.90        157.50
               handling of returned mail in connection with C&S
               Settlement; Multiple calls with investors and counsel
               regarding notice and settlement.
28-Jan-21      Conference with investor Chavez assistant re USCIS.     MIG              0.40        158.00
28-Jan-21      Corresponded with Tatge re wright contract.             MIG              0.20          79.00
28-Jan-21      Corresponded re USCIS.                                  MIG              0.30        118.50
28-Jan-21      Conference with Tropin and Schneider re settlement.     MIG              0.40        158.00
28-Jan-21      Research and prepare email to help desk regarding       AMM              0.10           7.50
               releasing blocked email from investor.
28-Jan-21      Stamp and scan returned mail from Notice of             AMM              0.40          30.00
               Proceedings mail out.
28-Jan-21      Prepare mailing for returned mail with forwarding       AMM              1.20          90.00
               addresses; Prepare mailing for returned mail sent
               back due to insufficient postage; Scan stamped
               envelopes.
28-Jan-21      Prepare mailing for invoice payment; Scan and           AMM              0.20          15.00
               profile payment records.
28-Jan-21      Research, update records and prepare response to        AMM              1.00          75.00
               investor regarding their change of address request;
               Prepare email to Jay Peak management and
               accountant regarding same.
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29-Jan-21      Research and update investor's information per           AMM              2.60        195.00
               change of address request; Prepare email to investor
               regarding name change; Prepare email to Paralegal
               regarding same; Search and verify that all 2020
               change of address requests from investors were
               recorded in excel spreadsheet of all requests received
               and updated.
29-Jan-21      Prepare email to investor regarding documents            AMM              0.30          22.50
               needed to verify their name change; Phone
               conference with paralegal regarding same.
29-Jan-21      Review and approve status report.                        NSS              0.50        197.50
29-Jan-21      Conference with Tatge re weight contract.                MIG              0.30        118.50
29-Jan-21      Numerous correspondence re MSK settlement and            MIG              1.10        434.50
               can issues.
29-Jan-21      Corresponded with investors re USCIS.                    MIG              0.30        118.50
29-Jan-21      Conference with A. McLaughlin regarding name             KAS              0.50          87.50
               change verification and provide instruction on
               administrative matters.
1-Feb-21       Telephone conference with Phase 6 investor               KAS              0.70        122.50
               regarding C&S settlement and general case status.
1-Feb-21       Review email from The LCP Group regarding tax            KAS              0.20          35.00
               reporting matters for Phase 7 Investors.
1-Feb-21       Numerous correspondence re MSK settlement.               MIG              0.40        158.00
1-Feb-21       Corresponded with Barr re status of Vermont case.        MIG              0.30        118.50
1-Feb-21       Corresponded with creditors re USCIS.                    MIG              0.20          79.00
1-Feb-21       Stamp and scan returned C&S settlement notices.          AMM              0.60          45.00
1-Feb-21       Research and update investor records per address         AMM              1.30          97.50
               change request; Profile request forms and
               government issued identification in respective
               investor folders.
1-Feb-21       Update C&S Settlement notice mailing lists.              AMM              0.40          30.00
2-Feb-21       Research and update investor information per             AMM              0.80          60.00
               investor change of address form; Prepare email to
               investor and jay peak management regarding same;
               Profile change of address form and government
               issued identification.
2-Feb-21       Research vendor invoice; Prepare response to             AMM              0.80          60.00
               paralegal; Prepare check request for vendor invoice
               payment. Prepare email to trust regarding same.
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2-Feb-21      Research, call and prepare email to vendor regarding    AMM              0.40          30.00
              invoice payments.
2-Feb-21      Prepare email to vendor regarding status of payments.   AMM              0.10           7.50
2-Feb-21      Conference with Schneider re mask settlement            MIG              1.20        474.00
              agreement and reviewed and revised same.
2-Feb-21      Corresponded with creditors the status of sale.         MIG              0.40        158.00
2-Feb-21      Reviewed bank information.                              MIG              0.20          79.00
2-Feb-21      Correspond with Receiver regarding People's United      KAS              0.10          17.50
              informational request addressed to Downs Rachlin
              regarding Jay Peak.
2-Feb-21      Correspond regarding wedding deposit; Update            KAS              0.40          70.00
              records regarding same.
2-Feb-21      Review correspondence from The Enclave regarding        KAS              0.20          35.00
              Los Vegas Property; Research payment history and
              correspond with Receiver re: same.
2-Feb-21      Attend to investor inquiries regarding C&S              KAS              1.00        175.00
              Settlement; Organize settlement records and follow
              up regarding deadlines; Review receivership mail and
              follow up with same.
3-Feb-21      Review and process check received for interest          KAS              0.30          52.50
              payment on Certificate of Deposit.
3-Feb-21      Attend to inquiries regarding C&S Settlement, case      KAS              0.70        122.50
              status and K-1's.
3-Feb-21      Composed email to City National and regarding           KAS              0.20          35.00
              notices of accounts overdrawn.
3-Feb-21      Composed email to counsel for investor regarding        KAS              0.80        140.00
              Cason litigation matter; Review and attend to address
              change requests.
3-Feb-21      Conference with Tropin Lipshitz and Schneider to        MIG              0.80        316.00
              negotiate distribution scheme.
3-Feb-21      Corresponded with creditor re settlement.               MIG              0.20          79.00
3-Feb-21      Corresponded with DeNisi re immigration status.         MIG              0.20          79.00
3-Feb-21      Date stamp and scan returned C&S settlement notice      AMM              0.70          52.50
              letters.
3-Feb-21      Prepare escrow deposit form for wedding deposit;        AMM              0.70          52.50
              Prepare emails to paralegal regarding same.
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3-Feb-21      Date stamp, scan, and sort through returned C&S          AMM              1.50        112.50
              settlement notice letters; Prepare postage for letters
              returned with forwarding addresses; Scan forwarded
              mailing envelopes; Update addresses on C&S
              settlement spreadsheets.
3-Feb-21      Prepare email to paralegal regarding CD interest         AMM              0.20          15.00
              payment received from City National Bank.
4-Feb-21      Prepare mailing and scan envelopes for C&S               AMM              0.40          30.00
              settlement notices returned with forwarding address
              or insufficient postage.
4-Feb-21      Prepare email to Paralegal regarding escrow deposit      AMM              0.30          22.50
              for wedding payment received; Print and prepare
              escrow deposit form for wedding payment; Prepare
              envelope for same to Orlando Fin. Serv. Dept.
4-Feb-21      Prepare escrow deposit form for CD interest Check        AMM              0.40          30.00
              received from City National Bank; Prepare email to
              paralegal regarding same for her approval.
4-Feb-21      Update C&S settlement notice spreadsheets regarding      AMM              1.70        127.50
              returned and re-mailed letters
4-Feb-21      Conference call with paralegal regarding Cheryl          AMM              0.30          22.50
              Cotler's question regarding 2020 tax payments for
              receivership property.
4-Feb-21      Research and prepare email to Cheryl Cotler              AMM              0.40          30.00
              regarding the status of payment for 2020 property tax
              of receivership property.
4-Feb-21      Corresponded with investors re USCIS.                    MIG              0.60        237.00
4-Feb-21      Telephone conference with investor regarding C&S         KAS              0.20          35.00
              settlement notice.
4-Feb-21      Correspond with Receiver regarding execution of          KAS              0.40          70.00
              Wedding Escrow Agreement and finalize same with
              Jay Peak.
4-Feb-21      Review invoice from OTR Group and prepare and            KAS              0.50          87.50
              submit check request for payment of same; Research
              status of SFAR reporting to court.
5-Feb-21      Composed email to J. Eveland with copy of fully-         KAS              0.10          17.50
              executed Escrow Agreement.
5-Feb-21      Review correspondence from City National Bank.           KAS              0.10          17.50
5-Feb-21      Corresponded with creditors re USCIS.                    MIG              0.30        118.50
5-Feb-21      Prepared for and attended SSVR mediation.                MIG              5.40       2,133.00
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5-Feb-21      Research and update C&S settlement notice               AMM              1.50        112.50
              spreadsheets regarding returned mail and forwarding
              addresses.
5-Feb-21      Research, profile email correspondence, and prepare     AMM              0.40          30.00
              follow up email to investor's accountant regarding
              missing information required to update investor's
              information.
5-Feb-21      Research, profile email correspondence, and prepare     AMM              0.40          30.00
              follow up email to investor regarding missing
              information needed to update their records.
5-Feb-21      Profile email and document received from investor;      AMM              0.60          45.00
              Research and prepare email to paralegal regarding
              document submitted by investor to verify name
              change.
5-Feb-21      Research and profile investor email correspondence      AMM              0.40          30.00
              from receivership email inbox.
8-Feb-21      Research and update investor information per change     AMM              0.70          52.50
              of address form received from investor; Prepare
              email to investor and jay peak management regarding
              same; Profile investor's change of address form and
              government issued identification.
8-Feb-21      Prepare follow up email to investor's attorney          AMM              0.20          15.00
              regarding signed change of address form from their
              client; Profile email in investor's file.
8-Feb-21      Research and prepare emails to investor regarding       AMM              0.40          30.00
              information required to update records; Profile email
              correspondence in investor's file.
8-Feb-21      Research and prepare email to investor regarding the    AMM              0.40          30.00
              required documents needed to update personal
              records; Profile email correspondence in investor's
              folder.
8-Feb-21      Conference with Schneider re MSK settlement.            MIG              0.20          79.00
8-Feb-21      Conference re finances.                                 MIG              0.30        118.50
8-Feb-21      Review and follow-up with receivership mail and         KAS              1.60        280.00
              receivership inquiries from investors and counsel;
              Follow up with A. McLaughlin regarding investor
              address updates.
8-Feb-21      Review tax notices from State of Vermont and            KAS              0.10          17.50
              correspond with Receiver regarding same.
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8-Feb-21       Follow up with A. McLaughlin regarding vendor           KAS              0.10          17.50
               payment.
9-Feb-21       Telephone conference with investor regarding case       KAS              0.40          70.00
               status (.3); Correspond with attorney for investor
               regarding C&S settlement (.1).
9-Feb-21       Conference with Schneider re MSK settlement.            MIG              0.30        118.50
9-Feb-21       Corresponded with creditors re USCIS.                   MIG              0.30        118.50
9-Feb-21       Conference with Barr re lawsuit.                        MIG              0.20          79.00
9-Feb-21       Conference with Smiley re bank account .                MIG              0.30        118.50
9-Feb-21       Prepare follow up email to investor regarding           AMM              0.20          15.00
               required documents needed to update records.
9-Feb-21       Research and update investor information per change     AMM              0.70          52.50
               of address form; Prepare email to investor and Jay
               Peak management regarding same; Profile email
               correspondence, change of address form and
               government issued identification in investor folder;
               Update 2020-2021 change of address spreadsheet.
9-Feb-21       Listen, research and prepare email to paralegal         AMM              0.30          22.50
               regarding voice message received from investor
               regarding update of case status.
9-Feb-21       Research and update investor's records per change of    AMM              0.80          60.00
               address form; Prepare email to investor and jay peak
               management regarding same; Profile email
               correspondence, change of address form, and
               government issued identification in investor's file;
               Update 2020-2021 change of address spreadsheet.
9-Feb-21       Research and prepare email to accountant regarding      AMM              0.40          30.00
               change of address information received from
               investor.
9-Feb-21       Research and update investors information per           AMM              0.80          60.00
               change of address form; Prepare email to investor and
               jay peak management regarding same; Profile email
               correspondence, change of address form, and
               government issued identification in investor's file;
               update 2020-2021 change of address spreadsheet.
10-Feb-21      Conference with attorney re C&S settlement.             MIG              0.40        158.00
10-Feb-21      Conference with Endicott re cash flow.                  MIG              0.30        118.50
11-Feb-21      Conference with Schneider re MSK.                       MIG              0.40        158.00
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11-Feb-21      Review receivership mail; Follow up with investor        KAS              0.00           0.00
               inquiries regarding tax and other matters.
12-Feb-21      Review and respond to investor emails regarding case     KAS              0.00           0.00
               status and K-1's; Prepare relevant updates to
               receivership records; Review incoming mail;
               Correspond regarding banking matters; Call with
               McLaughlin regarding vendor payment and follow up
               with email.
12-Feb-21      Corresponded with investors re USCIS.                    MIG              0.30        118.50
15-Feb-21      Corresponded with creditor re USCIS.                     MIG              0.30        118.50
15-Feb-21      Multiple communications regarding K-1's and case         KAS              0.00           0.00
               status; Review receivership mail and follow up with
               same.
16-Feb-21      Conference with investor re USCIS.                       MIG              0.40        158.00
16-Feb-21      Research and update investor information per change      AMM              0.00           0.00
               of address form; Prepare email to investor and Jay
               Peak management regarding same; Profile email
               correspondence, change of address form and
               government issued identification in investor folder;
               Update 2020-2021 change of address spreadsheet.
16-Feb-21      Prepare payment request for vendor invoice; Prepare      AMM              0.00           0.00
               email regarding same to Trust and office
               administrator with directions.
16-Feb-21      Prepare email to attorney regarding endorsement for      AMM              0.00           0.00
               check request.
17-Feb-21      Prepare email to Trust and office administrator with     AMM              0.00           0.00
               directions regarding payment for vendor invoice.
17-Feb-21      Research and prepare emails to investor regarding        AMM              0.00           0.00
               information required to update records; Profile email
               correspondence in investor's folder.
17-Feb-21      Prepare check request for vendor invoice; Prepare        AMM              0.00           0.00
               email to Trust and office administrator with direction
               regarding same.
17-Feb-21      Conference with Schneider Tropin and Lipshitz to         MIG              0.40        158.00
               discuss distribution.
17-Feb-21      Conference with DeNisi to discuss Phase 8 escrow.        MIG              0.30        118.50
17-Feb-21      Prepared letter to Wakschlag re escrow.                  MIG              0.60        237.00
17-Feb-21      Corresponded with investors re status.                   MIG              0.30        118.50
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17-Feb-21      Communications with A. McLaughlin regarding tax        KAS              0.00           0.00
               matters and follow-up; Work on address change
               requestsd; Update log regarding C&S settlement
               responses.
18-Feb-21      Review and respond to several investor inquiries;      KAS              1.20        210.00
               Call with A. McLaughlin regarding responding to
               investor inquiries; Work on case administrative
               matters; Correspond with Receiver on investor
               matters.
18-Feb-21      Corresponded with investors re USCIS.                  MIG              0.30        118.50
18-Feb-21      Phone conference with paralegal regarding investor;s   AMM              0.00           0.00
               change of address request; Research and prepare
               email to paralegal regarding same.
18-Feb-21      Research and prepare email to investor regarding       AMM              0.00           0.00
               information needed to update personal records.
19-Feb-21      Research and update investor information per change    AMM              0.00           0.00
               of address form; Prepare email to investor and Jay
               Peak management regarding same; Profile email
               correspondence, change of address form and
               government issued identification in investor folder;
               Update 2020-2021 change of address spreadsheet.
19-Feb-21      Update 2020-2021 Change of Address spreadsheet.        AMM              0.00           0.00
19-Feb-21      Attention to investor address changes and K-1          KAS              0.80        140.00
               requests; call with investor regarding cased status.
22-Feb-21      Review and analyze documentation from investor         KAS              0.00           0.00
               regarding updating SSN and personal identifiable
               information; Telephone with investor regarding
               same; Correspond with A. McLaughlin with
               instructions for updating database.
22-Feb-21      Review email exchange regarding LCP Group status       KAS              0.20          35.00
               and Phase 7 investor inquiry regarding principal
               payout; Update records.
22-Feb-21      Research and prepare follow up email to investors      AMM              0.00           0.00
               regarding missing information required to update
               personal records; Profile email correspondence
               regarding same in respective investor folders.
22-Feb-21      Date stamp and scan returned C&S settlement notice     AMM              0.00           0.00
               letters; Sort through returned mail for Mail - Scan
               returned mail for forwarding addresses and letters
               returned due to insufficient postage.
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23-Feb-21      Prepare mailing and email to office services with       AMM              0.00           0.00
               directions regarding letter to be sent via certified
               mail.
23-Feb-21      Research, prepare, and update C&S settlement notice     AMM              0.00           0.00
               spreadsheets regarding returned and forwarded
               letters.
23-Feb-21      Update C&S settlement notice spreadsheets regarding     AMM              0.00           0.00
               returned and forwarded letters.
23-Feb-21      Correspond with The LCP Group regarding JPBRP           KAS              0.50          87.50
               journal entry transactions.
23-Feb-21      Communications with investors regarding K-1             KAS              0.70        122.50
               requests and case status.
24-Feb-21      Corresponded with investors re status.                  MIG              0.40        158.00
25-Feb-21      Multiple communications with investors regarding        KAS              0.80        140.00
               case status, K-1's and address updates
25-Feb-21      Research, prepare, and update C&S settlement notice     AMM              0.00           0.00
               spreadsheets regarding returned and forwarded
               letters.
26-Feb-21      Confer with investment banker regarding status of       NSS              0.50        197.50
               sale transaction.
26-Feb-21      Prepared for and attended call with Corbishley re       MIG              0.40        158.00
               Phase 8 escrow.
26-Feb-21      Corresponded with creditors re USCIS.                   MIG              0.30        118.50
27-Feb-21      Corresponded with investor re sales status.             MIG              0.20          79.00
1-Mar-21       Research and update investor's information per          AMM              0.00           0.00
               change of address request.
2-Mar-21       Research and prepare email to investor regarding        AMM              0.00           0.00
               missing documents required to update personal
               information.
2-Mar-21       Research and profile documents and emails sent from     AMM              0.00           0.00
               deceased investor's spouse; Prepare email to
               paralegal regarding same.
2-Mar-21       Prepare email to deceased investor's spouse regarding   AMM              0.40          30.00
               documents required to update contact information.
2-Mar-21       Profile email response and documents received from      AMM              0.00           0.00
               deceased investor's spouse; Prepare email to
               paralegal regarding same.
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2-Mar-21      Email to investor regarding documents needed to         AMM              0.30          22.50
              update information.
2-Mar-21      Corresponded with investors re sale status (.3).        MIG              0.30        118.50
2-Mar-21      Conference with Graham re letter agreement.             MIG              0.20          79.00
2-Mar-21      Telephone conference with investor's financial          KAS              0.50          87.50
              advisor regarding case status
2-Mar-21      Composed email to Goldberg and Kretzschmar              KAS              0.40          70.00
              regarding status report and follow up regarding same.
3-Mar-21      Review and analyze documentation submitted by           KAS              0.00           0.00
              investor regarding name change request and provide
              instruction to staff regarding further handling.
3-Mar-21      Corresponded with creditor re USCIS.                    MIG              0.30        118.50
3-Mar-21      Research and update investor information per change     AMM              0.00           0.00
              of address request; Prepare email to investor and Jay
              Peak management regarding same; Profile email and
              attachments from investor.
3-Mar-21      Research and prepare email to paralegal regarding       AMM              0.00           0.00
              name change request received from investor; profile
              email and attachments received from investor.
3-Mar-21      Research and update investor's information per          AMM              0.00           0.00
              change of address request; Prepare email to investor
              and Jay Peak management regarding same; Profile
              email and attachments from investor.
3-Mar-21      Research and update investor information per change     AMM              0.00           0.00
              of address request; Prepare email to investor
              regarding same and the status of the 2020 K-1s;
              Prepare email to Jay Peak management regarding
              address change; Profile email and attachments
              received from investor.
4-Mar-21      Prepare mailing for returned C&amp;S settlement         AMM              0.00           0.00
              notices with forwarding address; Scan prepared
              envelopes with forwarding addresses.
4-Mar-21      Research and update investor's information per          AMM              0.00           0.00
              change of address request; Prepare email to investor
              and Jay Peak management regarding same; Profile
              email and attachments received from investor.
4-Mar-21      Research and update investor's information per          AMM              0.00           0.00
              change of address request; Prepare email to investor
              and Jay Peak management regarding same; Profile
              email and attachments received from investor.
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4-Mar-21      Research and update investor's information per          AMM              0.00           0.00
              change of address request; Prepare email to investor
              and Jay Peak management regarding same; Profile
              email and attachments received from investor.
4-Mar-21      Research and prepare emails to investor regarding       AMM              0.00           0.00
              paperwork required to validate name change and to
              update records.
4-Mar-21      Research and update investor's information per          AMM              0.00           0.00
              change of address request and name change
              supporting paperwork; Prepare email to investor and
              Jay Peak management regarding same; Profile email
              and attachments received from investor.
4-Mar-21      Attention to investor address change requests, K-1's,   KAS              2.00        350.00
              case status; Review receivership mail; Follow up
              with accounts re: JPBRP, LLP tax matters; Upload
              documents to Marks Paneth's via thier FTP site;
              Review court order and update website.
4-Mar-21      Correspond with Receiver regarding case status;         KAS              0.50          87.50
              Review update from Leisure; Correspond with C.
              Kretzschmar regarding same.
5-Mar-21      Attend to payment of snow plowing reimbursement         KAS              0.00           0.00
              to B. Stenger pertaining to 172 Bogner Drive; Attend
              to investor inquiries and address change requests.
5-Mar-21      Prepare email to investor regarding information         AMM              0.00           0.00
              needed to update our records to reflect their name
              change.
5-Mar-21      Profile emails and documents received from investor     AMM              0.00           0.00
              regarding name change.
5-Mar-21      Review filings. Confer with investment bank.            NSS              1.20        474.00
8-Mar-21      Confer with Court about status of cases.                NSS              0.80        316.00
8-Mar-21      Research and update investor's information per          AMM              0.00           0.00
              change of address request and name change
              supporting paperwork; Prepare email to investor and
              Jay Peak management regarding same; Profile email
              and attachments received from investor.
8-Mar-21      Prepared for and attended conference with Court re      MIG              0.40        158.00
              report .
8-Mar-21      Corresponded re USCIS.                                  MIG              0.30        118.50
9-Mar-21      Corresponded with investors re USCIS.                   MIG              0.30        118.50
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9-Mar-21       Research and prepare email to investor regarding         AMM              0.00           0.00
               documents needed to update information.
9-Mar-21       Research and prepare email to investor regarding         AMM              0.00           0.00
               documents needed to update information.
9-Mar-21       Email regarding investor inquiry.                        AMM              0.30          22.50
10-Mar-21      Research and update investor's information per           AMM              0.00           0.00
               change of address request; Prepare email to investor
               and Jay Peak management regarding same; Profile
               email and attachments received from investor.
10-Mar-21      Corresponded with creditor re status.                    MIG              0.40        158.00
10-Mar-21      Attend to banking matters regarding opening of new       KAS              0.50          87.50
               CIB account.
11-Mar-21      Conference with creditor re status.                      MIG              0.30        118.50
11-Mar-21      Profile tax deadline extension payments, certified       AMM              0.00           0.00
               mailing slips, and stamped certified mailing receipts;
               Prepare email to paralegal regarding same.
12-Mar-21      Research and prepare follow up email to investor in      AMM              0.00           0.00
               relation to their change of address request.
12-Mar-21      Prepared for and attended weekly real estate call.       MIG              0.30        118.50
12-Mar-21      Corresponded with investors re status.                   MIG              0.30        118.50
15-Mar-21      Corresponded with investors re status.                   MIG              0.20          79.00
15-Mar-21      Research, profile and prepare email to paralegal         AMM              0.00           0.00
               regarding notice received from the Vermont
               Department of taxes.
15-Mar-21      Research and prepare email to investor regarding the     AMM              0.00           0.00
               requirements to update their information.
15-Mar-21      Research and update investor's information per           AMM              0.00           0.00
               change of address request; Prepare email to investor
               and Jay Peak management regarding same; Profile
               email and attachments received from investor.
16-Mar-21      Research and update investor's information per           AMM              0.00           0.00
               change of address request; Prepare email to investor
               and Jay Peak management regarding same; Profile
               email and attachments received from investor.
16-Mar-21      Research and prepare email to investor regarding the     AMM              0.00           0.00
               requirements to update their information.
16-Mar-21      Corresponded with investors re USCIS.                    MIG              0.30        118.50
17-Mar-21      Follow up with status reporting matters.                 KAS              0.40          70.00
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17-Mar-21      Research and update investor's information per           AMM              0.00           0.00
               change of address request; Prepare email to investor
               and Jay Peak management regarding same; Profile
               email and attachments received from investor.
17-Mar-21      Prepare email to paralegal regarding inquiry received    AMM              0.20          15.00
               from investor.
18-Mar-21      Conference with Smiley re bank accounts.                 MIG              0.20          79.00
18-Mar-21      Corresponded with investors re sales status.             MIG              0.30        118.50
19-Mar-21      Prepared for and attended property call.                 MIG              0.30        118.50
19-Mar-21      Corresponded with creditors re status.                   MIG              0.40        158.00
19-Mar-21      Research and update investor information per change      AMM              0.00           0.00
               of address request received from investor. Prepare
               email to investor regarding change of address and the
               status of the 2020 K-1s; Prepare email to Jay Peak
               management regarding investor's change of address
               request; Profile email and documents received from
               investor.
22-Mar-21      Confer with MIG and KS re operational and                CDK              2.50        987.50
               administrative update (.9); prepare brief memo to file
               re same (1.4).
22-Mar-21      Corresponded with creditor re USCIS.                     MIG              0.20          79.00
23-Mar-21      Conference with investors re USCIS.                      MIG              0.30        118.50
23-Mar-21      Research regarding payment sent from the Vermont         AMM              0.00           0.00
               department of taxes for corona virus relief;
               Conference call with Vermont tax office; Prepare
               email to paralegal regarding same.
23-Mar-21      Research and update investor information per change      AMM              0.00           0.00
               of address received from investor; Prepare email to
               investor and Jay Peak management regarding same;
               Phone conference with paralegal regarding name
               discrepancy between investor identification
               documents and records; Prepare additional email to
               Jay peak management regarding same.
24-Mar-21      Research regarding payment received for forfeiture.      AMM              0.00           0.00
24-Mar-21      Scan and prepare mailing for returned C&amp;S            AMM              0.00           0.00
               settlement notices with forwarding address; Scan and
               profile forwarded notices.
24-Mar-21      Prepare for and participate in conference call with K.   CDK              1.20        474.00
               Smiley regarding case and reporting status.
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24-Mar-21      Prepare for call with attorney to discuss case status   KAS              0.50          87.50
               reporting matters.
24-Mar-21      Analyze third party invoices and arrange for payment    KAS              0.00           0.00
               of same.
24-Mar-21      Telephone conference with C. Kretzschmar regarding      KAS              0.60        105.00
               Receiver's reporting matters.
25-Mar-21      Research and prepare email to Jay Peak management       AMM              0.40          30.00
               regarding documents received from investor.
25-Mar-21      Research and update investor's information per          AMM              0.00           0.00
               change of address form; Prepare email to investor and
               Jay Peak management regarding address change;
               Profile email and documents received from investor.
26-Mar-21      Scan and profile correspondence received from the       AMM              0.00           0.00
               IRS; Prepare email to accountant regarding same.
26-Mar-21      Scan and profile bank account statements and tax        AMM              0.00           0.00
               forms for accounts; Prepare email to Jay Peak
               management regarding same.
26-Mar-21      Work on investor database updates.                      KAS              0.00           0.00
26-Mar-21      Corresponded with creditors re status.                  MIG              0.30        118.50
26-Mar-21      Conference with investor re Burke.                      MIG              0.40        158.00
29-Mar-21      Corresponded re USCIS.                                  MIG              0.30        118.50
29-Mar-21      Commence initial draft of Receiver's report relating    KAS              1.00        175.00
               to management of properties and preliminary
               statement.
29-Mar-21      Analyze and gather information for Receiver's report.   KAS              1.80        315.00
29-Mar-21      Correspond with Receiver regarding Q Burke              KAS              0.10          17.50
               investor financial inquiry.
29-Mar-21      Prepare payment request for vendor invoice; Prepare     AMM              0.00           0.00
               email to Trust regarding same.
29-Mar-21      Scan and profile letter received from the Vermont       AMM              0.00           0.00
               Department of Taxes; Prepare email to accountant
               regarding same.
30-Mar-21      Research and update investor's information per          AMM              0.00           0.00
               change of address form; Prepare email to investor and
               Jay Peak management regarding address change;
               Profile email and documents received from investor.
30-Mar-21      Review and respond to investor inquiries.               KAS              0.60        105.00
30-Mar-21      Corresponded with creditor re status of sale.           MIG              0.20          79.00
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31-Mar-21      Reviewed Corbishley correspondence.                      MIG              0.20          79.00
31-Mar-21      Conference with creditor re USCIS.                       MIG              0.30        118.50
31-Mar-21      Continue to gather information for Receiver's 9th        KAS              3.00        525.00
               Report and work on draft of same; Correspond with
               professional regarding financial reporting matters for
               9th Report.
1-Apr-21       Corresponded re Phase 8 escrow.                          MIG              0.20          79.00
2-Apr-21       Corresponded with creditor re immigration issues.        MIG              0.30        118.50
5-Apr-21       Corresponded with creditors re status.                   MIG              0.30        118.50
6-Apr-21       Work on investor inquiries regarding tax forms and       KAS              3.80        665.00
               USCIS Requests for Evidence; Correspond with
               Receiver regarding administrative matters;
               Correspond with Jay Peak professionals regarding
               administrative matters; Update files.
7-Apr-21       Communications with investors regarding status of        KAS              3.10        542.50
               receivership and settlement with C&S; Process K-1
               requests and address updates; Follow up with
               McLaughlin regarding administrative matters; Work
               extensively on transfer of funds from real estate
               closing and new account; Correspond with F.
               Centeno regarding payment histories; Correspond
               with Kretzschmar regarding approval motion.
8-Apr-21       Corresponded with investors re status.                   MIG              0.20          79.00
9-Apr-21       Research status of domain name renewal for Jay           KAS              0.50          87.50
               PeaK receivership website.
9-Apr-21       Team call re: Jay Peak.                                  NSS              0.50        197.50
12-Apr-21      Communications with investors regarding Requests         KAS              0.40          70.00
               for Evidence received from USCIS.
12-Apr-21      Composed email to broker's regarding policy              KAS              0.10          17.50
               information.
13-Apr-21      Composed email to marianna@cdimmigration.com,            KAS              0.10          17.50
               Jessica DeNisi (Klasko Immigration Law Partne...):
               RE: RFE - Jay Peak Hotel Suites Stateside, L.P
13-Apr-21      Edited doc SEC v. Quiros - Receiver's 9th Status         KAS              0.80        140.00
               Report 3-2021 57453336 v 1 - Compatibility
               Mode.docx
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14-Apr-21      Reviewed Receiver's Motion for Authorization to       KAS              0.30          52.50
               Enter Into Boundary Line Agreement and Supporting
               Memorandum of Law and arrange for web posting of
               same.
15-Apr-21      Review correspondence from Global Debt Solutions      KAS              0.10          17.50
               requesting information regarding P. Zhang.
15-Apr-21      Correspond with investor regarding USCIS and K-1      KAS              0.50          87.50
               requests.
16-Apr-21      Corresponded with creditors re status and USCIS.      MIG              0.30        118.50
19-Apr-21      Numerous correspondence re USCIS.                     MIG              0.50        197.50
19-Apr-21      Corresponded re bank accounts.                        MIG              0.40        158.00
20-Apr-21      Conference with investors re status..                 MIG              0.30        118.50
20-Apr-21      Review proposed financial and operational report.     KAS              1.50        262.50
               Attention to records from professionals.
21-Apr-21      Conference with investor re status of sale.           MIG              0.20          79.00
22-Apr-21      Numerous calls and discussion re USCIS decision.      MIG              2.10        829.50
22-Apr-21      Corresponded with creditor re sale status.            MIG              0.20          79.00
22-Apr-21      Attention to investor inquiries.                      KAS              0.40          70.00
22-Apr-21      Attention to Jay Peak financial reporting matters.    KAS              1.00        175.00
22-Apr-21      Confer with EB-5 immigration counsel re: status of    NSS              1.20        474.00
               adjudicated petitions.
22-Apr-21      Commence drafting Status Report.                      CDK              3.60       1,422.00
23-Apr-21      Update call with HL.                                  NSS              0.50        197.50
23-Apr-21      Review Court's Order Granting Receiver's Motion for   KAS              0.20          35.00
               Authorization to Enter Into Boundary Line
               Agreement and arrange for web posting of same.
23-Apr-21      Prepared for and attended weekly real estate call.    MIG              0.30        118.50
23-Apr-21      Conference with Surgeon re status.                    MIG              0.20          79.00
23-Apr-21      Corresponded with creditors re USCIS.                 MIG              0.40        158.00
26-Apr-21      Conference with government re status.                 MIG              0.30        118.50
26-Apr-21      Corresponded with creditors re USCIS and K-1s.        MIG              0.40        158.00
26-Apr-21      Reviewed and analyze Receiver's obligations under     KAS              0.60        105.00
               Motion for Approval of Settlement Between
               Receiver, Putative Class Plaintiffs and People's
               United Bank.
27-Apr-21      Attention to investor inquiries.                      KAS              0.50          87.50
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27-Apr-21      Corresponded with investors re USCIS.                     MIG              0.40        158.00
28-Apr-21      Reviewed financials to prepare for meeting.               MIG              0.50        197.50
28-Apr-21      Conference re USCIS.                                      MIG              0.30        118.50
28-Apr-21      Corresponded with investors re USCIS status.              MIG              0.40        158.00
28-Apr-21      Conference with Smiley re bank accounts.                  MIG              0.40        158.00
28-Apr-21      Conference with Receiver regarding banking matters        KAS              0.70        122.50
               and provide update on account balances and future
               payment obligations.
29-Apr-21      Corresponded with investors re status.                    MIG              0.30        118.50
30-Apr-21      Review correspondence from State of Vermont,              KAS              0.20          35.00
               Department of Taxes regarding tax installment
               payment; Correspond with D. McNeil and S. Lillis
               regarding same.
30-Apr-21      Work on banking and administrative matters.               KAS              0.40          70.00
30-Apr-21      Review insurance renewal proposal for Bogner.             CRC              0.20          35.00
3-May-21       Prepare email to vendor regarding invoice.                AMM              0.00           0.00
3-May-21       Research and prepare email response to investor           AMM              0.00           0.00
               regarding change of address request.
3-May-21       Corresponded with investors re USCIS.                     MIG              0.60        237.00
3-May-21       Corresponded re sales status.                             MIG              0.20          79.00
4-May-21       Corresponded with investors re USCIS.                     MIG              0.30        118.50
4-May-21       Review and update combined list of bad or                 KAS              0.00           0.00
               insufficient mailing addresses generated by Ritters
               for service of Notice of Proceedings.
5-May-21       Attention to investor inquires regarding sales process    KAS              1.20        210.00
               and K-1 requests.
5-May-21       Corresponded with investors re status.                    MIG              0.30        118.50
6-May-21       Corresponded with investors re status of USCIS and        MIG              0.60        237.00
               sale.
6-May-21       Finalize notice to investors regarding reinstatement of   KAS              3.90        682.50
               Vermont Regional Center; Prepare for mass email list
               for entire investor class and their counsel and send
               same; Update receivership website with same.
7-May-21       Receipt and review of correspondence and                  KAS              0.00           0.00
               replacement check from State of Vermont regarding
               Jay Peak Hotel Suites Phase II, LP; Expedite original
               check to Jay Peak, Inc.
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7-May-21       Review and respond to investor regarding case status.   KAS              0.90        157.50
7-May-21       Corresponded with investors re USCIS.                   MIG              0.40        158.00
10-May-21      Continue to work on preparation of Receiver's status    KAS              4.70        822.50
               report; Prepare memo to C. Kretzschmar regarding
               same.
10-May-21      Composed email to J. DeNisi regarding Information       KAS              0.10          17.50
               Regarding the Reinstatement of the Vermont
               Regional Center.
10-May-21      Review memorandum prepared by K. Smiley; confer         CDK              0.70        276.50
               re same.
11-May-21      Review and update investor attorney contact             KAS              0.30          52.50
               information requested by counsel.
11-May-21      Review voicemail message from D. Haut and placed        KAS              0.30          52.50
               returned call regarding investor inquiry.
11-May-21      Review verification of mailing from Ritter's for        KAS              0.40          70.00
               compliance with court order.
11-May-21      Conference with investors re status.                    MIG              0.40        158.00
12-May-21      Review correspondent from City National Bank            KAS              1.00        175.00
               regarding PPP Loan; Correspond with counsel
               regarding investor update.
13-May-21      Work on draft Receiver's declaration in connection      KAS              1.10        192.50
               with noticing requirements under People's United
               Bank settlement.
13-May-21      Review and respond to investor inquiry regarding        KAS              0.30          52.50
               AnC Bio.
13-May-21      Correspond with counsel regarding case status           KAS              0.80        140.00
13-May-21      Corresponded with investors re status.                  MIG              0.30        118.50
13-May-21      Conference with Smiley re investor meeting.             MIG              0.20          79.00
14-May-21      Corresponded with McClure re Bogner property.           MIG              0.30        118.50
14-May-21      Corresponded with investors re sale and USCIS.          MIG              0.40        158.00
17-May-21      Numerous correspondence with investors.                 MIG              0.40        158.00
17-May-21      Attention to immigration inquiries; Work on address     KAS              1.10        192.50
               change requests.
17-May-21      Review receivership mail; Attend to inquiries           KAS              1.80        315.00
               regarding sales process and future distributions from
               recent settlements; Work on case administrative and
               banking matters.
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18-May-21      Review of investor inquires regarding i-829 Requests     KAS              0.80        140.00
               for Evidence; Follow up regarding same; Review
               receivership mail; Confer with investor regarding
               case status.
18-May-21      Corresponded with investors re status.                   MIG              0.40        158.00
19-May-21      Attention to investor inquiries regarding case status.   KAS              1.20        210.00
20-May-21      Review email from Green Latern Solar regarding           KAS              0.10          17.50
               solar array system and correspond with Receiver re:
               same.
20-May-21      Review receivership mail; Work on address change         KAS              0.00           0.00
               updates.
20-May-21      Prepared for and attended call re Degreenia.             MIG              0.60        237.00
20-May-21      Corresponded with investors re status.                   MIG              0.40        158.00
21-May-21      Prepared for and attended weekly real estate call.       MIG              0.40        158.00
21-May-21      Numerous conferences with investors re status.           MIG              0.40        158.00
24-May-21      Conference with investor re USCIS.                       MIG              0.30        118.50
24-May-21      Corresponded with investors re status.                   MIG              0.40        158.00
25-May-21      Composed email to J. DeNisi regarding investor           KAS              0.10          17.50
               request for information to respond to additional
               Request for Evidence.
26-May-21      Corresponded with investors re status.                   MIG              0.40        158.00
27-May-21      Corresponded with Pieciak re status.                     MIG              0.50        197.50
28-May-21      Conference with Stenger re: property (.4). Reviewed      MIG              1.60        632.00
               Endicott correspondence re: bank loan (.4).
               Corresponded with investors re: USCIS (.4).
               Conference with Endicott re: loan (.2). Conference
               with Kin re banking (.2).
1-Jun-21       Prepared for and attended call re Bogner.                MIG              0.90        355.50
1-Jun-21       Corresponded with investors re Burke.                    MIG              0.40        158.00
1-Jun-21       Conference with investors re status.                     MIG              0.30        118.50
1-Jun-21       Prepare certified mailing and scan property tax          AMM              0.00           0.00
               payment; Profile scans of same.
2-Jun-21       Review and respond to inquiry from investor              AMM              0.10           7.50
2-Jun-21       Research and update vendor information per change        AMM              0.00           0.00
               of address form; Prepare email to vendor, jay peak
               management and accountant regarding same.
2-Jun-21       Corresponded with investors re status.                   MIG              0.40        158.00
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2-Jun-21      Conference with A. McLaughlin regarding vendor           KAS              0.00           0.00
              administrative matters; Multiple communications
              with investors regarding settlement notices; Attention
              to receivership mail.
3-Jun-21      Corresponded re Bogner property.                         MIG              0.30        118.50
4-Jun-21      Corresponded with investors re status.                   MIG              0.30        118.50
7-Jun-21      Corresponded re account.                                 MIG              0.30        118.50
7-Jun-21      Review and respond to investor inquiries regarding       KAS              0.60        105.00
              Burke I-829 denial, MSK settlement and news
              reporting; Confer with Receiver regarding Burke
              project.
7-Jun-21      Correspond with M. Goldberg regarding data room          KAS              0.10          17.50
              contract extension and follow up regarding same.
7-Jun-21      Research and prepare emails to paralegal regarding       AMM              0.30          22.50
              investor petitions.
7-Jun-21      Sort, scan and profile returned settlement notices;      AMM              0.00           0.00
              prepare email to paralegal regarding forwarding
              addresses.
7-Jun-21      Conference call with paralegal regarding updated         AMM              0.00           0.00
              recipient addresses for settlement notice.
7-Jun-21      Profile and prepare email to accountant and paralegal    AMM              0.00           0.00
              regarding IRS Letter
8-Jun-21      Research returned settlement notices; Update             AMM              0.00           0.00
              spreadsheets with investors' information from
              forwarding addresses received from returned notices.
8-Jun-21      Prepare mailing for returned settlement notices          AMM              0.00           0.00
              received with forwarding addresses; Scan and profile
              same.
8-Jun-21      Research and prepare list of updated mailing             AMM              0.00           0.00
              addresses of Investors and vendors; Prepare email of
              same to Jay Peak management and accountant.
8-Jun-21      Scan and profile letter received from Vermont            AMM              0.00           0.00
              Department of Taxes; Prepare email regarding same
              to accountant and paralegal.
8-Jun-21      Prepared for and attended status call.                   MIG              0.50        197.50
8-Jun-21      Corresponded with Korda re immigration issues.           MIG              0.40        158.00
9-Jun-21      Corresponded with investors re status                    MIG              0.40        158.00
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9-Jun-21       Correspond with deceased investor's son regarding        KAS              0.40          70.00
               estate matters; Spoke with A. Smith regarding same.
10-Jun-21      Work on e-Discovery matters.                             KAS              0.60        105.00
10-Jun-21      Work on address updates from investors; Review           KAS              1.20        210.00
               incoming mail; Confer with A. Smith regarding
               administrative matters.
10-Jun-21      Corresponded with Smiley re banking.                     MIG              0.20          79.00
10-Jun-21      Corresponded with investors re status and settlement .   MIG              0.60        237.00
14-Jun-21      Corresponded with creditors re status.                   MIG              0.40        158.00
14-Jun-21      Review correspondence from IRS regarding                 KAS              1.20        210.00
               Northeast Contract Services LLC; Attention to
               creditor calls regarding Notice of Proceedings
               litigation mailings and USCIS requests.
14-Jun-21      Attention to administrative e-Discovery billing          KAS              0.00           0.00
               matters.
14-Jun-21      Review invoice from Burlington Free Press for            KAS              0.00           0.00
               accuracy of information in connection legal ad placed
               and arrange for payment of same.
14-Jun-21      Profile screen capture of publication of notice of       AMM              0.00           0.00
               proceedings for MSK settlement on vtdigger.org;
               Prepare email to paralegal regarding same.
14-Jun-21      Prepare check request for invoice received from          AMM              0.00           0.00
               Burlington Press for the publication of the notice of
               proceedings for the People's United Bank settlement:
               Prepare email to Trust regarding same.
14-Jun-21      Prepare mailing for invoice payments; Scan and           AMM              0.00           0.00
               profile payment records.
14-Jun-21      Prepare check requests for invoices received from        AMM              0.00           0.00
               Akerman eDiscovery; Prepare email to Trust
               regarding same.
15-Jun-21      Profile screen capture of publication of notice of       AMM              0.00           0.00
               proceedings for MSK settlement on vtdigger.org;
               Prepare email to paralegal regarding same.
15-Jun-21      Review and respond to Q Burke Investor's request for     KAS              1.80        315.00
               documents to support Request for Evidence received
               by the USCIS; Review receivership mail; Calls with
               investors regarding case status and K-1 requests.
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16-Jun-21      Review FOIA request from USCIS regarding Jay              KAS              0.60        105.00
               Peak Biomedical Investor; Review records on CD
               and forward copies to Receiver for review; Update
               file.
16-Jun-21      Attention to investor inquiries regarding case status,    KAS              1.60        280.00
               K-1 requests and settlements; Correspond with
               Receiver regarding payment for preparation of
               SFAR.
16-Jun-21      Follow up on administrative matters.                      KAS              0.40          70.00
16-Jun-21      Reviewed questions for investor call.                     MIG              0.30        118.50
16-Jun-21      Conference with Smiley re bank accounts .                 MIG              0.20          79.00
16-Jun-21      Corresponded with creditors re status.                    MIG              0.20          79.00
17-Jun-21      Prepared for and attended call with phase 2 investors     MIG              1.10        434.50
               re status.
17-Jun-21      Corresponded with investors re status.                    MIG              0.30        118.50
17-Jun-21      Conference re banking fees.                               MIG              0.20          79.00
17-Jun-21      Review update from Ritter's regarding change in           KAS              0.00           0.00
               postal rates for MSK mailing; Call with Ritter's
               regarding same.
17-Jun-21      Attention to Phase 7 address change request;              KAS              0.60        105.00
               Correspond with LCP Group regarding same; Update
               spreadsheets; Call with investor regarding sale status.
17-Jun-21      Call with Investor regarding case status and MSK          KAS              1.00        175.00
               Settlement; update file re same.
17-Jun-21      Research and prepare email to investor regarding          AMM              0.20          15.00
               their K-1 request.
17-Jun-21      Research and update investor records per change of        AMM              0.00           0.00
               address form received from investor; Prepare email to
               investor, Jay Peak management and accountant
               regarding same; Conference call with investor
               regarding same and additional questions; Prepare
               email to investor with contact information for
               paralegal.
18-Jun-21      Corresponded with numerous creditors re settlements.      MIG              0.60        237.00
21-Jun-21      Corresponded with creditors re status.                    MIG              0.30        118.50
21-Jun-21      Conference with Mack re BMA.                              MIG              0.20          79.00
21-Jun-21      Telephone conference with AnC Bio investor                KAS              0.20          35.00
               regarding administrative claim.
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21-Jun-21      Correspond with Receiver regarding Phase 7            KAS              0.20          35.00
               administrative claims.
21-Jun-21      Profile screen capture of publication of notice of    AMM              0.00           0.00
               proceedings for MSK settlement on vtdigger.org;
               Prepare email to paralegal regarding same.
22-Jun-21      Profile screen capture of publication of notice of    AMM              0.00           0.00
               proceedings for MSK settlement on vtdigger.org;
               Prepare email to paralegal regarding same.
22-Jun-21      Telephone conference with counsel for Phase 4         KAS              0.30          52.50
               investor regarding case status.
22-Jun-21      Work on Commercial General Liability Insurance        KAS              0.90        157.50
               Renewal and payment of premium.
22-Jun-21      Corresponded with credited re status.                 MIG              0.30        118.50
23-Jun-21      Numerous calls with investors re settlement.          MIG              0.70        276.50
23-Jun-21      Conference with Stenger re Bogner property.           MIG              0.20          79.00
23-Jun-21      Scan and profile letter received from Vermont         AMM              0.00           0.00
               Department of Taxes; Prepare email to accountant
               regarding same.
23-Jun-21      Prepare check request for invoice received from       AMM              0.00           0.00
               Akerman eDiscovery; Prepare email to Trust
               regarding same.
24-Jun-21      Prepare check request for vendor invoice; Prepare     AMM              0.00           0.00
               email to trust regarding same.
25-Jun-21      Prepared for and attended real estate update call.    MIG              0.30        118.50
25-Jun-21      Corresponded with Smiley regarding pending            MIG              0.30        118.50
               application.
25-Jun-21      Reviewed Barr correspondence and conference with      MIG              0.30        118.50
               Barr re status.
28-Jun-21      Attention to investor inquiry regarding settlements   KAS              0.10          17.50
               and case status.
28-Jun-21      Profile screen capture of publication of notice of    AMM              0.00           0.00
               proceedings for MSK settlement on vtdigger.org;
               Prepare email to paralegal regarding same.
29-Jun-21      Profile screen capture of publication of notice of    AMM              0.00           0.00
               proceedings for MSK settlement on vtdigger.org;
               Prepare email to paralegal regarding same.
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29-Jun-21      Correspond with investor regarding information           KAS              0.00           0.00
               needed for address change requests; Work on
               updating investor records; Review of receivership
               mail and discuss further handling.
30-Jun-21      Work on banking and administrative matters.              KAS              1.30        227.50
30-Jun-21      Work on preparation of Receiver's Tenth Interim Fee      KAS              0.00           0.00
               Application (No Charge).
30-Jun-21      Corresponded with creditors re status.                   MIG              0.20          79.00
30-Jun-21      Research and update investor records per change of       AMM              0.00           0.00
               address form; Prepare email to investor, Jay Peak
               management, and accountant regarding same; Profile
               documents received from investor.
30-Jun-21      Sort and organize returned notice of proceedings for     AMM              0.00           0.00
               the Peoples United Bank and MSK settlements.
30-Jun-21      Research and update investor records per change of       AMM              0.00           0.00
               address form; Prepare email to investor, Jay Peak
               management, and accountant regarding same; Profile
               documents received from investor.
1-Jul-21       Research and update investor records per change of       AMM              0.00           0.00
               address form; Prepare email to investor, Jay Peak
               management, and accountant regarding same; Profile
               documents received from investor.
1-Jul-21       Review and respond on inquiries from investors.          KAS              1.50        262.50
1-Jul-21       Commence preparation of exhibits to fee application.     KAS              0.00           0.00
2-Jul-21       Correspond with investors regarding case status and      KAS              0.50          87.50
               meeting with Receiver to discuss Phase 7
               administrative claim; Correspond with McLaughlin
               regarding investor K-1 request.
2-Jul-21       Corresponded re immigration issues.                      MIG              0.30        118.50
6-Jul-21       Corresponded with creditors re status.                   MIG              0.30        118.50
7-Jul-21       Save and email paralegal regarding Affidavit of          AMM              0.00           0.00
               Publication for MSK Settlement
7-Jul-21       Prepare email to investor regarding settlement status.   AMM              0.10           7.50
8-Jul-21       Corresponded re C&S distribution.                        MIG              0.30        118.50
8-Jul-21       Corresponded with investors.                             MIG              0.30        118.50
9-Jul-21       Conference with Stenger re AnC building.                 MIG              0.20          79.00
9-Jul-21       Draft cover letter to accompany Carroll & Scribner       AMM              0.40          30.00
               settlement payment.
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9-Jul-21       Phone conference with paralegal regarding the             AMM              0.00           0.00
               issuing of checks to investors in connection to Carroll
               & Scribner settlement
9-Jul-21       Transcribe voice message from vendor and prepare          AMM              0.00           0.00
               emails to Paralegal and Jay Peak management
               regarding same.
12-Jul-21      Corresponded with investor re status.                     MIG              0.30        118.50
13-Jul-21      Corresponded re USCIS.                                    MIG              0.20          79.00
14-Jul-21      Conference with Phase 7 investor relations status.        MIG              0.50        197.50
14-Jul-21      Corresponded with investors re USCIS.                     MIG              0.30        118.50
15-Jul-21      Reviewed and executed contract to retain firm to          MIG              0.60        237.00
               represent Jay peak in PPP loan matter.
15-Jul-21      Conference with Endicott re agreement.                    MIG              0.20          79.00
15-Jul-21      Multiple communications regarding Cason Plaintiff         KAS              1.20        210.00
               Settlement Payments; Prepare transmittal letters to
               accompany checks; Call with A. McLaughlin Smith;
               Correspond with S. Traband.
15-Jul-21      Call with G. Endicott regarding BKD CPA retention;        KAS              0.30          52.50
               Correspond with M. Goldberg regarding same.
16-Jul-21      Review correspondence from the State of Vermont           KAS              0.60        105.00
               regarding AnC Bio GP Services, LLC and forward to
               accountants for further review; Follow up with A.
               McLauglin regarding investor inquiries; Review
               receivership mail.
16-Jul-21      Conference with Kretzschmar re fee application.           MIG              0.00           0.00
16-Jul-21      Conference with Schneider re MSK settlement.              MIG              0.40        158.00
19-Jul-21      Corresponded with Barr re documents.                      MIG              0.30        118.50
19-Jul-21      Corresponded with investors re sales status.              MIG              0.40        158.00
20-Jul-21      Call with Smiley reports distribution of funds.           MIG              0.30        118.50
20-Jul-21      Corresponded with investors re status.                    MIG              0.30        118.50
20-Jul-21      Corresponded re bank accounts.                            MIG              0.30        118.50
21-Jul-21      Corresponded with Smiley re account.                      MIG              0.10          39.50
22-Jul-21      Telephone conference with S. Cason regarding              KAS              0.20          35.00
               settlement check.
22-Jul-21      Telephone conference with Phase 6 investor                KAS              0.30          52.50
               regarding case status.
26-Jul-21      Corresponded re sales process with Robin.                 MIG              0.20          79.00
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26-Jul-21       Corresponded with investor.                             MIG                0.20          79.00
27-Jul-21       Conference with investors re status.                    MIG                0.30        118.50
27-Jul-21       Correspond regarding resort acquisition inquiry.        KAS                0.60        105.00
27-Jul-21       Call with counsel for Phase 2 investor regarding        KAS                0.50          87.50
                return of principal and case status.
28-Jul-21       Corresponded with investors re status.                  MIG                0.40        158.00
29-Jul-21       Prepared for and attended MSK approval hearing.         MIG                1.60        632.00
29-Jul-21       Correspondence with investors re status.                MIG                0.30        118.50
30-Jul-21       Corresponded with investor re status.                   MIG                0.40        158.00
30-Jul-21       Prepared for and attended weekly real estate call.      MIG                0.40        158.00
30-Jul-21       Conference with Schneider re MSK and potential          MIG                0.50        197.50
                appeal.
30-Jul-21       Review estate documents produced to Receiver.           KAS                2.20        385.00
30-Jul-21       Review and comment on status report in USCIS            NSS                0.90        355.50
                matter.
                     Subtotal for Code 504 CASE ADMINISTRATION                           495.60    127,796.00

Task Code:      505 CLAIMS ADMINISTRATION AND OBJECTIONS
2-Sep-20        Corresponded with creditor re distribution.             MIG                0.30        118.50
8-Sep-20        Corresponded with creditors re status.                  MIG                0.30        118.50
8-Sep-20        Analyze Phase 7 investors status at attorney request;   KAS                0.60        105.00
                Update chart.
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                 Subtotal for Code 505 CLAIMS ADMINISTRATION AND                        1.20        342.00
                                      OBJECTIONS

Task Code:      508 EMPLOYEE BENEFITS/PENSIONS
3-Feb-21        Comment on controlled group analysis of Jay Peak       MKS              0.20          79.00
                and Burke Mountain as a brother-sister controlled
                group.
                Subtotal for Code 508 EMPLOYEE BENEFITS/PENSIONS                        0.20          79.00

Task Code:      515 TAX ISSUES
3-Sep-20        Multiple communications with investors accountant      KAS              0.60        105.00
                and attorney regarding K-1 request; Research and
                send requested documentation.
8-Sep-20        Correspond with tax accountant regarding Q Burke       KAS              0.40          70.00
                tax notice.
8-Sep-20        Review property tax notices from Town of Jay and       KAS              0.70        122.50
                follow up regarding status and payment.
10-Sep-20       Analysis of 2019 Property Tax Statements for several   KAS              1.30        227.50
                Jay Peak properties
15-Sep-20       Correspond with accountant for investor regarding      KAS              0.50          87.50
                previously issued K-1's.
16-Sep-20       Research property tax payments.                        KAS              0.40          70.00
30-Nov-20       Research and prepare password encrypted K-1 for        AMM              0.90          67.50
                investor; Prepare email regarding same to investor.
1-Dec-20        Research and prepare password encrypted copy of K-     AMM              0.60          45.00
                1 for investor; Prepare email regarding same to
                investor.
12-Feb-21       Reviewed and executed tax returns.                     MIG              0.80        316.00
12-Feb-21       Correspond regarding LCP Group regarding tax           KAS              0.90        157.50
                matters for Jay Peak Biomedical Research Park;
                Correspond with Receiver's accountants regarding
                same; Assemble banking information.
15-Feb-21       Prepare email to R. Marquard with copies of relevant   KAS              0.30          52.50
                JPBRP banking information needed for tax purposes.
16-Feb-21       Review correspondence from State of Vermont,           KAS              0.10          17.50
                Department of Taxes regarding transfer of payment
                and correspond with Receiver regarding same.
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16-Feb-21      Research and prepare email to investor regarding the      AMM              0.30          22.50
               status of investor K1s for 2020 and how to receive a
               digital copy of their respective form.
16-Feb-21      Prepare email to paralegal regarding the status of the    AMM              0.10           7.50
               2020 investor K-1s.
17-Feb-21      Telephone conference with Allyson Bathalon and            SMS              1.80        711.00
               Dave McNeil regarding employee retention tax
               credit. Review IRS guidance re PTO pay-out. Review
               IRS regulations regarding seasonal workers. Email to
               client regarding PTO pay-out's eligibility for tax
               credit and seasonal employee regulation.
17-Feb-21      Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of investor K1s for 2020 and how to receive a
               digital copy of their respective form.
17-Feb-21      Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of investor K1s for 2020 and how to receive a
               digital copy of their respective form.
18-Feb-21      Research and prepare email to paralegal regarding         AMM              0.40          30.00
               case and tax inquiry received from investor.
18-Feb-21      Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of investor K1s for 2020 and how to receive a
               digital copy of their respective form.
22-Feb-21      Correspond with The LCP Group regarding their             KAS              0.70        122.50
               accountant's inquiries regarding Phase 7 trust activity
               requiring clarification for tax preparation matters.
26-Feb-21      Attend to investor address change and K-1 requests.       KAS              0.50          87.50
1-Mar-21       Attend to investor inquiries regarding K-1's and case     KAS              0.60        105.00
               status.
2-Mar-21       Prepare for and attend telephone conference with M.       KAS              0.80        140.00
               Friedman, CPA, Marks Paneth LLP, regarding Jay
               Peak Biomedical Research Park LP tax reporting
               matters.
2-Mar-21       Attend to investor inquiries regarding probate estate,    KAS              1.70        297.50
               address changes and K-1's.
2-Mar-21       Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of the 2020 K-1s.
2-Mar-21       Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of the 2020 K-1s.
3-Mar-21       Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of the 2020 K-1s.
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3-Mar-21       Research and prepare email to investor regarding the   AMM              0.30          22.50
               status of the 2020 K-1s.
3-Mar-21       Research and prepare email to investor regarding the   AMM              0.30          22.50
               status of the 2020 K-1s.
3-Mar-21       Research and prepare email to investor regarding the   AMM              0.30          22.50
               status of the 2020 K-1s.
3-Mar-21       Attend to investor inquiries regarding K-1's.          KAS              0.50          87.50
4-Mar-21       Research and prepare response to 2020 K-1 inquiry.     AMM              0.20          15.00
5-Mar-21       Research and prepare email to investor regarding       AMM              0.20          15.00
               information needed to provide them with a digital
               copy of their 2020 K-1.
5-Mar-21       Research and prepare email to investor regarding       AMM              0.30          22.50
               information needed to update our records and to
               provide them with a digital copy of their 2020 K-1.
8-Mar-21       Research and prepare email to investor regarding the   AMM              0.20          15.00
               status of the 2020 K-1s.
8-Mar-21       Prepare payment requests for tax extensions; Phone     AMM              0.00           0.00
               conference with paralegal regarding same; Phone
               conference with Trust and office administrator
               regarding same; Prepare certified mailing forms and
               envelopes for payments; Scan and profile stamped
               envelopes, checks, and certified mailing forms;
8-Mar-21       Work with Receiver on finalizing partnership tax       KAS              2.70        472.50
               returns; Multiple communications with accountant
               regarding tax extensions; Confer with A. McLaughlin
               regarding tax extensions; Multiple communications
               with investors regarding case status and K-1's;
               Review receivership mail and attend to same.
8-Mar-21       Reviewed and authorized tax returns.                   MIG              0.80        316.00
9-Mar-21       Reviewed and executed tax returns and extensions.      MIG              0.70        276.50
9-Mar-21       Continue to work with Receiver and accountant to       KAS              1.00        175.00
               finalize partnership tax returns and follow up
               regarding same.
9-Mar-21       Research and prepare email to investor regarding the   AMM              0.20          15.00
               status of the 2020 K-1s.
10-Mar-21      Research and prepare email to investor regarding the   AMM              0.30          22.50
               status of the 2020 K-1s.
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10-Mar-21      Attend to investor inquiries regarding K-1, case status   KAS              2.40        420.00
               and work on address updates; Follow up with
               Receiver and tax accountants regarding partnership
               tax returns and K-1's.
10-Mar-21      Reviewed and executed tax returns.                        MIG              0.60        237.00
11-Mar-21      Follow up with McLaughlin regarding investor              KAS              0.60        105.00
               inquiries and tax filing extensions.
11-Mar-21      Research and prepare email to investor regarding the      AMM              0.30          22.50
               status of the 2020 K-1s.
11-Mar-21      Research and prepare email to investor regarding the      AMM              0.30          22.50
               status of the 2020 K-1s.
12-Mar-21      Research and prepare email to investor regarding the      AMM              0.30          22.50
               status of the 2020 K-1s.
12-Mar-21      Review correspondence from State of Vermont               KAS              0.30          52.50
               Department of Taxes regarding ANC Bio Vermont
               GP Services, LLC; Correspond with L. Johnson
               regarding same.
12-Mar-21      Attend to investor inquiries regarding K-1's.             KAS              1.00        175.00
12-Mar-21      Reviewed and executed tax returns.                        MIG              0.60        237.00
15-Mar-21      Attention to partnership tax filing matters and follow-   KAS              1.20        210.00
               up.
15-Mar-21      Numerous communications with investors regarding          KAS              1.70        297.50
               K-1's and case status; Follow up with accountant
               regarding tax matters.
16-Mar-21      Attention to tax investor inquiries; correspond with      KAS              1.80        315.00
               D. McNeil regarding K-1's.
16-Mar-21      Research and prepare email to investor regarding the      AMM              0.30          22.50
               status of the 2020 K-1s.
17-Mar-21      Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of the 2020 K-1s and the requirements to
               update their information.
17-Mar-21      Phone conference with investor regarding the status       AMM              0.40          30.00
               of the 2020 K-1s and the process to update
               information; Research and prepare email regarding
               same to investor.
17-Mar-21      Research and prepare email to investor regarding the      AMM              0.40          30.00
               status of the 2020 K-1s and the requirements to
               update their information.
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17-Mar-21      Research and prepare email to investor regarding the     AMM              0.40          30.00
               status of the 2020 K-1s and the requirements to
               update their information.
17-Mar-21      Research and prepare email to investor regarding the     AMM              0.40          30.00
               status of the 2020 K-1s and the requirements to
               update their information.
17-Mar-21      Research and prepare follow-up email to investor         AMM              0.40          30.00
               regarding information needed in order to supply them
               with a digital copy of their 2020 K-1.
17-Mar-21      Research and prepare email to investor regarding the     AMM              0.30          22.50
               status of the 2020 K-1s.
17-Mar-21      Research and prepare email to investor regarding the     AMM              0.30          22.50
               status of the 2020 K-1s.
17-Mar-21      Research and prepare email to investor regarding         AMM              0.40          30.00
               information needed in order update their records and
               supply them with a digital copy of their 2020 K-1.
17-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
17-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
17-Mar-21      Correspond with Jay Peak team regarding taxable          KAS              0.80        140.00
               grants; Follow up regarding same.
17-Mar-21      Attention to partnership tax returns and K-1's; Follow   KAS              2.80        490.00
               up with investor K-1 requests; Calls with investor
               regarding case status matters and K-1's.
18-Mar-21      Research and prepare email to investor regarding the     AMM              0.30          22.50
               status of the 2020 K-1s.
19-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
19-Mar-21      Research and prepare password encrypted digital          AMM              0.90          67.50
               copies of K-1s for investors; Prepare emails
               regarding same to investors.
19-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
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19-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
19-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
19-Mar-21      Calls with investors regarding K-1 requests and case     KAS              0.50          87.50
               status.
19-Mar-21      Reviewed and executed tax returns.                       MIG              0.50        197.50
22-Mar-21      Review tax notices and follow up regarding same.         KAS              0.20          35.00
22-Mar-21      Research and prepare email to investor regarding the     AMM              0.60          45.00
               information needed to update records and to obtain
               digital copies of K-1s.
22-Mar-21      Repare password encrypted digital copy of their 2020     AMM              0.70          52.50
               K-1; Prepare email to investor regarding address
               change and the digital copy of their K-1.
22-Mar-21      Research regarding investor inquiry; Phone               AMM              0.70          52.50
               conference with investor regarding same; prepare
               password encrypted digital copy of K-1 for investor;
               Prepare email to investor with password encrypted
               digital copy of K-1.
22-Mar-21      Scan and profile certified mailing slips for tax         AMM              0.20          15.00
               extension payments.
22-Mar-21      Prepare password encrypted digital copies of             AMM              1.20          90.00
               investors K-1s for 2018, 2019, and 2020; Prepare
               email to investor regarding digital copies of their K-
               1s.
23-Mar-21      Research and prepare email to investor regarding         AMM              0.30          22.50
               information needed to update records and provide
               digital copies of K-1s.
24-Mar-21      Research and prepare email to investor regarding the     AMM              0.40          30.00
               status of the 2020 K-1s.
24-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
24-Mar-21      Research and prepare password encrypted digital          AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
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24-Mar-21      Research and prepare password encrypted digital       AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
25-Mar-21      Prepare password encrypted digital copy of their      AMM              0.80          60.00
               2020 K-1; Prepare email to investor regarding
               address change and the digital copy of their K-1.
25-Mar-21      Prepare password encrypted digital copy of their      AMM              0.80          60.00
               2020 K-1; prepare email to investor regarding
               address change and the digital copy of their K-1.
25-Mar-21      Receive and review gains tax withholding forms from   CRC              0.30          52.50
               M. Wiener's office.
25-Mar-21      Work on investor address updates and K-1 requests;    KAS              0.70        122.50
               Correspond with A. McLaughlin regarding same.
26-Mar-21      Review tax correspondence regarding Phase 2;          KAS              1.00        175.00
               Review investor's updated taxpayer identification
               information and update records; Correspond with tax
               accountants regarding same.
26-Mar-21      Research and prepare password encrypted digital       AMM              0.60          45.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
26-Mar-21      Research and prepare password encrypted digital       AMM              0.40          30.00
               copy of K-1 for investor; Prepare email regarding
               same to investor.
29-Mar-21      Conference re tax issue.                              MIG              0.30        118.50
31-Mar-21      Correspond regarding K-1 requests.                    KAS              1.20        210.00
31-Mar-21      Research and prepare password encrypted digital       AMM              0.50          37.50
               copy of K-1 for investor; Prepare email regarding
               same to investor.
1-Apr-21       Research and prepare password encrypted digital       AMM              1.10          82.50
               copy of K-1 for investor; Prepare email regarding
               same to investor; Profile email correspondence
               received from investor.
1-Apr-21       Listen to voice message received from investor;       AMM              1.30          97.50
               Research and prepare password encrypted digital
               copy of K-1 for investor; Prepare email regarding
               same to investor;
5-Apr-21       Research and prepare password encrypted digital       AMM              0.60          45.00
               copy of K-1 for investor; Prepare email to investor
               regarding K-1 and the documents required to update
               their contact records.
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5-Apr-21       Attend to numerous inquiries regarding K-1's,           KAS              1.80        315.00
               address changes and case update requests; Update
               spreadsheets.
5-Apr-21       Reviewed tax items.                                     MIG              0.30        118.50
8-Apr-21       Review of tax notice from State of Vermont and          KAS              0.20          35.00
               follow up regarding same.
12-Apr-21      Work on K-1 and address change requests.                KAS              0.70        122.50
13-Apr-21      Work on investor K-1 and address change requests        KAS              0.80        140.00
16-Apr-21      Attention to investor immigration and tax inquiries;    KAS              0.50          87.50
               Work on investor address updates.
19-Apr-21      Attention to investor address updates and K-1           KAS              0.40          70.00
               requests.
20-Apr-21      Attention to K-1 requests.                              KAS              0.40          70.00
3-May-21       Prepare email to investor regarding password            AMM              0.10           7.50
               encrypted K-1.
4-May-21       Research, update information, and prepare password      AMM              1.10          82.50
               encrypted K-1 for investor.
11-May-21      Correspond with tax accountant regarding IRS            KAS              0.40          70.00
               response notices.
12-May-21      Correspond with D. Haute regarding K-1 request.         KAS              0.40          70.00
1-Jun-21       Conference with Smiley re taxes.                        MIG              0.20          79.00
1-Jun-21       Research and prepare emails to paralegal regarding      AMM              0.80          60.00
               property tax payment history for the 172 Bogner
               property.
2-Jun-21       Prepare email to paralegal and attorney regarding       AMM              0.20          15.00
               property tax payment status
17-Jun-21      Research and prepare password encrypted K-1 for         AMM              0.90          67.50
               investor; Prepare email regarding same to investor;
               Prepare email to accountant requesting corrected K-1.
17-Jun-21      Prepare check request for invoice received from         AMM              0.40          30.00
               Ritter's Communications for postage for MSK
               settlement notice of proceedings.
17-Jun-21      Correspond with D. McNeil regarding Investor's          KAS              0.20          35.00
               request for historical K-1's
22-Jun-21      Attention to request for revised K-1.                   KAS              0.50          87.50
22-Jun-21      Follow up on corrected K-1 for investor with            AMM              0.60          45.00
               accountant; Prepare email to investor with corrected
               K-1.
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28-Jun-21       Research regarding voided Vermont Tax payments;            AMM               0.40          30.00
                Conference call with paralegal regarding same;
                Prepare email to accountant regarding same.
6-Jul-21        Research and prepare password protected digital copy       AMM               1.10          82.50
                of K-1 for investor; Prepare email to Investor
                regarding same; Prepare email to investor's
                accountant regarding the status of investor's receipt of
                current and past K-1s.
6-Jul-21        Attention to investor inquiries and K-1 requests.          KAS               0.40          70.00
7-Jul-21        Prepare email to accountant regarding IRS Penalty          AMM               0.10           7.50
                notice
9-Jul-21        Research tax forms for respective investors.               AMM               1.80        135.00
9-Jul-21        Verify tax forms were received for each investor.          AMM               1.70        127.50
9-Jul-21        Prepare password encrypted digital copies of K-1s for      AMM               0.40          30.00
                investor; Prepare email regarding same to investor
9-Jul-21        Reviewed and executed tax returns and related              MIG               0.60        237.00
                documents.
15-Jul-21       Correspond with accountant regarding tax extension;        KAS               0.30          52.50
                Provide instruction to A. McLaughlin regarding
                same.
26-Jul-21       Reviewed and executed tax returns.                         MIG               0.40        158.00
                             Subtotal for Code 515 TAX ISSUES                               81.00     12,227.00

Task Code:      516 ACCOUNTING
8-Sep-20        Review account statement from City National Bank           KAS               0.50          87.50
                regarding PPP Loan account; Correspond with
                Receiver regarding same; Follow up with Jay Peak
                team regarding same.
8-Sep-20        Follow up emails with professionals regarding              KAS               0.40          70.00
                banking matters.
17-Nov-20       Review correspondence and work on payment of               KAS               0.40          70.00
                legal and storm water invoices.
11-Feb-21       Attend to receivership mail and K-1 requests; Confer       KAS               1.40        245.00
                with A. McLaughlin regarding payments; Review
                and analyze funds in unallocated and e-Discovery
                unpaid expenses; Prepare check requests; Correspond
                regarding new bank account setup matters.
15-Feb-21       Work on assembling bank trust activity pertaining to       KAS               1.40        245.00
                Jay Peak Biomedical Research Park; Redact ledgers.
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15-Feb-21      Review and respond to inquiry from S. Lillis             KAS              0.30          52.50
               regarding Peoples United Bank 2020 bank activity
               for Q Burke for financial reporting purposes.
16-Feb-21      Correspond with The LCP Group regarding trust            KAS              0.30          52.50
               ledger inquiry; Correspond with MIG regarding bank
               accounts.
16-Feb-21      Corresponded with Smiley re bank accounts.               MIG              0.30        118.50
17-Feb-21      Follow up with banking matters.                          KAS              0.10          17.50
22-Feb-21      Profile and prepare email to Jay Peak management         AMM              0.60          45.00
               with January account statements for the People's
               United Bank accounts.
24-Feb-21      Review and arrange for payment of Intralinks invoice     KAS              0.00           0.00
               for data room services.
1-Mar-21       Telephone conference with M. Friedman, CPA for           KAS              0.50          87.50
               One Wall Street Project to discuss tax matters
               pertaining to JPBRP, LLP; Follow up with Receiver's
               tax accountants regarding same.
2-Mar-21       Attend to payment of vendor invoices for eDiscovery      KAS              0.00           0.00
               services.
2-Mar-21       Research information requested by One Wall Street        KAS              1.10        192.50
               accountants and explanation of trust transaction
               details; Prepare memo and send documents to M.
               Friedman.
10-Mar-21      Telephone conference with L. Johnson regarding One       KAS              1.20        210.00
               Wall Street's accountant inquiries regarding treatment
               of surplus fund pertaining to Jay Peak Biomedical
               Research Park; Research documentation and send to
               L. Johnson for review and analysis; Prepare follow
               up email to One Wall Street accountants.
12-Mar-21      Research and prepare email to investor regarding the     AMM              0.30          22.50
               status of the 2020 K-1s.
16-Mar-21      Research and leave voice message for vendor              AMM              0.00           0.00
               regarding invoice payment; Prepare email to
               paralegal regarding same.
16-Mar-21      Review correspondence from Burlington Free Press         KAS              0.00           0.00
               regarding payment due; Follow-up with A.
               McLaughlin regarding same.
18-Mar-21      Research and leave voice message for vendor              AMM              0.00           0.00
               regarding invoice issue; Prepare email to vendor
               regarding same.
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19-Mar-21      Scan and profile monthly bank account statements.      AMM              0.60          45.00
22-Mar-21      Scan and profile letters from the IRS; Prepare email   AMM              0.30          22.50
               to accountant regarding same.
22-Mar-21      Correspond regarding banking matters.                  KAS              1.90        332.50
25-Mar-21      Review email from Marks Paneth accountants             KAS              0.50          87.50
               pertaining to tax inquiry for Jay Peak Biomedical
               Research Park, LP.; Follow up with Receiver's
               accountant regarding same.
29-Mar-21      Conference with Smiley re payables.                    MIG              0.20          79.00
2-Apr-21       Reviewed accounting and escrows.                       MIG              0.40        158.00
5-Apr-21       Conference with Smiley re closing proceeds and         MIG              0.30        118.50
               account.
8-Apr-21       Work on updating records regarding bank accounts;      KAS              2.20        385.00
               Correspond with team regarding new account status.
9-Apr-21       Prepare update to bank reconciliation report.          KAS              0.60        105.00
9-Apr-21       Review of accounting and bank accounts.                MIG              1.10        434.50
14-Apr-21      Composed email to David McNeil and S. Lillis re:       KAS              0.10          17.50
               City National Bank Statement.
15-Apr-21      Receipt and review of IRS refund check payable to      KAS              0.00           0.00
               Jay Peak, Inc. and notify accountant regarding same;
               Provide instruction for deposit of funds.
19-Apr-21      Review of cash flow statements from S. Lilis for       KAS              0.40          70.00
               incorporation into financial accounting.
20-Apr-21      Work on receivership banking and administrative        KAS              0.60        105.00
               matters.
23-Apr-21      Research company tax id number requested by LCP        KAS              0.30          52.50
               Group's tax accountant and correspond regarding
               same.
27-Apr-21      Review and respond to email correspondence from E.     KAS              0.10          17.50
               Frady regarding State of Vermont disbursement
               payment for Jay Peak Hotel Suites II, LP.
3-May-21       Review status of second installment payment for        KAS              0.50          87.50
               property taxes 151 Main Street and correspond
               regarding same.
6-May-21       Review notice from Department of Treasury              KAS              0.60        105.00
               regarding late filing fee due on Burke Mountain
               Operating Co. FYE 2019; Arrange for expedited
               payment of same.
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14-May-21       Assemble information requested by accountant in        KAS               0.30          52.50
                preparation of updated financial statements.
21-May-21       Work on payment of professional fee invoice to         KAS               0.00           0.00
                Baker Tilly for work perfumed on updating Q Burke
                economic analysis.
25-May-21       Review IntraLinks Invoice #: INV01262751 and           KAS               0.00           0.00
                arrange for payments of same.
1-Jun-21        Review and analyze status of property tax payments     KAS               0.90        157.50
                to City of Newport; Correspond with Receiver
                regarding same; Arrange for payment of 2020/2021
                Tax Payment for 172 Bogner.
11-Jun-21       Prepare check request for invoice received from        AMM               0.00           0.00
                Vermont Digger for the publication of the notice of
                proceedings for the MSK settlement; Prepare email to
                Trust regarding same.
18-Jun-21       Review draft SFA.                                      KAS               1.10        192.50
24-Jun-21       Attention to banking matters and third party           KAS               0.70        122.50
                payments.
25-Jun-21       Correspond regarding wire payment.                     KAS               0.00           0.00
28-Jun-21       Review and respond to inquiry from Receiver's          KAS               0.40          70.00
                accountant regarding trust accounting matters.
1-Jul-21        Multiple communication with Receiver's counsel and     KAS               1.20        210.00
                tax accountant regarding tax reporting matters
                pertaining to C&S settlement payments (.5); Analyze
                distribution payments to professional and investors
                and confer with counsel regarding same (.7).
22-Jul-21       Correspond with Cason Plaintiff regarding payment.     KAS               0.40          70.00
30-Jul-21       Review real estate tax bills and email K. Smiley       CRC               0.00           0.00
                regarding payment.
                            Subtotal for Code 516 ACCOUNTING                            24.50       4,613.50

Task Code:      530 LITIGATION
1-Sep-20        Confer regarding adjudication of pending petitions.    NSS               0.50        197.50
2-Sep-20        Corresponded with Schneider re Scribner.               MIG               0.40        158.00
2-Sep-20        Corresponded with US attorney.                         MIG               0.20          79.00
3-Sep-20        Conference with Schneider re SSVR and                  MIG               0.40        158.00
                corresponded with Dufour.
3-Sep-20        Conference with Schneider re MSK and Merrill.          MIG               0.30        118.50
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4-Sep-20       Conference with Ron Klasko and Jessica DeNisi re       MIG              0.30        118.50
               Regional Center
4-Sep-20       Reviewed Gordon Phase 8 documents and                  MIG              0.40        158.00
               corresponded with Schneider re same
4-Sep-20       Corresponded with Schneider re SSVR.                   MIG              0.10          39.50
8-Sep-20       Conference with SSVR defendants re settlement.         MIG              0.10          39.50
10-Sep-20      Conference with Schneider re Merrill Lynch and         MIG              0.50        197.50
               other issues
10-Sep-20      Conference with US attorney re status.                 MIG              0.50        197.50
10-Sep-20      Conference with Stenger re Bogner.                     MIG              0.30        118.50
11-Sep-20      Correspond with J. DeNisi regarding investor           KAS              0.20          35.00
               redeployment.
11-Sep-20      Correspond with J. DeNisi regarding Phase 7 investor   KAS              0.40          70.00
               status.
14-Sep-20      Conference with Harley and Schneider re MSK case       MIG              1.20        474.00
               and reviewed MSK documents.
15-Sep-20      Corresponded with Jeff Schneider re MSK mediation.     MIG              0.30        118.50
15-Sep-20      Reviewed and executed confidential mediation           MIG              0.30        118.50
               statement.
16-Sep-20      Conference with Brooks McArthur re MSK suit.           MIG              0.50        197.50
16-Sep-20      Reviewed transcript and other documents re MSK         MIG              1.80        711.00
               suit and conference with Schneider re same.
16-Sep-20      Corresponded re SSVR mediation.                        MIG              0.10          39.50
17-Sep-20      Conference with Schneider re MSK mediation.            MIG              0.30        118.50
17-Sep-20      Corresponded with Macarthur re documents.              MIG              0.20          79.00
18-Sep-20      Reviewed documents and numerous conferences with       MIG              1.80        711.00
               Schneider re MSK lawsuit.
18-Sep-20      Reviewed REDACTED                                      MIG              0.20          79.00
21-Sep-20      Reviewed and revised power point for MSK               MIG              0.60        237.00
               mediation.
21-Sep-20      Reviewed transcripts of preliminary injunction         MIG              1.50        592.50
               hearing for MSK mediation and conference with
               Schneider re same.
22-Sep-20      Reviewed case re in pari delicto for MSK suit.         MIG              0.50        197.50
22-Sep-20      Reviewed documents for MSK mediation.                  MIG              0.80        316.00
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23-Sep-20      Reviewed new in pari delicto case to prepare for       MIG               0.30        118.50
               mediation with MSK.
24-Sep-20      Reviewed and revised PowerPoint for MSK with           MIG               1.50        592.50
               Schneider and Jezabel.
24-Sep-20      Reviewed settlement agreement.                         MIG               0.40        158.00
24-Sep-20      Reviewed documents received from Vermont for           MIG               0.40        158.00
               MSK mediation.
24-Sep-20      Conference with Schneider re MSK mediation.            MIG               0.80        316.00
24-Sep-20      Final review of MSK PowerPoint.                        MIG               0.80        316.00
24-Sep-20      Follow up conferences regarding fee application.       JML               0.00           0.00
24-Sep-20      Work on mediation exhibit to be included in            KAS               1.50        262.50
               mediation presentation; Correspond with J. Schneider
               regarding same.
25-Sep-20      Multiple communications with Traband regarding         KAS               0.50          87.50
               privilege.
25-Sep-20      Conference with Tropin, Schneider and Lipshitz re      MIG               0.40        158.00
               mediation.
25-Sep-20      Prepared for and attended MSK mediation.               MIG              10.50       4,147.50
28-Sep-20      Corresponded re state of Vermont mediation.            MIG               0.30        118.50
28-Sep-20      Corresponded with Schneider re MSK.                    MIG               0.40        158.00
29-Sep-20      Corresponded with Schneider and Tropin re MSK.         MIG               0.10          39.50
29-Sep-20      Conference with Schneider re MSK..                     MIG               0.30        118.50
1-Oct-20       Reviewed documents on MSK received from                MIG               0.70        276.50
               Vermont.
5-Oct-20       Correspond with J. Schneider regarding Carroll &       KAS               0.20          35.00
               Scribner.
12-Oct-20      Corresponded with Schneider re MSK.                    MIG               0.20          79.00
13-Oct-20      Conference with Schneider re MSK.                      MIG               0.40        158.00
15-Oct-20      Conference with Schneider re MSK and various           MIG               0.40        158.00
               issues.
22-Oct-20      Reviewed SSVR mediation PowerPoint and                 MIG               0.10          39.50
               conference with Schneider re same.
26-Oct-20      Conference with Schneider re mediation.                MIG               0.10          39.50
13-Nov-20      Corresponded with Schneider re MSK.                    MIG               0.50        197.50
16-Nov-20      Conference with Schneider re People's mediation.       MIG               0.30        118.50
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17-Nov-20      Conference with Schneider and Melissa re settlement.    MIG              0.50        197.50
17-Nov-20      Conference with Schneider re settlement.                MIG              0.60        237.00
17-Nov-20      Reviewed Gordon order.                                  MIG              0.60        237.00
17-Nov-20      Review Subpoena for Records directed at Receiver in     KAS              0.40          70.00
               Sutton v. State of Vermont.
18-Nov-20      Research notice requirements re: settlement motion.     KAS              2.40        420.00
18-Nov-20      Prepared for and attended PUB mediation.                MIG              8.50       3,357.50
18-Nov-20      Correspond with J. Schneider regarding noticing         KAS              1.20        210.00
               requirements for Carroll & Scriber pending
               settlement; review proposed motion and publication
               notice.
18-Nov-20      Confer with M. Goldberg regarding REDACT.               KAS              0.40          70.00
19-Nov-20      Corresponded with Schneider re mediation.               MIG              0.30        118.50
19-Nov-20      Call with J. Schneider regarding settlement noticing    KAS              0.40          70.00
               issues.
19-Nov-20      Prepare master lists for noticing parties in C&S        KAS              2.80        490.00
               settlement.
20-Nov-20      Correspond with attorney regarding notice of            KAS              0.50          87.50
               representation.
20-Nov-20      Prepared for and attended continued People's bank       MIG              2.10        829.50
               mediation.
20-Nov-20      Prepare for and attend telephone conference with S.     KAS              0.90        157.50
               Traband regarding noticing requirements for C&S
               settlement.
23-Nov-20      Conference with Stenger re condo.                       MIG              0.40        158.00
24-Nov-20      Confer with M. Goldberg regarding Subpoena in           KAS              0.40          70.00
               Sutton v. State of Vermont; Quick review of
               document inventory to ascertain possible available
               records.
24-Nov-20      Analyze subpoena and correspond with M. Davis           KAS              0.70        122.50
               regarding strategy of Receiver's review of records in
               response to same.
24-Nov-20      Call with R. Barr, Esquire regarding scope of           KAS              0.40          70.00
               subpoena in Sutton v. State; Follow up email to R.
               Barr re: same.
25-Nov-20      Corresponded with Schneider re MSK.                     MIG              0.20          79.00
30-Nov-20      Corresponded with Schneider re MSK.                     MIG              0.30        118.50
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30-Nov-20      Reviewed MSK documents.                                MIG              0.70        276.50
30-Nov-20      Correspond with M. Davis regarding document            KAS              0.30          52.50
               request.
1-Dec-20       Review Jay Peak inventory report from forensic         KAS              0.50          87.50
               accountants pertaining to data collection for
               discovery response.
2-Dec-20       Work on researching information and updating           KAS              1.90        332.50
               settlement noticing list for C&S settlement.
2-Dec-20       Telephone conference with M. Seaberg regarding         KAS              0.40          70.00
               Sutton v. State records request to Receiver.
2-Dec-20       Review draft settlement documents and correspond       KAS              1.00        175.00
               with J. Schneider and S. Traband regarding C&S
               settlement noticing matters.
2-Dec-20       Work on banner ad and publication for Burlington       KAS              0.70        122.50
               Free Press in conjunction with C&S settlement.
2-Dec-20       Corresponded with Tropin Schneider and Lipshitz re     MIG              0.40        158.00
               MSK.
2-Dec-20       Conference with Schneider re MSK.                      MIG              0.30        118.50
2-Dec-20       Conference with Pieciak re Merrill.                    MIG              0.30        118.50
3-Dec-20       Conference with Schneider re MSK.                      MIG              0.30        118.50
3-Dec-20       Reviewed MSK documents.                                MIG              0.30        118.50
3-Dec-20       Correspond with M. Davis regarding receivership        KAS              0.60        105.00
               records responsive to document request and follow
               up matters.
7-Dec-20       Review and analyze information received from           KAS              0.50          87.50
               forensic accountant in connection with responding to
               civil subpoena; Correspond with M. Davis regarding
               same.
14-Dec-20      Correspond with J. Schneider and S. Traband            KAS              1.50        262.50
               regarding C&S settlement; Review draft documents
               and exhibits; Confirm documents and information for
               noticing and publication.
21-Dec-20      Confer with D. Grasher regarding Sutton subpoena       KAS              0.50          87.50
               response.
21-Dec-20      Prepare email to M. Seaberg, Esquire at Barr Law       KAS              0.50          87.50
               requesting preliminary search terms in connection
               with subpoena issues to Receiver in Sutton v. State.
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22-Dec-20      Review inquiry from Phase VII investor's counsel          KAS              0.60        105.00
               regarding investment refund; Research requirements
               for refund and correspond with investor's counsel re:
               same.
5-Jan-21       Receipt and review of Notice of Voluntary Dismissal       KAS              0.10          17.50
               Without Prejudice in Crowne Castle v. HBO, et al.
               and update records.
5-Jan-21       Multiple communications with Receiver's counsel           KAS              1.30        227.50
               regarding finalizing noticing requirements for C&S
               Settlement; Work on updating spreadsheets regarding
               same.
5-Jan-21       Review and finalize Notice of Proceedings; Multiple       KAS              2.70        472.50
               communications with Receiver's counsel regarding
               Order Preliminarily Approving Settlement; Caculate
               deadlines pertaining to same.
6-Jan-21       Review information in Preliminary Approval Order          KAS              7.20       1,260.00
               and Finalize Notice of Proceedings; Work on
               Receiver's noticing and service obligations pursuant
               to same, including, numerous communications
               newspapers and vendor; communications with
               Receiver's counsel; Update spreadsheets; proof legal
               ad publications; Organize documents and information
               pertaining to settlement.
8-Jan-21       Call with Barbara from Alps Corporation regarding         KAS              0.40          70.00
               wire verification of initial settlement payment due
               under C&S settlement; Correspond with team
               regarding same.
11-Jan-21      Prepare email to D. Orenstein, Esquire regarding          KAS              0.90        157.50
               status of principal refund payment to Phase VII
               investor; Update settlement charts and electronic files
               regarding same.
11-Jan-21      Follow up on Receiver's counsel regarding Receiver's      KAS              0.30          52.50
               noticing obligations and initial payment matters.
11-Jan-21      Finalize mail out with Ritter's regarding Notice of       KAS              0.60        105.00
               Proceedings in connection of C&S Settlement
               noticing obligations.
12-Jan-21      Communications with Ritter's regrading C&S                KAS              0.80        140.00
               settlement noticing matters and follow up.
12-Jan-21      Receive call from M. Seaberg regarding Sutton             KAS              0.10          17.50
               subpoena.
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12-Jan-21      Follow up with trust accounting team and M.              KAS              0.20          35.00
               Goldberg regarding initial settlement payment due
               under C&S settlement.
13-Jan-21      Update chart of disbursements in connection with         KAS              0.50          87.50
               C&S settlement and verify response deadlines.
13-Jan-21      Work on noticing additional counsel of records by        KAS              1.30        227.50
               U.S. Mail of Notice of Proceedings in connection
               with C&S Settlement; Correspond with S. Traband
               regarding same; Update Recevership records to track
               notices; Follow up with Vermont Digger website
               postings.
14-Jan-21      Work on noticing additional parties of Notice of         KAS              1.00        175.00
               Proceedings pursuant to Carroll and Scribner's
               request.
15-Jan-21      Work on updating lists for additional mailings of        KAS              2.90        507.50
               Notice of Proceedings requested by D. Martin,
               Esquire regarding C&S settlement; Research last
               known email address and prepare email
               communication to additional parties to be served;
               Prepare mailings to invidiauls to go out by US Mail;
               Multiple communications with S. Traband regarding
               same; Prepare updates to receivership records to track
               noticing to parties.
18-Jan-21      Correspond with E-Hounds regarding targeted              KAS              0.50          87.50
               searches for subpoena response.
19-Jan-21      Correspond with e-Discovery vendor and forensic          KAS              0.60        105.00
               accountant regarding subpoena response; Correspond
               with M. Seaberg regarding available records.
19-Jan-21      Review confirmation notices from Ritter's regarding      KAS              0.80        140.00
               C&S Settlement mail out pursuant to Preliminary
               Approval Order; Check on status of other news
               publications; Review and process payment to VT
               Digger.
20-Jan-21      Review report on returned mail in connection with        KAS              0.40          70.00
               C&S settlement and provide instruction to staff.
22-Jan-21      Review and organize C&S Settlement supplemental          KAS              0.40          70.00
               mailings.
25-Jan-21      Review and respond to inquiry from investor              KAS              0.40          70.00
               regarding C&S settlement.
26-Jan-21      Work on document production matters regarding            KAS              0.80        140.00
               Sutton subpoena.
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26-Jan-21      Correspond with Menzies regarding C&S Settlement.     KAS              0.40          70.00
26-Jan-21      Confer with A. McLaughlin regarding handling of       KAS              0.30          52.50
               returned mail pertaining to C&S settlement.
27-Jan-21      Correspond with M. Seaberg regarding status of        KAS              0.30          52.50
               Receiver's document production in connection with
               Sutton subpoena.
29-Jan-21      Attend to document production matters in connection   KAS              0.90        157.50
               with Sutton v. State subpoena; Correspond with
               counsel regarding production of first wave of
               responsive documents.
29-Jan-21      Review court filing regarding agreement for           KAS              0.70        122.50
               allocation of attorney's fees in connection with
               Carroll & Scribner settlement; Update settlement
               records regrading distribution of proceeds.
5-Feb-21       Correspond with M. Seaberg regarding status of        KAS              0.30          52.50
               document download of Receiver's production
               responsive to Sutton subpoena.
8-Feb-21       Communications with vendor regarding production       KAS              0.20          35.00
               download issues in connection with Sutton
               production.
9-Feb-21       Review and respond to request for information         KAS              0.40          70.00
               regarding Notice of Proceedings served in C&S
               settlement.
9-Feb-21       Review Reply correspondence in connection with        KAS              0.20          35.00
               C&S settlement notice from Credence Corp.
10-Feb-21      Correspond with vendor regarding additional Sutton    KAS              0.10          17.50
               production.
11-Feb-21      Composed email to D. Bukas regarding Sutton           KAS              0.10          17.50
               production matters.
11-Feb-21      Review Alpental NDA and appraisal for permission      NSS              1.00        395.00
               to permit circulation.
13-Feb-21      Conference with Schneider re MSK settlement and       MIG              0.40        158.00
               corresponded re same.
15-Feb-21      Corresponded with Schneider re status of settlement   MIG              0.30        118.50
               motions.
15-Feb-21      Reviewed Barr's documents.                            MIG              0.30        118.50
16-Feb-21      Corresponded re settlements with Schneider.           MIG              0.30        118.50
16-Feb-21      Review invoice from Burlington Free Press regarding   KAS              0.20          35.00
               C&S settlement and arrange for payment of same.
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16-Feb-21      Composed email to Edwards, Sharday re: C&S             KAS              0.10          17.50
               Settlement new accounts.
17-Feb-21      Research and provide Raymond James settlement          KAS              0.30          52.50
               information to Receiver regarding Q Burke.
17-Feb-21      Correspond with A. Nagumey, Esquire regarding          KAS              0.20          35.00
               follow up with Receiver to discuss C&S settlement.
17-Feb-21      Corrspond with R. Barr's office regarding status of    KAS              0.20          35.00
               document production.
17-Feb-21      Conference with Schneider re MSK release and           MIG              0.40        158.00
               reviewed proposed release.
18-Feb-21      Conference with attorney for investor re C&S           MIG              0.80        316.00
               settlement.
19-Feb-21      Reviewed Raymond James settlement and Burke data       MIG              1.40        553.00
               and drafted and sent letter to Wakshlag re escrow
19-Feb-21      Receipt and review of Amended Application for          KAS              0.30          52.50
               Attorney's Fees pertaining to C&S Settlement.
22-Feb-21      Correspond with Receiver regarding SSVR                KAS              0.50          87.50
               settlement; Review settlement terms and attention to
               administrative matters.
22-Feb-21      Conference with Schneider re MSK.                      MIG              0.30        118.50
22-Feb-21      Conference with Schneider re settlements .             MIG              0.20          79.00
23-Feb-21      Conference with Schneider re C&S settlement.           MIG              0.40        158.00
23-Feb-21      Conference with Taylor re C&S.                         MIG              0.40        158.00
23-Feb-21      Conference with Schneider re Taylor conversation.      MIG              0.20          79.00
23-Feb-21      Numerous correspondence with Taylor and Viscounti      MIG              0.60        237.00
               re C&S settlement.
24-Feb-21      Conference with Schneider re C&S settlement.           MIG              0.20          79.00
24-Feb-21      Conference re MSK settlement.                          MIG              0.30        118.50
24-Feb-21      Follow up with C&S settlement matters and              KAS              0.40          70.00
               deadlines.
24-Feb-21      Research, prepare, and update C&S settlement notice    AMM              1.40        105.00
               spreadsheets regarding returned and forwarded
               letters.
24-Feb-21      Research, prepare, and update C&S settlement notice    AMM              0.60          45.00
               spreadsheets regarding returned and forwarded
               letters.
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24-Feb-21      Research, prepare, and update C&S settlement notice    AMM              1.40        105.00
               spreadsheets regarding returned and forwarded
               letters.
25-Feb-21      Research, prepare, and update C&S settlement notice    AMM              1.50        112.50
               spreadsheets regarding returned and forwarded
               letters.
25-Feb-21      Correspond regarding SSVR settlement and attention     KAS              0.40          70.00
               to same.
26-Feb-21      Telephone conference with D. Pocius, Esquire           KAS              0.30          52.50
               regarding settlement payment.
26-Feb-21      Correspond with J. Schneider regarding distributions   KAS              0.60        105.00
               under SSRV settlement and attention to same.
26-Feb-21      Conference with Schneider re C&S and MSK               MIG              0.40        158.00
               settlements.
1-Mar-21       Corresponded with Schneider re lawsuit.                MIG              0.20          79.00
1-Mar-21       Corresponded with Schneider re MSK.                    MIG              0.40        158.00
2-Mar-21       Corresponded with Visconti, Taylor and Schneider re    MIG              0.40        158.00
               C&S objection.
3-Mar-21       Conference with Schneider re MSK settlement.           MIG              0.30        118.50
4-Mar-21       Corresponded with Schneider re MSK settlement.         MIG              0.40        158.00
4-Mar-21       Reviewed Raymond James objection.                      MIG              0.30        118.50
4-Mar-21       Conference with Schneider re objection.                MIG              0.30        118.50
4-Mar-21       Review objection to settlement; Follow up on           KAS              0.60        105.00
               documents needed to support Receiver's affidavit for
               noticing C&S settlement.
5-Mar-21       Telephone conference with B. Braunberger, Esq          KAS              0.40          70.00
               regarding case status on behalf of his client and
               litigation update.
5-Mar-21       Follow up with deadline for C&S settlement; Review     KAS              0.70        122.50
               court order changing time of final approval hearing;
               Corrspond with S. Traband regarding same; Prepare
               update to website re: same.
5-Mar-21       Reviewed RJ objection and conference with              MIG              0.60        237.00
               Schneider.
5-Mar-21       Researched issues surrounding objection.               MIG              0.50        197.50
8-Mar-21       Conference with Levenson and Schneiderman re           MIG              0.40        158.00
               settlement.
9-Mar-21       Reviewed and revised Raymond James response.           MIG              0.80        316.00
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9-Mar-21       Conference with Schneider re response.                MIG              0.30        118.50
9-Mar-21       Attend to banking matters regarding SSVR settlement   KAS              0.60        105.00
               payment; Correspond with Receiver regarding same.
9-Mar-21       Attend to matters regarding returned mail from C&S    KAS              0.40          70.00
               Settlement noticing.
10-Mar-21      Conference with Schneider re MSK and C&S              MIG              0.40        158.00
               settlement.
10-Mar-21      Conference with Tropin Lipshitz and Schneider re      MIG              0.40        158.00
               MSK.
11-Mar-21      Reviewed filed Raymond Hanes response and             MIG              0.60        237.00
               conference with Schneider re same.
11-Mar-21      Conference with Schneider to final review of          MIG              0.40        158.00
               objection.
12-Mar-21      Corresponded with Schneider re C&S and Musk           MIG              0.40        158.00
               settlements.
15-Mar-21      Numerous correspondence with Schneider re MSK         MIG              0.70        276.50
               settlement and reviewed revisions to settlement.
16-Mar-21      Corresponded with Schneider re C&S settlement and     MIG              0.60        237.00
               MSK.
17-Mar-21      Conference with Schneider re Raymond James            MIG              0.30        118.50
               objection.
18-Mar-21      Composed email to J. DeNisi regarding request for     KAS              0.20          35.00
               evidence.
18-Mar-21      Follow up regarding status of settlements; Confer     KAS              2.50        437.50
               with Receiver regarding same.
22-Mar-21      Prepare Receiver's declaration and exhibits in        KAS              1.60        280.00
               accordance with Court's Preliminary Approval Order
               regarding C&S settlement; Correspond with the
               Receiver's counsel regarding same.
22-Mar-21      Review and respond to follow up emails with S.        KAS              0.30          52.50
               Traband regarding Receiver's Declaration.
22-Mar-21      Conference with Corbishley and Schneider re           MIG              1.20        474.00
               objection.
23-Mar-21      Edited draft Receiver's Declaration.                  KAS              0.20          35.00
24-Mar-21      Correspond with S. Traband regarding Receiver's       KAS              0.20          35.00
               Declaration exhibits.
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24-Mar-21      Research costs for discovery related matters              KAS              0.50          87.50
               associated with SSVR litigation matter and report
               same to Receiver.
24-Mar-21      Conference with Schneider re status.                      MIG              0.30        118.50
24-Mar-21      Scan and profile returned C&amp;S settlement              AMM              0.40          30.00
               notices.
25-Mar-21      Conference re Raymond James.                              MIG              0.30        118.50
25-Mar-21      Corresponded with creditors re USCIS.                     MIG              0.30        118.50
25-Mar-21      Correspond regarding SSVR settlement funds and            KAS              0.40          70.00
               follow up.
26-Mar-21      Conference with Schneider re status of MSK and            MIG              0.80        316.00
               C&S.
30-Mar-21      Review status of litigation, draft update.                CDK              0.80        316.00
31-Mar-21      Conference with Levenson re motion to strike notice.      MIG              0.20          79.00
31-Mar-21      Conference with Schneider re Raymond James.               MIG              0.40        158.00
1-Apr-21       Corresponded with Schneider re MSK settlement             MIG              0.30        118.50
1-Apr-21       Corresponded with investor re litigation.                 MIG              0.20          79.00
1-Apr-21       Numerous correspondence re settlement hearing.            MIG              0.70        276.50
2-Apr-21       Corresponded with creditor re settlement.                 MIG              0.20          79.00
2-Apr-21       Conference with Schneider re settlement of Raymond        MIG              0.60        237.00
               James objection and reviewed issues.
5-Apr-21       Conference with Schneider re MSK settlement and           MIG              0.40        158.00
               C&S hearing.
5-Apr-21       Reviewed Raymond James filing.                            MIG              0.20          79.00
5-Apr-21       Second conference with Schneider re hearing.              MIG              0.40        158.00
6-Apr-21       Conference with Schneider re hearing and settlement.      MIG              0.40        158.00
6-Apr-21       Corresponded with Barr re hearing.                        MIG              0.30        118.50
6-Apr-21       Corresponded with Viscounti re settlement.                MIG              0.40        158.00
6-Apr-21       Prepared for and attended settlement hearing.             MIG              0.50        197.50
6-Apr-21       Review Final Order Approving Settlement Between           KAS              0.50          87.50
               Receiver and Cason Plaintiff's et al.; notate deadlines
               pertaining to same; arrange for web posting.
7-Apr-21       Correspond with J. Schneider regarding bar order          KAS              0.10          17.50
               appeal deadline.
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7-Apr-21       Conference with Schneider re Raymond James              MIG              0.40        158.00
               settlement.
7-Apr-21       Drafted phase viii settlement with Raymond James.       MIG              2.40        948.00
8-Apr-21       Reviewed and revised modification to Raymond            MIG              1.10        434.50
               James settlement agreement.
8-Apr-21       Conference with Schneider re Raymond James              MIG              0.40        158.00
               settlement.
9-Apr-21       Numerous conferences re settlements.                    MIG              0.80        316.00
9-Apr-21       Attend to inquiries regarding C&S settlement;           KAS              1.50        262.50
               Request for Evidence and address updates; Review of
               receivership mail and follow up with same.
16-Apr-21      Review email communications regarding SSVR              KAS              0.20          35.00
               settlement.
16-Apr-21      Review and analyze draft SFAR prepared by F.            KAS              1.50        262.50
               Centeno; Call with F. Centeno to discuss updates to
               same; Research and provide documentation and
               historical information regarding payments made
               under Raymond James settlement.
16-Apr-21      Conference with Schneider re settlement.                MIG              0.40        158.00
19-Apr-21      Conference with Schneider re settlement and status.     MIG              0.60        237.00
19-Apr-21      Conference with Barr re status.                         MIG              0.40        158.00
19-Apr-21      Research status of third party litigation               KAS              0.80        140.00
19-Apr-21      Review and analyze closing statement and                KAS              1.70        297.50
               instructions pertaining to Receiver's settlement with
               SSVR and parties; Prepare requisite payment under
               terms of settlement; Several communications with
               Receiver's counsel regarding same; Request W-9
               forms for payees.
20-Apr-21      Correspond with S. Traband regarding litigation         KAS              0.30          52.50
               report.
20-Apr-21      Work on SSVR distribution payments per settlement       KAS              0.70        122.50
               statement; Attention to record-keeping regarding
               same.
20-Apr-21      Reviewed and executed Raymond James amendment.          MIG              0.40        158.00
20-Apr-21      Conference with Schneider re settlement.                MIG              0.40        158.00
21-Apr-21      Conference with Schneider re Raymond James              MIG              0.30        118.50
               settlement status and Peoples.
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21-Apr-21      Reviewed and revised Raymond James motion and           MIG              0.50        197.50
               conference with Schneider.
21-Apr-21      Conference re MSK settlement.                           MIG              0.40        158.00
22-Apr-21      Conference with Schneider re MSK, People's and          MIG              0.60        237.00
               Raymond James.
23-Apr-21      Corresponded with Pieciak re AAO decision.              MIG              0.50        197.50
23-Apr-21      Corresponded with Divine re decision.                   MIG              0.20          79.00
23-Apr-21      Corresponded with Schneider re decision.                MIG              0.20          79.00
23-Apr-21      Corresponded with Barr re decision and affect on        MIG              0.30        118.50
               lawsuit.
23-Apr-21      Review and respond to investor regarding settlement     KAS              0.20          35.00
               notice; Follow up with Receiver regarding same.
26-Apr-21      Review Receiver's Motion for Approval of                KAS              0.80        140.00
               Settlement with People's United Bank for obligations
               once the Preliminary Approval Order is entered by
               the Court; Correspond with Receiver's counsel on
               noticing matters; Arrange for posting of settlement
               motion to Receiver's website.
26-Apr-21      Conference with Schneider and Levenson re People's      MIG              0.30        118.50
               settlement
26-Apr-21      Conference with Schneider re MSK settlement.            MIG              0.30        118.50
26-Apr-21      Conference with Tropin, Schneider and Tal re            MIG              0.30        118.50
               settlement agreement
27-Apr-21      Numerous correspondence re settlements.                 MIG              0.60        237.00
27-Apr-21      Work on reviewing and updating extensive mailing        KAS              2.20        385.00
               lists in connection with People's United Bank
               settlement.
27-Apr-21      Correspond regarding banking and administrative         KAS              0.40          70.00
               matters regarding SSVR settlement.
27-Apr-21      Finalize stipulation re: USCIS litigation for filing.   NSS              0.50        197.50
28-Apr-21      Work on banner ad for VT Digger publication;            KAS              7.00       1,225.00
               Communications with VT Digger regarding ad
               requirements; Work on finalizing Notice of
               Proceedings for publication and service; Calendar
               deadlines; Work on updating investor and trade
               creditor service lists; Format lists for vendor;
               Communications with vendor regarding project.
28-Apr-21      Conference with Schneider re orders and settlement.     MIG              0.40        158.00
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28-Apr-21      Conference with Goldstein re Kelly.                    MIG              0.30        118.50
29-Apr-21      Continue to work on noticing requirements under        KAS              4.50        787.50
               Receiver's settlement with People's United Bank.
29-Apr-21      Confer regarding noticing requirements; research re    CDK              1.80        711.00
               same.
30-Apr-21      Review Kelly Financial Disclosure; memo to Mike        JLR              2.40        948.00
               Goldberg; memo to Robert Goldberg; review
               correspondence from Robert Goldberg.
30-Apr-21      Research and respond to inquiry from C.                KAS              0.40          70.00
               Kretzschmar regarding pending settlements.
30-Apr-21      Continue working on People's United Bank               KAS              0.90        157.50
               settlement noticing matters and followup.
3-May-21       Correspond with Gannett Legals regarding               KAS              0.50          87.50
               publication of Notice of Proceedings.
4-May-21       Review and finalize legal ad for placement in          KAS              1.60        280.00
               Burlington Free Press in accordance with Preliminary
               Approval Order; Multiple communications regarding
               same; Attend to publication in Vermont Digger
4-May-21       Reviewed MSK settlement.                               MIG              0.80        316.00
4-May-21       Conference with Schneider re MSK settlement.           MIG              0.50        197.50
4-May-21       Telephone call with Naim Surgeon (.3); telephone       JLR              0.90        355.50
               call with Kelly (.3); telephone call with Mike
               Goldberg (.3).
4-May-21       Call with opposing counsel in Kelly matter re: case    NSS              0.90        355.50
               status.
5-May-21       Conference re MSK documents and reviewed final         MIG              0.70        276.50
               documents.
5-May-21       Work on People's United settlement matters; Confer     KAS              1.40        245.00
               regarding MSK settlement.
5-May-21       Correspond with S. Traband regarding Receiver's        KAS              0.40          70.00
               obligations under C&S Bar Order.
6-May-21       Reviewed of MSK settlement and corresponded re         MIG              0.80        316.00
               same.
7-May-21       Reviewed final draft of MSK settlement agreement.      MIG              2.30        908.50
10-May-21      Attention to Receiver's obligations under People's     KAS              1.20        210.00
               United settlement; Correspond with counsel
               regarding same.
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10-May-21      Review court docket and filings regarding status of    KAS              0.70        122.50
               criminal proceedings
11-May-21      Reviewed MSK settlement.                               MIG              0.60        237.00
12-May-21      Follow up regarding publications for People's United   KAS              0.20          35.00
               Bank settlement.
13-May-21      Attend to inquiry received regarding Notice of         KAS              0.40          70.00
               Proceedings served in connection with People's
               United settlement.
13-May-21      Revisit and calendar deadlines associated with         KAS              0.90        157.50
               People's United Bank settlement.
13-May-21      Follow up with obligations under Preliminary           KAS              0.40          70.00
               Injunction Order
13-May-21      Correspond with attorney requesting information        KAS              0.40          70.00
               pertaining to Peoples United Bank settlement.
13-May-21      Conference with Schneider re MSK.                      MIG              0.30        118.50
13-May-21      Reviewed and approved Phase 8 settlement with          MIG              0.40        158.00
               Raymond James.
13-May-21      Corresponded with Corbishley re agreement.             MIG              0.20          79.00
14-May-21      Conference with Smiley re settlement.                  MIG              0.30        118.50
14-May-21      Conference with Schneider re settlement status of      MIG              0.20          79.00
               Phase 8.
14-May-21      Confer with KS regarding settlement status of Phase    CDK              2.10        829.50
               8 and possible distribution.
17-May-21      Conference with Schneider re MSK settlement.           MIG              0.50        197.50
17-May-21      Correspond with counsel regarding request for          KAS              0.20          35.00
               documentation after receipt of Notice of Proceedings
               regarding People's United Bank Settlement.
18-May-21      Reviewed and executed final version of MSK             MIG              1.80        711.00
               settlement agreement and conference with Schneider
               re same.
19-May-21      Conference with Schneider re MSK.                      MIG              0.40        158.00
19-May-21      Final review of MSK agreement and executed same.       MIG              0.80        316.00
19-May-21      Corresponded with investors re status.                 MIG              0.60        237.00
20-May-21      Respond to inquiry from A. Mackar regarding            KAS              0.40          70.00
               People's United Bank settlement.
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20-May-21      Reviewed Motion for Approval of Settlement             KAS              0.60        105.00
               Between Receiver Cason Plaintiffs Carroll Scribner
               and Law Firms for Receiver's obligations and follow-
               up.
21-May-21      Attention to Receiver's obligations under People's     KAS              0.50          87.50
               United Settlement orders.
21-May-21      Reviewed and executed MSK settlement and               MIG              0.80        316.00
               corresponded re same.
21-May-21      Corresponded re Phase 8 agreement.                     MIG              0.30        118.50
24-May-21      Reviewed phase 8 agreement.                            MIG              0.60        237.00
24-May-21      Conference with Schneider re MSK and agreement.        MIG              0.40        158.00
24-May-21      Reviewed Raymond James agreement to draft              MIG              0.50        197.50
               settlement motion.
24-May-21      Corresponded with Levenson re Phase 8.                 MIG              0.10          39.50
25-May-21      Drafted Phase Viii amendment to Raymond James          MIG              1.40        553.00
               escrow motion.
25-May-21      Memo to Bob Goldstein (.3).                            JLR              0.30        118.50
26-May-21      Numerous calls re MSK settlement..                     MIG              0.70        276.50
26-May-21      Conference with Stenger re status.                     MIG              0.20          79.00
26-May-21      Conference with SEC re phase 8.                        MIG              0.10          39.50
27-May-21      Conference with Stenger re Newport properties.         MIG              0.40        158.00
27-May-21      Conference with Schneider re settlement.               MIG              0.40        158.00
1-Jun-21       Numerous conferences re finalizing MSK settlement.     MIG              0.70        276.50
1-Jun-21       Follow up with news outlets regarding proof of         KAS              0.80        140.00
               publication and work on Receiver's declaration.
1-Jun-21       Review draft of MSK settlement documents and           KAS              0.60        105.00
               correspond with counsel regarding same.
1-Jun-21       Review email exchanges regarding Receiver's            KAS              0.20          35.00
               deposition and discovery matters in connection with
               Federal Insurance Company v. Raymond James.
1-Jun-21       Review Receiver's Unopposed Motion to Approve          KAS              0.40          70.00
               Second Amendment To Settlement Agreement and
               Release With Raymond James & Associates, Inc.;
               Incorporated Memorandum of Law and notate follow
               up matters; Prepare update for receivership website
               regarding same.
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1-Jun-21      Call with multiple investors regarding modification     KAS              2.20        385.00
              of Raymond James settlement motion pertaining to
              Phase 8 investors; Call regarding People's United
              Bank Settlement.
2-Jun-21      Finalize Receiver's declaration and exhibits required   KAS              1.50        262.50
              under People's United Bank settlement; Correspond
              with Receiver's counsel regarding same.
2-Jun-21      Numerous calls with Schneider re settlements and        MIG              0.70        276.50
              hearing.
3-Jun-21      Attention to Receiver's Affidavit in Support of         KAS              0.40          70.00
              Motion for Summary Judgment in Degreenia
              litigation.
3-Jun-21      Review MSK settlement; Work on Receiver's               KAS              1.80        315.00
              servicing obligations and updating mailing lists;
              Prepare banner ad for publication with Vermont
              Digger; Confer with clerk regarding project matters.;
              Contact vendors
3-Jun-21      Final review of MSK settlement.                         MIG              0.80        316.00
3-Jun-21      Conference with Schneider re Dion's.                    MIG              0.30        118.50
4-Jun-21      Conference with Schneider re bar order.                 MIG              0.30        118.50
4-Jun-21      Numerous correspondence re MSK settlement and           MIG              1.60        632.00
              potential objection.
4-Jun-21      Confer with A. McLaughlin regarding People's            KAS              0.00           0.00
              United Bank Settlement and updating tracking chart
              for returned mail.
4-Jun-21      Attention to finalizing Receiver's Affidavit and send   KAS              0.50          87.50
              executed version to Cleary Shahi for DeGreenia
              litigation.
4-Jun-21      Correspond with attorneys for Receiver regarding        KAS              4.60        805.00
              MSK settlement matters; Compose banner ad for VT
              Digger publication; Work on updating service list for
              vendors and third parties in ancitipation of Court's
              issuance of Preliminary Approval Order.
4-Jun-21      Telephone conference with A. McLaughlin and             KAS              0.40          70.00
              provide instruction on updating chart for People's
              United Bank settlement.
4-Jun-21      Research and prepare email to paralegal regarding       AMM              0.40          30.00
              returned People's United Bank settlement notices.
7-Jun-21      Follow up with C&S Settlement matters re: bar order     KAS              0.60        105.00
              .
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7-Jun-21       Review Court's Order Approving Settlement Among           KAS              6.80       1,190.00
               Receiver, Putative Class Plaintiffs, and MSK; (II)
               Approving Form and Content of Notice, and Manner
               and Method of Service and Publication and Setting
               Deadlines regarding Receiver's noticing obligations
               and attention to same; Review removals lists for
               accuracy, research better addresses and update list for
               service of Notice of Proceedings; Correspond with
               counsel regarding objection deadline matters.
7-Jun-21       Numerous correspondence with investors re MSK             MIG              1.20        474.00
               settlement.
7-Jun-21       Conference with Schneider re MSK settlement.              MIG              0.40        158.00
8-Jun-21       Numerous correspondence with investors re                 MIG              0.70        276.50
               settlement.
8-Jun-21       Conference with Schneider re settlement.                  MIG              0.40        158.00
8-Jun-21       Conference with Barr re lawsuit.                          MIG              0.60        237.00
8-Jun-21       Revise and finalize Notice of Proceedings for             KAS              5.80       1,015.00
               publication in connection with MSK settlement in
               Vermont Digger, Burlington Free Press and
               Receiver's website; Create website posting of Notice
               of Proceedings to be converted in multiple languages;
               Work on finalizing mailing lists for service of MSK
               Notice of Proceedings and C&S Bar Order; Prepare
               instructions to Ritters regarding Mailout; Correspond
               with news publications regarding banner ad and legal
               ad; Follow up call with Ritter's regarding project
               details; Review Order Confirmation from Burlington
               Free press for accuracy of information.
8-Jun-21       Edited Draft Receiver's Declaration and prepare           KAS              0.60        105.00
               preliminary exhibits for same.
9-Jun-21       Attention to additional document production in            KAS              0.50          87.50
               litigation matter.
9-Jun-21       Conference re MSK notice.                                 MIG              0.30        118.50
9-Jun-21       Conference with Schneider re Merrill.                     MIG              0.20          79.00
10-Jun-21      Corresponded with Schneider re litigation.                MIG              0.30        118.50
10-Jun-21      Continue to work on finalizing Receiver's noticing        KAS              3.20        560.00
               obligations under MSK settlement.
11-Jun-21      Review and finalize mailing proofs; Correspond with       KAS              0.50          87.50
               Ritter's regarding same.
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11-Jun-21      Follow up with publications in Vermont Digger and      KAS              0.40          70.00
               Burlingtion Free Press.
14-Jun-21      Correspond with Vermont Digger Banner Ad for           KAS              0.60        105.00
               MSK Settlement.
14-Jun-21      Conference with Schneider re litigation status.        MIG              0.40        158.00
15-Jun-21      Attention to finalizing Receiver's obligations under   KAS              1.70        297.50
               MSK settlement; Correspond with Ritter's vendor
               regarding expedited payment for postage and other
               costs and prepare wire instructions and attend
               verification calls.
16-Jun-21      Prepare and send update to Receiver's counsel          KAS              0.60        105.00
               regarding status of MSK settlement noticing; Prepare
               notes regarding other settlement deadlines.
16-Jun-21      Conference with Stenger re Bogner (.4).                MIG              0.40        158.00
16-Jun-21      Conference with Schneider re MSK.                      MIG              0.30        118.50
17-Jun-21      Conference with Stenger re Bogner.                     MIG              0.20          79.00
18-Jun-21      Conference with Schneider re MSK settlement.           MIG              0.30        118.50
18-Jun-21      Correspond with S. Traband regarding status of         KAS              0.20          35.00
               pending litigation.
18-Jun-21      Attention to Receiver's declaration and exhibits for   KAS              0.60        105.00
               MSK settlement.
22-Jun-21      Attention to MSK settlement noticing requirements;     KAS              0.60        105.00
               Correspond with A. McLaughlin regarding banner ad.
22-Jun-21      Prepare litigation update.                             KAS              0.30          52.50
22-Jun-21      Conference with Schneider re settlement motions.       MIG              0.30        118.50
23-Jun-21      Conference with Schneider re potential objection and   MIG              0.40        158.00
               distribution.
23-Jun-21      Call with C. Roberts, Alps Corp. regarding             KAS              0.30          52.50
               verification of wire instructions for settlement
               payment.
23-Jun-21      Review Application for Attorney's Fees filed by        KAS              0.40          70.00
               Putative Class Counsel regarding People's United
               Bank settlement.
23-Jun-21      Call with J. Schneider regarding C&S settlement;       KAS              0.80        140.00
               Attention to C&S disbursement matters.
24-Jun-21      Attention to settlement payment by wire from Alps      KAS              0.90        157.50
               Corp; Update records.
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24-Jun-21      Numerous correspondence re settlement and                 MIG              0.60        237.00
               distribution.
25-Jun-21      Follow up with People's United Bank Settlement            KAS              0.40          70.00
               deadlines.
25-Jun-21      Review and revise Chart of Disbursements Per              KAS              0.40          70.00
               Settlement Agreement.
28-Jun-21      Review update regarding Vermont Digger banner ad          KAS              0.10          17.50
               for the MSK settlement.
28-Jun-21      Review correspondence regarding C&S distributions         KAS              0.60        105.00
               (.4); Call with A. McLaughlin regarding MSK
               settlement (.2).
28-Jun-21      Conference with Schneider re Merrill, Raymond             MIG              0.50        197.50
               James and other matters.
28-Jun-21      Reviewed correspondence fence from Schneider re           MIG              0.40        158.00
               Raymond James documents.
28-Jun-21      Numerous correspondence re Quiros meet and                MIG              0.60        237.00
               confer.
29-Jun-21      Conference with attorney for investors re settlement.     MIG              0.70        276.50
29-Jun-21      Corresponded with investors re settlement.                MIG              0.40        158.00
29-Jun-21      Conference with Schneider re objection to MSK.            MIG              0.40        158.00
29-Jun-21      Researched case law re objection.                         MIG              1.50        592.50
30-Jun-21      Numerous conferences re objection to MSK                  MIG              1.20        474.00
               settlement.
30-Jun-21      Reviewed case law on plaintiffs right to insurance        MIG              2.10        829.50
               proceeds.
30-Jun-21      Conference with Smiley re settlement proceeds             MIG              0.10          39.50
               distribution.
30-Jun-21      Conference with Schneider re MSK settlement.              MIG              0.60        237.00
30-Jun-21      Attention to third-party litigation document request in   KAS              0.60        105.00
               Sutton v. State.
30-Jun-21      Correspond with N. Surgeon regarding Non-                 KAS              0.10          17.50
               Disclosure Agreements.
30-Jun-21      Review and analysis of C&S Settlement and related         KAS              1.70        297.50
               documents concerning Receiver's disbursement
               obligations; Prepare memo to Receiver regarding
               same.
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30-Jun-21      Received assignment from M. Goldberg. Research           KAJ              0.00           0.00
               11th Circuit case law re plaintiff's prejudgment legal
               interest in a defendant's insurance policy.
1-Jul-21       Review Final Order Approving Settlement Among            KAS              0.60        105.00
               Receiver, Putative Class Plaintiffs, and People's
               United Bank, N.A., and Barring, Restraining, and
               Enjoining Claims against People's United Bank, N.A.
               and appeal deadlines and post order action to be
               taken by Receiver.
1-Jul-21       Review Court's Order approving Motion for                KAS              0.70        122.50
               Attorney's Fee and review and discuss same for
               distribution purposes.
1-Jul-21       Prepared for and attended my deposition in Raymond       MIG              5.20       2,054.00
               James case.
1-Jul-21       Prepared for and attended people's settle Nat court      MIG              0.40        158.00
               hearing.
1-Jul-21       Numerous correspondence re MSK objection.                MIG              0.40        158.00
2-Jul-21       Reviewed and revised response to Quiros objection to     MIG              0.70        276.50
               MSK settlement.
2-Jul-21       Conference with Schneider re objection.                  MIG              0.30        118.50
2-Jul-21       Reviewed SEC objection and conference re same.           MIG              0.50        197.50
2-Jul-21       Telephone conference with S. Traband regarding           KAS              0.60        105.00
               C&S settlement disbursements (.4); Call with
               accountants regarding W-9 requirement for payments
               to Putative Class Plaintiff Investors.
2-Jul-21       Work on obtaining proof of publications from             KAS              0.50          87.50
               Burlington Free Press and Vermont Digger to be used
               as exhibits to Receiver's declaration in MSK
               settlement.
3-Jul-21       Numerous correspondence re response to MSK               MIG              0.40        158.00
               objection.
6-Jul-21       Corresponded with Boyle re discovery.                    MIG              0.20          79.00
6-Jul-21       Reviewed MSK fee allocation letter.                      MIG              0.20          79.00
6-Jul-21       Reviewed MSK response to objection.                      MIG              0.30        118.50
6-Jul-21       Final reviews of replies to objection.                   MIG              0.60        237.00
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7-Jul-21       Review settlement terms and work on documentation       KAS              1.60        280.00
               for distributions approved for payment to settling
               attorneys in C&S Settlement; Call and emails with S.
               Traband regarding same; Follow up call regarding
               W-9/W-8BEN requirements for Cason Plaintiff
               settling parties.
8-Jul-21       Corresponded with Schneider re MSK bar order.           MIG              0.30        118.50
9-Jul-21       Work on C&S settlement wire verification matters        KAS              0.70        122.50
               and payments.
12-Jul-21      Review and revise letter to Mason Plaintiff investors   KAS              0.90        157.50
               regarding settlement payment; Provide instruction to
               team regarding checks to be issued; Follow up with
               bank and correspond with attorneys regarding
               settlement payment.
14-Jul-21      Review and analyze Receiver's distribution              KAS              1.60        280.00
               requirements under settlement with Cason Plaintiffs,
               Carroll, Scribner and Law Firms.
15-Jul-21      Prepare Receiver's Declaration and Exhibits for MSK     KAS              1.00        175.00
               settlement.
15-Jul-21      Reviewed and executed MSK declaration.                  MIG              0.50        197.50
15-Jul-21      Reviewed new bar order language.                        MIG              0.40        158.00
16-Jul-21      Prepared for and attended meeting in Miami with         MIG              2.20        869.00
               Dave Williams and Schneider.
20-Jul-21      Confer with Receiver regarding use of C&S               KAS              1.40        245.00
               settlement funds.
21-Jul-21      Corresponded with Schneider re MSK status.              MIG              0.30        118.50
21-Jul-21      Corresponded with creditors re status.                  MIG              0.30        118.50
27-Jul-21      Review attorney fee allocation notice regarding MSK     KAS              0.30          52.50
               settlement.
27-Jul-21      Correspond with J. Schneider regarding status of        KAS              0.40          70.00
               pending settlements.
27-Jul-21      Corresponded with Schneider re MSK.                     MIG              0.30        118.50
28-Jul-21      Reviewed motion and responses to prepare for MSK        MIG              0.80        316.00
               settlement hearing.
28-Jul-21      Conference with Schneider re hearing.                   MIG              0.50        197.50
29-Jul-21      Conference with Levenson and Schneider re hearing.      MIG              0.40        158.00
29-Jul-21      Corresponded with Lipshitz Tropin and Schneider re      MIG              0.40        158.00
               appeal.
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29-Jul-21      Review MSK Bar Order and correspond with J.                            KAS                    0.60           105.00
               Schnedier and S. Traband regarding same.
                               Subtotal for Code 530 LITIGATION                                           303.60         85,186.00

               Total Fees for Services Rendered............................................................................$293,489.50



Date                                      Disbursements                                                                       Value

14-Sep-20    POSTAGE                                                                                       7.05
24-Sep-20    POSTAGE                                                                                       1.00
24-Sep-20    POSTAGE                                                                                       0.50
1-Oct-20     POSTAGE                                                                                       0.50
13-Jan-21    POSTAGE                                                                                       1.00
13-Jan-21    POSTAGE                                                                                       0.50
13-Jan-21    POSTAGE                                                                                       1.00
14-Jan-21    POSTAGE                                                                                       3.00
14-Jan-21    POSTAGE                                                                                      10.50
14-Jan-21    POSTAGE                                                                                       0.50
14-Jan-21    POSTAGE                                                                                       2.50
14-Jan-21    POSTAGE                                                                                       3.60
19-Jan-21    POSTAGE                                                                                       0.50
28-Jan-21    POSTAGE                                                                                       4.50
28-Jan-21    POSTAGE                                                                                       1.00
28-Jan-21    POSTAGE                                                                                       0.50
3-Feb-21     POSTAGE                                                                                       0.50
4-Feb-21     POSTAGE                                                                                       6.00
4-Feb-21     POSTAGE                                                                                       1.00
4-Feb-21     POSTAGE                                                                                       0.50
15-Feb-21    POSTAGE                                                                                       8.65
15-Feb-21    POSTAGE                                                                                       9.05
15-Feb-21    POSTAGE                                                                                      15.25
15-Feb-21    POSTAGE                                                                                       0.51
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Date                           Disbursements                                            Value
17-Feb-21    POSTAGE                                                      0.51
18-Feb-21    POSTAGE                                                      0.51
25-Feb-21    POSTAGE                                                      0.51
4-Mar-21     POSTAGE                                                      0.51
8-Mar-21     POSTAGE                                                      0.51
8-Mar-21     POSTAGE                                                     41.76
8-Mar-21     POSTAGE                                                      6.96
8-Mar-21     POSTAGE                                                      6.96
8-Mar-21     POSTAGE                                                      6.96
8-Mar-21     POSTAGE                                                      6.96
22-Mar-21    POSTAGE                                                      0.51
23-Mar-21    POSTAGE                                                      2.80
24-Mar-21    POSTAGE                                                      0.51
24-Mar-21    POSTAGE                                                      1.02
26-Mar-21    POSTAGE                                                      0.51
3-May-21     POSTAGE                                                      0.51
6-May-21     POSTAGE                                                      0.51
6-May-21     POSTAGE                                                      6.96
1-Jun-21     POSTAGE                                                      0.51
7-Jun-21     POSTAGE                                                      2.04
7-Jun-21     POSTAGE                                                      4.59
16-Jun-21    POSTAGE                                                      0.51
17-Jun-21    POSTAGE                                                      0.51
21-Jun-21    POSTAGE                                                      1.02
21-Jun-21    POSTAGE                                                      0.51
21-Jun-21    POSTAGE                                                      0.51
28-Jun-21    POSTAGE                                                      0.51
15-Jul-21    POSTAGE                                                      0.51
19-Jul-21    POSTAGE                                                      6.96
19-Jul-21    POSTAGE                                                      0.51
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Date                               Disbursements                                                Value
28-Jul-21     POSTAGE                                                             0.51
Total for POSTAGE                                                                              184.29

8-Dec-20      DUPLICATING - COLOR                                                 2.00
15-Jul-21     DUPLICATING - COLOR                                                 1.00
Total for DUPLICATING - COLOR                                                                    3.00

30-Sep-20     PACER PUBLIC RECORDS SYSTEM Pacer Charges                           7.60
31-Mar-21     PACER PUBLIC RECORDS SYSTEM Pacer Charges                           3.70
30-Apr-21     PACER PUBLIC RECORDS SYSTEM Pacer Charges                           7.20
31-May-21     PACER PUBLIC RECORDS SYSTEM Pacer Charges                           7.30
30-Jun-21     PACER PUBLIC RECORDS SYSTEM Pacer Charges                           6.00
Total for PACER PUBLIC RECORDS SYSTEM                                                           31.80

30-Jun-21     Lexis Advance Research                                        530.15
Total for Lexis Advance Research                                                               530.15

4-Mar-21      DUPLICATING                                                         0.20
4-Mar-21      DUPLICATING                                                         0.20
29-Mar-21     DUPLICATING                                                         0.20
23-Apr-21     DUPLICATING - I NEED IT NOW INC - Certified copy of                46.00
              order for Jay Peak Closing. AM/6158
8-Jul-21      DUPLICATING                                                         1.20
8-Jul-21      DUPLICATING                                                         0.20
16-Jul-21     DUPLICATING                                                         0.80
Total for DUPLICATING                                                                           48.80

16-Oct-20     FEDERAL EXPRESS Airbill: 397673728634 per 3616 Invoice             14.08
              No: 715273444 Ship Dt: 10/09/20 refund check
16-Oct-20     FEDERAL EXPRESS Airbill: 397768579953 per 3616 Invoice             14.08
              No: 715273444 Ship Dt: 10/13/20
13-Nov-20     FEDERAL EXPRESS Airbill: 398619053381 per 0805 Invoice             37.44
              No: 718115167 Ship Dt: 11/06/20
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Date                             Disbursements                                                 Value
27-Nov-20    FEDERAL EXPRESS Airbill: 399258842507 per 3003 Invoice             13.99
             No: 719534173 Ship Dt: 11/23/20
27-Nov-20    FEDERAL EXPRESS Airbill: 813871967777 per 0996 Invoice             15.01
             No: 719534173 Ship Dt: 11/19/20
15-Jan-21    FEDERAL EXPRESS Airbill: 782454013700 per 6158 Invoice             15.74
             No: 724576940 Ship Dt: 01/11/21
26-Feb-21    FEDERAL EXPRESS Airbill: 784012115917 per 0803 Invoice             27.47
             No: 728907371 Ship Dt: 02/23/21
26-Feb-21    FEDERAL EXPRESS Airbill: 783852781556 per 3003 Invoice             11.14
             No: 728907372 Ship Dt: 02/18/21
2-Apr-21     FEDERAL EXPRESS Airbill: 785389413631 per 3003 Invoice             11.24
             No: 732612497 Ship Dt: 03/30/21
16-Apr-21    FEDERAL EXPRESS Airbill: 785730263835 per 3003 Invoice             14.64
             No: 734128701 Ship Dt: 04/08/21
23-Apr-21    FEDERAL EXPRESS Airbill: 786030859711 per 6158 Invoice             16.24
             No: 734916089 Ship Dt: 04/15/21
23-Apr-21    FEDERAL EXPRESS Airbill: 786030907794 per 6158 Invoice             10.98
             No: 734916089 Ship Dt: 04/16/21
23-Apr-21    FEDERAL EXPRESS Airbill: 786197240190 per 3616 Invoice             11.21
             No: 734916089 Ship Dt: 04/20/21 payment
23-Apr-21    FEDERAL EXPRESS Airbill: 786197007910 per 3616 Invoice             11.21
             No: 734916089 Ship Dt: 04/20/21 payment
23-Apr-21    FEDERAL EXPRESS Airbill: 786197370108 per 3616 Invoice             11.21
             No: 734916089 Ship Dt: 04/20/21 payment
23-Apr-21    FEDERAL EXPRESS Airbill: 786196883150 per 3616 Invoice             11.21
             No: 734916089 Ship Dt: 04/20/21 payment
7-May-21     FEDERAL EXPRESS Airbill: 813229236183 per 0803 Invoice             67.22
             No: 736409657 Ship Dt: 04/28/21
7-May-21     FEDERAL EXPRESS Airbill: 786525984580 per 3003 Invoice             14.71
             No: 736409657 Ship Dt: 04/28/21
14-May-21    FEDERAL EXPRESS Airbill: 786797486746 per 6158 Invoice             14.71
             No: 737235028 Ship Dt: 05/05/21
14-May-21    FEDERAL EXPRESS Airbill: 786894830612 per 0805 Invoice             15.35
             No: 737235028 Ship Dt: 05/07/21
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Date                             Disbursements                                                 Value
28-May-21    FEDERAL EXPRESS Airbill: 813229236161 per 0803 Invoice             11.08
             No: 738656532 Ship Dt: 05/25/21
4-Jun-21     FEDERAL EXPRESS Airbill: 787814625135 per 6158 Invoice             14.74
             No: 739328890 Ship Dt: 06/01/21
18-Jun-21    FEDERAL EXPRESS Airbill: 812590819030 per 0803 Invoice             11.10
             No: 740864535 Ship Dt: 06/14/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281486832643 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281487298945 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281481563105 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281494531121 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281489306424 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281487650209 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281488763528 per 6158 Invoice             21.73
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281489492316 per 6158 Invoice             21.73
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281488460667 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281492159922 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281488985220 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281489415292 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281481349378 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281487759600 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
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Date                             Disbursements                                                 Value
23-Jul-21    FEDERAL EXPRESS Airbill: 281489549227 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281493000372 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281492093400 per 6158 Invoice             21.73
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281492752512 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281486749109 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281487363987 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281493477320 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
23-Jul-21    FEDERAL EXPRESS Airbill: 281494037089 per 6158 Invoice             16.62
             No: 744497992 Ship Dt: 07/15/21
26-Jul-21    FEDERAL EXPRESS Airbill: 281487216040 per 6158 Invoice             44.61
             No: 339908871 Ship Dt: 07/15/21
26-Jul-21    FEDERAL EXPRESS Airbill: 281486203412 per 6158 Invoice             39.82
             No: 339908871 Ship Dt: 07/15/21
26-Jul-21    FEDERAL EXPRESS Airbill: 281488906480 per 6158 Invoice             39.82
             No: 339908871 Ship Dt: 07/15/21
30-Jul-21    FEDERAL EXPRESS Airbill: 281745286347 per 6158 Invoice             11.23
             No: 745203583 Ship Dt: 07/22/21
30-Jul-21    FEDERAL EXPRESS Airbill: 281745380205 per 6158 Invoice             14.77
             No: 745203583 Ship Dt: 07/22/21
30-Jul-21    FEDERAL EXPRESS Airbill: 281745336860 per 6158 Invoice             11.23
             No: 745203583 Ship Dt: 07/22/21
Total for FEDERAL EXPRESS                                                                     938.25

15-Jan-21    DELIVERY SERVICE - BDS COURIER - Courier service                   33.00
             1/12/21 to Ritter for M. Goldberg. JV/3399
Total for DELIVERY SERVICE                                                                     33.00
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Date                                                   Disbursements                                                                                 Value

7-Sep-20             WESTLAW RESEARCH 090720 REBAK,JOSEPH L MIAMI                                                             91.50
14-Sep-20            WESTLAW RESEARCH 091420 REBAK,JOSEPH L MIAMI                                                             91.50
26-Oct-20            WESTLAW RESEARCH 102620 REBAK,JOSEPH L MIAMI                                                           107.25
2-Nov-20             WESTLAW RESEARCH 110220 REBAK,JOSEPH L MIAMI                                                             91.50
23-Nov-20            WESTLAW RESEARCH 112320 REBAK,JOSEPH L MIAMI                                                           214.50
7-Dec-20             WESTLAW RESEARCH 120720 REBAK,JOSEPH L MIAMI                                                           107.25
22-Feb-21            WESTLAW RESEARCH 022221 REBAK,JOSEPH L MIAMI                                                           109.50
12-Apr-21            WESTLAW RESEARCH 041221 REBAK,JOSEPH L MIAMI                                                           129.00
10-May-21            WESTLAW RESEARCH 051021 REBAK,JOSEPH L MIAMI                                                           219.00
14-Jun-21            WESTLAW RESEARCH 061421 REBAK,JOSEPH L MIAMI                                                           129.00
28-Jun-21            WESTLAW RESEARCH 062821 REBAK,JOSEPH L MIAMI                                                           109.50
26-Jul-21            WESTLAW RESEARCH 072621 REBAK,JOSEPH L MIAMI                                                           129.00
Total for WESTLAW RESEARCH                                                                                                                       1,528.50

31-Jan-21            LIBRARY RESEARCH CHARGES Accurint 20 013021                                                              33.53
Total for MISCELLANEOUS LIBRARY CHARGES                                                                                                               33.53

Total Disbursements .................................................................................................................................$3,331.32
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           Initial   Name                                Hours            Amount
           AJW       A. J. WAMSLEY                        13.80           5,451.00
           AMM       A. M. MCLAUGHLIN                    109.60           8,220.00
           ASR       A. S. ROBINS                         20.50           8,097.50
           CDK       C. D. KRETZSCHMAR                    47.20          18,644.00
           CRC       C. R. COTLER                         42.20           7,385.00
           FLN       F. L. NOWELS                           2.00           790.00
           JBW       J. B. WOOD                             1.10           434.50
           JLR       J. L. REBAK                            5.30          2,093.50
           JMK       J. M. KRAMER                           0.80           316.00
           JML       J.M. LEVIT                             1.50           592.50
           KAS       K. A. SMILEY                        446.70          78,172.50
           MIG       M. I. GOLDBERG                      374.80      148,046.00
           MKS       M. K. SAMSA                            0.20            79.00
           NSS       N.S SURGEON                          33.10          13,074.50
           SMS       S. M. SIGMON                           5.30          2,093.50
                                    Total               1,104.10    $293,489.50
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                                  Exhibit 4(b)
                   Levine Kellogg Lehman Schneider + Grossman LLP




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                                 Exhibit 4(c)
                                 KapilaMukamal




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                                 SEC V Q RESORTS, ET AL
                               CASE NO: 16-CV-21301-GAYLES
              KAPILAMUKAMAL'S TENTH INTERIM APPLICATION FOR COMPENSATION
                    SUMMARY OF PROFESSIONAL & PARAPROFESSIONAL TIME
                               FOR THIS TIME PERIOD ONLY
                         September 1, 2020 THROUGH July 31, 2021

    Name                                                  Year Licensed/            Actual       Total
                                                            Experience     Hours     Rate        Billed
 KM - KEVIN MCCOY, CPA, CFE, CIRA, PARTNER                    2012           0.30     395         118.50



 LJJ - LESLEY JOHNSON, CPA, CIRA, PARTNER/TAX                 1984          58.20     395       22,989.00



 MMD - MELISSA DAVIS, CPA, CIRA, CFE, PARTNER                 2002          31.50     395       12,442.50



 MCP - MARK PARISI, CPA, CFE, CIRA, CONSULTANT                2012           0.20     370          74.00



 RLW - RACHEL WEISS, CPA, CFE, CONSULTANT                     2015           0.80     350         280.00



 KAF - KATHY FOSTER, EA, TAX CONSULTANT                     33 YEARS       146.50     330       48,345.00



 FDD - FRANK DIAZ-DRAGO, CONSULTANT                          7 YEARS        50.70   296/3101    15,696.00



 JRH - JENNIFER HEIDER, CPA, TAX CONSULTANT                   2001          45.20     270       12,204.00



 KJJ - KY JOHNSON, PARAPROFESSIONAL                          8 YEARS        28.20     170        4,794.00



    Report Totals                                                          361.60    323.40    116,943.00

    CPA - Certified Public Accountant
    CIRA - Certified Insolvency & Restructuring Advisor
    CFE - Certified Fraud Examiner
    EA - Enrollment Agent - IRS

    1   Rate adjustment, effective January 1, 2021




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                                   SEC V Q RESORTS, ET AL
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              KAPILAMUKAMAL'S TENTH INTERIM APPLICATION FOR COMPENSATION
                   SUMMARY OF PROFESSIONAL & PARAPROFESSIONAL TIME BY
                     ACTIVITY CODE CATEGORY FOR THIS TIME PERIOD ONLY
                           September 1, 2020 THROUGH July 31, 2021

   Position                              Name               Hours    Blended Rate Total Billed

   Time

   TAX SERVICES - PREPARE FORMS
   PARTNER                               KEVIN MCCOY          0.30                      118.50
   PARTNER/TAX                           LESLEY JOHNSON      58.20                    22,989.00
   TAX CONSULTANT                        KATHY FOSTER       146.50                    48,345.00
   TAX CONSULTANT                        JENNIFER HEIDER     45.20                    12,204.00
   PARAPROFESSIONAL                      KY JOHNSON          28.20                     4,794.00

       TAX SERVICES - PREPARE FORMS                         278.40                    88,450.50
       Totals
   LITIGATION SUPPORT
   PARTNER                               MELISSA DAVIS       31.50                    12,442.50
   CONSULTANT                            MARK PARISI          0.20                       74.00
   CONSULTANT                            RACHEL WEISS         0.80                      280.00
   CONSULTANT                            FRANK DIAZ-DRAGO    50.70                    15,696.00

       LITIGATION SUPPORT Totals                             83.20                    28,492.50

       Time Totals                                          361.60                   116,943.00

       Report Totals                                        361.60      323.40       116,943.00




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                              CASE NO: 16-CV-21301-GAYLES
             KAPILAMUKAMAL'S TENTH INTERIM APPLICATION FOR COMPENSATION
                      SUMMARY OF REQUESTED REIMBURSEMENT OF
                          EXPENSES FOR THIS TIME PERIOD ONLY
                        September 1, 2020 THROUGH July 31, 2021

        1.    Filing Fees                                                   0.00

        2.    Process Service Fees                                          0.00

        3.    Witness Fees                                                  0.00

        4.    Court Report and Transripts                                   0.00

        5.    Lien and Title Searches

        6.    Photocopies

                 a. In-House               ( 8600 @   0.1500 )         1,290.00
                 b. Outside Copies         ( 0    @   0.0000 )             0.00
        7.    Postage                                                     706.36

        8.    Overnight Delivery Charges

                 a. Express Mail                                            0.00
                 b. Overnight Delivery                                    346.49
        9.    Ouside Courier/Messenger Services                             0.00

       10.    Long Distance Telephone Charges                               7.90

       11.    Long Distance Facsimile Charges                               0.00

       12.    Computerized Research                                         0.00

       13.    Out of District Travel

                a. Mileage                                                  0.00
                b. Parking                                                  0.00
                c. Airfare                                                  0.00
                d.    Accomodations                                         0.00
                e.    Car Rental Gas                                        0.00
                f.    Tolls                                                 0.00
                g.    Meals                                                 0.00
                h.    Taxi                                                  0.00
                 i.   Car Rental                                            0.00

       14.    Other Permissible Expenses (must specify & justify)

                a.    Virtual Data Room                                   119.47
                b.    Supplies                                              0.00
                c.    Internet Hosting (Web Site)                           0.00
                d.    Advertising                                           0.00
                e.    Storage                                               0.00
                 f.   Computer Supply Charges                               0.00
                g.    Locksmith                                             0.00
                h.    Lacerte                                             858.00
                 i.   Pacer                                                62.20
                 j.   Ouside Computer Services                              0.00
                k.    Tax Return Prep, Vendor Cost                          0.00
                 l.   Domain Site Renewals                                  0.00
                m.    Outside Services                                      0.00
                n.    Payments Made For Clients                             0.00
                o.    Cost Allocation                                       0.00
                p.    Miscellaneous                                         0.00

        TOTAL EXPENSE REIMBURSEMENT REQUESTED                          3,390.42
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                                        1000 S. Federal Highway, Suite 200
                                            Fort Lauderdale, FL 33316
                         Phone - 954-761-1011 F - 954-761-1033 www.kapilamukamal.com
                                                 EIN #XX-XXXXXXX

SEC V. Q RESORTS, ET AL
C/O MICHAEL I. GOLDBERG, RECEIVER                                                       Invoice: 8049
                                                                                        07/31/2021
                                                                                        Client ID: 90107

For Professional Services Rendered Through July 31, 2021
DATE          STAFF          DESCRIPTION                                               HRS           AMOUNT

FORENSIC ACCOUNTING
09/23/2020    FDD      PREPARE AN ANALYSIS OF INVESTOR FUNDS POST MAY 26,               1.50            444.00
                       2014.

09/23/2020    MMD      COMPILE INVESTOR INFORMATION REQUESTED BY COUNSEL                0.70            260.35
                       FOR MEDIATION

09/30/2020    MMD      REVIEW RESPONSE FROM IMMIGRATION AND PREPARE                     1.80            669.48
                       COMMENTS FOR COUNSEL.

11/30/2020    MMD      REVIEW SUBPOENA AS PROVIDED BY RECEIVER AND DRAFT                0.40            148.77
                       RESPONSE TO SAME.

12/07/2020    MMD      RESPOND TO INQUIRY FROM RECEIVER REGARDING                       0.10             37.19
                       PAYMENTS TO FORMER PROFESSIONALS.

01/04/2021    FDD      PREPARE ANALYSIS FOR Q BURKE INVESTMENTS FOR                     2.60            806.00
                       PURPOSES OF QUANTIFYING CONSTRUCTION COSTS.

01/04/2021    FDD      REVIEW Q BURKE RECONSTRUCTION RE: I-829 MOTION TO                0.20             62.00
                       REOPEN.

01/04/2021    FDD      PREPARE Q BURKE SUPPLEMENTAL REPORT RE: I-829 DENIAL.            2.30            713.00


01/04/2021    MMD      TC WITH COUNSEL RE Q BURKE ANALYSIS.                             0.30            119.23


01/04/2021    MMD      PREPARE MEMO FOR Q BURKE PROJECT FOR IMMIGRATION                 1.40            556.40
                       COUNSEL.

01/04/2021    FDD      PREPARE Q BURKE MEMORANDUM AND EXHIBITS AS                       0.30             93.00
                       REQUESTED BY IMMIGRATION COUNSEL.

01/05/2021    FDD      PREPARE Q BURKE SUPPLEMENTAL REPORT RE: I-829 DENIAL             3.80         1,178.00
                       (CONTINUED).

01/06/2021    FDD      PREPARE Q BURKE SUPPLEMENTAL REPORT RE: I-829 DENIAL             3.10            961.00
                       (CONTINUED).

01/07/2021    MMD      PREPARE EXPERT REPORT FOR QBURKE IMMIGRATION                     1.40            556.40
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                   MATTER.

01/11/2021   MMD   PREPARE Q BURKE EXPERT REPORT.                         3.60   1,430.74


01/11/2021   FDD   PREPARE Q BURKE SUPPLEMENTAL REPORT RE: I-829 DENIAL   4.10   1,271.00
                   AND ACCOMPANYING EXHIBITS (CONTINUED).

01/11/2021   FDD   REVIEW TAX RETURNS AND ACCOUNTING RECORDS TO           0.80    248.00
                   QUANTIFY CONSTRUCTION AND LAND COSTS.

01/12/2021   FDD   UPDATE Q BURKE SUPPLEMENTAL REPORT RE: I-829 DENIAL    0.60    186.00
                   AND ACCOMPANYING EXHIBITS (CONTINUED).

01/12/2021   MMD   CONTINUE TO PREPARE EXPERT REPORT FOR Q BURKE          3.40   1,351.26
                   MATTER.

01/12/2021   FDD   UPDATE Q BURKE SUPPLEMENTAL REPORT RE: I-829 DENIAL    0.30     93.00
                   AND ACCOMPANYING EXHIBITS (CONTINUED).

01/12/2021   FDD   CONTINUE ANALYSIS OF CAST RECONSTRUCTIONS FOR Q        2.30    713.00
                   BURKE REPORT.

01/12/2021   FDD   PREPARE Q BURKE SUPPLEMENTAL REPORT RE: I-829 DENIAL   0.80    248.00
                   AND ACCOMPANYING EXHIBITS (CONTINUED).

01/13/2021   FDD   CONTINUE TO PREPARE EXHIBITS AND ADDENDUM TO Q         3.30   1,023.00
                   BURKE REPORT.

01/13/2021   MMD   CONTINUE TO PREPARE Q BURKE EXPERT REPORT FOR          2.80   1,112.80
                   IMMIGRATION MATTER.

01/13/2021   FDD   PREPARE EXHIBITS AND RECONSTRUCTIONS FOR REPORT.       1.40    434.00


01/14/2021   FDD   PREPARE EXHIBITS AND RECONSTRUCTIONS FOR REPORT.       2.20    682.00


01/14/2021   FDD   PREPARE EXHIBITS AND RECONSTRUCTIONS FOR REPORT.       3.10    961.00


01/14/2021   FDD   DRAFT EXPERT REPORT RE: Q BURKE.                       3.40   1,054.00


01/15/2021   MMD   EMAILS WITH EHOUNDS RE PRODUCTION.                     0.30    119.23


01/15/2021   MMD   PREPARE Q BURKE EXPERT REPORT.                         2.00    794.86


01/17/2021   MMD   CONTINUE TO PREPARE EXPERT REPORT FOR QBURKE.          4.60   1,828.17


01/17/2021   FDD   REVIEW EXPERT REPORT RE: Q BURKE.                      0.30     93.00
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01/18/2021   MMD   CONTINUE TO PREPARE EXPERT REPORT.                     2.40     953.83


01/18/2021   FDD   PREPARE UPDATED EXHIBITS FOR REPORT.                   1.10     341.00


01/18/2021   FDD   UPDATE EXHIBITS FOR REPORT.                            1.00     310.00


01/18/2021   MMD   FINALIZE EXPERT REPORT.                                2.70    1,073.06


01/18/2021   MMD   TC WITH COUNSEL RE REPORT.                             0.50     198.71


01/18/2021   FDD   PREPARE UPDATED EXHIBITS FOR REPORT.                   3.60    1,116.00


01/18/2021   FDD   T/C WITH M. DAVIS AND J. DENISI RE: Q BURKE REPORT.    0.80     248.00


01/18/2021   MMD   ATTEND TO EMAILS WITH EHOUNDS RE PRODUCTION            0.10      39.74
                   MATTERS.

01/18/2021   FDD   PREPARE UPDATED EXHIBITS FOR REPORTS.                  0.80     248.00


01/19/2021   MMD   REVIEW UPDATED WORKPAPERS FOR REPORT.                  0.80     317.94


01/19/2021   FDD   PREPARE WORKPAPERS FOR Q BURKE REPORT.                 0.20      62.00


01/19/2021   MCP   REVIEW WORKPAPERS.                                     0.20      74.00


01/19/2021   FDD   PREPARE WORKPAPERS FOR Q BURKE REPORT.                 5.40    1,674.00


01/20/2021   FDD   REVIEW EXPERT REPORT AND ACCOMPANYING EXHIBITS.        1.40     434.00


01/20/2021   RLW   REVIEW EXPERT REPORT                                   0.80     280.00


01/26/2021   MMD   ATTEND TO PRODUCTION OF TAX RETURNS.                   0.70     278.20


01/28/2021   MMD   ATTEND TO PRODUCTION OF TAX RECORDS AS REQUESTED       1.40     556.40
                   BY J. SCHNEIDER.

                                                                         83.10   28,452.76
OPERATIONS
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07/30/2021   MMD   EMAILS WITH COUNSEL RE IT COLLECTIONS; EMAILS WITH B.       0.10     39.74
                   STILLMAN RE SAME.

                                                                               0.10     39.74
TAX ISSUES
10/10/2020   KAF   (ALL ENTITIES) - REVIEW FILES, REQUEST INFORMATION          0.20     66.00
                   FROM RECEIVER TO PREPARE AJE'S FOR 05/01/20-09/30/20

10/10/2020   KAF   RE: CO. #08-JAY PEAK, INC -REVIEW TAX FILES FYE 04/30/19,   0.90    297.00
                   SET UP FYE 04/30/20 TAX FILES AND SHAREFILE, EMAIL TO E.
                   FRADY FOR FYE 04/30/20 TAX INFORMATION


10/17/2020   KAF   (ALL ENTITIES)-BEGIN PREPARATION OF RECEIVER ACTIVITY       4.70   1,551.00
                   AJE'S FOR 05/01/20-09/30/20 PENDING OPEN ITEMS; EMAIL TO
                   K. SMILEY AND C. COTLER RE: OPEN ITEMS.


10/23/2020   KAF   (ALL ENTITIES) - CONTINUE AND COMPLETE PREPARATION OF       3.10   1,023.00
                   RECEIVER ACTIVITY AJE'S FOR 05.01.20-09.30.20 PENDING
                   OPEN ITEMS, FOLLOW UP RE: ANSWERS TO OPEN ITEMS
                   REQUESTED ON 10.17.20; REVIEW AND SAVE CO. 008 JAY PEAK
                   INC, FYE 04.30.21 VT 1ST & 2ND Q ESTIMATED PAYMENT
                   POSTAGE RECEIPTS TO TAX FILE, EMAILS WITH E. FRADY
                   CONCERNING FYE 04.30.20 TAX RETURN DATA


10/23/2020   KM    REVIEW AND ATTEND REQUEST FROM COUNSEL RE                   0.30    118.50
                   INVESTOR K1.

10/30/2020   KAF   (ALL ENTITIES)-REVIEW RECEIVER RESPONSES TO OPEN            3.70   1,221.00
                   ITEMS FOR RECEIVER TRANSACTION AJES FOR 5/1/20-9/30/20,
                   RESEARCH RE: (FORMER) CO. #80-JAY PEAK BIOMEDICAL
                   RESEARCH PARK LP; TREATMENT OF RAYMOND JAMES
                   SETTLEMENT AND 2018 TRANSFER TO NEW OWNER, FINALIZE
                   AJE'S AND EMAIL TO E. FRADY & LEISURE HOTELS, EMAILS
                   WITH L. JOHNSON TO REQUEST GUIDANCE RE: TREATMENT
                   OF TRANSFERS FROM CO. #80 TO RECEIVER TRUST
                   ACCOUNTS


11/11/2020   LJJ   T/C W COUNSEL FOR EB-5 INVESTORS TO ASSIST WITH             0.30    111.43
                   DOCUMENTATION FOR RESIDENT APPLICATIONS, SCHEDULE
                   K-1S FOR QBURKE MTN RESORT & CONF CENTER


11/12/2020   LJJ   RESEARCH TAX NOTICES AND EMAIL RECEIVER'S OFFICE.           1.00    371.44


11/13/2020   LJJ   EMAILS TO VERMONT PAYROLL DEPT REGARDING RECENT             0.30    111.43
                   NOTICES FOR 1ST Q 2020

11/21/2020   KAF   RE: CO. #08-JAY PEAK INC - READ AND RESPOND TO E. FRADY     0.20     66.00
                   EMAIL CONCERNING STATUS OF FYE 4/30/20 ACCOUNTING &
                   TAX INFORMATION
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12/18/2020   KAF   RE: CO. #08 - JAY PEAK, INC. - REVIEW EMAIL FROM E. FRADY    0.90    297.00
                   RE: STATUS OF FYE 04/30/20 WORKPAPERS, RESPOND WITH
                   TIMELINE, DELETE AND RE-ADD SHAREFILE USERS FOR
                   UPLOAD OF DOCUMENTS (.50); REVIEW 10/30/20 EMAIL TO L.
                   JOHNSON REQUESTING GUIDANCE RE: RECORDING 6/18/20
                   TRANSFERS FROM CO. #80 (NOT IN RECEIVERSHIP) TO JAY
                   PEAK, INC. AND FOLLOW UP WITH L. JOHNSON RE: RESPONSE
                   (.40)


12/31/2020   KAF   RE: CO. #08 - JAY PEAK, INC. - ORGANIZE FYE 04/30/20 TAX     4.20   1,386.00
                   FOLDER DOCUMENTS, DOWNLOAD WORKPAPERS AND
                   (PARTIAL) TRIAL BALANCE RECEIVED FROM E. FRADY ON
                   12/18/20, BEGIN REVIEW OF (PARTIAL) WORKPAPERS
                   PROVIDED ON 12/18/20


01/02/2021   KAF   RE: CO. #08 - JAY PEAK, INC. - CONTINUE REVIEW OF FYE        4.10   1,353.00
                   04/30/20 (PARTIAL) WORKPAPERS PROVIDED ON 12/18/20

01/04/2021   KAF   RE: CO. #08 - JAY PEAK, INC. - CONTINUE AND COMPLETE         5.40   1,782.00
                   REVIEW OF FYE 04/30/20 (PARTIAL) WORKPAPERS PROVIDED
                   ON 12/18/20, INCLUDING FIXED ASSET INPUT TO TAX
                   PROGRAM


01/06/2021   KAF   RE: ALL ENTITIES - ANALYZE RECEIVER TRANSACTIONS AND         5.50   1,815.00
                   PREPARE AJE'S FOR THE PERIOD 10/1/20-12/31/20, EMAIL TO E.
                   FRADY AND LEISURE HOTELS FOR POSTING TO ENTITY
                   BOOKS


01/06/2021   KAF   RE: CO. #401 - Q RESORTS, INC. - RESEARCH AND RESPOND        0.30     99.00
                   TO C. COTLER QUESTION CONCERNING AIRPLANE HANGAR
                   LAND LEASE AND HANGAR SALE


01/09/2021   KAF   RE: CO. #08 - JAY PEAK INC. - DOWNLOAD AND REVIEW            4.60   1,518.00
                   ADDITIONAL WORKPAPERS PROVIDED BY E. FRADY ON
                   01/06/21 RE: FYE 04/30/20


01/12/2021   KAF   RE: CO. #08 - JAY PEAK, INC. - RESEARCH AND RESPOND TO E.    0.50    165.00
                   FRADY EMAIL CONCERNING STATUS OF FYE 04/30/20 TAX
                   WORKPAPERS AND INTERCOMPANY RECONCILIATION


01/16/2021   KAF   RE: CO. #08 - JAY PEAK, INC. - BRIEF REVIEW OF E. FRADY      0.30     99.00
                   EMAILS RE: FYE 04/30/20 TAX DATA, EMAIL TO L. JOHNSON RE:
                   STATUS


01/18/2021   LJJ   1099 EMAILS RE BURKE MOUNTAIN                                0.10     39.57
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01/18/2021   KAF   RE: CO. #08 - JAY PEAK INC. - DOWNLOAD AND REVIEW             5.50   1,815.00
                   ADDITIONAL WORKPAPERS PROVIDED BY E. FRADY THROUGH
                   01/18/21 RE: FYE 04/30/20, EMAIL TO E. FRADY & S. LILLIS TO
                   REQUEST WORKPAPERS NOT PROVIDED AS INDICATED, FULL
                   TRIAL BALANCE, AND INTERCOMPANY RECONCILIATION


01/18/2021   LJJ   1099 EMAILS                                                   0.20     79.13


01/18/2021   LJJ   T/C/W K. FOSTER REGARDING JAY PEAK, INC. TAX RETURN           0.20     79.13


01/20/2021   KAF   RE: CO. #08 - JAY PEAK INC. - DOWNLOAD FULL FYE 04.30.20      5.80   1,914.00
                   TRIAL BALANCE PROVIDED BY E. FRADY, BEGIN PREPARATION
                   OF FYE 04.30.20 TAX RETURNS


01/20/2021   KJJ   PREPARED FORMS 1099-NEC & 1096 FOR 2020 - MOUNTAIN            0.40     68.00
                   ROAD MANAGEMENT

01/20/2021   KJJ   PREPARED FORMS 1099-NEC & 1096 FOR 2020 - BURKE               0.40     68.00
                   MOUNTAIN OPERATING COMPANY

01/21/2021   KJJ   FINALIZE FORMS 1099-NEC & 1096 FOR 2020 - BURKE               0.20     34.00
                   MOUNTAIN OPERATING COMPANY

01/21/2021   JRH   REVIEW AND APPROVE FORMS 1096 & 1099 FOR MOUNTAIN RD          0.10     27.00
                   MANAGEMENT FOR 2020.

01/21/2021   LJJ   REVIEW JAY PEAK AND BURKE MOUNTAIN 1099S                      0.80    316.53


01/21/2021   KAF   RE: CO. #08 - JAY PEAK INC. - CONTINUE PREPARATION OF FYE     6.90   2,277.00
                   04.30.20 TAX RETURNS

01/21/2021   JRH   REVIEW AND APPROVE FORMS 1096 & 1099 FOR BURKE                0.30     81.00
                   MOUNTAIN OPERATING FOR 2020.

01/21/2021   KJJ   FINALIZE FORMS 1099-NEC & 1096 FOR 2020 - MOUNTAIN            0.10     17.00
                   ROAD MANAGEMENT COMPANY

01/22/2021   LJJ   EMAILS AND RESEARCH REGARDING LEASE ACCOUNTING                0.80    316.53
                   FOR BOOKS

01/23/2021   KAF   RE: CO. #08 - JAY PEAK INC. - CONTINUE PREPARATION OF FYE     7.40   2,442.00
                   04.30.20 TAX RETURNS, INCLUDING EMAIL TO E. FRADY WITH
                   LIST OF QUESTIONS


01/25/2021   KAF   RE: CO. #08 - JAY PEAK INC. - CONTINUE AND COMPLETE           7.60   2,508.00
                   PREPARATION OF FYE 04.30.20 TAX RETURNS, INCLUDING
                   ROUGH DRAFT OF FORM 1120 AND EMAIL TO L. JOHNSON TO
                   ADVISE.
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01/26/2021   KJJ   PREPARED FORMS 1099-NEC & 1096 FOR 2020 - JAY PEAK, INC.    1.50    255.00


01/26/2021   JRH   REVIEW AND APPROVE FORMS 1099 & 1096 FOR JAY PEAK, INC      1.10    297.00
                   & JAY PEAK HOTEL SUITES PHASE II FOR 2020.

01/26/2021   KJJ   PREPARED FORMS 1099-MISC & 1096 FOR 2020 - JAY PEAK,        1.50    255.00
                   INC.

01/26/2021   KJJ   PREPARED FORMS 1099-NEC & 1096 FOR 2020 - JAY PEAK          0.50     85.00
                   HOTEL SUITES PHASE II

01/27/2021   JRH   REVIEW AND APPROVE FORMS 1096 & 1099 FOR JAY PEAK, INC      2.30    621.00
                   FOR 2020.

01/27/2021   KJJ   FINALIZE FORMS 1099-NEC & 1096 FOR 2020 - JAY PEAK HOTEL    0.30     51.00
                   SUITES PHASE II

01/27/2021   LJJ   REVIEW FORMS 1099 FOR HOTEL SUITES AND JAY PEAK, INC.       0.60    237.40


01/27/2021   KJJ   FINALIZE FORMS 1099-NEC & 1096 FOR 2020 - JAY PEAK, INC.    0.40     68.00


01/27/2021   KJJ   FINALIZE FORMS 1099-MISC & 1096 FOR 2020 - JAY PEAK, INC.   0.40     68.00


02/03/2021   LJJ   RESEARCH OWNERSHIP OF JAY PEAK ENTITIES                     0.40    158.27


02/10/2021   LJJ   REVIEW JAY PEAK, INC. 4/30/20 TAX RETURNS AND RESEARCH      5.20   2,057.46
                   NY TAX REPORTING FOR SALE.

02/11/2021   KJJ   FINALIZE FORMS 1120 & CO-411 JAY PEAK                       0.50     85.00


02/11/2021   LJJ   FINALIZE FEDERAL AND VT TAX RETURNS                         2.60   1,028.73


02/12/2021   LJJ   EMAILS RE BIOMEDICAL                                        0.20     79.13


02/15/2021   KAF   RE: VARIOUS ENTITIES - REVIEW AND SAVE NUMEROUS             0.50    165.00
                   EMAILS FROM JAY PEAK INC, K. SMILEY, AND M. GOLDBERG
                   AND FORWARD M. GOLDBERG EMAIL TO L. JOHNSON FOR
                   RESOLUTION


02/22/2021   LJJ   RESEARCH AND REVISE 2019 FORMS 1042                         1.60    633.07


02/23/2021   JRH   PREPARATION OF FORM 1042/1042-S FOR JAY PEAK, INC FOR       0.60    162.00
                   2020
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02/23/2021   LJJ   EMAILS AND AMENDMENT OF 2019 FORMS 1042-S                  3.60   1,424.40


02/24/2021   KJJ   FINALIZE AMENDED FORMS 1042-S FOR 2019 - JAY PEAK, INC.    0.30     51.00


02/24/2021   LJJ   SIGN JAY PEAK AMENDED FORMS 1042                           0.20     79.13


02/24/2021   LJJ   T/C/W K. FOSTER RE JAY PEAK                                0.30    118.70


02/24/2021   JRH   PREPARE FORMS 1042-S, 1042, 1042-T FOR JAY PEAK, INC FOR   1.90    513.00
                   2020.

02/26/2021   JRH   PREPARE FORMS 1042, 1042-T & 1042-S FOR JAY PEAK INC       6.90   1,863.00
                   FOR 2020.

02/27/2021   KAF   RE: CO. #35 - JAY PEAK GOLF & MTN STES, LP - REVIEW 2020   2.30    759.00
                   TAX WORKPAPERS PROVIDED BY S. LILLIS, SET UP 2020
                   WORKPAPERS FOR TAX RETURN PREPARATION, ADVISE L.
                   JOHNSON RE: STATUS, EMAILS TO S. LILLIS AND D. MCNEIL
                   FOR ADDITIONAL DATA NEEDED FOR PREPARATION


02/27/2021   KAF   RE: CO. #50 - JAY PEAK LODGE & TH, LP - REVIEW 2020 TAX    2.30    759.00
                   WORKPAPERS PROVIDED BY S. LILLIS, SET UP 2020
                   WORKPAPERS FOR TAX RETURN PREPARATION, ADVISE L.
                   JOHNSON RE: STATUS, EMAILS TO S. LILLIS AND D. MCNEIL
                   FOR ADDITIONAL DATA NEEDED FOR PREPARATION


02/27/2021   KAF   RE: CO. #25 - JAY PEK PENTHOUSE STES, LP - REVIEW 2020     2.10    693.00
                   TAX WORKPAPERS PROVIDED BY S. LILLIS, SET UP 2020
                   WORKPAPERS FOR TAX RETURN PREPARATION, ADVISE L.
                   JOHNSON RE: STATUS, EMAILS TO S. LILLIS AND D. MCNEIL
                   FOR ADDITIONAL DATA NEEDED FOR PREPARATION


02/28/2021   KAF   RE: CO. #60 - JAY PEAK HOTEL STES STATESIDE, LP - REVIEW   4.40   1,452.00
                   2020 TAX WORKPAPERS PROVIDED BY S. LILLIS, SET UP 2020
                   WORKPAPERS FOR TAX RETURN PREPARATION, ADVISE L.
                   JOHNSON RE: STATUS, EMAIL TO S. LILLIS WITH QUESTIONS
                   FOR PREPARATION


03/01/2021   KAF   RE: CO. #390 - Q BURKE MTN ET AL LP - REVIEW 2020 TAX      4.10   1,353.00
                   WORKPAPERS PROVIDED BY S. LILLIS, SET UP 2020
                   WORKPAPERS FOR TAX RETURN PREPARATION, ADVISE L.
                   JOHNSON RE: STATUS, EMAIL TO S. LILLIS WITH QUESTIONS
                   FOR PREPARATION


03/01/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX      3.70    999.00
                   RETURN FOR PENTHOUSE SUITES FOR 2020.
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03/01/2021   JRH   PREPARE FORMS 1042, 1042-T, 1042-S FOR JAY PEAK INC FOR   1.10   297.00
                   2020.

03/01/2021   LJJ   DISC JAY PEAK WITH J. HEIDER                              0.20    79.13


03/01/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     2.70   729.00
                   RETURN FOR GOLF & MOUNTAIN SUITES LP FOR 2020.

03/02/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     1.10   297.00
                   RETURN FOR JAY PEAK GOLF & MOUNTAIN SUITES FOR 2020.

03/02/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     2.20   594.00
                   RETURN FOR Q BURKE MOUNTAIN RESORT FOR 2020.

03/02/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     2.20   594.00
                   RETURN FOR JAY PEAK LODGE & TOWNHOUSES FOR 2020.

03/03/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     0.30    81.00
                   RETURN FOR JPGM SUITES FOR 2020.

03/03/2021   KJJ   PREPARE FEDERAL AND STATE EXTENSIONS - JAY PEAK           0.10    17.00
                   LODGE & TOWNHOUSES

03/03/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     0.30    81.00
                   RETURN FOR JPLT FOR 2020.

03/03/2021   KJJ   PREPARE FEDERAL AND STATE EXTENSIONS - JAY PEAK           0.10    17.00
                   HOTEL SUITES PHASE II

03/03/2021   LJJ   REVIEW #25 AND T/C/W K. FOSTER REGARDING ACCOUNTING       1.00   395.67


03/03/2021   KJJ   PREPARE FEDERAL EXTENSION - GSI OF DADE COUNTY            0.10    17.00


03/03/2021   KJJ   PREPARE FEDERAL AND STATE EXTENSIONS - JAY PEAK GOLF      0.10    17.00
                   & MOUNTAIN SUITES

03/03/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     0.20    54.00
                   RETURN FOR Q BURKE MTN RESORT HOTEL & CONF FOR
                   2020.


03/03/2021   KJJ   PREPARE FEDERAL EXTENSION - NORTHEAST CONTRACT            0.10    17.00
                   SERVICES

03/03/2021   KJJ   PREPARE FEDERAL AND STATE EXTENSIONS - JAY PEAK           0.10    17.00
                   PENTHOUSE SUITES

03/03/2021   KJJ   PREPARE FEDERAL AND STATE EXTENSIONS - JAY PEAK           0.10    17.00
                   HOTEL SUITES STATESIDE

03/04/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     0.70   189.00
                   RETURN FOR JAY PEAK GOLF & MOUNTAIN #35 FOR 2020.
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03/04/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX      0.80    216.00
                   RETURN FOR JAY PEAK PENTHOUSE SUITES #25 FOR 2020.

03/04/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX      2.70    729.00
                   RETURN FOR JAY PEAK HOTEL SUITES STATESIDE #60 FOR
                   2020.


03/04/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX      0.70    189.00
                   RETURN FOR JAY PEAK LODGE & TOWNHOUSE # 50 FOR 2020.

03/08/2021   LJJ   REVIEW JAY PEAK, INC. FORMS 1042 AND W-8 INFORMATION       2.60   1,028.73


03/08/2021   LJJ   REVIEW AND FINALIZE PENTHOUSE STES                         1.20    474.80


03/08/2021   KJJ   FINALIZE FORMS 1042 & 1042-S FOR 2020 - JAY PEAK, INC.     2.30    391.00


03/08/2021   LJJ   REVIEW AND FINALIZE GOLF & MOUNTAIN                        2.40    949.60


03/09/2021   KJJ   FINALIZE FORM 8804 FOR 2020 - PROCESS PARTNER K-1S FOR     2.00    340.00
                   MAILING - JAY PEAK GOLF & MOUNTAIN SUITES

03/09/2021   LJJ   UPDATE ACCOUNTING FOR PENTHOUSE STES AND GOLF &            1.20    474.80
                   MOUNTAIN

03/09/2021   LJJ   LODGE & TOWN HOUSES                                        1.20    474.80


03/09/2021   KAF   RE: CO. #20 - JAY PEAK HOTEL STES PH II LP - REVIEW 2020   5.20   1,716.00
                   TAX WORKPAPERS PROVIDED BY S. LILLIS, SET UP 2020
                   WORKPAPERS FOR TAX RETURN PREPARATION, ADVISE L.
                   JOHNSON RE: STATUS, EMAIL TO S. LILLIS WITH QUESTIONS
                   FOR PREPARATION


03/09/2021   LJJ   REVIEW STATESIDE                                           1.40    553.93


03/09/2021   KJJ   FINALIZE FORM 8804 FOR 2020; PROCESS PARTNER K-1S FOR      2.00    340.00
                   MAILING - JAY PEAK PENTHOUSE SUITES

03/10/2021   LJJ   EFILE STATESIDE AND LODGE & TH                             0.40    158.27


03/10/2021   KJJ   FINALIZE FORM 8804 FOR 2020; PROCESS PARTNER K-1S FOR      2.80    476.00
                   MAILING - JAY PEAK HOTEL SUITES STATESIDE

03/10/2021   LJJ   T/C/W K. SMILEY, T. ANDREWS, INVESTIGATE AND RESEARCH      1.80    712.20
                   INCOME IN BIO MEDICAL AND PAYMENTS MADE TO
                   RECEIVERSHIP
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03/10/2021   LJJ   REVIEW, REVISE & UPLOAD QBURKE MOUNTAIN                   3.20   1,266.13


03/10/2021   KJJ   FINALIZE FORM 8804 FOR 2020; PROCESS PARTNER K-1S FOR     2.70    459.00
                   MAILING - JAY PEAK LODGE & TOWNHOUSES

03/11/2021   KJJ   FINALIZE FORM 8804 FOR 2020; PROCESS PARTNER K-1S FOR     3.50    595.00
                   MAILING - Q BURKE MOUNTAIN RESORT, HOTEL &
                   CONFERENCE CENTER


03/12/2021   JRH   PREPARATION OF FORM 1065, U.S. PARTNERSHIP INCOME TAX     6.90   1,863.00
                   RETURN FOR JAY PEAK HOTEL SUITES PHASE II - #20 FOR
                   2020.


03/12/2021   LJJ   E-FILE TAX RETURNS                                        0.20      79.13


03/15/2021   LJJ   REVIEW JAY PEAK PHASE II, E-FILE TAX RETURN               2.80   1,107.86


03/16/2021   KJJ   FINALIZE FORM 8804 FOR 2020; PROCESS PARTNER K-1S FOR     2.30    391.00
                   MAILING - JAY PEAK HOTEL SUITES PHASE II

03/16/2021   LJJ   FINALIZE AND EFILE 2020 JAY PEAK PHASE II                 0.60    237.40


03/18/2021   KJJ   PREPARED FEDERAL AND STATE EXTENSIONS - JAY PEAK          0.10      17.00
                   MANAGEMENT

03/18/2021   KJJ   PREPARED FEDERAL AND STATE EXTENSIONS - JAY               0.10      17.00
                   CONSTRUCTION MANAGEMENT

03/20/2021   KAF   RE: (ALL ENTITIES)-ADDRESS VARIOUS EMAILS; DOCUMENT       0.10      33.00
                   FILES

03/22/2021   LJJ   REVIEW EMAILS RE ADDRESS CHANGES                          0.20      79.13


03/24/2021   LJJ   RESPONSE TO TIM ANDREWS REGARDING REPORTING OF            0.60    237.40
                   REIMBURSEMENT FROM BIOMEDICAL TO JAY PEAK
                   RECEIVERSHIP


03/25/2021   LJJ   ADDRESS DOCUMENT REQUESTS                                 0.40    158.27


03/26/2021   LJJ   JAY PEAK PARTNERSHIP EMAILS RE ADDRESS AND EIN            0.40    158.27
                   CHANGES

05/13/2021   KAF   EMAIL TO K. SMILEY AND C. COULTER FOR 01/01/21-04/30/21   0.10      33.00
                   RECEIVER TRANSACTIONS FOR PREPARATION OF RECEIVER
                   ACTIVITY AJE'S
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05/16/2021   KAF   (ALL ENTITIES) - BEGIN PREPARATION OF RECEIVER ACTIVITY        2.30    759.00
                   AJE'S FOR THE PERIOD 01/01/21-04/30/21.

05/16/2021   KAF   CO. #380-BURKE MOUNTAIN OPERATING CO, INC. - REVIEW            0.50    165.00
                   FYE 09/30/19 TAX FILES, SET UP FYE 09/30/20 TAX FILES AND
                   SHAREFILE, EMAIL TO K. MOREY FOR FYE 09/30/20 FINANCIAL
                   DATA FOR PREPARATION OF TAX RETURN.


05/17/2021   KAF   (ALL ENTITIES) -CONTINUE PREPARATION OF RECEIVER               2.40    792.00
                   ACTIVITY AJE'S FOR THE PERIOD 01/01/21-04/30/21.

05/18/2021   KAF   (ALL ENTITIES) -CONTINUE PREPARATION OF RECEIVER               3.10   1,023.00
                   ACTIVITY AJE'S FOR THE PERIOD 01/01/21-04/30/21, EMAIL TO L.
                   JOHNSON FOR GUIDANCE


05/19/2021   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO. - FOLLOW UP          0.10      33.00
                   AND CORRESPONDENCE CONCERNING FYE 09/30/20 TAX
                   RETURN DATA


05/19/2021   KAF   (ALL ENTITIES) -CONTINUE AND COMPLETE PREPARATION OF           4.70   1,551.00
                   RECEIVER ACTIVITY AJE'S FOR THE PERIOD 01/01/21-04/30/21,
                   EMAIL TO E. FRADY AND LEISURE HOTELS FOR POSTING


05/23/2021   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - EMAIL               2.80    924.00
                   TRAFFIC WITH K. MOREY, DOWNLOAD FYE 09.30.20 TAX DATA
                   PROVIDED BY CLIENT, BEGIN TB ACCOUNTING


05/24/2021   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - CONTINUE            4.90   1,617.00
                   TB ACCOUNTING FYE 09/30/20

05/25/2021   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - CONTINUE            4.80   1,584.00
                   TAX RETURN PREPARATION FYE 09/30/20, EMAIL TO K. MOREY
                   WITH QUESTIONS


05/29/2021   KAF   RE: CO. #380-BURKE MOUNTAIN OPERATING CO - CONTINUE            5.50   1,815.00
                   AND COMPLETE TAX RETURN ACCOUNTING FYE 09/30/20,
                   EMAIL TO L. JOHNSON TO ADVISE RE: STATUS AND TO
                   FINALIZE TRIAL BALANCE.


06/01/2021   JRH   PREPARATION OF FEDERAL FORM 1120S, U.S. S                      6.20   1,674.00
                   CORPORATION INCOME TAX RETURN FOR BURKE MOUNTAIN
                   OPERATING COMPANY #380 FOR YEAR END 9/30/20.


06/01/2021   LJJ   BEGIN REVIEW OF BURKE MOUNTAIN OP COMPANY                      0.60    237.40
                   ACCOUNTING
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06/02/2021   LJJ   REVIEW OF 2020 ACCOUNTING AND FORM 1120S                     4.80   1,899.20


06/03/2021   LJJ   FINAL REVIEW AND SIGN 1120S FOR 9/30/20                      0.40    158.27


06/03/2021   KJJ   FINALIZE FORMS 1120S & BI-471 FOR 2019 - BURKE MOUNTAIN      0.50      85.00
                   OPERATING COMPANY

06/17/2021   JRH   PREPARE FEDERAL AND VT EXTENSIONS FOR JAY PEAK, INC.         0.20      54.00


06/24/2021   KAF   RE: CO. #10-JAY PEAK MANAGEMENT, INC - BEGIN                 4.70   1,551.00
                   PREPARATION OF 2020 TAX RETURNS PENDING ADDITIONAL
                   INFORMATION REQUESTED FROM S. LILLIS


06/25/2021   KAF   PREPARE 2020 TAX RETURNS (COS #81-ANC BIO VT LLC AND         3.60   1,188.00
                   #405-Q BURKE MTN RES GP SERVICES LLC) AND 2020 SMLLC
                   LETTER (CO. #383-BURKE 2000 LLC)


06/26/2021   KAF   RE: CO. #391-Q BURKE MTN RESORTS LLC - REVIEW 2020 TAX       3.90   1,287.00
                   INFORMATION AND REQUEST ADDITIONAL FROM S. LILLIS TO
                   PREPARE 2020 SMLLC LETTER (.60); RE: CO. #401-Q RESORTS
                   INC - BEGIN PREPARATION OF 2020 FORM 1120S PENDING
                   ADDITIONAL DATA REQUESTED FROM S. LILLIS (1.5); RE: CO.
                   #402-JAY CONSTRUCTION MANAGEMENT INC - BEGIN
                   PREPARATION OF 2020 FORM 1120 (1.3); RE: COS. #10 & #402 -
                   RESEARCH RE: 2019 VT EXTENSIONS PAID IN 2020 AND EMAIL
                   TO K. SMILEY TO CLARIFY WHAT WAS PAID, DOCUMENT TAX
                   FILES RE: SAME (.50).


07/01/2021   LJJ   REVIEW AND SIGN SMLLC LETTER FOR BURKE 2000                  0.20      79.13


07/01/2021   LJJ   REVIEW ACCOUNTING AND FORM 1065 FOR ANC BIO                  1.00    395.67


07/06/2021   LJJ   REVIEW ACCOUNTING AND 1120S FOR Q BURKE MTN GROUP            1.10    435.23
                   SVC

07/06/2021   KJJ   FINALIZE FORMS 1065 & VT BI-471 FOR 2020 - ANC BIO VT        0.30      51.00


07/06/2021   KJJ   FINALIZE SMLLC LETTER FOR 2020 - BURKE 2000                  0.20      34.00


07/07/2021   LJJ   FINAL REVIEW AND SIGN FORM 1065 FOR ANC BIO.                 0.20      79.13


07/07/2021   LJJ   FINAL REVIEW AND SIGN BURKE 2000                             0.20      79.13
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07/07/2021   LJJ   FINALIZE VT TAX RETURN FOR QBURKE MTN                    0.30    118.70


07/08/2021   KAF   RE: CO. 402 JAY CONSTRUCTION MGT INC - CONTINUE AND      1.10    363.00
                   COMPLETE PREPARATION OF 2020 TAX RETURN, WITH
                   ADDITIONAL DATA RECEIVED FROM S. LILLIS, ADVISE L.
                   JOHNSON RE: COMPLETION


07/08/2021   KJJ   FINALIZE FORMS 1065 & VT BI-471 FOR 2020 - Q BURKE       0.40      68.00
                   MOUNTAIN RESORT GP SERVICES

07/08/2021   KAF   RE: CO. 391-Q BURKE MOUNTAIN RESORT LLC - PREPARE 2020   0.70    231.00
                   SMLLC LETTER WITH ADDITIONAL DATA RECEIVED FROM S.
                   LILLIS, ADVISE L. JOHNSON RE: COMPLETION


07/08/2021   KAF   RE: CO. 401 Q RESORTS INC. CONTINUE AND COMPLETE         0.70    231.00
                   PREPARATION OF 2020 TAX RETURN, WITH ADDITIONAL DATA
                   RECEIVED FROM S. LILLIS, ADVISE L. JOHNSON RE:
                   COMPLETION


07/09/2021   KJJ   FINALIZE SMLLC LETTER FOR 2020 - Q BURKE MOUNTAIN        0.10      17.00
                   RESORT

07/09/2021   LJJ   FINALIZE AND SIGN SINGLE MEMBER LLC LETTER FOR Q         0.10      39.57
                   BURKE MOUNTAIN RESORT.

07/16/2021   KJJ   FINALIZE FORM 1120S FOR 2020 - Q RESORTS                 0.40      68.00


07/19/2021   KJJ   FINALIZE FORMS 1120 & VT CO-411 FOR 2020 - JAY           0.30      51.00
                   CONSTRUCTION MANAGEMENT

07/21/2021   LJJ   REVIEW ACCOUNTING, FEDERAL AND VT TAX RETURNS FOR        1.60    633.07
                   JAY CONSTRUCTION MGMT.

07/25/2021   KAF   RESEARCH AND RESPOND TO K. MOREY REQUEST FOR FYE         0.10      33.00
                   09/30/20 AJE'S, DOCUMENT FILE

07/26/2021   LJJ   DISC ACTIVITY IN 2019 AND 2020 WITH K. FOSTER RE GSI.    0.40    158.27


07/26/2021   KAF   RE: CO. 10-JAY PEAK MANAGEMENT INC - CONTINUE AND        2.60    858.00
                   COMPLETE PREPARATION OF 2020 TAX RETURNS, EMAIL L.
                   JOHNSON TO ADVISE RE: COMPLETION, DOCUMENT FILE


07/26/2021   LJJ   REQUEST FOR 1042 FROM CPA FOR DECEASED OWNER             0.60    237.40


07/27/2021   LJJ   ADDRESS REQUESTS FOR ADDRESS CHANGES                     0.20      79.13
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07/27/2021   LJJ   DISC GSI OF DADE AND REVIEW WPS WITH K. FOSTER               0.40       158.27


07/27/2021   KAF   RE: CO. 403-GSI OF DADE COUNTY, INC. - PREPARE 2020 FORM     4.30     1,419.00
                   1120S, INCLUDING T/C WITH L. JOHNSON, EMAIL TO L.
                   JOHNSON TO ADVISE RE: COMPLETION, DOCUMENT TAX FILE


07/28/2021   LJJ   REVIEW ACCTG & TAX RETURN FOR GSI                            2.00       791.33


07/28/2021   LJJ   REVIEW ACCTG & TAX RETURN FOR NORTH EAST                     1.30       514.37


07/28/2021   KAF   RE: CO. 404-NORTH EAST CONTRACT SERVICES, LLC -              0.80       264.00
                   PREPARE 2020 FORM 1120S

07/28/2021   LJJ   REVIEW ACCTG & TAX RETURN FOR JAY PEAK MGMT                  2.00       791.33


07/29/2021   KJJ   FINALIZE FORMS 1120 & VT CO-411 FOR 2020 - JAY PEAK          0.40        68.00
                   MANAGEMENT

07/29/2021   KJJ   FINALIZE FORM 1120S FOR 2020 - NORTH EAST CONTRACT           0.30        51.00
                   SERVICES

07/29/2021   KJJ   FINALIZE FORM 1120S FOR 2020 - GSI OF DADE COUNTY            0.30        51.00


07/30/2021   LJJ   SIGN TAX RETURNS FOR GSI, JAY PEAK MGMT, AND NORTH           0.60       237.40
                   EAST

                                                                              278.40    88,450.50

                                                                                       116,943.00


EXPENSES
09/30/2020   EXP   SHAREFILE - SEPTEMBER 2020                                                8.37


10/31/2020   EXP   PACER - OCTOBER 2020                                                     16.70


10/31/2020   EXP   SHAREFILE - OCTOBER 2020                                                  8.16


11/30/2020   EXP   SHAREFILE - NOVEMBER 2020                                                10.80


12/31/2020   EXP   SHAREFILE - DECEMBER 2020                                                10.76


01/07/2021   EXP   OPENVOICE - JANUARY 2021                                                  3.65
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 242 of
                                       330
KapilaMukamal, LLP                       Invoice #8049    8/18/2021          Page 16 of 23




01/12/2021   EXP   OPENVOICE - JANUARY 2021                                      4.25


01/22/2021   EXP   POSTAGE - BURKE MOUNTAIN OPERATING COMPANY                   14.50


01/22/2021   EXP   FEDEX                                                        29.61


01/22/2021   EXP   POSTAGE - MOUNTAIN ROAD MANAGEMENT                            1.50


01/28/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                      1.02


01/28/2021   EXP   POSTAGE - JAY PEAK, INC.                                     83.13


01/31/2021   EXP   PRINTED COPIES - JANUARY 2021 (01/01/21-01/31/21)          174.75


01/31/2021   EXP   SHAREFILE - JANUARY 2021                                     11.17


02/01/2021   EXP   FEDEX (01/28/21) - JAY PEAK HOTEL SUITES PHASE II            17.32


02/01/2021   EXP   FEDEX (01/28/21) - JAY PEAK, INC.                            17.33


02/11/2021   EXP   FEDEX                                                        32.26


02/15/2021   EXP   PRINTED COPIES - FEBRUARY 2021 (02/01/21-02/15/21)           76.80


02/17/2021   EXP   POSTAGE - JAY PEAK                                            0.51


02/24/2021   EXP   FEDEX - JAY PEAK, INC.                                       29.89


02/24/2021   EXP   POSTAGE                                                       2.40


02/28/2021   EXP   PRINTED COPIES - FEBRUARY 2021 (02/16/21-02/28/21)           68.70


02/28/2021   EXP   SHAREFILE - FEBRUARY 2021                                    11.45


03/01/2021   EXP   LACERTE SEARCH - MARCH 2021 - Q BURKE MOUNTAIN               66.00
                   RESORT, HOTEL & CONFERENCE CENTER
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 243 of
                                       330
KapilaMukamal, LLP                     Invoice #8049     8/18/2021              Page 17 of 23




03/01/2021   EXP   LACERTE SEARCH - FEBRUARY 2021 (02/27/21) - JAY PEAK            66.00
                   GOLF & MOUNTAIN SUITES

03/01/2021   EXP   LACERTE SEARCH - FEBRUARY 2021 (02/27/21) - JAY PEAK            66.00
                   LODGE & TOWNHOUSES

03/01/2021   EXP   LACERTE SEARCH - FEBRUARY 2021 (02/10/21) - JAY PEAK, INC.      66.00


03/01/2021   EXP   LACERTE SEARCH - FEBRUARY 2021 (02/27/21) - JAY PEAK            66.00
                   PENTHOUSE SUITES

03/01/2021   EXP   LACERTE SEARCH - FEBRUARY 2021 (02/28/21) - JAY PEAK            66.00
                   HOTEL SUITES STATESIDE

03/03/2021   EXP   LACERTE SEARCH - MARCH 2021 - Q BURKE MOUNTAIN                  66.00
                   RESORT GP SERVICES

03/03/2021   EXP   LACERTE SEARCH - MARCH 2021 - JAY PEAK HOTEL SUITES             66.00
                   PHASE II

03/03/2021   EXP   LACERTE SEARCH - MARCH 2021 - ANC BIO VT                        66.00


03/05/2021   EXP   CERTIFIED MAIL                                                   2.13


03/05/2021   EXP   CERTIFIED MAIL                                                   2.27


03/05/2021   EXP   CERTIFIED MAIL                                                   2.37


03/08/2021   EXP   CERTIFIED MAIL - JAY PEAK MANAGEMENT                             3.51


03/08/2021   EXP   POSTAGE - JAY PEAK, INC.                                         1.80


03/08/2021   EXP   POSTAGE - JAY PEAK, INC.                                         7.98


03/08/2021   EXP   POSTAGE - JAY PEAK, INC.                                        55.08


03/08/2021   EXP   CERTIFIED MAIL - JAY CONSTRUCTION MANAGEMENT                     3.50


03/08/2021   EXP   POSTAGE - JAY PEAK, INC.                                         5.19


03/08/2021   EXP   POSTAGE - JAY PEAK, INC.                                         1.20
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 244 of
                                       330
KapilaMukamal, LLP                     Invoice #8049   8/18/2021             Page 18 of 23




03/09/2021   EXP   FEDEX - JAY PEAK PENTHOUSE SUITES                             9.62


03/09/2021   EXP   POSTAGE - JAY PEAK PENTHOUSE SUITES                          30.60


03/09/2021   EXP   POSTAGE - JAY PEAK GOLF & MOUNTAIN SUITES                     2.40


03/09/2021   EXP   POSTAGE - JAY PEAK PENTHOUSE SUITES                           1.42


03/09/2021   EXP   POSTAGE - JAY PEAK PENTHOUSE SUITES                           1.20


03/09/2021   EXP   FEDEX - JAY PEAK, INC.                                        9.61


03/09/2021   EXP   POSTAGE - JAY PEAK GOLF & MOUNTAIN SUITES                    43.86


03/09/2021   EXP   FEDEX - JAY PEAK GOLF & MOUNTAIN SUITES                       9.62


03/09/2021   EXP   POSTAGE - JAY PEAK GOLF & MOUNTAIN SUITES                     1.20


03/09/2021   EXP   POSTAGE - JAY PEAK GOLF & MOUNTAIN SUITES                     0.71


03/09/2021   EXP   POSTAGE - JAY PEAK PENTHOUSE SUITES                           3.60


03/10/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                     1.40


03/10/2021   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                         2.08


03/10/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                     4.80


03/10/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                     2.84


03/10/2021   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                         8.40


03/10/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                     6.72


03/10/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                    62.22
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 245 of
                                       330
KapilaMukamal, LLP                    Invoice #8049    8/18/2021             Page 19 of 23




03/10/2021   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                         2.24


03/10/2021   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                         1.40


03/10/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                     2.08


03/10/2021   EXP   POSTAGE - JAY PEAK LODGE & TOWNHOUSES                        40.80


03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                   31.24
                   CONFERENCE CENTER

03/11/2021   EXP   FEDEX - Q BURKE MOUNTAIN RESORT, HOTEL & CONFERENCE          16.06
                   CENTER

03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                   49.92
                   CONFERENCE CENTER

03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                    0.51
                   CONFERENCE CENTER

03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                   15.81
                   CONFERENCE CENTER

03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                    9.90
                   CONFERENCE CENTER

03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                    2.40
                   CONFERENCE CENTER

03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                    7.20
                   CONFERENCE CENTER

03/11/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT, HOTEL &                   31.36
                   CONFERENCE CENTER

03/15/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES STATESIDE                     0.51


03/16/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                      2.13


03/16/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                     11.20


03/16/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                      7.20


03/16/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                     68.85
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 246 of
                                       330
KapilaMukamal, LLP                      Invoice #8049      8/18/2021         Page 20 of 23




03/16/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                      6.24


03/17/2021   EXP   FEDEX - JAY PEAK HOTEL SUITES PHASE II                       28.78


03/23/2021   EXP   POSTAGE - JAY PEAK GOLF & MOUNTAIN SUITES                     0.51


03/23/2021   EXP   POSTAGE - JAY PEAK HOTEL SUITES PHASE II                      0.51


03/25/2021   EXP   POSTAGE                                                       0.51


03/31/2021   EXP   SHAREFILE - MARCH 2021                                       11.94


03/31/2021   EXP   PRINTED COPIES - MARCH 2021 (03/01/21-03/31/21)            742.50


04/01/2021   EXP   LACERTE SEARCH - MARCH 2021 (03/08/21) - JAY                 66.00
                   CONSTRUCTION MANAGEMENT

04/01/2021   EXP   LACERTE SEARCH - MARCH 2021 (03/08/21) - JAY PEAK            66.00
                   MANAGEMENT

04/15/2021   EXP   PRINTED COPIES - APRIL 2021 (04/01/21-04/15/21)               1.20


04/30/2021   EXP   SHAREFILE - APRIL 2021                                       11.95


04/30/2021   EXP   PACER - APRIL 2021                                           13.80


05/01/2021   EXP   LACERTE SEARCH - APRIL 2021 (04/14/21) - JAY PEAK, INC.    132.00


05/31/2021   EXP   SHAREFILE - MAY 2021                                         11.84


05/31/2021   EXP   PRINTED COPIES - MAY 2021 (05/16/21-05/31/21)                 8.55


05/31/2021   EXP   PACER - MAY 2021                                             31.70


06/07/2021   EXP   POSTAGE - BURKE MOUNTAIN OPERATING COMPANY                    0.71


06/07/2021   EXP   POSTAGE - BURKE MOUNTAIN OPERATING COMPANY                    2.00
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 247 of
                                       330
KapilaMukamal, LLP                      Invoice #8049      8/18/2021         Page 21 of 23




06/07/2021   EXP   FEDEX - BURKE MOUNTAIN OPERATING CO.                         28.97


06/07/2021   EXP   POSTAGE - BURKE MOUNTAIN OPERATING COMPANY                    1.80


06/07/2021   EXP   POSTAGE - BURKE MOUNTAIN OPERATING COMPANY                    0.51


06/07/2021   EXP   POSTAGE - BURKE MOUNTAIN OPERATING COMPANY                    1.40


06/15/2021   EXP   PRINTED COPIES - JUNE 2021 (06/01/21-06/15/21)               44.55


06/18/2021   EXP   CERTIFIED MAIL                                                6.81


06/30/2021   EXP   SHAREFILE - JUNE 2021                                        11.36


06/30/2021   EXP   PRINTED COPIES - JUNE 2021 (06/16/21-06/30/21)               20.85


07/07/2021   EXP   FEDEX - ANC BIO VT                                           29.39


07/07/2021   EXP   POSTAGE - ANC BIO VT                                          0.51


07/07/2021   EXP   POSTAGE - ANC BIO VT                                          1.42


07/07/2021   EXP   POSTAGE - ANC BIO VT                                          1.60


07/07/2021   EXP   POSTAGE - BURKE 2000                                          1.20


07/07/2021   EXP   POSTAGE - ANC BIO VT                                          2.00


07/08/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT GP SERVICES                 2.20


07/08/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT GP SERVICES                 0.51


07/08/2021   EXP   FEDEX - Q BURKE MOUNTAIN RESORT GP SERVICES                  29.39


07/08/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT GP SERVICES                 2.13
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 248 of
                                       330
KapilaMukamal, LLP                      Invoice #8049      8/18/2021         Page 22 of 23




07/08/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT GP SERVICES                 1.80


07/15/2021   EXP   PRINTED COPIES - JULY 2021 (07/01/21-07/15/21)               55.80


07/15/2021   EXP   POSTAGE - Q BURKE MOUNTAIN RESORT                             0.51


07/16/2021   EXP   POSTAGE - Q RESORTS                                           1.02


07/16/2021   EXP   POSTAGE - Q RESORTS                                           2.00


07/16/2021   EXP   POSTAGE - Q RESORTS                                           1.60


07/19/2021   EXP   FEDEX                                                        29.32


07/22/2021   EXP   FEDEX - JAY CONSTRUCTION MANAGEMENT                          29.32


07/22/2021   EXP   POSTAGE - JAY CONSTRUCTION MANAGEMENT                         0.51


07/22/2021   EXP   POSTAGE - JAY CONSTRUCTION MANAGEMENT                         1.60


07/22/2021   EXP   POSTAGE - JAY CONSTRUCTION MANAGEMENT                         1.40


07/22/2021   EXP   POSTAGE - JAY CONSTRUCTION MANAGEMENT                         2.00


07/29/2021   EXP   POSTAGE - NORTHEAST CONTRACT SERVICES                         1.40


07/29/2021   EXP   POSTAGE - GSI OF DADE COUNTY                                  1.60


07/29/2021   EXP   POSTAGE - JAY PEAK MANAGEMENT                                 1.60


07/29/2021   EXP   POSTAGE - GSI OF DADE COUNTY                                  2.00


07/29/2021   EXP   POSTAGE - NORTHEAST CONTRACT SERVICES                         1.02


07/29/2021   EXP   POSTAGE - JAY PEAK MANAGEMENT                                 3.60
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 249 of
                                       330
KapilaMukamal, LLP                          Invoice #8049          8/18/2021                           Page 23 of 23




07/29/2021   EXP   POSTAGE - NORTHEAST CONTRACT SERVICES                                                   1.80


07/29/2021   EXP   POSTAGE - GSI OF DADE COUNTY                                                            1.53


07/29/2021   EXP   POSTAGE - JAY PEAK MANAGEMENT                                                           0.51


07/31/2021   EXP   PRINTED COPIES - JULY 2021 (07/16/21-07/31/21)                                         96.30


07/31/2021   EXP   SHAREFILE - JULY 2021                                                                  11.67


                                                                                           11,474.     3,390.42
                                                                                               96

                                                                                                       3,390.42




                                                                  Total amount of this invoice       $120,333.42




                                    OPTIONAL WIRE/ACH INSTRUCTIONS

                           Bank Name:               The Northern Trust Company
                                                    1100 East Las Olas Blvd.
                                                     Fort Lauderdale, FL 33301-2387
                                                     Phone: 954-768-4053
                                                     Fax:    954-768-4017

                           Bank ABA Routing:

                           Swift Code:

                           Account Name:            KAPILAMUKAMAL, LLP

                           Account Number:




                   Invoice payable upon receipt. Thank you for this opportunity to be of service.
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 250 of
                                     330



                                 Exhibit 4(d)
                       Klasko Immigration Law Partners, LLP




   59590347;2
Case 1:16-cv-21301-DPG Document 700 Entered on FLSDKlasko
                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   251
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                 CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                      MATTER NO.:      418114
                                                                 INVOICE NO.:     77013
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:    September 16, 2020
JayPeak Receivership




Re:     Q Burke Mountain Resort, Hotel and Conference Center L.P.                Hours     Charge

JAD         Aug 06/20     Email to Sonia Col re Q Burke I-829 RFE                   0.10    35.00


JAD         Aug 06/20     Email to Katherine Li ( Q Burke filing attorney) re       0.10    35.00
                          RFE response template and scheduling a call.

JAD         Aug 07/20     Call with Q Burke investor re denial and next steps       0.50   175.00


JAD         Aug 11/20     Call from Doug Hauer re regional center                   0.10    35.00
                          sponsorship agreement.

JAD         Aug 12/20     Email to Julie Nguyen re MTR template for Q               0.10    35.00
                          Burke

JAD         Aug 17/20     Draft letter for RFE response for Green                   1.10   385.00
                          Mountains Regional Center

JAD         Aug 17/20     Call with Tim West re Q Burke RFE                         0.80   280.00


JAD         Aug 18/20     Draft letter for RFE for Green Mountains Regional         1.20   420.00
                          Center and emails

JAD         Aug 21/20     Emails with Cahler law firm re: templates                 0.20    70.00


HRK         Aug 24/20     Conference re: regional center                            0.10    49.50


JAD         Aug 24/20     Email to Doug re indemnification for RC                   0.10    35.00


JAD         Aug 24/20     Email to filing attorney re NOIR template                 0.10    35.00
                          preparation

DBL         Aug 25/20     Q Burke- discuss new RC issue with Ron                    0.10    49.50
   CaseMountain
Q Burke   1:16-cv-21301-DPG      Document
                  Resort, Hotel and        700Center
                                    Conference  Entered
                                                     L.P. on FLSD Docket 10/08/2021
                                                                     September        Page 252 of
                                                                                16, 2020
                                                 330
Invoice #:    77013                                                             Page No. 32




   HRK        Aug 25/20       Emails re: regional center                            0.10        49.50


   HRK        Aug 25/20       Conference re: regional center                        0.10        49.50


   JAD        Aug 25/20       Drafting and document review for Q Burke I-829        2.60     910.00
                              RFE response template

   HRK        Aug 26/20       Conference call re: regional center options; memo     0.50     247.50
                              of call

   JAD        Aug 26/20       Look up Vermont RCs, email to Greg, review            0.40     140.00
                              I-924A for territory, and emails to Michael

   JAD        Aug 26/20       Call with Greg from NERC re potential                 0.40     140.00
                              sponsorship

   JAD        Aug 26/20       Call with HRK and Michael re Green Mountains          0.50     175.00
                              backing out of agreement and moving forward
                              with a new RC or contacting Green Mountains
   JAD        Aug 31/20       Draft email with terms for RC sponsoship and          0.30     105.00
                              email to Michael and email to Greg.
                                                                                 ______________________
                                                                                         9.50$3,455.50
                           Plus: Miscellaneous costs (express delivery, long distance,        $138.22
                           telephone, photocopy, fax)(4% of fee) 3455.50 @ 0.04
                                                                                       ______________
                    Invoice Total:                                                           $3,593.72
                                                                                   ________________
                    Total due presently:                                                   $3,593.72
                                                                                  ===============

   Please remit payment with one copy of invoice to:
   Klasko Immigration Law Partners, LLP
   1601 Market Street
   Suite 2600
   Philadelphia, PA 19103
   ATTN: Accounts Receivable
   FEDERAL TAX ID NO.: XX-XXXXXXX




         For your convenience you may pay your invoice online at www.klaskolaw.com/contactus.

                 Klasko Immigration Law Partners, LLP
                                                 1601 Market Street
                                                 Suite 2600
                                                 Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSDKlasko
                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   253
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                 CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                      MATTER NO.:      417882
                                                                 INVOICE NO.:     77014
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:    September 16, 2020
JayPeak Receivership




Re:     General Immigration                                                      Hours     Charge

JAD         Jul 08/20     Review and update investor lists for all phases and       1.20    420.00
                          email to Michael
                                                                              ______________________
                                                                                       1.20$420.00
                        Plus: Miscellaneous costs (express delivery, long distance,         $16.80
                        telephone, photocopy, fax)(4% of fee) 420 @ 0.04
                                                                                    ______________
                 Invoice Total:                                                            $436.80

                                                                                   ________________
                 Total due presently:                                                      $436.80
                                                                                   ==============
                                                                                                =




Please remit payment with one copy of invoice to:
Klasko Immigration Law Partners, LLP
1601 Market Street
Suite 2600
Philadelphia, PA 19103
ATTN: Accounts Receivable
FEDERAL TAX ID NO.: XX-XXXXXXX




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   Case 1:16-cv-21301-DPG
Penthouse  Suites         Document 700 Entered on FLSD Docket 10/08/2021
                                                          September        Page 254 of
                                                                     16, 2020
                                        330
Invoice #:    77016                                                  Page No. 2




                                                                              Klasko Law Immigration Law Partners, LLP
                                                                                       PHILADELPHIA         NEW YORK



                                                                                                CLIENT NO.:507624


   Via Email         michael.goldberg@akerman.com                            MATTER NO.:         418206
                                                                             INVOICE NO.:        77016
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                             INVOICE DATE:        September 16, 2020
   JayPeak Receivership




   Re:     Penthouse Suites                                                                    Hours         Charge

   JAD         Aug 02/20          Emails to Min Cao re Penthouse template                           0.10       35.00


   JAD         Aug 03/20          Email to Min Cao re template                                      0.10       35.00


   JAD         Aug 11/20          Email to Chuck Leamy with template for response                   0.10       35.00
                                  for Penthouse

   JAD         Aug 26/20          Call with Adam Moses re Penthouse Suites RFE                      0.80     280.00
                                  Response
                                                                                     ______________________
                                                                                              1.10$385.00
                               Plus: Miscellaneous costs (express delivery, long distance,         $15.40
                               telephone, photocopy, fax)(4% of fee) 385 @ 0.04
                                                                                           ______________
                        Invoice Total:                                                            $400.40
                                                                                                  ________________
                        Total due presently:                                                                $400.40
                                                                                                  ==============
                                                                                                               =

   Please remit payment with one copy of invoice to:
   Klasko Immigration Law Partners, LLP
   1601 Market Street
   Suite 2600
                    Klasko Immigration Law Partners, LLP
                                                    1601 Market Street
   Philadelphia,   PA 19103                         Suite 2600
                                                    Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 255 of
ATTN: Accounts Receivable
FEDERAL TAX ID NO.: XX-XXXXXXX       330




     For your convenience you may pay your invoice online at www.klaskolaw.com/contactus.
Case 1:16-cv-21301-DPG Document 700 Entered on FLSDKlasko
                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   256
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                   CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                        MATTER NO.:      418114
                                                                   INVOICE NO.:     77569
Michael Goldberg as receiver of Jay Peak, et al.
                                                                   INVOICE DATE:    October 12, 2020
JayPeak Receivership




Re:     Q Burke Mountain Resort, Hotel and Conference Center L.P.                  Hours     Charge

JAD         Sep 01/20     Call with Simon re Q Burke template and potential           0.50   175.00
                          issues

JAD         Sep 02/20     Email Q Burke I-829 template to Chuck LEamy                 0.10    35.00


JAD         Sep 02/20     Email to Michael and HRK re terms for New                   1.20   420.00
                          England Regional Center; emails to filing attorney;
                          review RC agreement sent from Greg Varatanian;
                          call with Greg from NERC

DBL         Sep 03/20     Call with HRK and Jessica re conflict waiver.               0.10    49.50


HRK         Sep 03/20     Review email re: new regional center; email to              0.20    99.00
                          DBL and JAD

JAD         Sep 03/20     Document review and finish drafting NOIR                    1.50   525.00
                          response and email to HRK.

JAD         Sep 03/20     Draft waiver language for NERC for RC                       0.40   140.00
                          sponsorship agreement

JAD         Sep 03/20     Email to filing attorney Castillo re deadline for           0.10    35.00
                          response

HRK         Sep 04/20     Review NOIR response template                               0.90   445.50


HRK         Sep 04/20     Telephone Goldberg re: new regional center                  0.20    99.00


HRK         Sep 04/20     Conference re: NOIR response template                       0.20    99.00


JAD         Sep 04/20     Call with HRK re investor status for Q Burke                0.10    35.00
   CaseMountain
Q Burke   1:16-cv-21301-DPG      Document
                  Resort, Hotel and        700Center
                                    Conference  Entered
                                                     L.P. on FLSD Docket 10/08/2021
                                                                     October 12, 2020 Page 257 of
                                                 330
Invoice #:    77569                                                             Page No. 32


   JAD        Sep 04/20      Email to Greg from NERC; Call with Michael and     0.50    175.00
                             HRK re Sponsorship from NERC

   JAD        Sep 04/20      Update cover letter and finalize and send          1.70    595.00


   JAD        Sep 04/20      Review and call with HRK to discuss template       0.20     70.00


   JAD        Sep 08/20      Email link to I-829 petition template to filing    0.10     35.00
                             attorney

   JAD        Sep 09/20      Email Michael re moving forward with NERC and      0.10     35.00
                             terms

   JAD        Sep 10/20      Draft letter for NERC re Sponsorship Agreement     0.50    175.00


   JAD        Sep 10/20      Emails to two filing attorneys with letter from    0.10     35.00
                             NERC re sponsorship to add to template NOIR
                             response

   HRK        Sep 11/20      Conference re: issues relating to new regional     0.20     99.00
                             center

   DBL        Sep 14/20      Call with HRK and Jessica                          0.10     49.50


   JAD        Sep 15/20      Update Q Burke NOIR response with letter from      0.60    210.00
                             Greg and emails to filing attorneys.

   JAD        Sep 16/20      Review and comment on draft agreement for          0.60    210.00
                             sponsorship

   JAD        Sep 17/20      Review and revise agreement for sponsorship        1.70    595.00


   JAD        Sep 18/20      Document review and drafting RFE response for      1.50    525.00
                             I-829 petitions

   JAD        Sep 18/20      Call with Katherine Li re Q Burke template and     0.30    105.00
                             expectations.

   JAD        Sep 18/20      Call with NERC re RC sponsorship agreement         0.20     70.00
                             terms

   JAD        Sep 22/20      Email to filing attorney re I-829 template for Q   0.10     35.00
                             Burke

   JAD        Sep 23/20      Review RC sponsorship agreement                    0.50    175.00
                Klasko Immigration Law Partners, LLP
                                                1601 Market Street
                                                Suite 2600
                                                Philadelphia, PA 19103
   CaseMountain
Q Burke   1:16-cv-21301-DPG      Document
                  Resort, Hotel and        700Center
                                    Conference  Entered
                                                     L.P. on FLSD Docket 10/08/2021
                                                                     October 12, 2020 Page 258 of
                                                 330
Invoice #:    77569                                                             Page No. 4




   JAD        Sep 24/20       Continue review of RC sponsorship agreement for       0.30     105.00
                              Q Burke/Stateside with NERC

   JAD        Sep 24/20       Document review and draft RFE response template       5.101,785.00
                              for I-829 petition RFEs for Q Burke.

   HRK        Sep 25/20       Review I-829 petition RFE response template           1.10     544.50


   JAD        Sep 25/20       Document review and drafting I-829 petition RFE       2.10     735.00
                              response for Q Burke, organize exhibits, email to
                              HRK/DBL.

   HRK        Sep 28/20       Conference re: I-526 and I-829 status                 0.10      49.50


   JAD        Sep 29/20       Q Bukre I-829 petition RFE template revisions pre     1.20     420.00
                              HRK, draft index.

   JAD        Sep 29/20       Call with HRK re Q Burke status                       0.10      35.00


   JAD        Sep 29/20       Emails to Q Burke filing attorneys with RFE           0.20      70.00
                              response template

   JAD        Sep 30/20       Email to Ben Synder re NOIR template for filing       0.10      35.00

                                                                                 ______________________
                                                                                        24.80$9,129.50
                           Plus: Miscellaneous costs (express delivery, long distance,        $365.18
                           telephone, photocopy, fax)(4% of fee) 9129.50 @ 0.04
                                                                                       ______________
                    Invoice Total:                                                           $9,494.68
                                                                                   ________________
                    Total due presently:                                                   $9,494.68
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   Philadelphia, PA 19103
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                                                 Suite 2600
                                                 Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 259 of
     For your convenience you may pay your invoice
                                              330 online at www.klaskolaw.com/contactus.
Jay Case  1:16-cv-21301-DPG
    Peak Lodge                 Document 700 Entered on FLSD Docket
                & Townhouses, LP                                   10/08/2021
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                                             330
Invoice #:    77570                                                       Page No. 2




                                                                           Klasko Law Immigration Law Partners, LLP
                                                                                    PHILADELPHIA         NEW YORK



                                                                                             CLIENT NO.:507624


   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         417927
                                                                          INVOICE NO.:        77570
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        October 12, 2020
   JayPeak Receivership




   Re:     Jay Peak Lodge & Townhouses, LP                                                  Hours         Charge

   HRK         Sep 28/20       Review status of investors with pending petitions                 0.20       99.00


   HRK         Sep 28/20       Conference re: status of adjudications                            0.10       49.50


   JAD         Sep 28/20       Call with HRK re L&T status                                       0.10       35.00

                                                                                  ______________________
                                                                                           0.40$183.50
                            Plus: Miscellaneous costs (express delivery, long distance,          $7.34
                            telephone, photocopy, fax)(4% of fee) 183.50 @ 0.04
                                                                                        ______________
                     Invoice Total:                                                            $190.84
                                                                                               ________________
                     Total due presently:                                                                $190.84
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   Philadelphia, PA 19103
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                                                 Suite 2600
                                                 Philadelphia, PA 19103
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     For your convenience you may pay your invoice
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Jay Case  1:16-cv-21301-DPG
    Peak Biomedical            Document
                    Research Park, LP   700 Entered on FLSD Docket 10/08/2021
                                                               October 12, 2020 Page 262 of
                                             330
Invoice #:    77572                                                       Page No. 2




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                                                                                    PHILADELPHIA         NEW YORK



                                                                                             CLIENT NO.:507624


   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         417928
                                                                          INVOICE NO.:        77572
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        October 12, 2020
   JayPeak Receivership




   Re:     Jay Peak Biomedical Research Park, LP                                            Hours         Charge

   HRK         Sep 10/20       Email Goldberg re: USCIS redeployment guidance                    0.40     198.00
                               in response to AnC Bio investor email.

   HRK         Sep 14/20       Conference re: status of I-829s                                   0.10       49.50


   JAD         Sep 14/20       Respond to Anc Bio investor status information                    0.80     280.00
                               request emails, and look up receipt numbers to
                               determine who has been approved; call with HRK
                                                                                  ______________________
                                                                                           1.30$527.50
                            Plus: Miscellaneous costs (express delivery, long distance,         $21.10
                            telephone, photocopy, fax)(4% of fee) 527.50 @ 0.04
                                                                                        ______________
                     Invoice Total:                                                            $548.60
                                                                                               ________________
                     Total due presently:                                                                $548.60
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                                                 Philadelphia, PA 19103
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     For your convenience you may pay your invoice
                                              330 online at www.klaskolaw.com/contactus.
Jay Case 1:16-cv-21301-DPG
    Peak Hotel                    Document 700 Entered on FLSD Docket 10/08/2021 Page 264 of
               Suites Stateside, LP
                                                330
                                                                           Klasko Law Immigration Law Partners, LLP
                                                                                    PHILADELPHIA         NEW YORK



                                                                                             CLIENT NO.:507624


   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         417926
                                                                          INVOICE NO.:        77574
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        October 12, 2020
   JayPeak Receivership




   Re:     Jay Peak Hotel Suites Stateside, LP                                              Hours         Charge

   JAD         Sep 22/20       Call from Ed Beshara re Stateside denial                          0.10       35.00


   JAD         Sep 23/20       Call from Attorney Kumar re his client's Stateside                0.20       70.00
                               denial

   DBL         Sep 24/20       Discuss denials and strategy with Ron and team                    0.30     148.50


   HRK         Sep 24/20       Conference call re: I-829 denials                                 0.30     148.50


   JAD         Sep 24/20       Review Stateside denial and conference call                       0.60     210.00


   HRK         Sep 29/20       Conference re: I-829 denial communications                        0.10       49.50


   JAD         Sep 29/20       Call with IXP re investor status, redact denial and               0.90     315.00
                               email to Kapila, emails to filing attorneys re their
                               denied investors

   JAD         Sep 29/20       Call with HRK re Stateside status                                 0.10       35.00


   JAD         Sep 30/20       Email to Michael re suggested email for denied                    0.10       35.00
                               investors in Stateside.
                                                                                  ______________________
                                                                                          2.70$1,046.50
                            Plus: Miscellaneous costs (express delivery, long distance,          $41.86
                            telephone, photocopy, fax)(4% of fee) 1046.50 @ 0.04
                                                                                        ______________
                     Invoice Total:                                                           $1,088.36
                 Klasko Immigration Law Partners, LLP
                                                 1601 Market Street
                                                 Suite 2600
                                                 Philadelphia, PA 19103
   Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021
                                                          October     2020 Page 265 of
                                                                  12, ________________
                                        330
Invoice #:  77574                                                    Page No. 2

                    Total due presently:                                                 $1,088.36
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Case 1:16-cv-21301-DPG Document 700 Entered on FLSDKlasko
                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   266
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                  CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                       MATTER NO.:      423711
                                                                  INVOICE NO.:     77578
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:    October 12, 2020
JayPeak Receivership




Re:     Mandamus and Litigation for JayPeak Projects                              Hours     Charge

HRK         Sep 01/20     Review status of pending petitions of plaintiffs;          0.20    99.00
                          email Surgeon

HRK         Sep 01/20     Review and reply to Surgeon email                          0.10    49.50


HRK         Sep 03/20     Email Surgeon                                              0.10    49.50


DBL         Sep 04/20     Call with Naim, Ron, Jessica                               0.60   297.00


HRK         Sep 04/20     Telephone Surgeon re: Joint Status Report and              0.30   148.50
                          follow up

HRK         Sep 04/20     Conference re: status of plaintiffs                        0.10    49.50


JAD         Sep 04/20     Call with Naim, DBL, HRK; send email re investor           0.40   140.00
                          status

DBL         Sep 08/20     Call with team and AUSA                                    0.30   148.50


HRK         Sep 08/20     Conference call with AUSA                                  0.20    99.00


JAD         Sep 08/20     Call with US attorney re mandamus due dates                0.20    70.00


HRK         Sep 09/20     Research re: USCIS violation of Joint Stipulation          0.10    49.50


DBL         Sep 11/20     Check docket, download and review stipulations             0.70   346.50
                          and status reports, emails re strategy and timing

HRK         Sep 11/20     Develop strategy re: government delays; review             0.20    99.00
                          Diaz email
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Mandamus                          Document
           and Litigation for JayPeak Projects700 Entered on FLSD Docket 10/08/2021
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                                                   330
Invoice #:   77578                                                              Page No. 32




   DBL        Sep 14/20       Call with Ron and Jessica                             0.10        49.50


   HRK        Sep 14/20       Conference re: AUSA email and follow up               0.10        49.50


   HRK        Sep 14/20       Prepare Joint Stipulation                             0.70     346.50


   DBL        Sep 15/20       Review draft of new joint stip, emails                0.20        99.00


   HRK        Sep 15/20       Revise Joint Stipulation; email Surgeon; email        0.30     148.50
                              Diaz

   HRK        Sep 17/20       Email Diaz                                            0.10        49.50


   HRK        Sep 17/20       Email Surgeon                                         0.10        49.50


   HRK        Sep 21/20       Investigate adjudication of plaintiffs' petitions     0.10        49.50

                                                                                 ______________________
                                                                                         5.20$2,487.00
                           Plus: Miscellaneous costs (express delivery, long distance,          $99.48
                           telephone, photocopy, fax)(4% of fee) 2487 @ 0.04
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                    Invoice Total:                                                           $2,586.48
                                                                                   ________________
                    Total due presently:                                                   $2,586.48
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                                                 Philadelphia, PA 19103
GolfCase  1:16-cv-21301-DPG Document 700 Entered on FLSD Docket
     and Mountain                                               10/08/2021
                                                            November         Page 268 of
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Invoice #:    79084                                                    Page No. 2




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                                                                                    PHILADELPHIA         NEW YORK



                                                                                             CLIENT NO.:507624


   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         421140
                                                                          INVOICE NO.:        79084
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        November 17, 2020
   JayPeak Receivership




   Re:     Golf and Mountain                                                                Hours         Charge

   HRK         Oct 05/20       Call with JAD re Golf and Mountain                                0.10       49.50


   JAD         Oct 05/20       Call with Ron re Golf and Mountain                                0.10       35.00


   HRK         Oct 07/20       Review I-829 denial decision                                      0.30     148.50


   JAD         Oct 20/20       Draft email response to Lincoln Stone's office re                 0.70     245.00
                               Golf and Mountain template
                                                                                  ______________________
                                                                                           1.20$478.00
                            Plus: Miscellaneous costs (express delivery, long distance,         $19.12
                            telephone, photocopy, fax)(4% of fee) 478 @ 0.04
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                     Invoice Total:                                                            $497.12
                                                                                               ________________
                     Total due presently:                                                                $497.12
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                                                 Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 269 of
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Case 1:16-cv-21301-DPG Document 700 Entered on FLSDKlasko
                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   270
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                  CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                       MATTER NO.:      417926
                                                                  INVOICE NO.:     79086
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:    November 17, 2020
JayPeak Receivership




Re:     Jay Peak Hotel Suites Stateside, LP                                       Hours     Charge

JAD         Oct 01/20     Email to Caroly Pedersen re denial for Mohammed            0.20    70.00
                          Adil

HRK         Oct 05/20     Email investor attorney                                    0.10    49.50


HRK         Oct 06/20     Call with JAD re Stateside denial                          0.20    99.00


JAD         Oct 06/20     Emails to various filing attorney re denials               0.30   105.00
                          received by their investors.

JAD         Oct 06/20     Call with HRK re Stateside denial                          0.20    70.00


HRK         Oct 26/20     Telephone Kapila and investors' attorney;                  0.50   247.50
                          conference JAD

JAD         Oct 26/20     Call with Kapila, HRK and Kurzban's office re              0.50   175.00
                          new report

HRK         Oct 27/20     Telephone Goldberg                                         0.20    99.00


JAD         Oct 27/20     Call with Michael and Ron re Stateside.                    0.20    70.00


HRK         Oct 28/20     Email Kapila                                               0.10    49.50


HRK         Oct 28/20     Email Goldberg re: new Kapila report                       0.10    49.50


HRK         Oct 29/20     Email Pratt re: Kapila report                              0.10    49.50

                                                                             ______________________
                                                                                    2.70$1,133.50
Jay Case  1:16-cv-21301-DPG
    Peak Hotel                    Document 700 Entered on FLSD Docket
               Suites Stateside, LP                                   10/08/2021
                                                                  November         Page 271 of
                                                                            17, 2020
                                                330
Invoice #:    79086                                                          Page No. 2

                             Plus: Miscellaneous costs (express delivery, long distance,            $45.34
                             telephone, photocopy, fax)(4% of fee) 1133.50 @ 0.04
                                                                                           ______________
                    Invoice Total:                                                              $1,178.84

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                    Total due presently:                                                         $1,178.84

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                                                 1601 Market Street
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                                                 Philadelphia, PA 19103
   CaseMountain
Q Burke   1:16-cv-21301-DPG      Document
                  Resort, Hotel and        700Center
                                    Conference  Entered
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Invoice #:    79087                                                             Page No. 2




                                                                            Klasko Law Immigration Law Partners, LLP
                                                                                     PHILADELPHIA         NEW YORK



                                                                                              CLIENT NO.:507624


    Via Email      michael.goldberg@akerman.com                            MATTER NO.:         418114
                                                                           INVOICE NO.:        79087
    Michael Goldberg as receiver of Jay Peak, et al.
                                                                           INVOICE DATE:        November 17, 2020
    JayPeak Receivership




    Re:     Q Burke Mountain Resort, Hotel and Conference Center L.P.                        Hours         Charge

    HRK         Oct 27/20       Review I-526 revocation decision                                  0.30     148.50


    HRK         Oct 27/20       Telephone Goldberg and JAD re: Q Burke                            0.10       49.50


    JAD         Oct 27/20       Call with Michael and Ron re Q Burke investor                     0.10       35.00
                                denials.
                                                                                   ______________________
                                                                                            0.50$233.00
                             Plus: Miscellaneous costs (express delivery, long distance,          $9.32
                             telephone, photocopy, fax)(4% of fee) 233 @ 0.04
                                                                                         ______________
                      Invoice Total:                                                            $242.32
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                      Total due presently:                                                                $242.32
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                                                  Suite 2600
                                                  Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 273 of
     For your convenience you may pay your invoice
                                              330 online at www.klaskolaw.com/contactus.
   Case 1:16-cv-21301-DPG
Mandamus                          Document
           and Litigation for JayPeak Projects700 Entered on FLSD Docket 10/08/2021
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                                                   330
Invoice #:   79090                                                              Page No. 2




                                                                            Klasko Law Immigration Law Partners, LLP
                                                                                     PHILADELPHIA         NEW YORK



                                                                                              CLIENT NO.:507624


    Via Email      michael.goldberg@akerman.com                            MATTER NO.:         423711
                                                                           INVOICE NO.:        79090
    Michael Goldberg as receiver of Jay Peak, et al.
                                                                           INVOICE DATE:        November 17, 2020
    JayPeak Receivership




    Re:     Mandamus and Litigation for JayPeak Projects                                     Hours         Charge

    HRK         Oct 29/20       Conference re: status of I-829s                                   0.10       49.50


    HRK         Oct 30/20       Review status of plaintiffs' petitions                            0.20       99.00


    HRK         Oct 30/20       Telephone Surgeon, Diaz , DeNisi                                  0.20       99.00


    HRK         Oct 30/20       Review and reply re: Joint Status report                          0.10       49.50


    HRK         Oct 30/20       Email AUSA                                                        0.10       49.50


    JAD         Oct 30/20       Call with HRK/Naim and AUSA and emails re                         0.60     210.00
                                investor status
                                                                                   ______________________
                                                                                            1.30$556.50
                             Plus: Miscellaneous costs (express delivery, long distance,         $22.26
                             telephone, photocopy, fax)(4% of fee) 556.50 @ 0.04
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                      Invoice Total:                                                            $578.76
                                                                                                ________________
                      Total due presently:                                                                $578.76
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                  Klasko Immigration Law Partners, LLP
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                                                  Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 275 of
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   CaseImmigration
General   1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021
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                                                                      17, 2020
                                          330
Invoice #:    79099                                                    Page No. 2




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                                                                                       PHILADELPHIA         NEW YORK



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   Via Email         michael.goldberg@akerman.com                            MATTER NO.:         417882
                                                                             INVOICE NO.:        79099
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                             INVOICE DATE:        November 17, 2020
   JayPeak Receivership




   Re:     General Immigration                                                                 Hours         Charge

   JAD         Oct 05/20          Email to Michael re obligations to provide                        1.20     420.00
                                  documents and templates for investors; review Q
                                  Burke and Stateside partnership agreements and
                                  email to Michael with provisions for preparation of
                                  templates.

   HRK         Oct 09/20          Telephone Levenson (SEC) and Goldberg                             0.40     198.00


   JAD         Oct 09/20          Call with Michael Goldberg, HRK, and the SEC                      0.40     140.00
                                  attorney re ongoing immigration work for
                                  Receivership.
                                                                                     ______________________
                                                                                              2.00$758.00
                               Plus: Miscellaneous costs (express delivery, long distance,         $30.32
                               telephone, photocopy, fax)(4% of fee) 758 @ 0.04
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                        Invoice Total:                                                            $788.32
                                                                                                  ________________
                        Total due presently:                                                                $788.32
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   Philadelphia,   PA 19103                         Suite 2600
                                                    Philadelphia, PA 19103
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                                                              Immigration LawPage   278
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                  CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                       MATTER NO.:      417927
                                                                  INVOICE NO.:     79101
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:    November 17, 2020
JayPeak Receivership




Re:     Jay Peak Lodge & Townhouses, LP                                           Hours     Charge

HRK         Oct 14/20     Review denial of Motion to Reopen                          0.20     99.00


HRK         Oct 20/20     Reply to email from investor attorney                      0.10     49.50

                                                                              ______________________
                                                                                       0.30$148.50
                        Plus: Miscellaneous costs (express delivery, long distance,          $5.94
                        telephone, photocopy, fax)(4% of fee) 148.50 @ 0.04
                                                                                    ______________
                 Invoice Total:                                                            $154.44
                                                                                    ________________
                 Total due presently:                                                       $154.44
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   Case 1:16-cv-21301-DPG
Mandamus                          Document
           and Litigation for JayPeak Projects700 Entered on FLSD Docket 10/08/2021
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                                                   330
Invoice #:   79907                                                              Page No. 2




                                                                            Klasko Law Immigration Law Partners, LLP
                                                                                     PHILADELPHIA         NEW YORK



                                                                                              CLIENT NO.:507624


    Via Email      michael.goldberg@akerman.com                            MATTER NO.:         423711
                                                                           INVOICE NO.:        79907
    Michael Goldberg as receiver of Jay Peak, et al.
                                                                           INVOICE DATE:        December 17, 2020
    JayPeak Receivership




    Re:     Mandamus and Litigation for JayPeak Projects                                     Hours         Charge

    HRK         Nov 04/20       Review status of I-829 adjudications                              0.10       49.50


    JAD         Nov 04/20       Review emails and email Naim re investor status.                  0.40     140.00


    JAD         Nov 24/20       Email to Naim and HRK re updating stipulation                     0.10       35.00

                                                                                   ______________________
                                                                                            0.60$224.50
                             Plus: Miscellaneous costs (express delivery, long distance,          $8.98
                             telephone, photocopy, fax)(4% of fee) 224.50 @ 0.04
                                                                                         ______________
                      Invoice Total:                                                            $233.48
                                                                                                ________________
                      Total due presently:                                                                $233.48
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                                                  Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 280 of
     For your convenience you may pay your invoice
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GolfCase  1:16-cv-21301-DPG Document 700 Entered on FLSD Docket
     and Mountain                                               10/08/2021
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                                          330
Invoice #:    79908                                                    Page No. 2




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                                                                                             CLIENT NO.:507624


   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         421140
                                                                          INVOICE NO.:        79908
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        December 17, 2020
   JayPeak Receivership




   Re:     Golf and Mountain                                                                Hours         Charge

   HRK         Nov 17/20       Email Kapila                                                      0.10       49.50


   JAD         Nov 18/20       Call with Lincoln Stone and review job creation                   0.80     280.00
                               documentation and back-up for the economic
                               impact report for call

   JAD         Nov 19/20       Call with Lincoln Stone re Golf and Mountain                      0.40     140.00
                               denial

   JAD         Nov 20/20       Review GMS report from Kapila                                     0.40     140.00


   JAD         Nov 20/20       Call with Lincoln Stone re Golf and Mountain                      0.40     140.00
                               denial and his preparation of a response

   JAD         Nov 24/20       Call with Lincoln Stone re job creation and Golf                  0.20       70.00
                               and Mountain response
                                                                                  ______________________
                                                                                           2.30$819.50
                            Plus: Miscellaneous costs (express delivery, long distance,         $32.78
                            telephone, photocopy, fax)(4% of fee) 819.50 @ 0.04
                                                                                        ______________
                     Invoice Total:                                                            $852.28
                                                                                               ________________
                     Total due presently:                                                                $852.28

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Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 282 of
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Jay Case  1:16-cv-21301-DPG
    Peak Hotel                    Document 700 Entered on FLSD Docket
               Suites Stateside, LP                                   10/08/2021
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Invoice #:    79963                                                          Page No. 2




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   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         417926
                                                                          INVOICE NO.:        79963
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        December 21, 2020
   JayPeak Receivership




   Re:     Jay Peak Hotel Suites Stateside, LP                                              Hours         Charge

   JAD         Nov 13/20       Review Stateside accounting report prepared by                    2.60     910.00
                               Kapila and L&T report prepared by Kapila for
                               Kurzban's office, call with Ron.
   HRK         Nov 14/20       Conference re: new Kapila report                                  0.10       49.50

                                                                                  ______________________
                                                                                           2.70$959.50
                            Plus: Miscellaneous costs (express delivery, long distance,         $38.38
                            telephone, photocopy, fax)(4% of fee) 959.50 @ 0.04
                                                                                        ______________
                     Invoice Total:                                                            $997.88
                                                                                               ________________
                     Total due presently:                                                                $997.88
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                                                 Philadelphia, PA 19103
Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 284 of
     For your convenience you may pay your invoice
                                              330 online at www.klaskolaw.com/contactus.
Jay Case  1:16-cv-21301-DPG
    Peak Biomedical            Document
                    Research Park, LP   700 Entered on FLSD Docket 10/08/2021
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                                             330
Invoice #:    79964                                                       Page No. 2




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                                                                                    PHILADELPHIA         NEW YORK



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   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         417928
                                                                          INVOICE NO.:        79964
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        December 21, 2020
   JayPeak Receivership




   Re:     Jay Peak Biomedical Research Park, LP                                            Hours         Charge

   JAD         Nov 04/20       Drafting Anc Bio sustainment template.                            0.40     140.00


   JAD         Nov 12/20       AnC Bio RFE - review RFE; email to Dave.                          0.60     210.00


   JAD         Nov 19/20       ANC Bio sustainment RFE template preparation                      1.30     455.00
                               and email to filing attorney Michael Dye.

   JAD         Nov 20/20       ANC Bio template response update, finalize and                    0.30     105.00
                               email to Michael Dye

   JAD         Nov 24/20       Email to Michael Dye re preparation of Anc Bio                    0.10       35.00
                               sustainment template
                                                                                  ______________________
                                                                                           2.70$945.00
                            Plus: Miscellaneous costs (express delivery, long distance,         $37.80
                            telephone, photocopy, fax)(4% of fee) 945 @ 0.04
                                                                                        ______________
                     Invoice Total:                                                            $982.80
                                                                                               ________________
                     Total due presently:                                                                $982.80
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Mandamus                          Document
           and Litigation for JayPeak Projects700 Entered on FLSD Docket 10/08/2021
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Invoice #:   80502                                                              Page No. 2




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    Via Email      michael.goldberg@akerman.com                            MATTER NO.:         423711
                                                                           INVOICE NO.:        80502
    Michael Goldberg as receiver of Jay Peak, et al.
                                                                           INVOICE DATE:        January 15, 2021
    JayPeak Receivership




    Re:     Mandamus and Litigation for JayPeak Projects                                     Hours         Charge

    HRK         Dec 02/20       Email N. Surgeon                                                  0.10       49.50


    HRK         Dec 04/20       Email N. Surgeon                                                  0.10       49.50


    HRK         Dec 09/20       Telephone call with Surgeon; review last Joint                    0.20       99.00
                                Status Report

    JAD         Dec 09/20       Call with Naim and HRK, check investor status                     0.70     245.00
                                on USCIS website and update sitpulation, email to
                                Naim.
    JAD         Dec 10/20       Update stipulation and email to Naim                              0.10       35.00

                                                                                   ______________________
                                                                                            1.20$478.00
                             Plus: Miscellaneous costs (express delivery, long distance,         $19.12
                             telephone, photocopy, fax)(4% of fee) 478 @ 0.04
                                                                                         ______________
                      Invoice Total:                                                            $497.12
                                                                                                ________________
                      Total due presently:                                                                $497.12
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                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   289
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



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Via Email      michael.goldberg@akerman.com                      MATTER NO.:      417882
                                                                 INVOICE NO.:     80557
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:    January 19, 2021
JayPeak Receivership




Re:     General Immigration                                                      Hours     Charge

HRK         Dec 11/20     Develop strategy for all investors with denied            0.40    198.00
                          I-829s

HRK         Dec 21/20     Email to all I-829 investor re: NTA process               0.40    198.00

                                                                              ______________________
                                                                                       0.80$396.00
                        Plus: Miscellaneous costs (express delivery, long distance,         $15.84
                        telephone, photocopy, fax)(4% of fee) 396 @ 0.04
                                                                                    ______________
                 Invoice Total:                                                            $411.84
                                                                                   ________________
                 Total due presently:                                                      $411.84
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   CaseMountain
Q Burke 1:16-cv-21301-DPG      Document
                Resort, Hotel and        700Center
                                  Conference  Entered
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                                               330
                                                                           Klasko Law Immigration Law Partners, LLP
                                                                                    PHILADELPHIA         NEW YORK



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   Via Email      michael.goldberg@akerman.com                            MATTER NO.:         418114
                                                                          INVOICE NO.:        80581
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                          INVOICE DATE:        January 20, 2021
   JayPeak Receivership




   Re:     Q Burke Mountain Resort, Hotel and Conference Center L.P.                        Hours         Charge

   HRK         Dec 01/20       Review I-829 denial                                               0.30     148.50


   HRK         Dec 01/20       Conference re: MTR issues and strategy                            0.20       99.00


   JAD         Dec 01/20       Call with HRK re Q Burke denial and next steps                    0.20       70.00


   JAD         Dec 08/20       Call with Michael and Katherine Li re denial                      0.50     175.00


   HRK         Dec 10/20       Conf re: MTR                                                      0.10       49.50


   JAD         Dec 10/20       Review Q Burke denial, highlight issues in                        0.60     210.00
                               preparation for call with HRK/DBL

   DBL         Dec 22/20       Q Burke- call with Ron and Jessica re I-526                       0.30     148.50
                               denials/revocations

   HRK         Dec 22/20       Conference re: new evidence for MTR for I-829                     0.30     148.50
                               denials
                                                                                  ______________________
                                                                                          2.50$1,049.00
                            Plus: Miscellaneous costs (express delivery, long distance,          $41.96
                            telephone, photocopy, fax)(4% of fee) 1049 @ 0.04
                                                                                        ______________
                     Invoice Total:                                                           $1,090.96
                                                                                               ________________
                     Total due presently:                                                               $1,090.96

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   Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021
                                                          January 20, 2021 Page 291 of
    Please remit payment with one copy of invoice to:330
Invoice #:   80581                                                   Page No. 2

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                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   292
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                     MATTER NO.:      418114
                                                                INVOICE NO.:     81661
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:    February 17,
                                                                                 2021
JayPeak Receivership




Re:     Q Burke Mountain Resort, Hotel and Conference Center L.P.               Hours     Charge

JAD         Jan 05/21     Q Burke BP review and emails re MTR                      0.40   140.00


DBL         Jan 07/21     Q Burke Call with Ron and Jessica re "new                0.20     99.00
                          commercial enterprise" issue

DBL         Jan 07/21     Q Burke denial- review denial, emails re argument        0.40   198.00
                          about NCE

HRK         Jan 07/21     Research re: "commercial enterprise"; conf. JAD          0.30   148.50
                          and DBL

JAD         Jan 07/21     Call with Ron and Dan re Q Burke                         0.20     70.00


JAD         Jan 08/21     Document review and drafting Motion to Reopen            3.201,120.00
                          (MTR )memo (Form I-290B)

JAD         Jan 09/21     Drafting I-290B memo for denied I-829 investors          2.10   735.00
                          in Q Burke.

DBL         Jan 12/21     Reviewed Kapila report, sent comments                    0.40   198.00


JAD         Jan 12/21     Call with Marjan Kasra re Q Burke denial                 0.10     35.00


JAD         Jan 13/21     Review opinion letter from Kapila, economic              2.80   980.00
                          report review, email to Tom, review Denial, and
                          drafting memo

DBL         Jan 14/21     Review Kapila report, emails                             1.10   544.50


JAD         Jan 14/21     Drafting Q Burke MTR Response memo                       6.102,135.00
   CaseMountain
Q Burke   1:16-cv-21301-DPG      Document
                  Resort, Hotel and        700Center
                                    Conference  Entered
                                                     L.P. on FLSD Docket 10/08/2021
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                                                 330
Invoice #:    81661                                                             Page No. 32




   JAD        Jan 15/21       Document review and drafting MTR response             4.701,645.00
                              memo

   JAD        Jan 16/21       Drafting Motion to Reopen response memo, emails       3.501,225.00
                              with Kapila, document review

   JAD        Jan 17/21       Document review and drafting MTR response             5.001,750.00
                              memo, emails with Kapila

   JAD        Jan 18/21       Review Kapila report, emails with Kapila, draft       6.102,135.00
                              MTR response and email to DBL and HRK for
                              review.
   DBL        Jan 19/21       Review and edit MTR                                   2.301,138.50
   JAD        Jan 19/21       Email to Matus Varga re his client in Q Burke,        0.10      35.00
                              Kovar.

   DBL        Jan 20/21       Emails re documents to include with MTR               0.20      99.00


   JAD        Jan 20/21       Revising Q Burke MTR memo for template                1.40    490.00


   JAD        Jan 20/21       Drafting memo for Motion to Reopen Template           4.201,470.00
                              (MTR) for denied I-829 investors in Q Burke,
                              review Kapila report.

   JAD        Jan 25/21       Email re Q Burke MTR with Diamela del Castillo        0.20      70.00
                              Payet from Shutts.

   JAD        Jan 26/21       Call with Diamela del Castillo Payet of Shutts re     0.40    140.00
                              her client's MTR for Q Burke and questions about
                              adjudications.
                                                                                 ______________________
                                                                                       45.40$16,600.50
                           Plus: Miscellaneous costs (express delivery, long distance,        $664.02
                           telephone, photocopy, fax)(4% of fee) 16600.50 @ 0.04
                                                                                       ______________
                    Invoice Total:                                                          $17,264.52
                                                                                   ________________
                    Total due presently:                                                $17,264.52
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                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   295
                                                                             Partners, LLPof
                                     330                    PHILADELPHIA        NEW YORK



                                                                                 CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                      MATTER NO.:      423711
                                                                 INVOICE NO.:     81663
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:    February 17,
                                                                                  2021
JayPeak Receivership




Re:     Mandamus and Litigation for JayPeak Projects                             Hours     Charge

DBL         Jan 26/21     Review status report, emails re stay                      0.20     99.00


DBL         Jan 29/21     Review joint status report, email AUSA                    0.10     49.50

                                                                              ______________________
                                                                                       0.30$148.50
                        Plus: Miscellaneous costs (express delivery, long distance,          $5.94
                        telephone, photocopy, fax)(4% of fee) 148.50 @ 0.04
                                                                                    ______________
                 Invoice Total:                                                            $154.44
                                                                                   ________________
                 Total due presently:                                                      $154.44
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   CaseMountain
Q Burke 1:16-cv-21301-DPG      Document
                Resort, Hotel and        700Center
                                  Conference  Entered
                                                   L.P. on FLSD Docket 10/08/2021 Page 296 of
                                               330
                                                                      Klasko Law Immigration Law Partners, LLP
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                                                                                        CLIENT NO.:507624


   Via Email      michael.goldberg@akerman.com                       MATTER NO.:         418114
                                                                     INVOICE NO.:        82645
   Michael Goldberg as receiver of Jay Peak, et al.
                                                                     INVOICE DATE:        March 12, 2021
   JayPeak Receivership




   Re:     Q Burke Mountain Resort, Hotel and Conference Center L.P.                   Hours         Charge

   JAD         Feb 08/21     Call with Luis Mendoza and Jose Lasry re Q Burke               1.00     350.00
                             denial and next steps.

   JAD         Feb 11/21     Email to Igor re Jay Peak settlement.                          0.20       70.00


   JAD         Feb 17/21     Call with Michael re letter for Q Burke re denials             0.20       70.00


   HRK         Feb 18/21     Conference re: Raymond James/petition denials                  0.10       49.50


   JAD         Feb 18/21     Draft letter to Michael Goldberg re job creation at            1.90     665.00
                             Q Burke and Investor denials.

   JAD         Feb 18/21     Call with HRK re Q Burke denial template and                   0.20       70.00
                             letter to Michael re denials and jobs

   HRK         Feb 19/21     Review letter to Goldberg re: Raymond James and                0.20       99.00
                             petition denials

   JAD         Feb 19/21     Review HRK revisions and draft email to Michael                0.60     210.00
                             with letter and information about investor options
                             and implications
                                                                                 ______________________
                                                                                         4.40$1,583.50
                           Plus: Miscellaneous costs (express delivery, long distance,          $63.34
                           telephone, photocopy, fax)(4% of fee) 1583.50 @ 0.04
                                                                                       ______________
                    Invoice Total:                                                           $1,646.84
                                                                                          ________________

                    Total due presently:                                                           $1,646.84
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    Please remit payment with one copy of invoice to:330
Invoice #:   82645                                                   Page No. 2

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                                                    DocketLaw10/08/2021
                                                              Immigration LawPage   298
                                                                             Partners, LLPof
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                                                                                   CLIENT NO.:507624


Via Email      michael.goldberg@akerman.com                        MATTER NO.:      417882
                                                                   INVOICE NO.:     82646
Michael Goldberg as receiver of Jay Peak, et al.
                                                                   INVOICE DATE:    March 12, 2021
JayPeak Receivership




Re:     General Immigration                                                        Hours     Charge

JAD         Feb 03/21     Emails re investor list, call with IXP re investor          0.60    210.00
                          list, review lists and email to Michael.
                                                                              ______________________
                                                                                       0.60$210.00
                        Plus: Miscellaneous costs (express delivery, long distance,          $8.40
                        telephone, photocopy, fax)(4% of fee) 210 @ 0.04
                                                                                    ______________
                 Invoice Total:                                                            $218.40

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                 Total due presently:                                                        $218.40
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                                                      Docket 10/08/2021
                                                                     NEW Page
                                                                         YORK 299 of
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                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         418114
                                                               INVOICE NO.:        83814
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       April 9, 2021
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                   Hours        Charge

JAD         Mar 11/21     Email to George Allen re potential denial and new           0.10         35.00
                          administration.

JAD         Mar 22/21     Review RFE from Jianming and email with template            0.30         105.00


JAD         Mar 30/21     Review RFE and email to Chuck Leamy.                        0.30         105.00
                                                                                 ________ ______________
                                                                                       0.70     $245.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $9.80
                         photocopy, fax)(4% of fee) 245 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                               $254.80

                                                                                        ________________
                 Total due presently:                                                            $254.80
                                                                                      ===============
Q Burke Mountain Resort, Hotel and Conference Center L.P.                    April 9, 2021
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Invoice #:  83814                                    330                Page No.       2



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                                                      Docket 10/08/2021
                                                                     NEW Page
                                                                         YORK 301 of
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                                                                CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         417926
                                                                INVOICE NO.:        83817
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       April 9, 2021
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                          Hours        Charge

JAD         Mar 18/21     Review RFE, review RFE response, slight edits, draft         1.10        385.00
                          email and email link to template RFE response to filing
                          attorney.

JAD         Mar 22/21     Review RFE and email to filing attorney for Stateside        0.20         70.00
                          RFE

JAD         Mar 30/21     Review RFE and email link to Ruby Romero for                 0.20         70.00
                          Stateside RFE
                                                                                 ________ ______________
                                                                                       1.50     $525.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $21.00
                         photocopy, fax)(4% of fee) 525 @ 0.04
                                                                                      ______________
                 Invoice Total:                                                                $546.00

                                                                                         ________________
                 Total due presently:                                                             $546.00
                                                                                       ===============
Jay Peak Hotel Suites Stateside, LP                                          April 9, 2021
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                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         417928
                                                               INVOICE NO.:        83818
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       April 9, 2021
JayPeak Receivership




Re:    Jay Peak Biomedical Research Park, LP                                       Hours        Charge

JAD         Mar 15/21     Email to Chuck Leamy with ANC Bio I-829 petition            0.20         70.00
                          template.

JAD         Mar 18/21     AnC Bio Form review and email                               0.10         35.00

IXP         Mar 18/21     Updated the I-829 Form, e-mailed JAD, e-mailed              0.40         66.00
                          Charles Leamy.
                                                                                 ________ ______________
                                                                                       0.70     $171.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $6.84
                         photocopy, fax)(4% of fee) 171 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                               $177.84

                                                                                        ________________
                 Total due presently:                                                            $177.84
                                                                                      ===============
Jay Peak Biomedical Research Park, LP                                        April 9, 2021
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                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         417927
                                                               INVOICE NO.:        85339
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       May 17, 2021
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                             Hours        Charge

JAD         Apr 29/21     Review and update L&T response memo and review              1.00        350.00
                          decision reinstating the RC and email to Niral with
                          updated template MTR
                                                                                 ________ ______________
                                                                                       1.00     $350.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $14.00
                         photocopy, fax)(4% of fee) 350 @ 0.04
                                                                                     ______________
                  Invoice Total:                                                              $364.00

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                  Total due presently:                                                           $364.00
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                                                                CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         423711
                                                                INVOICE NO.:        85340
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       May 17, 2021
JayPeak Receivership




Re:    Mandamus and Litigation for JayPeak Projects                                 Hours        Charge

JAD         Apr 18/21     Email to Natalie Diaz re Jay Peak mandamus and email         0.20         70.00
                          to Anthony Korda to confirm that he or his client received
                          a copy of the RFE.

JAD         Apr 19/21     Email to Natalie re receipt of Penthouse RFE notice for      0.10         35.00
                          the last pending investor in the mandamus.

JAD         Apr 20/21     Email to Naim re status report/extending deadline for        0.10         35.00
                          mandmus

JAD         Apr 22/21     Status report with IXP, review emails and charts re          0.50        175.00
                          investor status

JAD         Apr 23/21     Review joint status report and email to Jianming Shen re      0.20      70.00
                          address for him and client for issuing new copy of the
                          RFE.
                                                                                 ________ ______________
                                                                                       1.10     $385.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $15.40
                         photocopy, fax)(4% of fee) 385 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                                 $400.40

                                                                                         ________________
                 Total due presently:                                                            $400.40
                                                                                        ===============
Mandamus and Litigation for JayPeak Projects                                 May 17, 2021
      Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 307 of
Invoice #:  85340                            330                        Page No.      2



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                                                                CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         418114
                                                                INVOICE NO.:        85341
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       May 17, 2021
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                    Hours        Charge

JAD         Apr 01/21     Emails to filing attorneys with Burke templates.             0.20         70.00

JAD         Apr 14/21     Multiple emails to Chuck Leamy re updates to Q Burke         0.50        175.00
                          template, review template

JAD         Apr 14/21     Email to Gary Dong re status of the Q Burke project and      0.40        140.00
                          investor adjudications and potential next steps.

JAD         Apr 16/21     Email to Attorney Redgrave re RFEs for Q Burke               0.10         35.00
                          investors

JAD         Apr 16/21     Email to Darren Silver's office and investor Maria re Q      0.20         70.00
                          Burke templates
                                                                                 ________ ______________
                                                                                       1.40     $490.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $19.60
                         photocopy, fax)(4% of fee) 490 @ 0.04
                                                                                      ______________
                 Invoice Total:                                                                $509.60

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                 Total due presently:                                                             $509.60
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Q Burke Mountain Resort, Hotel and Conference Center L.P.                    May 17, 2021
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                                                                CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         418206
                                                                INVOICE NO.:        85342
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       May 17, 2021
JayPeak Receivership




Re:    Penthouse Suites                                                             Hours        Charge

JAD         Apr 29/21      Email to Adam Moses re I-829 RFE for Penthouse RFEs 0.20                70.00
                           and status
                                                                                  ________ ______________
                                                                                        0.20      $70.00
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $2.80
                          photocopy, fax)(4% of fee) 70 @ 0.04
                                                                                      ______________
                  Invoice Total:                                                               $72.80

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                  Total due presently:                                                             $72.80
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                                                                CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:        417882
                                                                INVOICE NO.:       85401
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:      May 19, 2021
JayPeak Receivership




Re:    General Immigration                                                         Hours        Charge

HRK         Apr 22/21     Conference call with JAD; tel. Goldberg re: Impact of       0.20         99.00
                          AAO decision

HRK         Apr 27/21     Conference call re: next steps following AAO decision       0.20         99.00


HRK         Apr 28/21     Review and analyze AAO decision re: regional center         0.10         49.50
                          termination
                                                                                 ________ ______________
                                                                                       0.50     $247.50
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $9.90
                         photocopy, fax)(4% of fee) 247.50 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                               $257.40

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                 Total due presently:                                                            $257.40
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General Immigration                                                          May 19, 2021
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                                                                         YORK 313 of
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                                                                CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:         423711
                                                                INVOICE NO.:        86770
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:       June 17, 2021
JayPeak Receivership




Re:    Mandamus and Litigation for JayPeak Projects                                 Hours        Charge

JAD         May 04/21     Email to Natalie and email to Filing attorney with RFE.      0.20         70.00

                                                                                 ________ ______________
                                                                                       0.20      $70.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $2.80
                         photocopy, fax)(4% of fee) 70 @ 0.04
                                                                                      ______________
                  Invoice Total:                                                               $72.80

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                  Total due presently:                                                             $72.80
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                                                                         YORK 314 of
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                                                                 CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:          418114
                                                                 INVOICE NO.:         86863
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:        June 21, 2021
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                      Hours      Charge

JAD         May 03/21     Email to Rebecca Singh re status of Q Burke.                  0.10          35.00

JAD         May 03/21     Email to Marina Veiga with Q Burke RFE template               0.10          35.00

JAD         May 03/21     Review RFE and email to Greg Romanovsky with Q                0.10          35.00
                          Burke RFE template

JAD         May 03/21     Call with Lincoln Stone re Q Burke template and project       0.30       105.00
                          status

JAD         May 03/21     Email to Lincoln Stone with link to templates for Q Burke 0.10              35.00
                          and AAO decision re RC reinstatement.

JAD         May 03/21     Email to Owen Khan answering several question                 0.20          70.00
                          regarding Q Burke, investor RFEs and the termination of
                          the Regional Center.
JAD         May 03/21     Email to Owais Qazi with Q Burke template and                 0.10          35.00
                          information on the RC.

JAD         May 07/21     Email to Owen Kahn answering various questions and            0.20          70.00
                          sending decisions re Burke I-829 petitions and denials.


JAD         May 07/21     Email to Sharf Emad re Q Burke                                0.10          35.00

JAD         May 10/21     Email to Karine Fransen re Q Burke denials and draft and      0.30       105.00
                          send second email with answers to her questions.


JAD         May 13/21     Call with Q Burke investor with denied I-829 petitions --     0.50       175.00
                          paulina fuentes moa

JAD         May 13/21     Call with Q Burke investor Ngugen.                            0.10          35.00
Q Burke Mountain Resort, Hotel and Conference Center L.P.                    June 21, 2021
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Invoice #:  86863                                    330                Page No.       2

  JAD        May 20/21    Emails with Antonio Mazzara re Q Burke RFE                  0.10       35.00

  JAD        May 21/21    Email Mengfei re return of funds.                           0.10       35.00
                                                                                  ________ ______________
                                                                                        2.40     $840.00
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $33.60
                          photocopy, fax)(4% of fee) 840 @ 0.04

                                                                                    ______________
                  Invoice Total:                                                             $873.60

                                                                                       ________________
                  Total due presently:                                                         $873.60
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                                                                CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                MATTER NO.:        418206
                                                                INVOICE NO.:       86864
Michael Goldberg as receiver of Jay Peak, et al.
                                                                INVOICE DATE:      June 21, 2021
JayPeak Receivership




Re:    Penthouse Suites                                                            Hours        Charge

JAD         May 20/21     Minor updates to Penthouse RFE response, and email to       0.30        105.00
                          filing attorney.

                                                                                  ______________________
                                                                                       0.30     $105.00
                          Plus: Miscellaneous costs (express delivery, long distance, telephone, $4.20
                          photocopy, fax)(4% of fee) 105 @ 0.04
                                                                                     ______________
                  Invoice Total:                                                              $109.20

                                                                                        ________________
                  Total due presently:                                                           $109.20
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                                                               CLIENT NO.:          507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:          417927
                                                               INVOICE NO.:         86865
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:        June 21, 2021
JayPeak Receivership




Re:    Jay Peak Lodge & Townhouses, LP                                              Hours       Charge

JAD         May 03/21     Email to Fernando Chaves re updates at Jay Peak Resort.     0.20          70.00

                                                                                 ________ ______________
                                                                                       0.20      $70.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $2.80
                         photocopy, fax)(4% of fee) 70 @ 0.04
                                                                                     ______________
                  Invoice Total:                                                              $72.80

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                  Total due presently:                                                            $72.80
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                                                                 CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:         417926
                                                                 INVOICE NO.:        86866
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       June 21, 2021
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                           Hours        Charge

JAD         May 25/21     Emails to Marina Bentata re RFE for Stateside and             0.30        105.00
                          documentation and setting up a call to discuss further.

                                                                                 ______________________
                                                                                      0.30     $105.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $4.20
                         photocopy, fax)(4% of fee) 105 @ 0.04
                                                                                       ______________
                  Invoice Total:                                                                $109.20

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                  Total due presently:                                                             $109.20
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                                                                  CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                  MATTER NO.:        417882
                                                                  INVOICE NO.:       86867
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:      June 21, 2021
JayPeak Receivership




Re:    General Immigration                                                           Hours        Charge

HRK         May 03/21     Email Divine regarding Regional Center Termination            0.10         49.50
                          next steps

HRK         May 03/21     Telephone Silver regarding effect of Regional Center          0.30        148.50
                          termination

HRK         May 03/21     Prepare notice from receiver to investors                     0.60        297.00


JAD         May 03/21     Draft email to investors re implications of RC                1.40        490.00
                          reinstatement and next steps.

HRK         May 04/21     Review and revise notice to investors                         0.20         99.00


JAD         May 04/21     Review Ron's email to Michael re template and                 0.10         35.00
                          reinstatement, email to HRK

HRK         May 06/21     Email Goldberg                                                0.10         49.50


HRK         May 10/21     Email Goldberg re: impact of AAO decision on I-829s           0.10         49.50


JAD         May 10/21     Review email, email to HRK, email with opinion, draft         0.40     140.00
                          and send email to Paterno law firm along with judge's
                          decision.
                                                                                 ________ ______________
                                                                                      3.30     $1,358.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $54.32
                         photocopy, fax)(4% of fee) 1358 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                               $1,412.32
General Immigration                                                          June 21, 2021
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                  Total due presently:                                                    $1,412.32
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                                                               CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                               MATTER NO.:         417882
                                                               INVOICE NO.:        87883
Michael Goldberg as receiver of Jay Peak, et al.
                                                               INVOICE DATE:       July 16, 2021
JayPeak Receivership




Re:    General Immigration                                                         Hours        Charge

HRK         Jun 07/21     Telephone Goldberg re: redeployment of Jay and Burke        0.40         198.00
                          Funds

JAD         Jun 07/21     Call with Michael Goldberg and HRK re sale of resorts         0.50     175.00
                          and implications for investors
                                                                                 ________ ______________
                                                                                       0.90     $373.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $14.92
                         photocopy, fax)(4% of fee) 373 @ 0.04
                                                                                     ______________
                 Invoice Total:                                                               $387.92

                                                                                        ________________
                 Total due presently:                                                            $387.92
                                                                                      ===============
General Immigration                                                          July 16, 2021
      Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 322 of
Invoice #:  87883                          330                          Page No.       2



  Please remit payment with one copy of invoice to:
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  1601 Market Street
  Suite 2600
  Philadelphia, PA 19103
  ATTN: Accounts Receivable
  FEDERAL TAX ID NO.: XX-XXXXXXX



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                                                 Suite 2600
                                           Philadelphia, PA 19103
                                                                       Klasko Law Immigration Law Partners, LLP
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                                                      Docket 10/08/2021
                                                                     NEW Page
                                                                         YORK 323 of
                                       330



                                                                 CLIENT NO.:         507624
Via Email     michael.goldberg@akerman.com
                                                                 MATTER NO.:         417926
                                                                 INVOICE NO.:        87884
Michael Goldberg as receiver of Jay Peak, et al.
                                                                 INVOICE DATE:       July 16, 2021
JayPeak Receivership




Re:    Jay Peak Hotel Suites Stateside, LP                                           Hours        Charge

JAD         Jun 01/21     Call with Denyse Sabagh, review template and email to         0.40         140.00
                          Denyse.

JAD         Jun 01/21     Review RFE and email to Darren Silver RFE response            0.20         70.00
                          update for Stateside



JAD         Jun 10/21     Update stateside RFE template with information on             2.00         700.00
                          reinstatement of regional center and emails to filing
                          attorneys.
                                                                                 ________ ______________
                                                                                       2.60     $910.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $36.40
                         photocopy, fax)(4% of fee) 910 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                                 $946.40

                                                                                          ________________
                 Total due presently:                                                             $946.40
                                                                                        ===============
Jay Peak Hotel Suites Stateside, LP                                          July 16, 2021
      Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 324 of
Invoice #:   87884                         330                          Page No.       2



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                                                                       Klasko Law Immigration Law Partners, LLP
  Case 1:16-cv-21301-DPG Document 700 Entered on FLSD PHILADELPHIA
                                                      Docket 10/08/2021
                                                                     NEW Page
                                                                         YORK 325 of
                                       330



                                                                  CLIENT NO.:        507624
Via Email     michael.goldberg@akerman.com
                                                                  MATTER NO.:        418114
                                                                  INVOICE NO.:       88046
Michael Goldberg as receiver of Jay Peak, et al.
                                                                  INVOICE DATE:      July 22, 2021
JayPeak Receivership




Re:    Q Burke Mountain Resort, Hotel and Conference Center L.P.                     Hours        Charge

JAD         Jun 02/21     Call with Jeff Tsong re JayPeak Burke                         0.20         70.00

JAD         Jun 07/21     Draft email to Michael Goldberg re USCIS rules on             0.40         140.00
                          redeployment of EB-5 funds

JAD         Jun 17/21     Email to George Allen re RFE                                  0.10         35.00

JAD         Jun 17/21     Call with Marina Benata re RFE                                0.10         35.00

JAD         Jun 25/21     Call with Marjan Kasra re Burke investors                     0.20         70.00
                                                                                 ________ ______________
                                                                                       1.00     $350.00
                         Plus: Miscellaneous costs (express delivery, long distance, telephone, $14.00
                         photocopy, fax)(4% of fee) 350 @ 0.04
                                                                                       ______________
                 Invoice Total:                                                                 $364.00

                                                                                          ________________
                 Total due presently:                                                              $364.00
                                                                                        ===============
Q Burke Mountain Resort, Hotel and Conference Center L.P.                    July 22, 2021
      Case 1:16-cv-21301-DPG Document 700 Entered on FLSD Docket 10/08/2021 Page 326 of
Invoice #:  88046                                    330                Page No.       2



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  Suite 2600
  Philadelphia, PA 19103
  ATTN: Accounts Receivable
  FEDERAL TAX ID NO.: XX-XXXXXXX



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                                           Philadelphia, PA 19103
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                                   Exhibit 5
                        Standardized Fund Accounting Report




   59590347;2
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                                     330



                         MICHAEL I. GOLDBERG, RECEIVER
                         201 E. Las Olas Boulevard, Suite 1800
                             Ft. Lauderdale, Florida 33301
                                   Tel: (954) 463-2700
                                   Fax: (954) 463-2224
                                 jaypeak@akerman.com
                            www.jaypeakreceivership.com




                STANDARDIZED FUND
                ACCOUNTING REPORT
                         Civil – Receivership Fund


             SECURITIES & EXCHANGE COMMISSION

                                         vs.

                           ARIEL QUIROS, et al.

                    Case No.: 16-cv-21301-GAYLES



                 Reporting Period: 9/1/2020 – 7/31/2021
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                                             330REPORT - Cash Basis (Receivership)
                     STANDARDIZED FUND ACCOUNTING
                                                              SEC v. Quiros, et al.
                                                        Case No.: 16-cv-21301-GAYLES
                                                   Reporting Period 09/01/2020 to 07/31/2021



             FUND ACCOUNTING (See Instructions):
                                                                                        Detail             Subtotal           Grand Total
             Line 1         Beginning Balance (As of 09/01/2020):                   $            -     $              -   $    20,770,525.94
                            Increases in Fund Balance:
             Line 2         Business Income                                         $            -
             Line 3         Cash and Securities (UNrestricted)                      $   8,431,121.76
             Line 3         Cash and Securities (RESTRICTED)                        $            -
             Line 4         Interest/Dividend Income                                $      32,926.80
             Line 5         Business Asset Liquidation                              $     718,727.34
             Line 6         Personal Asset Liquidation                              $            -
             Line 7         Third-Party Litigation Income                           $            -
             Line 8         Miscellaneous - Other                                   $            -
                              Total Funds Available (Lines 1 – 8):                                                        $    29,953,301.84
                            Decreases in Fund Balance:
             Line 9         Disbursements to Investors                                                                    $                  -
             Line 10        Disbursements for Receivership Operations                                                     $                  -
                 Line 10a Disbursements to Receiver or Other Professionals          $     380,926.02
                 Line 10b Business Asset Expenses                                   $     458,775.11
                 Line 10c Personal Asset Expenses                                   $            -
                 Line 10d Investment Expenses                                       $            -
                 Line 10e Third-Party Litigation Expenses                           $            -
                          1. Attorney Fees                                          $   3,033,846.78
                          2. Litigation Expenses                                    $            -
                          3. Disbursement to Cason Plaintiffs DE 620/631            $     300,000.00
                            Total Third-Party Litigation Expenses                   $            -
                 Line 10f Tax Administrator Fees and Bonds                          $            -
                 Line 10g Federal and State Tax Payments                            $     113,692.33
                           Total Disbursements for Receivership Operations                                                $     4,287,240.24
             Line 11      Disbursements for Distribution Expenses Paid by the Fund:
                 Line 11a    Distribution Plan Development Expenses:
                              1. Fees:                                            $      -
                                   Fund Administrator…………………...……………….. $                -
                                                                                  $      -
                                   Independent Distribution Consultant (IDC)……………………………………...………….……..
                                   Distribution Agent…………………...……………....… $              -
                                   Consultants…………………………....……………….               $      -
                                   Legal Advisers……………………...…..……………… $                  -
                                   Tax Advisers………………………..………….………… $                    -
                              2. Administrative Expenses                          $      -
                              3. Miscellaneous                                    $      -
                               Total Plan Development Expenses                                                            $              -
                 Line 11b      Distribution Plan Implementation Expenses:
                               1. Fees:                                           $              -
                                    Fund Administrator…………………..…………..………          $              -
                                    IDC……………………………………...…......…………               $              -
                                    Distribution Agent……………………..….……………..         $              -
                                    Consultants………………………………....……………              $              -
                                    Legal Advisers………………………..……....…………           $              -
                                    Tax Advisers…………………….………….……………               $              -
                                2. Administrative Expenses                        $              -
                                3. Investor Identification:                       $              -
                                     Notice/Publishing Approved Plan……………...……..…..$             -
                                     Claimant Identification…………………….……...……. $                  -
                                     Claims Processing………………………….………..…… $                       -
                                     Web Site Maintenance/Call Center……….……...…… $               -
                                4. Fund Administrator Bond                        $              -
                                5. Miscellaneous

                               6. Federal Account for Investor Restitution (FAIR)
                               Reporting Expenses                                   $            -
                               Total Plan Implementation Expenses                                                         $              -
                             Total Disbursements for Distribution Expenses Paid by the Fund                               $              -

             Line 12      Disbursements to Court/Other:
                 Line 12a    Investment Expenses/Court Registry Investment
                          System (CRIS) Fees                                        $            -
                 Line 12b    Federal Tax Payments                                   $            -

                             Total Disbursements to Court/Other:                                                          $              -
                             Total Funds Disbursed (Lines 9 – 11):                                                        $     4,287,240.24

             Line 13        Ending Balance (As of 07/31/2021):                                                            $    25,666,061.60

             Line 14      Ending Balance of Fund – Net Assets:                                                            $              -
                 Line 14a    Cash & Cash Equivalents                                $            -
                 Line 14b    Investments 2 Loan Collateral                          $   1,500,000.00                      $    24,166,061.60
                 Line 14c    Other Assets or Uncleared Funds                        $            -                        $    24,166,061.60
                             Total Ending Balance of Fund – Net Assets                                                    $    24,166,061.60




                                                                            1
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